                       UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               Charlotte Division


 AARON ASELTINE, individually and on
 behalf of others similarly situated,
                                                    CASE NO. 3:23-cv-235
        Plaintiff,

                v.                                  Removed from Mecklenburg County
                                                    Superior Court (Case No. 23-cvs-4529)
 BANK OF AMERICA, N.A.,

        Defendant.


                       NOTICE OF REMOVAL OF CIVIL ACTION

       PLEASE TAKE NOTICE that Bank of America, N.A. (“Bank of America”), by its

undersigned counsel, hereby removes the above-captioned action, which is currently pending in

the Superior Court of the County of Mecklenburg, North Carolina, to the United States District

Court for the Western District of North Carolina, pursuant to 28 U.S.C. §§ 1332(d), 1441, 1446

and 1453. As grounds for removal, Bank of America states as follows:

                                      INTRODUCTION

       This case is removable under 28 U.S.C. § 1441 and the Class Action Fairness Act of 2005,

P.L. 109-2, as codified at 28 U.S.C. § 1332(d) and 28 U.S.C. § 1453 (“CAFA”). Pursuant to

CAFA, federal courts have original jurisdiction over class actions where: (1) the putative class

consists of at least 100 members (28 U.S.C. § 1332(d)(5)(B)); (2) there is minimal diversity

between the parties (28 U.S.C. § 1332(d)(2)(C)); and (3) the aggregate class-wide amount in

controversy exceeds $5,000,000, exclusive of interest and costs (28 U.S.C. § 1332(d)(2) and (6)).

Based upon Plaintiff’s allegations (which Bank of America expressly denies and intends to




     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 1 of 129
demonstrate are without merit), removal here is proper because CAFA’s requirements are met, no

exception to CAFA jurisdiction applies, and Bank of America has timely removed.

                                       BACKGROUND

       1.      On March 8, 2023, Plaintiff Aaron Aseltine (“Plaintiff”) filed a Complaint

(“Complaint”) in the Superior Court of Mecklenburg County, North Carolina (the “State Court

Action”). The State Court Action was assigned Civil Docket No. 23 CVS 4529.1

       2.      Bank of America was served with the Summons and Complaint on March 27, 2023.

Attached hereto as Exhibit A is a copy of all process and pleadings served upon Bank of America

in the State Court Action.

       3.      The Complaint alleges claims of breach of contract, including breach of covenant

of good faith and fair dealing (Count I, ¶¶ 53-65), violations of the North Carolina Unfair &

Deceptive Trade Practices Act (“UDTPA”), N.C.G.S. § 75.1-1 et seq. (Count II, ¶¶ 66-75), and

violations of the California Unfair Competition Law and Business and Professions Code § 17200

(Count III, ¶¶ 76-92).

       4.      More specifically, Plaintiff alleges that Bank of America charged Plaintiff with an

undisclosed $15 incoming wire transfer fee in violation of North Carolina and California law.

Compl. ¶¶ 19, 37.

       5.      Plaintiff asserts Counts I and II on behalf of himself and on behalf of a putative

class of consumers defined as: “All Bank of America personal accountholders who, during the



1
  Bank of America sets forth the allegations in Plaintiff’s Complaint solely to establish the
prerequisites for jurisdiction and removal of this action. By filing this Notice of Removal, Bank
of America does not waive any objections it may have as to the Complaint, including Court’s lack
of jurisdiction over Defendant, venue, or the viability of class certification. Bank of America
intends no admission of fact, law, or liability by this Notice, and reserves all defenses, motions
and pleas.

                                                2

     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 2 of 129
applicable statute of limitations throughout the date of class certification, were charged Incoming

Wire Transfer Fees,” and Count III on behalf of himself and on behalf of a putative subclass

defined as: “All Bank of America personal accountholders in the State of California who, during

the applicable statute of limitations throughout the date of class certification, were charged

Incoming Wire Transfer Fees.” Compl. ¶¶ 37, 38.

       6.      Plaintiff seeks, on behalf of the Classes, restitution for all incoming wire transfer

fees paid to Bank of America by Plaintiff and the Classes, treble damages pursuant to the UDTPA

claim, attorneys’ fees and costs, and any additional actual damages that may be proven. Compl.

at p. 21 (“Prayer for Relief”). Plaintiff’s maximum treble damages are $45—three times the single

$15 incoming wire transfer fee alleged in the Complaint.

               REMOVAL IS PROPER UNDER 28 U.S.C. §§ 1332(d) and 1453
                            (CAFA JURISDICTION)

       7.      This Court has original jurisdiction under 28 U.S.C. §§ 1332(d) and 1453 on the

basis of CAFA because (1) “the matter in controversy exceeds the sum or value of $5,000,000,

exclusive of interest and costs,” (2) the citizenship of at least one putative class member is different

from that of Bank of America, and (3) the putative class consists of more than 100 proposed class

members. See 28 U.S.C. §§ 1332(d)(2), (d)(2)(C) and (d)(5)(B).

       8.      Congress enacted CAFA to “curb abuse in class actions and keep cases of national

importance in federal court.” Anthony v. Serv. Corp. Int’l, 2011 WL 1343195, at *2 (W.D.N.C.

Mar. 18, 2011), report and recommendation adopted, 2011 WL 1343159 (W.D.N.C. Apr. 8, 2011).

Courts “are obliged to construe and apply CAFA’s grant of federal court jurisdiction broadly, and

to apply the three removal exceptions in a narrow fashion.” Dominion Energy, Inc. v. City of

Warren Police & Fire Ret. Sys., 928 F.3d 325, 336 (4th Cir. 2019); see S. Rep. No. 109-14, at 43

(“[S]ection 1332(d) is intended to expand substantially federal court jurisdiction over class actions.

                                                   3

     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 3 of 129
Its provisions should be read broadly, with a strong preference that interstate class actions should

be heard in a federal court if properly removed by any defendant.”).

       9.        Under CAFA, when the number of members of a putative class as defined in the

complaint exceeds 100 individuals, federal courts have original jurisdiction over “any civil action

in which the matter in controversy exceeds the sum or value of $5,000,000, exclusive of interest

and costs, and is a class action in which . . . any member of a class of plaintiffs is a citizen of a

state different from any defendant.” 28 U.S.C. §§ 1332(d)(2)(A), (d)(5)(B). “When the foregoing

three criteria . . . are satisfied, a defendant sued in a class action in a state court is presumptively

entitled to remove the proceedings to federal court.” Dominion Energy, Inc., 928 F.3d, at 330; see

28 U.S.C. § 1453(b).

       10.       A defendant’s notice of removal need only contain a “short and plain statement of

the grounds for removal.” Scott v. Cricket Commc’ns, LLC, 865 F.3d 189, 194 (4th Cir. 2017);

see also Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 87 (2014). Under

CAFA, federal courts must accept a removing defendant’s “plausible allegations” regarding

jurisdiction. Scott, 865 F.3d at 194. If a plaintiff challenges those allegations, the removing

defendant must “demonstrate” the Court’s jurisdiction by a preponderance of the evidence. Id. at

196-97; see also Hamilton v. Arcan Cap., LLC, 2019 WL 1322535, at *2 (M.D.N.C. Mar. 22,

2019) (explaining further that “there is no presumption in favor of remand when cases are removed

under CAFA.”); Priselac v. Chemours Co., 2021 WL 4303768, at *4 (E.D.N.C. Sept. 20, 2021).

       11.       This action satisfies all requirements for removal under CAFA, as established by

the Complaint.




                                                   4

     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 4 of 129
       Putative Class Size (28 U.S.C. § 1332(d)(5)(B)).

       12.     Removal is proper under 28 U.S.C. § 1332(d)(5)(B) because the number of

members of the proposed class exceeds 100.

       13.     Specifically, Plaintiff asserts that he seeks to represent both a Nationwide Class and

a California Subclass. Compl. ¶ 37-38.

       14.     The Nationwide Class is defined as:

               All Bank of America personal accountholders who, during the
               applicable statute of limitations through the date of class
               certification, were charged Incoming Wire Transfer Fees.

               Compl. ¶ 37.

       15.     The California Subclass is defined as:

               All Bank of America personal accountholders in the State of
               California who, during the applicable statute of limitations through
               the date of class certification, were charged Incoming Wire
               Transfer Fees.

               Compl. ¶ 38.

       16.     The Nationwide Class definition clearly encompasses more than 100 people

because, as drafted, it literally includes “[a]ll Bank of America personal accountholders” who were

“charged Incoming Wire Transfer fees.” Compl. at ¶ 37. Plaintiff himself alleges that the Class

“consists of at least thousands of members.” Id. at ¶ 41.

       17.     Accordingly, the number of putative class members exceeds 100, and CAFA’s

numerosity requirement is satisfied. See 28 U.S.C. § 1332(d)(5)(B).

       Citizenship of the Parties (28 U.S.C. § 1332(d)(2)(C)).

       18.     CAFA applies when “any member of a class of plaintiffs is a citizen of a State

different from any defendant.” 28 U.S.C. § 1332(d)(2)(A).




                                                 5

     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 5 of 129
       19.     For purposes of diversity of citizenship, Plaintiff is a citizen of California because

Plaintiff alleges he is a resident of California. Compl. ¶ 8. Additionally, Bank of America’s

account records indicate that Plaintiff has a California address.

       20.     For purposes of diversity of citizenship, Bank of America is a citizen of North

Carolina because it is a national banking association and its articles of association designate its

main office as located in Charlotte, North Carolina. See Wachovia Bank v. Schmidt, 546 U.S. 303,

318 (2006) (holding that national bank is a citizen of the State in which its main office, as set forth

in its articles of association, is located); Navy Fed. Credit Union v. LTD Fin. Servs., LP, 972 F.3d

344, 361 (4th Cir. 2020) (same).

       21.     Accordingly, because at least one member of the purported class is a citizen of a

state different from any defendant, this action satisfies CAFA’s minimal diversity requirement.

       Amount in Controversy (28 U.S.C. § 1332(d)(2)).

       22.     For removal purposes, establishing the amount in controversy under CAFA

requires only that a defendant provide a short and plain statement of the basis for jurisdiction—the

equivalent of that required for a plaintiff filing a complaint. Dart, 574 U.S. at 81. This means “a

defendant’s notice of removal need only include a plausible allegation that the amount in

controversy exceeds the jurisdictional threshold.” Id.; Bartels v. Saber Healthcare Grp., LLC, 880

F.3d 668, 673 n.2 (4th Cir. 2018) (same).

       23.     While Bank of America denies that Plaintiff is entitled to recover any amount, and

specifically denies that certification of any class is proper, Plaintiff’s allegations, requests for

relief, and putative Nationwide Class definition plausibly place the amount in controversy in this




                                                  6

     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 6 of 129
case    above    CAFA’s     $5,000,000    aggregate    threshold    for   jurisdictional   purposes.2

28 U.S.C. §§ 1332(d)(2) and (6).

        24.      For purposes of CAFA’s amount-in-controversy requirements, the claims of

individual class members are aggregated. 28 U.S.C. § 1332(d)(6) (“In any class action, the claims

of individual class members shall be aggregated to determine whether the matter in controversy

exceeds the sum or value of $5,000,000, exclusive of interest and costs.”); see Hooks v. Am. Med.

Sec. Life Ins. Co., 2006 WL 2504903, at *3 (W.D.N.C. Aug. 29, 2006) (citing 28 U.S.C.

§ 1332(d)(6)).

        25.      In analyzing the amount-in-controversy under CAFA, the Court considers the full

amount the plaintiff has placed in controversy, not the amount the plaintiff is likely to recover. See

Anthony, 2011 WL 1343195, at *3 (“The well-settled test in the Fourth Circuit for calculating the

amount in controversy is ‘the pecuniary result to either party which [a] judgment would

produce.’”) (quoting Dixon v. Edwards, 290 F.3d 699, 710 (4th Cir. 2002)).

        26.      Here, Plaintiff seeks to recover “Incoming Wire Transfer Fees” on his behalf and

on behalf of a putative class of “[a]ll Bank of America personal accountholders who, during the

applicable statute of limitations throughout the date of class certification, were charged Incoming

Wire Transfer Fees.” Compl. at Prayer for Relief. These Incoming Wire Transfer Fees include

the $15.00 fee that Bank America allegedly charges “for all incoming domestic wires.” Compl. ¶

19 n.2. Plaintiff alleges that he was charged a $15.00 domestic incoming wire transfer fee on one

occasion. Id. ¶ 37.



2
  See Scott, 865 F.3d at 196 (“The key inquiry in determining whether the amount-in-controversy
requirement is met is not what the plaintiff will actually recover but ‘an estimate of the amount
that will be put at issue in the course of the litigation.’”) (citing McPhail v. Deere & Co., 529
F.3d 947, 956 (10th Cir. 2008)).

                                                  7

       Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 7 of 129
       27.     Plaintiff seeks, on behalf of himself and the putative class, “Restitution of all

Incoming Wire Transfer Fees,” “Disgorgement,” and “Actual Damages.” Compl. at Prayer for

Relief. Bank of America’s preliminary investigation identified over 334,000 “Bank of America

personal accountholders” who were “charged Incoming Wire Transfer fees” during the alleged

class period—this alone places more than $5,000,000 in controversy.

       28.     Plaintiff also seeks treble damages with respect to the UDTPA claim. Compl. ¶ 75.

Trebled damages are included in the amount-in-controversy calculation. R.L. Jordan Oil Co. v.

Boardman Petroleum, Inc., 23 F. App’x 141, 145 n.3 (4th Cir. 2001). This request, along with the

request for disgorgement and restitution, places more than $5,000,000 in controversy.

       29.     The Complaint also seeks attorneys’ fees, which increase the amount in

controversy. Compl. at Prayer for Relief. Attorneys’ fees are considered in the amount in

controversy where they are authorized by state statute, as they are under the UDTPA, N.C.G.S.

75-16.1. See Bartnikowski v. NVR, Inc., 307 F. App’x 730, 736 n.12 (4th Cir. 2009) (when “North

Carolina statute provides for the recovery of attorneys’ fees as a substantive right, they are properly

includable in the amount in controversy estimate.”) (citing Mo. State Life Ins. Co. v. Jones, 290

U.S. 199, 202 (1933)).

       30.     Plaintiff also seeks “injunctive relief.” Compl. ¶ 4. “In actions seeking . . .

injunctive relief, it is well established that the amount in controversy is measured by the value of

the object of the litigation.” Hunt v. Washington State Apple Advertising Com’n, 432 U.S. 333,

347 (1997).

       31.     Thus, the total amount in controversy in this matter surpasses the $5,000,000

jurisdictional threshold set by 28 U.S.C. § 1332(d)(2).




                                                  8

     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 8 of 129
         No Exception to CAFA Jurisdiction Exists.

         32.    Although Bank of America denies that it bears the burden of showing that CAFA’s

exceptions to jurisdiction in 28 U.S.C. §§ 1332(d)(4), (5), and (9) are inapplicable, none apply.

         33.    First, the exceptions in 28 U.S.C. § 1332(d)(4) do not apply because less than two-

third of the proposed nationwide class members are citizens of North Carolina, the state in which

the action was originally filed.

         34.    Second, the exception in 28 U.S.C. § 1332(d)(5)(A) does not apply because Bank

of America is not a State, State official, or other governmental entity.

         35.    Third, the exception in 28 U.S.C. § 1332(d)(5)(B) does not apply because, as

previously indicated, the number of putative class members is greater than 100.

         36.    Finally, the exception in 28 U.S.C. § 1332(d)(9) does not apply because this case

does not involve a claim under the securities laws and does not “relate[] to the internal affairs or

governance of a corporation or other form of business enterprise” or “arise[] under or by virtue of

the laws of the State in which such corporation or business enterprise is incorporated or organized.”

28 U.S.C. § 1332(d)(9)(B).

     OTHER PROCEDURAL REQUIREMENTS FOR REMOVAL ARE SATISFIED

         37.    This Is the Proper Court. Pursuant to 28 U.S.C. §§ 1332(d), 1441(a) and 1446(a),

this Notice is being filed in the United States District Court for the Western District of North

Carolina, which is the district embracing the country where the Aseltine Action was originally

filed.

         38.    Removal is Timely. This removal is timely under 28 U.S.C. § 1446(b)(1) because

Bank of America removed the State Court Action within 30 days of service of the Complaint on

Bank of America. See 28 U.S.C. § 1446(b)(1) (“The notice of removal of a civil action or



                                                  9

     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 9 of 129
proceeding shall be filed within 30 days after the receipt by the defendant, through service or

otherwise, of a copy of the initial pleading setting forth the claim for relief upon which such action

or proceeding is based, or within 30 days after the service of summons upon the defendant if such

initial pleading has then been filed in court and is not required to be served on the defendant,

whichever period is shorter.”); see also Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526

U.S. 344, 354 (1999). Bank of America was served the Complaint on March 27, 2023.

       39.     Signature. This Notice is signed pursuant to Fed. R. Civ. P. 11. See 28 U.S.C.

§ 1446(a).

       40.     Copies of Pleadings. A true and accurate copy of all process and pleadings filed in

the state court is attached hereto as Exhibit A. See 28 U.S.C. § 1446(a).

       41.     Notice of Filing of Notice of Removal. Attached as Exhibit B is a copy of the

Notice of Filing of Notice of Removal, without exhibits, which will be promptly filed with the

Clerk of the Superior Court of Mecklenburg County, North Carolina and served on Plaintiff’s

counsel in compliance with 28 U.S.C. § 1446(d).

       42.     Bond and Verification. Pursuant to § 1016 of the Judicial Improvements and

Access to Justice Act of 1988, no bond or verification is required in connection with this Notice

of Removal.

       43.     Filing Fee. Bank of America has paid the appropriate filing fee to the Clerk of this

Court upon the filing of this Notice.

                                          CONCLUSION

       Based upon the foregoing, this Court has original jurisdiction over the Aseltine Action

pursuant to 28 U.S.C. §§ 1331 and 1332, and the action is properly removed to this Court under

28 U.S.C. §§ 1441 and 1446 and should proceed in the United States District Court for the Western



                                                 10

    Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 10 of 129
District of North Carolina. In the event that Plaintiff seeks to remand this case, or the Court

considers remand sue sponte, Bank of America respectfully requests the opportunity to submit

such additional argument or evidence in support of removal as may be necessary.




Dated: April 25, 2023                  Respectfully submitted,


                                       By:    /s/ Bradley R. Kutrow
                                              BRADLEY R. KUTROW
                                              N.C. State Bar No. 13851
                                              MCGUIRE WOODS LLP
                                              201 North Tryon Street, Ste. 3000
                                              Charlotte, NC 28202-2146
                                              Telephone: (704) 343-2049
                                              Facsimile: (704) 343-2300
                                              bkutrow@mcguirewoods.com



                                              LAURA A. STOLL (pro hac vice
                                              to be filed)
                                              LStoll@goodwinlaw.com
                                              GOODWIN PROCTER LLP
                                              601 South Figueroa Street, 41st
                                              Floor
                                              Los Angeles, California 90017
                                              Tel.: +1 213 426 2500
                                              Fax: +1 213 623 1673

                                              Attorneys for Defendant
                                              BANK OF AMERICA, N.A.




                                              11

    Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 11 of 129
                               CERTIFICATE OF SERVICE

       This is to certify that the undersigned has this day served the foregoing NOTICE OF
REMOVAL OF CIVIL ACTION on all parties to this cause by depositing a copy hereof, postage
prepaid, in the United States Mail, addressed to the attorney for each said party as follows:

              David M. Wilkerson
              THE VAN WINKLE LAW FIRM
              11 North Market Street
              Asheville, NC 28801
              Attorneys for Plaintiff

              Sophia Goren Gold
              KALIELGOLD PLLC
              950 Gilman Street, Ste 200
              Berkeley, CA 94710
              Attorneys for Plaintiff

              Jeffrey D. Kaliel
              KALIELGOLD PLLC
              1100 15th Street NW 4th Floor
              Washington, D.C. 20005
              Attorneys for Plaintiff

              Jeff Ostrow
              Jonathan Streisfeld
              Daniel Tropin
              KOPELOWITZ OSTROW FERGUSON WEISELBERG GILBERT
              One W. Las Olas Blvd., Suite 500
              Fort Lauderdale, FL 33301
              Attorneys for Plaintiff

       This the 25th day of April, 2023.

                                               /s/ Bradley R. Kutrow
                                               Bradley R. Kutrow




                                              12

    Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 12 of 129
             EXHIBIT A




Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 13 of 129
    STATE OF NORTH CAROLINA                                                                                                   ~ileNJJ
                                                                                                                                                   (U~ '-I~1.
     Mecklenburg                             County                                                                In The General Court of Justice
                                                                                                              D    District 1:8] Superior Court Division
  Name of Plaintiff
 Aaron Aseltine
 Address                                                                                                   CIVIL SUMMONS
 c/o David M. Wilkerson, P.O. Box 7376
 City, State, Zip
                                                                                                     □     Alias and Pluries Summons
 Asheville, North Carolina 28802-7376
                                 VERSUS                                                                                                   G.S. 1A-1, Rules 3, 4
 Name of Defendant{s)                                                              Date Ori.qinal Summons Issued
 Bank of America, N.A.
                                                                                   Date(s) Subsequent Summon(es) Issued




    To Each of The Defendant(s) Named Below:
 Name And Address of Defendant 1

 Bank of America, N.A.
 c/o CT Corporation, Registered Agent
 160 Mine Lake Ct., Ste. 200
 Raleigh, NC 27615




  A Civil Action Has Been Commenced Against You!

 You are notified to appear and answer the complaint of the plaintiff as follows:

 1. Serve a copy of your written answer to the complaint upon the plaintiff or plaintiffs attorney within thirty (30) days
    after you have been served. You may serve your answer by delivering a copy to the plaintiff or by mailing it to the
    plaintiffs last known address, and

 2. File the original of the written answer with the Clerk                ofz:             Court of the   county   named above.

 If you fail to answer the complaint, the plaintiff will apply}' th
                                                                                7 ~au t for the relief demanded in the complaint.
Name And Address of Plaintiff's Attorney {If None, Address of Plainti1
David M. Wilkerson
                                                                              o/te I SU
                                                                                       j~~. ~ ·J1         17ime
                                                                                                               I ._ w   a  □ AM                     WM
Van Winkle Law Firm
                                                                              ~ti
P.O. Box 7376
Asheville, North Carolina 28802-7376                                  \           ITDeputy CSC            D Assistant CSC        D    Clerk of Superior Court
                                                                          ~


                                                                              -
                                                                              Date of Endorsement
                                                                                                                rime
0    ENDORSEMENT                                                                                                                        □ AM □ PM
                                                                              Siqnature
     This Summons was originally issued on the date
     indicated above and returned not served. At the
     request of the plaintiff, the time within which this                         □ DeputyCSC          D Assistant CSC          D Clerk of Superior Court
     Summons must be served is extended sixty (60)
     days.

NOTE TO PARTIES:            Many Counties have MANDATORY ARBITRATION programs in which most cases where the amount in controversy is
                            $15,000 or less are heard by an arbitrator before a trial. The parties will be notified if this case is assigned for
                           mandatory arbitration, and, if so, what procedure is to be followed.

AOC-CV-100, Rev. 10/01
© 2001 Administrative Office of the Courts     {Over)
                    Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 14 of 129
                                                 j       RETURN OF SERVICE                         I
I certify that this Summons and a copy of the complaint were received and served as follows:
                                                                  DEFENDANT 1
Date Served                     I   Time Served
                                                     I □ AM   O   PM   I   Name of Defendant




□     By delivering to the defendant named above a copy of the summons and complaint.

      By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named
□     above with a person of suitable age and discretion then residing therein.

□     As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the
      person named below.
Name And Address of Person With Whom Copies Left (if corporation, give title of person copies left with)




D    Other manner of service         (specify)




D    Defendant WAS NOT served for the following reason:



                                                                  DEFENDANT 2
Dale Served                      I Time Served
                                                     I □ AM   O   PM   I   Name of Defendant




□     By delivering to the defendant named above a copy of the summons and complaint.


□     By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named
      above with a person of suitable age and discretion then residing therein.


□     As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to
      person named below.
Name And Address of Person With Whom Copies Left (if corporation, give title of person copies left with)




D    Other manner of service (specify)




D    Defendant WAS NOT served for the following reason.



Service Fee Paid                                                            Signature of Deputy Sheriff Making Return
$
Dale Received                                                               Name of Sheriff (Type or Print)


 Date of Return                                                             County of Sheriff



AOC-CV-100, Side Two, Rev. 10/01
© 2001 Administrative of the Courts

              Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 15 of 129
 STATE OF NORTH CAROLINA                                  IN THE GENERAL COURT OF JUSTICE
                                                             SUPERIOR COURT DIVISION
 MECKLENBURG COUNTY                                             No.       d:7
                                                                          Ct!:'.> C-/<fo°I
                                     1013 Mt\R - 8 P 12: 0 4
                                 ~JF CK_l umuRGCO.,       .S.C.
  AARON ASELTINE, on behalf ot liunself and
  all others similarly situated, ~ ~y                               CASE NO.
          Plaintiff,
                                       ----------
            vs.
 BANK OF AMERICA, N .A.,                                            CLASS ACTION
      Defendant.
                                                                    JURY TRIAL DEMANDED

                                    CLASS ACTION COMPLAINT

        Plaintiff Aaron Aseltine ("Plaintiff'), on behalf of himself and all persons similarly

situated, alleges the following based on personal knowledge as to allegations regarding the

Plaintiff and on information and belief as to other allegations.

                                           INTRODUCTION

        1.        Plaintiff brings this action on behalf of himself and classes of all similarly situated

consumers against Defendant Bank of America, N .A. ("Bank of America"), arising from its unfair,

deceptive, and unlawful practice of misleading personal accountholders into paying wire transfer

fees on incoming payments ("Incoming Wire Transfer Fees") and breaching its account agreement

w'ith consumers.

       2.         Banlc of America has been involved a multifaceted effort to obscure, mislead and

hide the fact that its charges $15.00 Incoming Wire Transfer Fees on certain of its personal

accountholders when they receive funds to their accounts via wire. Charging such fees is contrary

to its contractual promises and marketing representations. Among major U.S. banks, Bank of

America is an outlier in hiding the existence and amount of such Incoming Wire Transfer Fees

from its personal accountholders. And the fees themselves are prototypical "junk" fees:



                                                     1

    Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 16 of 129
 unavoidable and hidden, tacked on after the opportunity for any meaningful consumer choice has

 passed, deducted directly from consun1er accounts without consent or notice.

        3.     Plaintiff and similarly situated personal accountholders are shocked when-after

 no warnmg and no disclosure- they are assessed hefty Incoming Wire Transfer Fees after

receiving wire deposits into their accounts. Plaintiff and others like him were charged fees for

incoming wires when they had no opportunity to review, limit, or avoid the fee.

        4.     Plaintiff, on behalf of himself and the Classes (defined below), seeks to end Bank

of America's deceptive practices and force it to refund improper Incoming Wire Transfer Fees.

Plaintiff seeks damages, restitution, and injunctive relief, as set forth more fully below.

                                 JURISDICTION AND VENUE



        5.    This is an action for injunctive relief, violation of state consumer protection laws,

and breach of contract. The amount in controversy exceeds $25,000 exclusive of interest, costs,

and attorneys' fees.


       6.     Defendant is subject to personal jurisdiction in North Carolina as its principal place

of business is in Charlotte, North Carolina.


       7.     Venue for this action is proper in this Court pursuant to N.C. Gen. Stat. §1-82

because Defendant Bank of America, N.A. resides in Mecklenburg County.


                                               PARTIES

       8.     Plaintiff is a citizen and resident of El Cerrito, California. Plaintiff maintains a

personal bank account at Bank of America.

       9.     Defendant Bank of America is a national bank with its headquarters and principal


                                  2
    Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 17 of 129
place of business in Charlotte, North Carolina. Among other things, Bank of America is engaged

 in the business of providing retail banking services to consumers, including Plaintiff and members

of the putative Classes.

                      FACTUAL BACKGROUND AND GENERAL ALLEGATIONS

        i. Bank of America's Account Documents Promise to Fully Disclose All Fees Charged
           on Accounts, But Never Discloses the Existence or Amount of Incoming Wire
           Transfer Fees

           10.       The relevant contractual documents are the Deposit Agreement and Disclosures (Ex.

1), Personal Schedule of Fees (Ex. 2), Online Banking Agreement (Ex. 3), and Wire Transfers

FAQs (Ex. 4) (collectively, the "Account Documents").1

           11.       Bank of America's Personal Schedule of Fees expressly promises to "list[] the fees

associated with your account and ways to avoid them when applicable." Ex. 2 at 2 (emphasis

added).

           12.       The Deposit Agreement repeatedly makes this same promise:

           The Schedule ofFees lists our accounts and account fees.

    Ex. 1, at 2 (emphasis in original).

           The Personal Schedule ofFees describes our personal accounts and lists applicable
           fees.

Id., at 10 (emphasis in original).

          Account Fees Your account is subject to the fees described in the Schedule ofFees
          that applies to your account.

                 •   The Personal Schedule ofFees lists account fees that apply to our personal
                     deposit accounts.




1
  The versions of the Account Documents attached as exhibits are representative examples during
the relevant time period.
                                     3
       Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 18 of 129
               •    The schedule that applies to your account is part of the binding contract
                    between you and us.

Id., at 17 (emphasis in original).

        13.        This commonsense contractual promise-that the Bank will only charge fees it

warns consumers about first-is also required by federal law. Indeed, banks are required to

disclose " [t]he amount of any fee that may be imposed in connection with the account (or an

explanation of how the fee will be determined) and the conditions under which the fee may be

imposed." 12 CFR § 1030.4.

        14.        Despite promising to disclose all fees and the law requiring such disclosure, none of

the Account Documents ever disclose the existence of or amount of the challenged Incoming Wire

Transfer Fees.

        15.        Because Bank of America expressly promised it would disclose all fees it would

charge, and because it totally failed to disclose Incoming Wire Transfer Fees in any contract

document, it was not permitted to charge such fees.

        16.        Further, and as discussed infi·a, the Account Documents promised that it would not

charge Incoming Wire Transfer Fees at all.

    i. Bank of America's Account Documents Promise Not to Charge Wire Transfer Fees
       on Incoming Wires

        17.        With respect to fees for wire transfers, the Personal Schedule of Fees states:

       Wire Transfers, Incoming or Outgoing ... .Fee varies

       []We may change the fees for wire transfers and drafts at any time. Visit a financial
       center or call us at the number on your statement for current fees .

Ex. 2 at 14.

        18.        The Personal Schedule of Fees nowhere states the amount of such a fee for an

incoming wire or the circumstances in which such fees will be charged. Instead, it places the

                                                      4
    Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 19 of 129
    burden on the consumer to seek out answers to these basic questions by calling or asking a banker.

            19.   Accordingly, the Personal Schedule of Fees did not authorize Bank of America to

    assess $ 15 .00 Incoming Wire Transfer Fees. 2

           20.    Nor does any other contractual document authorize Bank of America to charge such

    fees. To the contrary, the other contractual documents clarify no such fees will be charged. The

    Online Banking Agreement (Ex. 3) purports to list all forms of "ACH and Wire transfers" and the

    fees associated with such fees:

           You may send and receive the following types of ACH and Wire transfers:


                                                                                             Cut-Off
                                                                                             Times
                                      Sending         Receiving
     Types of Transfers 1• 2          Limits (per     Limits (per       Fees4
                                                                                             (all
                                      transaction)3   transaction) 3
                                                                                             eastern
                                                                                             PM)

     Three Business Day
     ACH (outbound)
        • Consumer
        • Small Business              • $1000         •   NIA           •   $3.00        • 8:00
                                      •   $5000                         •   $ 1.00       •     8:00

    Three Business Day
    ACH (inbound)
       • Consumer
                                      • NIA           •   $1,000        •   $0.00        •     8:00

    Next Business Day ACH
    (outbound)
       • Consumer
       • Small Business               •   $1000       • NIA            • $10.00          •     8:00
                                      •   $5000                        • $5.00           •     8:00




2
 Apart from being entirely uninformative, "fee varies" is inaccurate. During the relevant time
period, Bank of America charged $15.00 for all incoming domestic wires.

                                     5
       Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 20 of 129
  Next Business Day ACH
  (inbound)5
      • Consumer
                                 • NIA              •   $1,000         •   $0.00         • 8:00

  Same Business Day
  (domestic) Wire Transfer
  (outbound)
     • Consumer
     • Small Business            •   $1000          •   NIA            •   $30.00        •   5:00
                                 •   $5000                             •   $30.00


  International Wire
  Transfer (outbound)6
      • Consumer
                                 •   $1000          • NIA              •   $45.00        •   5:00
                                                                           (US
                                                                           Dollar
                                                                           tr·ansfer)
     •     Small Business        • $5000                               •   $0.00
                                                                           (Foreign
                                                                           ctmency
                                                                           transfer)
                                                                       •   $45.00
                                                                           (US
                                                                           Dollar
                                                                           transfer)
                                                                           $0.00
                                                                           (Foreign
                                                                           currency
                                                                           transfer)


Ex. 3 (emphasis added and footnotes omitted).

         21.   Tellingly, no fee for incoming wire transfers is listed at all- indeed, incoming wire

transfers are nowhere included in the supposedly all-inclusive list of fees for sending and receiving

"ACH and Wire transfers."

         22.   By operation of the basic contract-reading maxim expressio unius est exclusio

alterius, Bank of America's total exclusion of incoming wire transfers from its supposedly all-


                                   6
     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 21 of 129
inclusive fee chart must mean one thing: there will be no fees on incoming wire transfers.

       23.    This same promise is reaffirmed in the Wire Transfer FAQ, which states:

       Q: Are there fees and limits for domestic and international wire transfers?

       A : Fees and limits may apply, depending on your account type and the type of wire.
       You will be able to review any fees and limits before completing your wire transfer in
       Online Banking. Latest transfer limits are also available in our Online Banking
       service agreement. For Remittance Transfers, we're required by law to inform you of the
       exact fees you will incur for international wires, including fees from other banks. For some
       requests, we won't have the exact fees from other banks and therefore will not be able to
       process it. If your request was in US dollars, you may try again in foreign currency - this
       may help us determine the exact fees incurred for this transaction and enable us to send the
       wire request successfully.

Ex. 4 (emphasis added).

       24.    By promising customers that they "will be able to review any fees and limits before

completing your wire transfer," Bank of America reasonably reaffirms that only outgoing wire

transfers will incur fees, since those are the only fees disclosed "before completing your wire

transfer in Online Banking."

       25.    Based on these contractual disclosures, Plaintiff reasonably understood he would not

have been charged any fee for an incoming wire transfer.

C.     Bank of America's Deceptive Intent in Hiding Incoming Wire Transfer Fees

       26.    Because Incoming Wire Transfer Fees are a major source of income for Bank of

America; because consumers assessed such fees have no control over them; and because Bank of

America has hoped consumers will not notice such fees when they receive wires (which is, of

course, a passive event not controlled by consumers), Bank of America has engaged in an effort

to obscure and hide the presence and amount of its Incoming Wire Transfer Fees.

       27.    Indeed, of all of the bank fees charged by Bank of America, the only one it never

affirmatively discloses the existence or amount of is the Incoming Wire Transfer Fee.



                                   7
     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 22 of 129
             28.   As above, despite agreeing to do so, Bank of America never discloses the existence

 or amount of such fees, instead coyly requiring consumers to call and ask if or when these fees

 will be charged and the amount of such fees.

            29.    Fee disclosures are important to reasonable consumers like Plaintiff. Research

shows that fees are the most important factor influencing consumers' selection of a new banking

provider. See Ron Shevlin, "How Consumers Choose a Bank: A Tale of Two Surveys." Insight

Vault, Cornerstone Advisors, 23 Aug. 2018, www.crnrstone.com/insightvault/2018/08/23/how-

consumers-choose-a-bank-a-tale-of-two-surveys/ (summarizing two consumer surveys that

revealed that the most important factor influencing consumers' selection of a new banking provider

is the amount of fees charged); Claire Greene and Joanna Stavins, The 2016 and 2017 Surveys of

Consumer Payment Choice: Summary Results . Federal Reserve Bank of Boston, 10 May 2018,

www.bostonfed.org/publications/research-data-report/2018/the-2016-and-2017-surveys-of-

consumer:payment-choice-summary-results.aspx (finding that 4 in 10 consumers who did not

have a bank account cited expense as the reason, including ''fees and service charges are too

high. ").

            30.    Bank of America is an outlier in the industry in hiding the existence and amount of

Incoming Wire Transfer Fees from its personal accountholders. Numerous other banks that assess

an Incoming Wire Transfer Fee disclose both its existence and the an1ount. For instance, Wells

Fargo' s account documents contain the below unambiguous disclosure:




                                   8
     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 23 of 129
      Service Fees (continued)
       Research and verification                                                                                125
       of accounts                                                                                                    per hour {12 5 minimum)

       Stop payments                    Paper or ACH It em                                                      131 each


       Wire transfers                                                                                           International
      Incoming or outgoing                                               Domestic
      dornesuc w ,res that contain                                                                U.S. currency                  Foreign currency
      incorrect information may
      be subject m multiple fees
                                        Incoming                          1
                                                                           15 each                   '16 each                         ' 16 each
      assessed by I he Bank
                                        Outgoing
                                                                                                                           1   35 each (Wires initiated
      In addi tion to any fees. the                                       '30 each                   '45 each
                                                                                                                               Online and Mobile 'OJ
      exchange ,-ate used when
      we convert one currency to        Repetitive outgoing               125   each                 '40 each                         '30 each
      another ,ncludes a markup. ' ·'



      Wire transferfees charged by
      third parties or other banks      Third parties or other banks may charge fees in addition ro those described above




    https://www.wellsfargo.com/fetch-pdf?formNumber=CNS2013&subProductCode=ANY

    (accessed March 2, 2023 .)

             31.        Most other major banks offer similar disclosures, including TD Bank,3 PNC Bank,4

Union Bank,5 and US Bank. 6

             32.        The assessment of unavoidable and undisclosed fees is by definition deceptive.

Indeed, the Consumer Financial Protection Bureau calls these ''junk fees" and defines them as

follows:

            Exploitative junk fees charged by banks and non-bank financial institutions have
            become widespread, with the potential effect of shielding substantial portions of
            the true price of consumer financial products and services from competition. The
            CFPB is concerned about fees that far exceed the marginal cost of the service they
            purport to cover, implying that companies are not just shifting costs to consumers,
            but rather, taking advantage of a captive relationship with the consumer to drive

3
  https://www.feeds.td.com/en/document/oao/pdf/ 1_ fees.pdf (accessed March 2, 2023)
4
  https ://www.pnc.com/ content/darn/pnc-com/pdf/personal/Checking/service-charges-standard-
checking-A. pdf (accessed March 2, 2023.)
5
  https ://assets. unionbank. com/assets/file/personal/ disclosures/fee-schedule-consumer.pdf
(accessed March 2, 2023).
6
  https://www.usbank.com/darn/documents/pdf/deposits/consumer-pricing-information/deposit-
products.pdf (accessed March 2, 2023).

                                      9
        Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 24 of 129
        excess profits. Excessive and exploitative fees, whether predictable and transparent
        to the customer or not, can add up and pose significant costs to people, especially
        those with low wealth and income.

        Many Americans have experienced inflated or surprise fees that, however
        nominally voluntary, are not meaningfully avoidable or negotiable in the moment.

 Request for Information Regarding Fees Imposed by Providers of Consumer Financial Products

 or Services, Federal Register Vol. 87, No. 22 (February 2, 2022) (accessed online,

 https://www.govinfo.gov/content/pkg/FR-2022-02-02/pdf/2022-02071.pdf.)

        33.     Bank of America's Incoming Wire Transfer Fees are an especially problematic junk

fee because an accountholder does not even do anything or request a service when it receives an

inbound wire.

        34.     Th.at is why many financial institutions refuse to charge such fees at all, at least for

domestic transfers. Financial institutions which do not charge such fees include, inter alia, Capital

One, USAA FSB, Ally Bank, Alliant Credit Union, Charles Schwab, Discover, Fidelity,

Synchrony, and Village Bank.

D.      Plaintiff's Incoming Wire Transfer Fees

       35.    Plaintiff maintains a checking account with Bank of America.

       36.    As an example, on October 18, 2022, Plaintiff received an incoming wire transfer.

       37.    To Plaintiffs surprise, and contrary to Bank of America's promises or

representations, he was charged a $15.00 Incoming Wire Transfer Fee for that incoming wire

transfer without the opportunity to review, let alone choose, whether he wanted to incur the fee.

                                     CLASS ALLEGATIONS

       36.    Plaintiff brings this action on behalf of themselves and all others similarly situated

pursuant to Rule 23 of the North Carolina Rules of Civil Procedure. This action satisfies the

numerosity, commonality, typicality, adequacy, predominance and superiority requirements.



     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 25 of 129
        37.    The proposed "Nationwide Class" is defined as:

        All Bank of America personal accountholders who, during the applicable statute of
        limitations through the date of class certification, were charged Incoming Wire
        Transfer Fees.

        38.    The alternative California state subclass ("California Subclass") is defined as:

        All Bank of America personal accountholders in the state of California who, during
        the applicable statute of limitations through the date of class certification, were
        charged Incoming Wire Transfer Fees.

        39.    The Nationwide Class and California Subclass defined above are collectively

referred to herein as the "Classes." Plaintiff reserves the right to modify or amend the definitions

of the proposed Classes before the Court determines whether certification is appropriate.

        40.    Excluded from the Classes are Bank of America, its parents, subsidiaries, affiliates,

officers and directors, any entity in which Bank of America has a controlling interest, all personal

accountholders who make a timely election to be excluded, governmental entities, and all judges

assigned to hear any aspect of this litigation, as well as their immediate family members.

        41.   The members of the Classes are so numerous thatjoinder is impractical. The Classes

consist of at least. thousands of members, the identity of whom is within the knowledge of, and can

be ascertained only by resort to, Bank of America's records.

       42.    The claims of the representative Plaintiff are typical of the claims of the Classes he

seeks to represent in that the representative Plaintiff, like all members of the Classes, was charged

improper and deceptive fees as alleged herein. The representative Plaintiff, like all members of the

Classes, was damaged by Bank of America's misconduct in that he was assessed deceptive

Incoming Wire Transfer Fees. Furthermore, the factual basis of Bank of America's misconduct is

common to all members of the Classes and represents a common thread of unfair and

unconscionable conduct resulting in injury to all members of the Classes. And Bank of America



                                   11
     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 26 of 129
 has no unique defenses that would apply to Plaintiff and not the Classes.

         43.    There are numerous questions of law and fact common to the Classes and those

 common questions predominate over any questions affecting only individual members of the

 Classes.

         44.    Among the questions of law and fact common to the Classes include the following:

         a.      Whether Bank of America violated the consumer protection laws of North Carolina

                 and California by charging Incoming Wire Transfer Fees, and whether its conduct

                 was deceptive;

         b.      Whether Bank of America breached its contract with members of the Classes by

                charging Incoming Wire Transfer Fees;

         c.     Whether Bank of America breached the duty of good faith and fair dealing;

         d.     The proper method or methods by which to measure damages and/or restitution

                and/or disgorgement; and

        e.      Whether Plaintiff and the Classes are entitled to declaratory and injunctive relief

                and the nature of that relief.

        45.    Plaintiffs claims are typical of the claims of other members of the Classes, in that

they arise out of the same wrongful Bank of America Incoming Wire Transfer Fees policies and

practices. Plaintiff has suffered the harm alleged and has no interests antagonistic to the interests

of any other member of the Classes.

        46.    Plaintiff is committed to the vigorous prosecution of this action and have retained

competent counsel experienced in the prosecution of class actions and, in particular, consumer

class actions against financial institutions. Accordingly, Plaintiff is an adequate representative and

will fairly and adequately protect the interests of the Classes.



                                                  12
     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 27 of 129
        47.      A class action is superior to other available methods for the fair and efficient

 adjudication of this controversy. Since the amount of each individual member of the Classes'

 claim is small relative to the complexity of the litigation, and due to the financial resources of

 Bank of America, no member of the Classes could afford to seek legal redress individually for the

 claims alleged herein. Therefore, absent a class action, the members of the Classes will continue

 to suffer losses and Bank of America's misconduct will proceed without remedy.

        48.     Even if members of the Classes themselves could afford such individual litigation,

the court system could not. Given the complex legal and factual issues involved, individualized

litigation would significantly increase the delay and expense to all parties and to the Court.

Individualized litigation would also create the potential for inconsistent or contradictory rnlings.

By contrast, a class action presents far fewer management difficulties, allows claims to be heard

which might otherwise go unheard because of the relative expense of bringing individual lawsuits,

and provides the benefits of adjudication, economies of scale and comprehensive supervision by a

single court.

       49.      Plaintiff knows of no difficulty to be encountered in the maintenance of this action

that would preclude its treatment as a class action.

       50.      Bank of America has acted or refused to act on grounds generally applicable to each

of the Classes, thereby making appropriate final injunctive relief or corresponding declaratory

relief with respect to each Classes as a whole.

       51.      All conditions precedent to bringing this action have been satisfied and/or waived.

       52.      In the alternative, Plaintiff asserts that state specific California Subclass (as alleged

supra) can be certified and tried on a common basis.

                                  FIRST CLAIM FOR RELIEF
                            Breach of Contract Including Breach of the


                                  13
    Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 28 of 129
                             Covenant of Good Faith and Fair Dealing
                              (On Behalf of Plaintiff and the Classes)

         53.    Plaintiff incorporates by reference each of the allegations set forth in the preceding

 paragraphs.

         54.    Plaintiff (and fellow members of the Classes) and Bank of America have contracted

 for bank account deposit and checking services, as embodied in the Account Documents

         55.   For the reasons alleged herein, the Account Documents bar Bank of America from

 assessing Incoming Wire Transfer Fees.

        56.    Bank of America charged Incoming Wire Transfer Fees against Plaintiff and

 members of the Classes.

        57.    Therefore, Bank of America breached the terms of the Account Documents that form

the contract with consumers by charging Incoming Wire Transfer Fees.

        58.    Additionally, under the laws of each state where Bank of America does business and

has personal accountholders, good faith is an element of every contract. Whether by common law

or statute, all such contracts impose upon each party a duty of good faith and fair dealing. Good

faith and fair dealing, in connection with executing contracts and discharging performance and

other duties according to their terms, means preserving the spirit - not merely the letter - of the

bargain. Put differently, the parties to a contract are mutually obligated to comply with the

substance of their contract in addition to its form. Evading the spirit of the bargain and abusing

the power to specify terms constitute examples of bad faith in the performance of contracts.

       59.     Subterfuge and evasion violate the obligation of good faith in performance even

when an actor believes their conduct to be justified. Bad faith may be overt or may consist of

inaction, and fair dealing may require more than honesty. Examples of bad faith are evasion of

the spirit of the bargain, willful rendering of imperfect performance, abuse of a power to specify


                                                 14
     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 29 of 129
 terms, and interference with or failure to cooperate in the other party's performance.

          60.    Bank of America has breached the covenant of good faith and fair dealing in the

Account Agreement through its Incoming Wire Transfer Fees policies and practices as alleged

herein.

          61.    Instead of exercising that discretion in good faith and consistent with Plaintiffs

reasonable expectations, Bank of America abuses that any discretion afforded to it by the Account

Documents to assess Incoming Wire Transfer Fees and take money out of Plaintiffs accounts

without their permission and contrary to his reasonable expectations that he will not be charged

Incoming Wire Transfer Fees. Specifically, Bank of America regularly charges Incoming Wire

Transfer Fees.

          62.   By exercising its discretion to enrich itself by gouging its consumers, Bank of

America consciously and deliberately frustrates the agreed common purposes of the contract and

disappoints the reasonable expectations of Plaintiff and members of the Classes, thereby depriving

them of the benefit of their bargain.

          63.   In addition, Bank of America, to the extent that Bank of America grants itself

discretion to charge- or not to charge- Incoming Wire Transfers Fees, when it charges Incoming

Wire Transfers Fees, Bank of America breaches the covenant of good faith and fair dealing.

       64.      Plaintiff and members of the Classes have performed all, or substantially all, of the

obligations imposed on them under the contract.

       65.      Plaintiff and members of the Classes have sustained damages as a result of Bank of

America's breach of contract and breach of the covenant of good faith and fair dealing.

                              SECOND CLAIM FOR RELIEF
                   North Carolina's Unfair & Deceptive Trade Practices Act
                       (On Behalf of Plaintiff and the Nationwide Class)



                                   15
     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 30 of 129
         66.    Plaintiff incorporates by reference each of the allegations set forth in the preceding

 paragraphs.

         67.    Application of North Carolina law to the Nationwide-Class with respect to Plaintiff's

 and Nationwide Class members' claims is neither arbitrary nor fundamentally unfair because

 North Carolina has significant contacts and a significant aggregation of contacts that create a state

 interest in the claims of Plaintiff and the Nationwide Class.

         68.    The State of North Carolina has a significant interest in regulating the conduct of

 businesses operating within its borders. North Carolina, which seeks to protect the rights and

 interests of North Carolina and all residents and citizens of the United States against a company

 headquartered and doing business in North Carolina, has an interest in the Plaintiffs claims.

         69.    The principal place of business of Bank of America in Charlotte, North Carolina, is

 the "nerve center" of its business activities-the place where its high-level officers direct, control,

and coordinate the corporation's activities, including account and major policy, financial, and legal

decisions related to Incoming Wire Transfer Fees. Bank of America's corporate decisions

regarding how to misrepresent and assess Incoming Wire Transfer Fees were made from and in

North Carolina.

        70.    Under choice of law principles, the common law of North Carolina applies to the

nationwide common law claims of all Nationwide Class members. Additionally, given North

Carolina's significant interest in regulating the conduct of businesses operating within its borders,

N01ih Carolina's consumer protection statutes may be applied to non-resident consumer plaintiffs.

        71.    As alleged herein, Bank of America violated N.C.G.S. § 75.1-1 et seq. when it

affirmatively and knowingly misrepresented its Incoming Wire Transfer Fees.                      Such

misrepresentations misled Plaintiff and are likely to mislead the public.



                                                  16
     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 31 of 129
        72.   Specifically, Plaintiff reasonably relied on Bank of America's misrepresentations

regarding its Incoming Wire Transfer Fees practices. Specifically, Plaintiff did know not he would

be charged Incoming Wire Transfer Fees and did not know the amount of the fee. If Plaintiff knew

he would be charged Incoming Wire Transfer Fees, he would have arranged for an alternate form

of payment. Such misrepresentations misled Plaintiff and are likely to mislead the public. Plaintiff

seeks to enjoin Bank of America from misrepresenting this material and accurate information in

the documents that it makes available to existing personal accountholders and the general public

who might consider banking with Bank of America.

        73.   Plaintiff and members of the Nationwide Class reasonably relied on Bank of

America's misrepresentations in that Plaintiff received and reviewed the materials, including the

Account Documents, provided by Bank of America, and like any reasonable customer, understood

these documents to mean they would not be charged Incoming Wire Transfer Fees. Had Plaintiff

and others in the Nationwide Class been informed in any of the documents provided by Bank of

America that they would be subject to these practices, they would have been able to weigh the

convenience and benefits in engaging in transactions against the cost of the Incoming Wire

Transfer Fees charged by Bank of America.

        74.   Plaintiff and Nationwide Class members were actually damaged as the direct and

proximate result of Bank of America's unfair competition and unfair and deceptive trade practices.

        75.   Plaintiff is entitled to recovery of treble damages and, in the discretion of the Court,

reasonable attorneys' fees and costs by virtue of Bank of America's unfair and deceptive trade

practices.

                              THIRD CLAIM FOR RELIEF
                      Violation of California Unfair Competition Law
                          Business and Professions Code § 17200
                     (On Behalf of Plaintiff and the California Subclass)


                                  17
     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 32 of 129
         76.    Plaintiff incorporates by reference each of the allegations set forth in the preceding

paragraphs.

        77.     Plaintiff brings this claim in the alternative for the California Subclass, to the extent

the Court declines to apply North Carolina's Unfair & Deceptive Trade Practices Act to the

Nationwide Class.

        78.    Bank of America's conduct alleged herein violates the Unfair Competition Law (the

"UCL"), codified at California Business and Professions Code section 17200, et seq.

        79.    The UCL prohibits, and provides civil remedies for, unfair competition. Its purpose

is to protect both consumers and competitors by promoting fair competition in commercial markets

for goods and services. In service of that purpose, the Legislature framed the UCL's substantive

provisions in broad, sweeping language.

        80.    By defining unfair competition to include any "any unlawful, unfair or fraudulent

business act or practice," the UCL permits violations of other laws to be treated as unfair

competition that is independently actionable and sweeps within its scope acts and practices not

specifically proscribed by any other law.

        81.    The UCL expressly provides for injunctive relief and also contains provisions

denoting its public purpose.

        82.    As further alleged herein, Bank of America's conduct violates the "unfair,"

"unlawful," and "deceptive" prong insofar as Bank of America charges Incoming Wire Transfer

Fees.

        83.    Bank of America's conduct was not motivated by any legitimate business or

economic need or rationale, as demonstrated by the fact that Bank of America is an outlier in in

the industry in stating that it would disclose applicable fees but then failing to disclose the existence



                                   18
     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 33 of 129
 or amount of Incoming Wire Transfer Fees. The harm and adverse impact of Bank of America's

 conduct on members of the general public was neither outweighed nor justified by any legitimate

 reasons, justifications, or motives.

         84.   The harm to Plaintiff and members of the California Subclass arising from Bank of

 America's unfair, unlawful, and deceptive practices relating to the imposition of the improper

 Incoming Wire Transfer Fees outweighs the non-existent utility of the practice.

         85.   Bank of America's unfair business practices as alleged herein are unlawful,

 immoral, unethical, oppressive, unscrupulous, unconscionable and/or substantially injurious to

 Plaintiff, members of the California Subclass, and the general public.

        86.    Bank of America's conduct was substantially injurious to consumers in that they

have been forced to pay improper, abusive, and/or unconscionable Incoming Wire Transfer Fees.

        87.    Moreover, Bank of America's imposition of undisclosed Incoming Wire Transfer

Fees is unlawful, as the failure of its account disclosures to disclose the practice violates 12 CFR

§ 1030.4, which requires:

        The amount of any fee that may be imposed in connection with the account (or an
        explanation of how the fee will be determined) and the conditions under which the
        fee may be imposed.

Id. at (4). Bank of America violates this prong because the Account Documents fail to disclose

either the amount of the Incoming Wire Transfer Fees or the conditions under which the Incoming

Wire Transfer Fees are imposed.

        88.    Moreover, Bank of America committed fraudulent business acts and practices in

violation of Cal. Bus. & Prof. Code § 17200, et seq., when it affirmatively and knowingly

misrepresented its Incoming Wire Transfer Fees policy. Such misrepresentations misled Plaintiff

and are likely to mislead the public.



                                                19
     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 34 of 129
         89.    Specifically, Plaintiff reasonably relied on Bank of America's misrepresentations

 regarding its Incoming Wire Transfer Fees practices. Specifically, Plaintiff did not know he would

 be charged Incoming Wire Transfer Fees and did not know the amount of the fee. If Plaintiff knew

 he would be charged Incoming Wire Transfer Fees, he would have arranged for an alternate form

 of payment. Such misrepresentations misled Plaintiff and are likely to mislead the public. Plaintiff

 seek to enjoin Bank of America from misrepresenting this material and accurate information in the

documents that it makes available to existing personal accountholders and the general public who

might consider banking with Bank of America.

        90.    Plaintiff and members of the California Subclass relied on Bank of America's

misrepresentations in that they received and reviewed the materials, including the Account

Documents, provided by Bank of America, and like any reasonable customer, understood these

documents to mean they would not be charged Incoming Wire Transfer Fees. Had Plaintiff and

others been informed in any of the documents provided by Bank of America that they would be

subject to these practices, they would have been able to weigh the convenience and benefits in

engaging in transactions against the cost of the Incoming Wire Transfer Fees charged by Bank of

America.

        91.    As a result of Bank of America's violations of the UCL, Plaintiff and members of

the California Subclass have paid, and/or will continue to pay Incoming Wire Transfer Fees and

thereby have suffered and will continue to suffer actual damages.

       92.     Absent injunctive and public injunctive relief prohibiting Bank of America from

misrepresenting material information concerning its Incoming Wire Transfer Fees policy at issue

in this lawsuit, Plaintiff and other existing personal accountholders, and the general public will be

exposed to Bank of America's conduct violative of the UCL.



                                                 20
     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 35 of 129
                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff and the Classes demand a jury trial on all claims so triable and

judgment as follows:

        1.      Declaring Bank of America's Incoming Wire Transfer Fees policies and practices

to be wrongful, unfair, and unconscionable;

        2.      Restitution of all Incoming Wire Transfer Fees paid to Bank of America by Plaintiff

and the Classes, as a result of the wrongs alleged herein in an amount to be determined at trial;

        3.      Disgorgement of the ill-gotten gains derived by Bank of America from its

misconduct;

        4.      Actual damages in an amount according to proof;

        5.      Pwlitive and exernplaiy damages;

        6.      Pre-judgment interest at the maximum rate permitted by applicable law;

        7.      Costs and disbursements assessed by Plaintiff in connection with this action,

including reasonable attorneys' fees pursuant to applicable law; and

        8.      Such other relief as this Court deems just and proper.

                                  DEMAND FOR JURY TRIAL

       Plaintiff and all others similarly situated hereby demand trial by jury on all issues in this

Complaint that are so triable as a matter of right.




                                                 21
    Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 36 of 129
Dated: March 6, 2023             Respectfully submitted,


                                                                       ~
                                 By: ~2\~,?,~ '" '\\ ~ ,V¾l'--1 ~V) ·4h.t•L-     ~-   ,lZ-c__
                                 David M. Wilkerson              ,,
                                 NC State Bar No. 35742
                                 The Van Winkle Law Firm
                                 11 N01ih Market Street
                                 Asheville, NC 28801
                                 Phone: 828-258-2991
                                 Fax:    828-257-2767
                                 Email: dwilkerson@vwlawfirrn.com


                                 KALIELGOLD PLLC
                                 Sophia Goren Gold (pro hac vice to be filed)
                                 950 Gilman Street, Ste 200
                                 Berkeley, CA 94710
                                 Tel: (202) 350-4783
                                 sgold@kalielgold.com

                                 KALIELGOLD PLLC
                                 Jeffrey D. Kaliel (pro hac vice to be filed)
                                 1100 15th Street NW 4th Floor
                                 Washington, D.C. 20005
                                 Tel: (202) 350-4783
                                j kaliel@kalielpllc.com

                                KOPELOWITZ OSTROW FERGUSON
                                WEISELBERG GILBERT
                                Jeff Ostrow (pro hac vice to be filed)
                                Jonathan Streisfeld (pro hac vice to be filed)
                                Daniel Tropin (pro hac vice to be filed)
                                One W. Las Olas Blvd., Suite 500
                                Fort Lauderdale, FL 33301
                                Tel: (954) 525-4100
                                ostrow@kolawyers.com
                                streisfeld@kolawyers.com
                                tropin@kolawyers.com

                                Attorneys for Plaintiffand the Putative Classes




                                22
   Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 37 of 129
            Deposit Agreement
             and Disclosures
                                   Effective August 19, 2022




                  BANK OF AMERICA                                          qq    --
                                          bankofamerica.com
                                             Applies in all st ates.


                                                                                      @       EXHIBIT
         Bank of America, N.A. Member FDIC. ©2022 Bank of America Corporation.        mm
         91-11-2000B (0B/ 22)                                                         29507
Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 38 of 129
                                                                                                                                                Insufficient Funds - Overdrafts and Returned ltems. ..........................................18
 Table of Contents                                                                                                                             Overdrafts and Declined or Returned Items ...............................................................................18
                                                                                                                                               Impact of Holds ...................................................................................................................... 19
 Welcome to Bank of America .................................................................................1
                                                                                                                                               Personal Accounts - Overdrart Practices and Settings ...............................................................20
 How to Get Started ................................................................................................................... 1
                                                                                                                                               Business Accounts - Overdraft Practices and Settlngs...............................................................21
 Ho\Y to Access Your Account ......................................................................................................2
                                                                                                                                               Posting Orders ........................................................................................................................21
The Agreement for Your Account ...............•...........................................................2                                    Occurrences ...........................................................................................................................22
 Binding Contract .......................................................................................................................2     Balance Connect0 • for Overdraft Protection ...............................................................................22
 Changes to This Agreement .......................................................................................................2            Processing and Posting Orders ............................................................................23
 Account Closures, Transaction Delays and Conversions/Changes to Account Settlngs ...................3                                         Processing Transactions and Posting Orders ............................................................................. 23
 Governing La\Y ............. ,............................................................................................................3   Posting Orders ........................................................................................................................ 23
 Explanatlon of Some Terms ...................................................................................4                                Changing Posting Orders ..........................................................................................................24
 Information About You and Your Account ..............................................................5
                                                                                                                                               Posting Orders Determined at End of Day ................................................................................. 25
 Information You Give Us ............................................................................................................5
                                                                                                                                               Overdraft Fees ........................................................................................................................ 25

~:;;l:~~::;;~~:~·~;i;~~;·~~·I~;·~~~·~~~·~·~~~:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::                       Certain Transactions Made After Business Day Ends ................................................................. 25
                                                                                                                                               Processing Deposits and Cashed ltems ...............................................................27
Sharing Information \Ylth Affiliates .............................................................................................. 5          Cashing Items or Accepting hems for Deposit ........................................................................... 27
Consumer Reports and Other Inquiries .......................................................................................5
                                                                                                                                               Checks Lost in the Collection Process ......................................................................................28
Disclosing Information About You and Your Account ....................................................................6
                                                                                                                                               Collection Items ................................................................................................ , ..................... 28
Telephone Calls: Colling, Monitoring and Rccordlng ..................................................................... 6
                                                                                                                                               Demand Drafts and Remotely Created Checks .......................................................................... 28
Release of Information ............................................................................................................. 7
                                                                                                                                               Deposit PreparaUon and Acceptance ........................................................................................28
Account Ownership.................................................................................................7
                                                                                                                                               Deposit Error CorrecUon .......................................................................................................... 29
Some General Terms ................................................................................................................ 7
                                                                                                                                               Encoding Deposi1s ............................................................................. ........ .......................29
Some Basic Terms for Joint Accounts ......................................................................................... 7
                                                                                                                                               Endorsing Checks ...................................................................................................................29
Some Basic Tenns for •payable on Death" Accounts ................................................................... 8
                                                                                                                                               Identifying lhe Account for Your Deposit ...................................................................................30
Some Basic Terms for Business and Other Non•Personal Accounts .............................................. 9
                                                                                                                                               Overpayments and Reversals ...................................................................................................30
Transfernng O\vnershlp .............................................................................................................. g
                                                                                                                                               Returned Items .......................................................................................................................30
Special Provisions for Pass-Through Accounts ............................................................................. g
                                                                                                                                               Substitute Checks ................................................................................................................... 3 1
Checking and Savings Accounts ..... ...... ............................................................... 10                                  Thlrd•Party Endorsements ................................................................................... .....................31
Types of /\ccounts ..................................................................., ............................................... 10
                                                                                                                                               Registered Warrants ................................................................................................................31
Eligibility for NOW Accounts .....................................................................................................10
                                                                                                                                               When Funds are Available for Withdrawal and Deposit Holds .............................32
Demand Deposit Accounts ....................................................................................................... 10             Your Ab lilly to Withdraw Funds ................................................................................................. 33
How We Calculate Interest on lnterest•Bearing Checking and Savings Accounts .......................... 10
                                                                                                                                               Longer Delays May Apply .........................................................................................................33
Combined Balance Service ................................... ................................................................... 11
                                                                                                                                               Special Rules for Ne,v Accounts ...............................................................................................34
Limits on llnk1ng Accounts ........................................................................................................... 12      Government Checks, Cashier's Checks and Other Special Types of Checks ................................ 34
limits on Withdrawals and Transrers from Savings Accounts ....................................................... 12
                                                                                                                                               Holds on Other Funds................... ....................................... .... ................................................34
Uniform Transfers/ Gifts to Minors /\ct (UTMA/UGMA) Accounts .................................................... 13                           Processing Withdrawals .......................................................................................35
Time Deposit or CD Account ................................................................................13
                                                                                                                                               Cashing Checks for You ........................................................................................................... 35
Types of CDs .......................................................................................................................... 13     Cashing or Accepting Your Checks for Others............................................................................35
How We Calculate Interest on CDs ........... , .............................................................................. 14
                                                                                                                                               Checks with Legends or Restrictions ........................................................................................ 35
Disbursing Interest .................................................................................................................. 15      Collection lterns ........................................................................, ............................................. 35
cos That Automatically Renew .......................................... ....................................................... 15             Check Stock and Ink ...............................................................................................................35
cos That Do Not l\utomatlcally Renew ......................................................................................15                  Converting Checks to Electronic Deblts .....................................................................................36
Grace Period ..........................................................................................................................15      Examining Checks ................................................................................................................... 36
Deposits to a CO .................................................................................................................... 15       Items Resulting from Voluntary Disclosure ................................................................................ 37
Early Withdrawals .................................................................................................................... 16      Large Cash Withdrawals .......................................................................................................... 37
Closing or Redeeming a CO ..................................................................................................... 16             Paying Checks and Other ltems................................................................................................37
Information About Fees and Charging Your Account ...........................................17
                                                                                                                                                                                                                                                                             Page TC2
Page TCl
                                                                                                                                                                                                                                                                             08/2022
OB/2022




                                    Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 39 of 129
 Stale.Dated and Postdated Checks ....................... .................................................................... 37                  Right of Setoff .................................................. .............. ............................. ..... ... ................... 55
 Substitute Checks, Indemnified Copies, Images and Image Replacement Copies ........................ 37                                            Sample of Your Signature ........................................................................................................ 56
 Unpaid Items . .........................................................................................................................37        Stop Payment Orders ..... ........................................................................................... .............. 56
 Substitute Checks and Your Rights ......................... ............................................38                                        Subaccounts ..................................................... .................................................... .................. 58
 Notices, Statements and Other Communicat ions ................................................39                                                  Unclaimed ProµeIty- Accounts Presumed Abandoned or lnactive .. ........................................... .. 58
 General Terms for Notices, Statements and Other Communications ....... ............. .......................39                                    Verification of Transactions and Right to Reverse Transactions .................................... .............. 58
 Notices....................••.................. ........... ....•......... ..................................................................39   Waiver, Severability, and Change of Law by Agreement. ............................................................. 59
 Statements .................................. ............................................ ..........•.•....•...... .........•...... .......40    Electronic Banking Services ................................................................................60
 Check lrnage and Safekeeping .... ............... ............................................... ............................... 40              Types of Electronic Banking Se,vices ........................................................................................ 60
 Your Address and Change of Addre ss.. ..................................................................................... 41                    Access 10 ............................................................................................................................... 61
 Actions You Can Take to Help Protect Your Account ...........................................42                                                   Electronic Banking Disclosures ........................................................................... ..................... 62
 Reporting Problems..............................................................................................44                                ATM Safety Tips ....................................................................................................65
 Your Responslbility........ ............. ............................................................................................ .44        Protect Your ATM Card and Personal Identification Number {PIN) ................................................65
 Whal Are Problems and Unauthorized Transactions ...................... ............................................ 44                            Be Aware of Your Surroundings at ATMs ................................................................................... 65
 Reviewing Your Account Statements ........... .............................................................................. 44                   Protect Your Privacy ................................................. ................................................................ 65
 We Are Not Liable If You Fall To Report Prornptly....................................................... ........... ..... 45                     Request Emergency Asslstance................................................................................................ 65
 \Vritten Confim,ation and Other Assistance ............................................................................... 45                     Funds Transfer Services ..... .................................................................................. 66
 Our Investigation and Maximum Liability ..................... .................................................... .......... 45                  Remittance Transfers .............................................................................................................. 6 7
 Business lnsurance .............................................. .............................. ............................ ......... 46        Sending Funds Transfers .. ....................................................................................................... 67
 Opening a Ne\v Account ........................................................................................................... 46             Receiving Funds Transfers ............ ....... ............................................................ ....................... 68
 Foreign Items and Foreign Currency ..................................... ...............................46                                        ACH Debits and Credits ......... .. ..................................... ........................................................... 69
 What Is a Foreign Item ................... ........................... ................................................. ............. 46         Tax Information ....................................................................................................69
 Be Cautious About Accepting Foreign Items ......................................... .....................................46                       Resolving Claims ..................................................................................................70
Currency Exchange Rates .. .......................................................... , ...........................................46              What does '"Claim " Mean?.................................... .. .......... ................................. ...................... 70
Wires Sent t o a Foreign Cuffency Account ............. ....... ....................................... ............... ....... 47                 How Claims on Personal Accounts will be Resolved ................................................................... 70
You May Not Write Foreign Currency Checks ................ .................................... ........ ................. 4 7                     How Claims on Business Accounts will be Resolved .................................................................. 70
Processing and Collecting Foreign Items ............................................................. .......... ........... . 4 7                 Judicial Reference ..................... .............................................................................................. 71
Other Terms and Services ....................................................................................49                                    Arbitration ................................................. ... ......•.................................................................... 71
Account Changes ............ ........................................................................... .................. ........... 49         Limitation and Non•Severablllty .......................................................................... ...................... 72
Automatic Tronsfer Service.......................... ..... ................. ......................                .. .......... 49                Rules of Interpretation ............................................................................................................. 72
Check and Deposit Slip Forms ................................................................................. ................ 49                 Jurisdiction and Venue ............... ............ .... ................................................. ............................ 73
Check Copies..................................................................................................... ..................... 50
Compliance .................................................................................................... ........................ 50
Conflicting Demands and Disputes .................. ..................... .................................................... 50
Converting an Account ..................................................... .............. ........................... ............... 51
Cutotr Time for Receipt of Orders ....................... ...................................................................... 51
Death or Incompetence .............................. ............................................................................. 51
Facsimile Signature ........ ................................................................. .... .................................... 52
Deposit Bank Assessment ...... ............ ...................... ...................... ............................. ............ 52
Fingerprint ....................................... ................... .................................................................... 52
"Freezing· Your Account and Delayed Transactions .......... ................... ................ ...................... 52
Indemnification and Limitation of Liability ......................................................... ........ ................ 53
Legal Process - Subpoena and Levy...................... ................................................................... 53
Multiple Signatures Not Required ................... .............................................. ............................ 54
Notice of Withdrawal ..................................... ......................................... ................................. 54
Powers or Attorney/ Appointment and Payment to Agents ........................................................... 54
Records ...............•..............................................................•................................................... 55



Page TC3                                                                                                                                                                                                                                                                            Page TC4
08/ 2022                                                                                                                                                                                                                                                                            08/ 2022




                                     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 40 of 129
 Welcome to Bank of America                                                                              How to Access Your Account
                                                                                                         You can access your account and get information about our accounts and se,vices:
 Thank you for opening and keeping an account with us.
                                                                                                              • At our flnanclal centers and at Bank of Ameri ca ATMs
 Please read this entire agreement carefully so you understand your rights and obligations for                • Through Online and Mobile Banking
 your deposit account and deposit relationship with us and keep it In a convenient place for future           • By calling customer service at the number on your account statement
 reference.                                                                                                   • You can locate our nearest financial center or ATM on our website al bankofamerica.com

 In this agreement, "Bank or America .., "Bank ", ·we", ·us· and "our" mean Bank of America, N.A.
 " You" and "Your" mean each and every owner of the account and each and every other person with        The Agreement for Your Account
 authority to withdraw funds from the account or otherwise operate the account.
                                                                                                        Binding Contract
 Our accounts, which may Include account settings and services, are generally available through all     This Deposi( Agreement and Disclosures, the applicable Schedule of Fees, lhe signature card and
 of our channels - in our financial centers, through telephone banking and online. However, some        other account opening documents for your account are part of the binding contract between you and
 accounts, account settings, and services may not be available at all times, in all locations, or       us (this .,Agreement") for your deposit account and your deposit relationship with us. They contain
 through all channels.
                                                                                                        the terms of our agreement with you. Please read all of these documents carefully.

 How to Get Started                                                                                     This Deposit Agreement and Disclosures also summarizes certain laws and regulations that apply to
                                                                                                        common transactions, provides some disclosures for deposit accounts required by federa l law, and
 After you open your account, please consider these optional services. They can help you manage
                                                                                                        establishes terms that cover some transactions or situations lhat the law either does not cover or
 you, account.
                                                                                                        allows us 10 r.hange hy !his contract. The Schedule of Fees lists our accounls and account fees.
     • Debit card - use your debit card to pay for purchases at merchants that accept debit cards,      When you complete our account opening documents (as an example. you sign our signature
       to make deposits at Bank of America ATMs, and to witht.lraw cash r,om ATMs.                      card), request an account, or keep your account open, you acknowledge that you have reviewed
     • Direct Deposit - have your paycheck, retirement benefits, or other source of income              and understand the terms of this Agreement and you agree to be govemed by these terms. You
       depasited electronically into your checking or savings account.                                  understand that these terms, as we may change or supplement them periodically, are a binding
     • Online and Moblle Banking - helps you manage and keep better track of your finances. Here        contract between you and us for your deposit account and your deposit relationship.
         are some of the things you can do using Online and Mobile Banking:
                                                                                                        We give this Agreement to you when we open your account. You may obtain additional copies of this
         • Check your account balances and review transaction history.
                                                                                                        Agreement at a financial center or by calling the number on your statement. Our deposit relationship
         . Transfer funds between your accounts or to other Bank of America customers' accounts.
                                                                                                        with you is that of debtor and creditor. This Agreement and the deposit relationship do not create a
         • Receive your statements and posted checks online, then review or print them at your
                                                                                                       fiduciary, quasi-fiduciary or special relationship between us regardless of how you title your account,
           convenience.
                                                                                                       or whether you yourself act in a fiduciary or similar capacity with respect to funds deposited with
         • Reorder checks and change your address.
                                                                                                       us. We owe you only a duty of ordinary ca,e. Our internal polfcles and procedures are solely for our
     • Online BIii Pay service - pay your bills electronically (not available for new Small Business
                                                                                                       own purl)O.ses and do not impose on us a higher standard of care than otherwise would apply by law
       online banking enrollments}.
                                                                                                       without such policies or procedures.
    • Onllne Payment s and Invoicing service for Small Business cust omers - pay your bills
      electronicalty from your checking account and send Invoices to your customers (available for     Changes to This Agreement
      new Small Business online banking enrollments).                                                  We may change this Agreement at any lime. We may add new terms. We may delete or amend
    • Onllne Aferts - provide an electronic notice through emall or text message about account         existing terms. We may add new accounts and se,vk:es and discontinue existing accounts or
      activity, such as when a direct deposit posts or when your balance drops below an amount         services. We may convert existing accounts and services Into new accounts and services.
      you set.
                                                                                                       We ordinarily send you advance notice of an adverse chang~ to this Agreement. However, we may
    • Scheduled Savings Transfers - helps make saving easier by automatically transferring money
                                                                                                       make changes without prior notice unless otherwise required by law. We may, but do not have to,
      from your checking account to your savings account.
                                                                                                       notify you of changes that we make ror security reasons or that we believe are either beneficial or
    • Keep the Change• - helps you grow your savings by automatically transferring money from
                                                                                                       not adverse to you.
      your personal checking to your savings with each eligible debit card purchase.
    • Balance Connect ™ for overdraft protection - helps you cover your payments and purchases         When we change this Agreement, the then-current version of this Agreement supersedes all prior
      when you do not have sufficient funds In your checking account by automatically transferring/    versions and governs your account.
      advancing available funds from one or more of your linked backup accounts, helping you avoid     If you continue to use your account or keep it open, you are deemed to accep1 and agree to the
      overdrafts and declined transactions.                                                            change and are bound by the change. If you do not agree with a change, you may close your
                                                                                                       account as provided In this Agreement.
                                                                                                       See the Nolices, Statements and Other Communications seclion ror inrormation about how we
                                                                                                       provide notice.
Page 1                                                                                                                                                                                                Page 2
08/2022                                                                                                                                                                                             08/2022




                            Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 41 of 129
  Account Closures, Transaction Delays and Conversions/ Changes to Account                               financial center in the same state or In a different state. If state and federal law are Inconsistent, or
  Settings                                                                                               if state law is preempted by federal law, federal law governs.
  You or we may close your checking or savings account at any time without advance notice, except
  that we may require you to give us se1,1en days advance notice when you intend to close your
  savings or interest-bearing checking account by withdrawing your funds. See Notice of Withdrawal       Explanation of Some Terms
  in the Other Terms and Se,vices section. You or we may close your time deposit account at
 maturity without advance notice. Bank of America may close your account, convert your account to        Definitions
 another account type or change your account's overdraft setting at its discretion due to excessive      Please keep In mind the following definitions as you review the Agreement.
 overdrafts.                                                                                             Annual Percentage Yleld (APY ) Is a percentage rate reflecting the total amount of interest paid on
                                                                                                         the account, based on the interest rate and frequency of compounding.
 The Bank   may in its sole discretion and without notice to you, to the extent pennissible under
 applicable law and other governing documents applicable to your account, decline, delay, cancel         Average dally balance for a statement cycle - we take the balance that we determine is in U1e
 and/or reverse your orders, transactions or Instructions, and/or place disbursement and other           account for each day in the statement cycle, add those balances together, and then divide that
 restrictions on any of your accounts.                                                                   sum by the number of days in the statement cycle.

 If an account was closed and then we reopen it. the account Is subject to our standard terms and        Bank of America, Sank, we, us and our mean Bank of America, N.A.
 fees for that type of account. Any waiver that applied before the account was closed does not apply     Financial Center means    a branch of Bank of America.
 when we reopen the account.
                                                                                                         Business days - our business days are Monday through Friday, excluding bank holidays. Hours of
 If your account reaches a zero balance, or you apply for an account but never deposit funds into It,    the business day for a financial center are available a t that financial center.
 we may either keep the account ope11 or clus~ the account without 11olh.;e.
                                                                                                         Collocted balance is the ledger balance for the account minus that portion of funds deposited for
 Sometimes after an account is closed, we receive o deposit for credit to the account or o chccl<        whl.::h we have not received credit based on the avai lability schedule we apply to the occount. We
 or other Item for payment from the account. If this happens, we may at our option and without any       ordinarily appty the availability schedule provided to us by the Federal Reserve Bank to determine
 liability to you: either return the deposit, check or other item; or we may reopen the account and      the time that we feceive credit for deposited funds.
 accept the depcsit, check or other item for you, even if this overdraws your account.
                                                                                                         Item includes all orders and instructions for the payment, transfer or withdrawa l of funds from
 Sometimes after an account which had funds in it is closed, and whlle we are still holding the         an account. As examples, item includes: a check, substitute check, purported substitute check,
 funds from the account, we receive a withdrawal request, check or other item for payment rrom the      electronic transaction (including an ACH submission, ATM withdrnwal or tra11srer, or point of sale
 account. We may refuse the withdrawal request and return the check or other Item. We are not /fable    transaction), draft, demand draft, remotely created check, remotely cteated consumer check,
 for any losses or damage that may result from refusing the withdrawal or dishonoring the check or      Image replacement document, indemnified copy, preauthorlzed draft, preauthorized payment,
 other item. even if we are still holding funds that would cover the withd1awal, check or other item.   automatic transfer, telephone.initiated transfer, Onllne Banking transfer or blll payment instruction,
When you ask us to close your account, we may continue to pay transactions as we receive them           withdrawal slip, In-person transfer or withdrawal, cash ticket, deposit adjustment. or other orde r
while we process your closure request, When we complete our closure process, we may close your          of instruction for the payment, transfer, or withdrawal of funds, or an image, digital image or a
account. even if your account has a balance and transactions you've told us about are still pending.    photocopy of any of the foregoing. Item also includes any written document c reated or authorized
                                                                                                        In your name that would be a check or draft but for the fact that it has not been signed. Item
If your account Is overdrawn when closed, you agree to pay Immediately all amounts you owe us. If
                                                                                                        may a lso Include a cash-in t icket and a deposit adjustment. llem may also include a check, draft.
your account had funds in it when closed, we may:
                                                                                                        warrant, or other item deposited to your account, Including a deposited item that was returned
      • hold the funds for your pick up or to pay outstanding or expected items or claims;
                                                                                                        unpaid.
      • deposit the funds in another of your accounts with us; or
      • mall the funds to any of you by check at the address In our records for the account.            Minimum dally balance - the lowest balance that we determine is in the account during a
                                                                                                        statement cycle.
If your account earned Interest before It closed, your funds stop earning Interest when you ask us
to close your account, even If we continue to hold the funds. As an example, 1f we mall funds from an   You and your means each and every owner of the account and anyone else with the authority to
                                                                                                        deposit, withdraw, or exercise control over t he funds in the account.
interest-Oearing account to you by check, then your funds do not eam Interest, even if the check Is
returned to us or is not cashed.
                                                                                                        Headings and Interpretation
This Agreement continues to govern matters related to your account even after your account closes.      We Include section and paragraph headings in this Agreement to help you rind terms and
                                                                                                        provisions. The headings a re for convenience or re ference only. They do not limit the t erm or
Governing Law
                                                                                                        provision.
This Agreement, and your and our rights and obligations under this Agreement, are governed by
                                                                                                        Unless it would be inconsistent to do so. words and phrases used In this document should be
and interpreted acco1ding to federal law and the law of the state where your account is located.
                                                                                                        construed so the singular includes the plural and the plural Includes the slngular.
However, your rights and obligations for Remittance Transfers shall be governed by and interpreted
as described in the Funds Transfer Services section. We ordinarily maintain your account at the         In some sections we give examples. The examples cover some, but not all, of the situations o r
financial center where we open your account. However, we may transfer your account to another           items that are covered by the section,

Page 3                                                                                                                                                                                                  Page 4
08/2022                                                                                                                                                                                               08/2022




                           Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 42 of 129
  Information About You and Your Account                                                                  Disclosing Informat ion About You and Your Account
                                                                                                         This section applies to both business and personal accounts. We may disclose information about
  Information You Give Us                                                                                your accounts to consumer reporting agencies and to other persons or agencies who, in our
                                                                                                         judgment, have a legitimate purpose for obtaining information.
  When you open a deposit account with us, you give us Information about yourself and confirm that
  it ls correct. We enter the Information into our records. We may rely on that information until you    For example, subject to any applicable financial privacy laws or other laws or regulations, we may
  notify us of a change and we have had a reasonable time to act on t he new information.                provide information on you and your accounts:
                                                                                                               • to consumer reporting ag~ucies, such as Early Warning Services, LLC;
  Identification
                                                                                                               • to anyone who we reasonably believe is conducting a legitimate credit Inquiry, Including
  Federal law. including the USA PATRIOT Act, requires all financial institutions to obtain, verify
                                                                                                                 inquiries to verify the existence or condition of an account for a third party such as a
  and record information that Identifies each customer who opens an account with that financial
                                                                                                                 lender, merchant or consumer reporting agency;
  institution.
                                                                                                               • in response to any su bpoena, summons, court or administrative order, or other legal
 When you apply for an account, we will ask for your legal name, address, date of birth and your
                                                                                                                 process which we believe requires our compliance;
 Tax Identification Number (TIN). For business accounts, we may require ldentlrication information
 related to a controlling manager and/or equity owners of your business. We may require one or                • in connection with collection of indebtedness or to report losses incurred by us;
 more forms of unexpired photo identification. We may validate the information you provide to us              • in compliance with any agreement between us and a professional, regulatory or disciplinary
 to ensure we have a reasonable assurance of your identity. We may contact you for additional                   body;
 lnfounatiou. If your account Is funded before we verify your information, you may not have access
                                                                                                              • in connection with potential sales of businesses;
 to your funds. If we are not able to verify your identity to our satisfaction, we will not open your
 account or we may close the account if it was previously funded.                                             • to service providers who help us meet your needs by assisting us In providing or offeling
                                                                                                                our products or services; and
 Bank of America's Privacy Policy for Consumers                                                               • to other third parties as is described In our publication U.S. Consumer Privacy Notice or as
 Our privacy policy for consumers Is described in our publication, U.S. Consumer Privacy Notice. We             required under applicable law or regulation.
 provide our privacy policy to consumers who open a personal account with us. The privacy policy         For personal accounts, the terms of our U.S. Consumer Privacy Notice governs in the event of a
 describes our policy on handling customer Information and describes the situations when we may          conflict between the terms or this section and U1e terms of our U.S Consumer Privacy Notice.
 disclose mformatlon, including some examples.
                                                                                                        Account l nfonnatlon Services/ Consumer Reporting Agenc ies If we close your account because
 You can also review our privacy practices on our website at bankofamerica.com/privacy.                 of your unsatisfactory handling, we generally report to consumer reporting agencies such as Early
                                                                                                        Warning SeNices, LLC your name, address, Taxpayer Identification Number (TIN), driver's license
 Sharing Informat ion with Affiliat es
                                                                                                        number and the date and reason we closed the account. The consumer reporting agency may
Accounts Held by Consumers We may share information that we have about you and your accounts
                                                                                                        supply this information to others. This may adversely impact your ability to establish an account at
among the Bank of America family of companies. Please refer to our publication, U.S. Consumer           any financial institution for up to five ycnrs from the date of the report.
Privacy Notice, for information about the categories of information we may share among the
                                                                                                        We may report Information about your account to credit bureaus. Late payments, missed payments
Bank of America famlly of companies and how you may tell us not to share ce1tain types of
                                                                                                        or other defaults on your account may be renected in your credit report.
Information among our family of companies.
Accounts Held by Businesses We may share information about our experiences with you with                Telephone Calls; Calling, Monitoring and Recording
Bank of America Corporation and its subsidiaries and affiliated companies ( · Bank of America           When you give a telephone number directly to us, or place a telephone call to us, you authorize us
Affiliates· ) and selected third parties. We may also share Information that you have provided to       to place calls to you at that number. You understand that a ~telephone number'" Includes a cell
us on applications or that we receive from outside sources among the Bank of America Affiliates.        phone number and ·calls· include both telephone calls and text messages to or from your phone
However, Individuals may tell us not to share information about them from applications or outside       or cell phone. As examples, we may place calls to you about fraud alerts, deposit holds, and
sources complied for purposes of determining eligibility for credit, insurance or other seivices by     amounts you owe us (collection calls) on your account. When we place calls to you. we may use
either calling us at 888.341.5000 or by notifying us at bankofamerica.com/privacy.                      automatic dialers and artificial, text, or prerecorded messages.

Consumer Reports and Other Inquiries                                                                    You authorize us to monitor, and to record, telephone conversations and other electronic
                                                                                                        communications you have with us and with our representatives for reasonable business purposes,
We may make any Inquiries that we consider appropriate to help us verify your Identity and
                                                                                                        including security and quality assurance. We will not remind you that we may be monitoring or
determine If we should open, maintain, collect or close your account. This may include verification
                                                                                                        recording a call at the outset of the call unless required by law to do so.
of employment and consumer reports or other reports from account information services and other
consumer reporting agencies.                                                                            You consent and agree in advance to these terms and conditions.

If you ask, we will tell you whether we requested such a report and, If we did request a report, we
will tell you the name, address and telephone number or the reporting agency.

Page 5                                                                                                                                                                                               Page 6
08/2022                                                                                                                                                                                             08/2022




                           Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 43 of 129
  Release of Information                                                                                 act and rely on the Instructions or one co-owner without liability to any other co-owner. So as
  You can obtain information about your account by many methods, Including at a nnanclal center, by      examples, one CO·O\vner may without the consent or approval of the others:
  telephone, by mail and through Online Banking, We believe we have adopted reasonable security                • add additional persons as co-owners;
  measures for each method, but we cannot ensure against unauthorized Inquiries or intrusions.
                                                                                                               • deposit runds and withdraw or transfer part or all of the funds In the account:
  You agree that we are not responsible for the release of information to anyone who has gained
  possession of your ATM card, debit card or other code or access device or who has learned your               • endorse for deposit to the joint account on behalf of any other co-owner an item payable to
  identifying characteristics such as personal identification number (PIN), accounl number or social             another co-owner;
  security number, even if you have not authorized them to obtain the information.                             • mstruct us to stop payment on a check or other item that another co.owner wrote on the
                                                                                                                 account:
                                                                                                              • obtain an ATM card or a debit card;
  Account Ownership
                                                                                                              • draw upon an overdraft or other line of credit connected to the account;
 Some General Terms                                                                                           • obtain information about the account, including transactions conducted by other co-owners;
  When you open an account, we may rely on information you give us and we maintain in our                     • pledge the account as security for any debts; and
 records. We determine the type and ownership of 01e account from this information. When you ask
                                                                                                              • close the account.
 us to make a change to this information or your account, and we agree to the change, the change
 Is not effective until we have had a reasonable time to act on the new information. As an example,     Each co-owner is jointly and severally liable to us for all fees, charges and other amounts owed to
                                                                                                        us on, and all costs. losses and liabiflties related to, this Agreement or the account. Note that our
 if you ask us to change the signers on your account, your requested change is not eHective
 until we have a reasonoble time to act on ft. If we ask you to give us additional documents or         right of setoff described in the Right of Setoff section of this Agreement applies to jo int accounts.
 information, and you do not do so promptly, we may close your account.                                 All joint accounts are presumed to be joint accounts with the right of survivorship, unless the
 When we accept a deposit to an account or permit a withdrawal or payment from an account, we           appllcable state law does not permit this presumpllon or we have ag,eed with you in writing that
 may rely upon the form of the account and the terms of this Agreement at the lime we process the       t he account Is owned In another capacity. Right of survivorship means that when a co-owner
 transaction. We do not have to Inquire about the sou rce or ownership of any funds we receive for      dies, t he funds In t he account belong to the surviving co-owner(s), subject to our right to charge
 deposit or about the application of any withdrawal or payment from an account. When we pennlt a        the account for any amount the deceased co-owner or a suiviving co-owner owes us. The rights
 withdrawal or payment from an account at the request of any signer, or the agent of any signer, in     of survivorshfp continue between surviving co-owners and we may pay the funds in the account
 accordance with the terms of this Agreement, the withdrawal or payment Is a complete release and       to any surviving co-owner. The applicable state law may Impose requirements that must be met
 discharge of the Bank from all claims regarding the withdrawal or payment.                             to create a Joint account with right of survivorship. You are solely responsible ror meeting these
                                                                                                        requirements.
 Ir you instruct us to open an account in the names of two or more people, and we do so, but
 later determine that one or more or them have not completed our account opening documents or           Some Basic Terms for " Payable on Death" Accounts
 other requirements, you agree to hold us harmless for reliance on your instruction. We may in our
                                                                                                        For an Individual or joint account, you may choose to make your account p~y;-:1hle on your death to
 discretion for all purposes and circumstances (Including determining ownership of the account
                                                                                                       one or more payable on death ("POD"} beneficiaries. You can make your account a POD account
following the death of any person in whose name the account was opened) either treat the account
                                                                                                       by Instructing us to list each POD beneficiary on the account and complying with the applicable
as being owned by all persons in whose names the account was opened or treat the account as
                                                                                                       state law. The applicable state law usually imposes requirements that must be met to create a
being owned solely by the persons who have signed or completed our account opening documents
                                                                                                       POD account. As an example, you may have to include certain words or letters in the account title
or other requirements. If we treat the account as owned by all persons In whose names the
                                                                                                       to create a POD account, such as: "payable on death,'" •poo,· "in trust for," "ITF," "as trustee
account was opened, we may permit the non-signing person to withdraw runds or take other action
                                                                                                       for," ·ATF," "transfer on death," "TOD," or "Totten Trust.· You are solely responsible for meeting
on the account without any liability to you.
                                                                                                       these requirements. We may treat an account which names a POD beneficiary as a POD account.
We may open an account without regard to whether you are married and without regard to whether         However, if the applicable requirements are not met, we may treat your account as though there Is
the funds on deposit are your community or separate property. We may require you to close the          no POD beneficiary.
account in order to remove a co-owner, terminate a joint ownership or change a payable on death or     During your lifetime, a POD account belongs to you. You may close the account, remove or add
trust designation.
                                                                                                       one or more POD beneficiaries, change the account type or ownership, and withdraw all or part of
                                                                                                       the funds in the account. When the account owner or last co-owner dies, we may pay any funds
Some Basic Terms for Joint Accounts
                                                                                                       remaining tn the account to the then surviving (if any) POD beneficlary(ies), subject to our right to
If more than one person's name appears in the title of an account without a fiduciary, beneficiary
                                                                                                       charge the account for any amount a deceased owner, co-owner or POD beneficiary owes us. We
or other designation, then the account is a joint account. All persons whose names appear on the
                                                                                                       may distribute the account balance, subject to any bank claims, to such beneficiaries payable to
account are co-owners of the account, regardless of whose money is deposited in the account.
                                                                                                       one or all surviving beneficiaries jointly. or payable Individually, In equal shares, to each surviving
Each co-owner acts as the agent of each other co-owner. Each co-owner authorizes each other            beneficiary. A POD beneficiary does not acquire an Interest In the account until after the death of
co-owner to operate the account without the consent or approval or any other co-owner. We may          the account owner or the last co-owner. A POD beneficiary may acquire an Interest in the account
                                                                                                       at t hat time but only If the POD beneficiary is alive.
Page 7
                                                                                                                                                                                                        Page 8
08/2022                                                                                                                                                                                               08/2022




                          Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 44 of 129
  Some Basic Terms for Business and Other Non-Personal Accounts                                                  In the event that the bank fails, the FDIC would be appointed as receiver and a hold would be
  If the account owner is a corporation , unincorporated association, limited liabllity company, limited         placed on you r account so that the FDIC can conduct the deposit insurance determination; that
  liability partnership , fiduciary, partnership, sole proprietorship o r other entity holding an account in     hold will not be released until the FDIC obtains the necessary data to enable the FDIC 10 calculate
  any capacity other than an Individual capacity, each person signing the signature card or completing           the deposit insurance. You understand and agree if you do not provide the necessary data to
  other accoun t opening requirements represents and agrees that they:                                           the FDIC in a timely manner, it may result In a delay in receipt of insured funds and legal claims
        • are fully authorized to execute all documents or otherwise complete our requirements in                against you from the beneficial owner(s) of the funds in the account. Notwithstanding other
          their sta ted capacity;                                                                                provisions in this Agreement, this section survives after the FDIC is appointed as our receiver and
                                                                                                                 the FDIC is considered a third party beneficiary of this section.
        • have furnished a ll documents or other Information necessary to demonstrate that authority;
          and
        • will furnish other documents and complete other requirements as we may request from                    Checking and Savings Accounts
          lime to time.
  We may refuse to recognize any resolution affecting the account that is not on our form or that               Types of Accounts
  appears to us to be incomplete or improperly executed.                                                        We offer several ditrerent types of checking and savings accounts ro, personal and business
                                                                                                                customers.
 Transferring Ownership
                                                                                                                      • The Personal Schedule of Fees describes our personal accounts and lists applicable fees.
 Your accoun t is for your use only. It is non-transferable and non-negotlable. Ownership of your
 account is transferable only on our records with our consenl.                                                        • The Business Schedule of Fees describes our business accounts {other than Commercial
                                                                                                                        accounts) and lists applicable fees.
       • You may not grant, transfer Ot assign any of your rights to your account without our written
         consent.                                                                                                     • If you or we convert your account to a Commercial deposit account, It will be subject 10 the
                                                                                                                        terms of that account.
       • Even if we consent, we may require that you close the account and that the new account
         owner open a new account In their name.
                                                                                                                Eligibility for NOW Accounts
       • We may refuse to acknowledge or accept your attempted pledge or assignment of your                     NOW accounts are commonly called interest checking accounts. Federal law provides that NOW
          account or any Interest in It, including a notice of security interest.                               accounts may only be opened and used by the ro11owing customers:
                                                                                                                     • individuals (Including sole proprietors),
 Special Provisions for Pass-Through Account s
 Ir you have opened a deposit account on behalf of the beneficial owner{s) of the funds in the                       • certain nonprofit organizations,
 account (for example as a trustee. agent, nomin ee, guardian, executor, conservator, custodian, or                  • federal, state or local governmental entities, and
 In some other capacity ror the benefit of others) those beneficial ownets may be eligible for "pass-
                                                                                                                     • fiduciaries (such as a bank trust department) where one or more individuals hold the entire
 lhrough· insurance coverage from the FDIC in the event of Bank failure. FDIC " pass-th rough•
                                                                                                                       beneficial interest in the funds.
 deposit Insurance Is federal deposit Insurance coverage that applies to the interests of owners or
 benericlaties. This means the account could qualify for more t han the standard maximum deposit               If we believe that you are not eligible to own a NOW account, we may either close t he account o r
 insurance amount ($250,000 per depositor in the same ownership right and capacity).                           convert It to another type of account. When we refer In this agreement to checking accounts, the
                                                                                                               reference includes NOW accounts.
In t he event of B•rnk fallu,e, you agree to:
                                                                                                               Demand Deposit Accounts
      • Cooperate fully with us and the FDIC in connection with determining the insured status of
                                                                                                               Demand deposit accounts are commonly called checking accounts. All types of customers can
        funds in such accounts at any time;
                                                                                                               open a demand deposit account. Most demand deposit accounts d o not earn Interest.
      • Provide the FDIC with the information described below in the required fotmat promptly; and
                                                                                                               When we refer in this agreement to checking accounts, the reference includes demand deposit
      • Submit claims for pass-through lnsu,ance to the FDIC through an alternative recordkeeping              accounts.
        p,ocess.

     The FDIC has published a guide and an Addendum to the guide, Section VIII, explaining the                 How We Calculate Interest on Interest-Bearing Checking and Savings
     requirements for following this process, including the type of Information you, as the account
                                                                                                               Accounts
     holder, must keep regarding U1e beneficial owners of the funds, as well as the format and                 If you have an interest-bearing checking or savings account, then please note the following.
     process you must follow for submitting those records to the FDIC In the event of Bank failute.                 • Your funds earn a variable rate. Your interest rate and annual percentage yield ("APY..) may
     The guide and the Addendum can be accessed on the FDIC's website at https://\\1\Y\V.fdic.                        change. At our discretion, we may change the interest rate for your account at any time
     gov/deposlt/deposits/brokers/part-370-appendix.html. You have an opportunity to validate                         without notice or l imit.
     your capability to deliver the required information in the appropriate format so that a timely
                                                                                                                    • We compound and credit interest to your account monthly.
     calculation of deposit Insurance cove,age can be made.

Page 9
08/2022                                                                                                                                                                                                    Page 10
                                                                                                                                                                                                          08/2022




                            Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 45 of 129
        • We use the daily balance method to calculate the Interest on your account. The daily rate Is     You must tell us what other accounts you want us to link to your checking account for pricing. We do
          1/365 - or in a leap year we may use 1/366 - or the interest rate.                               not llnk your other accounts for pricing unless you tell us to do so. To detenTiine what accounts are
       • For personal checking accounts and personal and business savings accounts, the daily              linked for pricing, please call us.
          balance meU1od applies a daily periodic rate to the collected balance in the account each        When an existing account is closed and a new account Is opened to replace the existing account, we
          day.                                                                                            do not automatically link the new account to your checking account for pricing, even ir the existing
                                                                                                          account was linked. You must tell us to link the new account for pricing.
       • For business checking accounts, the daily balance method applies a daily periodic rate to
          the collected balance In the account each day (less an amount that we determine applies         When we calculate a balance or combined balance, we may ignore accrued interest, funds subject
          for reserves applicable generally to transaction accounts under the rules of the Federal        to a hold of any type, and each loan or line of credit that is in default. For each linked account, the
          Reserve).                                                                                       period or time U1at we use as the basis for calculating the balance, and the day that we use to
                                                                                                          determine the balance, in the llnked account may be different from the statement cycle for the primary
       • For Public Service Trust Accounts, the daily balance method applies a daily periodic rate
                                                                                                          checking account.
         to the collected balance in the account each day (less an amount that we determine is
         required to offset service charges).                                                             You still need to meet the balance requirements, if applicable, in each linked account to avofd the
                                                                                                          monthly maintenance fees on those accounts.
       • When you deposit a non•cash item (such as a check), Interest begins to accrue on the non-
         cash Item no later than the business day on which we receive credit for the non-cash item.       You uoderstand that the statement for your primary checking account may Include Information
                                                                                                          about each linked account, Including the account name, number and balance. We may make this
 Some checking and savings accounts do not earn interest. The checking and savings accounts that
                                                                                                          information avallable to each owner and signer of any linked account. We may also send you a single
 earn interest are described In the Schedule of Fees as interest-bearing accounts. Other checking
                                                                                                          combined statement that reports aclivity for your checking account and each deposit account linked
 and savings accounts do not earn interest. We pay interest only in whole cents.
                                                                                                          to that account, Instead of separate statements for each account. See Combined Statements in the
 We set interest rates at our discretion. We may set the interest rate based on a specific account,       Statemenrs and Notices section.
 customer, customer relationship, or based on U1e location or channel through which we open the
 account. This means that the interest rate and APY we offer on the same type of account may be           Limits on Linking Accounts
 higher or lower based on these factors. For example, an account opened through our Online Banking        Some restrictions apply to what accounts can lle linket.l to checking for p1ic/11g, Including the
 channel ma}• earn a diHerent rate (either higher or lower) than the same type or account opened In       following. You may only link an account to one checking account at a time. At least one of the
 a financial center or by mail.                                                                           owners of the linked account must also be an owner of the checking account. You may not link
We may also offer interest rate bonuses and other special promotions based on these factors.              personal and business accounts together. You may not llnk a loan or line of credit that is In
Interest rate bonuses and other special promotional otters may not apply to all accounts,                 default.
customers, customer relationships, locations or methods or account opening.                              We may in our discretion place other resttictions on what accounts can be linked,
When we consider your customer relationship with us, that may include whelher you have olher
accounts with us, your balances with us In your other accounts and how you use services that we           Limits on Withdrawals and Transfers from Savings Accounts
orrer with accounts.                                                                                     This Agreement Imposes limits on the number of certain types of withdrawals and transfers you
You may obtain current interest rates for your account by calling us at the number for customer          can make each month from a savings account. Please note that these limits do not apply tu
service on your statement or by asking a financial center associate.                                     withdrawals and transfers you make at one of uur financial centers, by mail or at an ATM .

Balance Tiers The dally interest rate we pay on some accounts depends on the tier into which             You can make no more than a total of six transactions each monthly statement cycle (or each
the balance In the account falls. A tier is a range of account balances. If you have one of these        month If you have a quarterly statement cycle) from among the following:
accounts, your balance earns the Interest rate and APY in effect that day for the balance tier                 • Preauthorized transfers from your savings account (Including transfers for overdraft
associated with your end-of-day balance. We may set the rate for each tier In any amount. The                    protection through Balance Connect""').
interest rate ror one tier may be the same rate, or a higher or lower rate, than the rate for a lower
                                                                                                               • Telephone transfers or other electronic transmissions from your savings account.
tier. We may change the tiers that apply to an account at any time wlthouI notice. Different tiers
apply to different types of accounts.                                                                         • Online and Mobile Banking transfers or bill payment transfers ftom your savings account.
                                                                                                              • Transfers by draft or debit card, if allowed, on your savings account.
Combined Balance Service
                                                                                                         We count a transaction on the date that we post it to your savings account. This date may be
With some checking accounts you can designate your checking account as your primary checking             different from the date you authorize, transfer or write the transaction, which means a transaction
account and then link many of your other accounts to It for pricing. When you link another account       made during one statement cycle may not be counted until a later statement cycle.
for pricing, you can use the balances in the other account to help you meeI the combined balance
                                                                                                         If you exceed the transaction limits on more than an occasional basis, we may revoke your
required to avoid the monthly maintenance fee on your primary checking account. The Schedule of
                                                                                                         privileges on that account or we may convert your savings account to another type of account, such
Fees list s the required combined balance for each checking account to which the service applies and
                                                                                                         as a checking account. Your funds may no longer earn interest after we convert your account.
the types of accounts that can be linked ror pricing.




Page 11                                                                                                                                                                                                Page 12
08/2022                                                                                                                                                                                               08/2022




                           Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 46 of 129
  Note: Even if you make no more than 6 transactions, a fee may still apply to some withdrawals or          How we Calculate Interest on CDs
  transfers. Please see the Schedule of Fees ror your account.
                                                                                                           Your runds earn interest during the term of the time deposit account. We calculate interest as
                                                                                                           follows:
  Uniform Transfers/ Gifts to Minors Act (UTMA/ UGMA) Accounts
  Ir you are the custodian of an account opened under the Unifom, Transfers to Minors Act (UTMA)                 • Time deposits earn interest at a fixed rate except for Variable Rate IRAs. Axed rate means
                                                                                                                   that the I.n terest rate that we apply to your account on the day we open It will not change
 or the Uniform Gifts to Minors Act (UGMA), you agree to comply with all requirements of the
                                                                                                                   for the term of the account.
 applicable UTMA or UGMA law, Including but not limited to your requirement to (i) expend the UTMA
 or UGMA assets only for the use and benefit of the minor named on the account (the "Minor")                    • For a Variable Rate IRA, your funds earn a variable rate. Your Interest rate and annual
 and (ii) upon the earlier or the Minor reaching the applicable termination age or the Minor's death,             percentage yield may change. At our discretion, we may change the interest rate for your
 transfer the account assets to the Minor or to the Minor's estate as appropriate.                                account at any time without notice or limit.

 The Bank shall have no responsibility to ensure that you properly perform your duties as custodian.            • For terms of 27 days or less, we credit Interest to your account at maturity. for terms of
 All runds deposited in the UTMA or UGMA account irtevocably become the property or the Minor,                    28 days or more, we compound interest monthly and we credit interest lo your account
 but the custodian Is to manage these runds for the Minor's benefit untll the Minor reaches                       monthly and at maturity or disburse It to you according to the interest disbursement option
 the termination age, under applicable state law. At that time, the custodian is responsible for                  you select.
 distributing the funds lo the Minor.                                                                           • We use the daily balance method to calculate the Interest on your account. Th is method
 Only one custodian and one minor are allowed per account. Applicable law imposes certain                         applies a dally periodic rate to the ledger balance that we determine ls In the account each
 fiduciary and record•keeping obligations on the custodian and further requires that interest                     day. The daily rate is 1/365 - or in a leap year we may use 1/366 - of the interest rate.
 earnings are reported to lhe IRS under the Minor's Social Securily number.                                     • When you deposit a non,cash item (such as a check), interest begins to accrue on the non-
 As the custodian, you agree lhat once the Bank has reason to believe that the Minor has reached                  cash Item on the business day the deposit is received. Deposits you give us on a weekend
 the ten11i11atio11 age under applicalJle law, the Bank may, but Is not nblieated to, take any or ::tll           or bank holiday are trea ted as received the next business day.
 of the following actions with respect to the UTMA or UGMA account without further consent or                   • The annual percentage yield for your account assumes that interest wfll remain on deposit
 direction from you:                                                                                              until maturity. A withdrawal will reduce earnings.
      • limit access 10 the UTMA or UGMA account;                                                         We generally set interest rates ror new time deposit accounts based on the type of CO, the
      • Prohibit further deposits into the UTMA or UGMA account;                                          amount you deposit, and the term you select. We set interest rates at our discretion. Rates for
                                                                                                          new accounts may change daily. We pay Interest only in whole cents.
      • Restrict withdrawals or transfers from the UTMA or UGMA account other than by or to the
        Minor;                                                                                            We may also set interest rates based on a specific account, customer, customer relationship or
                                                                                                          based on the location or channel through which we open the account. This means that the interest
      • Communicate with the Minor or the Minor's legal representative regarding the account
                                                                                                          rate and APY we offer on the same type of CO may be higher or lower based on these ractors .
        mcludlng, but not limited to, providing periodic account statements and tax statements to
        the Minor or Minor's legal representative;                                                        For example, a CD opened through our Online Banking channel may earn a different rate (either
                                                                                                          higher or lower) than the same type of CO opened in a financial center. We may also offer interest
      • Accept direction from the Minor with respect to the UTMA or UGMA account; and
                                                                                                          rate bonuses and 0UIer special promotions based on these ractors. Interest rate bonuses and
      • Deliver UTMA or UGMA account assets to the Minor.                                                 other special promotional oHers may not apµly to all accounts, customers, customer relationships,
                                                                                                          locations or methods of account opening.

Time Deposit or CD Account                                                                                When we consider your customer relationship with us, that may include whether you have other
                                                                                                          accounts with us, your balances with us In your other accounts and how you use services t hat we
                                                                                                          offer with accounts.
When you open a time deposit account, you agree to leave your funds in the account until the maturity
date of the account. We ohen refer to a time deposit account as a ·co" or a "Certificate of Deposit,"     You may obtain current rates by calling us at the number for customer service on your statement
even though we do not issue a ..certificate."                                                             or by asking a financial center associate.
This Agreement applles to CDs you open under your Individual Ret irement Account {IRA) plan.
Please see the Traditional/Rath Individual Retirement Custodial Accounts and Disclosure Statements
ro, additional te,ms of this plan.
A time deposit account is neither transferable nor negotiable.

Types of CDs
We offer several different types of CDs for personal and business customers.
The Personal Schedule of Fees describes our personal CDs.
The Business Schedule of Fees describes our business CDs.

Page 13                                                                                                                                                                                              Page 14
08/2022                                                                                                                                                                                             08/2022




                           Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 47 of 129
  Disbursing Interest                                                                                          You may not make a deposit to a time deposit account by wire or automated clearinghouse {ACH)
  You may choose to have us ctedit your interest to your account. With this option, we reinvest the            transfer.
  Interest in your account monthly and at maturity.
                                                                                                              Early Withdrawals
  Alternatrvely, you may have us regularly disburse the int erest from your account by having us credit
                                                                                                              You have contracted to keep your funds on deposit for U1e sta ted term. You may not withdraw all
  the Interest to a Bank o f America checking or savings account or by having us mail a check for the
  in terest.                                                                                                  or part of a time deposit account except as provided in this Agreement.
                                                                                                              At our discret ion, we may allow you to withdraw all or part of your funds at times other than the
  Depending on the term of your account, disbursement options include monthly, quarterly, semi•
                                                                                                              grace period. We generally withdraw Interest before principal. Each time we permit you to make au
  annually, annually on the anniversary date, and at maturity.
                                                                                                              early withdrawal of principal, we may charge you an early withdrawal penalty. If your account has
  CDs That Automatically Renew                                                                                not ~a111~ enough interest to cove, an early withdrawal penalty. we deduct any interest first and
                                                                                                              take the remainder of the penalty from your principal.
  Unless your account Information states that your time deposit does not automatically renew, we
  automatically renew your account by reinvesting your funds . For business CDs, you must notify us           We calcutate all early withdrawal penalties on the principal amount withdrawn at U1e interest rate In
  of any change in controlling manager and/or equity ownership or your business. We reinvest both             effect on the account on the withdrawal date. The early withdrawal penalty is:
  principal and interest, unless you elected to have your Interest disbursed. {See Disbursing Interest             • For CDs with terms of fess than 90 days, the greater of all Interest earned on the amount
  in this chapter.)                                                                                                  withdrawn or an amount equal to seven days Interest on the amount withdrawn;
 When we automatically renew your CO, the term for the reinvested CO is the same length as the                     • For CDs with terms of 90 days up to 12 months, U1e penalty is an amount equal to 90
 previous term of your account unless we notify you that we are changing the term of the CO. For                     days interest on the amount withdrawn;
 time deposits with a fixed Interest rate, the interest rate and APY ror any renewal term Is based                 • For CDs wiUl terms of 12 months up to 60 months, the penalty is an amount equal to 180
 on the rate we ofler on t he first day o f the new term for the type of CD, amount anc1 t erm of the                days interest on the amount withdrawn; and
 reinve::;tcd deposit. Unle~s specifically stated otherwise, any bonus or special pnJllk>tion we cu~
                                                                                                                   • For CDs with terms of 60 months or longer, the penalty Is an amount equal to 365 days
 offering will not apply to automatically renewing accounts.
                                                                                                                     interest on the amount withdrawn.
 If at any maturity date we no longer offer time deposit accounts of the same term and type, we
                                                                                                             Please note that the term of a CD is the specified period or time you agreed to leave your funds on
 may reinvest your funds in a time deposit that we believe offers similar features.
                                                                                                             deposit - not the time remaining until maturity of your CO.

 CDs That Do Not Automatically Renew                                                                         For purposes or calculating an early withdrawal penalty, the amount withdrawn includes any tax
 Some time deposit accounts do not automatically renew. If your account information states that              withholding, fees and early withdrawal penalties.
 your time deposit does not aut omatlcally renew, Uien your account does not earn interest after it s        We add to the early withdrawal penalty the amount of any cash bonuses we paid you when you
 maturity date.                                                                                              opened or reinvested the account.
                                                                                                             If we are required to pay an amount from your CO {e.g. levy or garnishment), we may charge you an
 Grace Period                                                                                                early withdrawal penalty, calculated on the amount withdrawn from the CO.
The grace period begins on the first day after the maturity date. The grace period Is one calendar day
                                                                                                             An early withdrawal from an IRA may also be subject to additional federal tax {and possibly
for terms of seven through 27 days and seven calendar days for terms of 28 days or more. You may
                                                                                                             additional state and local taxes) if you are under age 59 1/2.
make a deposit or withdrawal, or change the length of the term, once during the grace period and, if
you take one of these actions, the grace period ends on that day. If the last day of the grace period        Closing or Redeeming a CD
is a non,business day (a weekend or bank holiday), then the grace period ends on the last business
                                                                                                             We may close or redeem an automatically renewable account at the end of the term. You may close
day before that non-business day. We may pay Interest during the grace period based on the rate we
                                                                                                             or redeem your account during its grace period.
offer on the first day of the new tenn for the type of CD. amount, and term of the deposit.
During the grace period, if you change your CO term length, t he next t erm only will be measured from
the date of that change. Then, for automatically renewable COs, subsequent maturity dates will be
measured from the day your account was originally opened. For example, if you open a 6 month CO on
January ath it will mature on June sth . If you request to change your CO lo a one year term on June
10th (during the grace period), the next maturity dat e will be June 10th o f the following year. However,
subsequent maturity dates will revert back to June a th. Please refer to your ..Soon to Mature Notice,"
which is sent to you in advance of maturity.

Deposits to a CD
You may make an additional deposit to your account during Its grace period. Otherwise, for all CDs
except Variable Rate IRAs you may not make deposits during the term of the CO.


Page 15
                                                                                                                                                                                                        Page 16
08/2022                                                                                                                                                                                                08/2022




                           Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 48 of 129
  Information About Fees and Charging Your                                                                your account. (or further overdraw your account) and Immediately debit the amounts you owe us,
                                                                                                          without being liable to you. We may use your deposits to pay any outstanding negative account
  Account                                                                                                 balances (Including fees) without notice to you, which may result in additional Overdraft Item Fees.
                                                                                                          You agree to pay Immediately all fees. overdrafts and other amounts you owe us.
  Fees                                                                                                    We may use deposits you or others m ake to your account (including deposits of pay,oll and
  You agree to pay for our services in accordance with the fees that apply to your account and your       government benefits) to pay any fees, overdrafts and other amounts you owe us prior to posting
  deposit relationship with us.                                                                           other debits processed the same day. This could result in additional Overdraft Item Fees.

  Account Fees Your account is subject to the fees described In the Schedule of Fees that applies to     Some government payments (such as Social Security, Supplemental Security Income, Veterans
  yoU1 account.                                                                                          and other federal or state benefits) may be protected from attachment, levy, ga rnishment or other
                                                                                                         legal process under federal or state law. If such protections would othe1wlse apply to deductions
       • The Personal Schedule of Fees lists account fees that apply to our personal deposit
         accounts.                                                                                       we ma ke for amounts you owe us, to the extent that you may do so by contract, you waive these
                                                                                                         protections and agree that we may use these funds to pay fees, overdrafts and other amounts you
       • The Business Schedule of Fees lists account fees that apply to our business deposit             owe us under this Agreement.
         accounts {other than Commercial accounts}.
                                                                                                         Please see the Riglll to Setoff section of the Agreement for more information.
       • The schedule that applies to your account is part of th e binding contract between you and
         us.
 The fees for many of our products and services may vary from state to state or between regions
                                                                                                         Insufficient Funds -
 within a state. We charge account fees to you based on the state or region in which the financial       Overdrafts and Returned Items
 center where we maintain your account is located. Account fees are not based on your state of
 residence or the state where you use or purchase tile service. Your account rees and terms may          You can avoid declinerl anrf retumerl Items and fP.es to, overdrafts hy making sure that your
 differ from those or other customers with the same type or account, based on our assessment or          account always contains sufficient available funds to cover all of your fees and transactions. We
 your overall relationsh ip with us.                                                                     offer services that you can use to help manage your account and help you avoid overdrafts, such
                                                                                                         as our Online Banking service and Online Alerts. Please see How to Get Started section in the
 Fee s for Ot he, Services In addition to checking, savings and CO accounts we also offer many
                                                                                                         Introduction.
 other services, such as wire transfers, cashier's ch ecks and bond redemption. You can get current
 information about these services and the fees that apply to them at a financial cente, or by calling    Our optional Balance Connect'"' for ovecdraft protection service can help you avoid overdrafts and
 us at the custome, service number shown on your account statement. We may occasionally list             declined or returned items. When you enroll your eligible checking account in Balance Connect1,..
 fees for some of these services In the Schedule of Fees. Fees for these services may vary from          you can llnk up to 5 eligible checking, savings, credit card and/or line of credit account(s) as
 stale to state. The fees you pay for these services are those charged by us In the state where we       linked backup accounts. When you do not have enough funds In your checking account to pay for
 sell you the service. We may change t hese fees at any time without notice.                            an Item, available funds are automatically transferred/advanced from the linked backup account(s)
                                                                                                        to cover your transactions. While there is no transfer fee when you use Balance Connect ""• other
How We Set Fe es We set our fees based on many factors, including the value we offer, our
                                                                                                        fees and charges may app ly. Please see Balance Connect'"' tor Overdrah Prorectlon section for
competitive position, deterrence of misuse or an account by our customers, consideration o f profit
                                                                                                        more information.
and the safety and soundness of the Bank. We may also consider costs 1n setting rees, but we
do not set our rees based only o, primarily on the direct or overall costs and expenses associated      Overdrafts and Declined or Returned Items
with providing the particular account or service Involved.
                                                                                                        When we determine that you do not have enough available funds in your account to cover a check
Cal culating Balanc es When we calculate an accou nt balance or combined balance to determine           or other item, then we consider the check or other item an insufficient funds item. If you have
whether a fee applies to your account, we may use the balance that we determine is in each              enrolled in Balance Connect'"' and have enough available funds in your linked backup account(s),
account. We may Ignore accrued Interest and funds subject to a hold of any type. For a balance          we transfer funds to cover the item(s). Otherwise, without notice to you, we either authorize or pay
in an account linked to a checking account. the period of lime th at we use as the basis for            the Insufficient funds Item and overdraw your account (an overdraft item) o r we decline or retum
calculating the balance, and the day that we use to determine the balance, in the linked account        the insufficient funds item without payment (a returned item).
may be different from the statement cycle ror the primary checking account. If a loan or line of        We pay overdrafts at our discretion, which means we do not guarantee that we will a lways, or
credit Is linked, we may ignore each loan o r line of credit that we determine is In default.           ever, authorize and pay them. If we overdraw your account to pay items on one or more occasions,
                                                                                                        we are not obligated to continue paying future Insufficient funds Items. We may pay all, some, or
Charg ing an Account                                                                                    none of your overdrafts, without notice to you. If we do not authorize and pay an overdraft, then we
We may deduct fees, overdrafts and other amounts you owe us under this Agreement from your              decline or return the transaction unpaid.
accounts with us or our affiliates, except that this provision does not apply to any consu mer credit
                                                                                                        The Schedule of Fees f or your account explains when we charge you fees for overdrafts and the
covered by the f ederal Truth in Lending law. We may make these deductions at a ny lime without
                                                                                                        dollar amount of the fees. We may charge fees for overdraft items, including for tra nsactions
prior notice to you or request from you. If you are charged Overdraft Item Fees, the fees may be
                                                                                                        between multiple Bank of America accounts held by you. Please review the Schedule of Fees for
an additional debit to your account and may further Increase the negative balance in your account.
                                                                                                        your account carefully.
If there are not enough funds in your account to cover the amounts you owe us, we may overdraw

Page 17                                                                                                                                                                                             Page 18
08/2022                                                                                                                                                                                            08/ 2022




                           Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 49 of 129
  Ir we overdraw your account, you agree to repay us immediately, without notice or demand from             For some business accounts, when your account is overdrawn, we also charge you interest on the
  us. We may use deposits you or others make to your account to pay any overdrafts, fees and other          overdraft amount. Please see the Schedule of Fees for your account.
  amounts you owe us prior to posting other debits, which may result In additional Overdralt Item
                                                                                                            What are •items"? Items include all orders and i nstructions for the payment, tra nsfer, or withdrawal
  Fees.
                                                                                                            of funds from your account. As examples, item Includes a check, draft, image, subslitute check,
  Impact of Holds                                                                                           everyday non-recurring debit card transaction, recurring debit card transaction, ACH submission,
                                                                                                            ATM transaction, preauthorized payment, automatic transfer, telephone-initiated transfer, Online
  Sometimes funds In your account are not available to cover your fees, checks and other Items.
                                                                                                            Banking transfe r or bill payment instruction, withdrawal slip, and In-person payment, transfer or
 When we determine that funds In your account are subject to a hold, dispute, or legal process,
                                                                                                            withdrawal instruction. When you authorize someone, such as a merchant, to debit money from
 then these funds are not available to cover your checks and other Items. We usually make this
                                                                                                            your account, that merchant or its financial Institution may resubmit returned Items multiple times.
 dete11nlrnnio11 011ct! at the &rnJ of the day whe11 we process ilt!OIS, As examples o f holds, holds
                                                                                                            Each resubmission is cons idered a separate item. For more examples, please review the definition
 include deposit holds, holds related to cash wit hdrawals, and authorization holds we place on the
                                                                                                            or items in the Explanation of Some Terms section.
 account for debit card transactions.
                                                                                                            What are everyday non-recurring debit card transactions and what are recurring debit card
 Debit card transactions and related authorization holds may impact your available balance. It
                                                                                                           transactions? Everyday non-recurring debit card transac tions are usually purch ases made with your
 is important to know that your available funds may change between the time you autf10rize a
                                                                                                           debit card or debit card number on a one-time or day-to-day basis. As examples, you use your debit
 transaction and when the transaction Is paid. When you use your debit card you authorize t he
                                                                                                           card ror purchases of groceries, gas, or coHee in the morning. Recurring debit card transactions
 merchant with whom you use your card or to whom you previously provided your information
                                                                                                           are usually transactions that you set up to occur automatically, such as automatic bill payments.
 to ask Bank of America to approve the transaction you want to make. At this time, in order for
                                                                                                           As examples, you give merchants your debit card number to use for rent. mortgage , car, or utility
 the transaction to go through. we must promise the merchant to pay for lhe purchase upon the
                                                                                                           payments. We rely on the merchant that processes the transaction to determine if it is a recurring
 merchant's request.
                                                                                                           transaction or an everyday non-recurring transaction.
 A hok1 Immediately reduces the amount of available runds In your account by the amount of the
 authorization request. If, while the hold is in place, you do not have enough available funds In          Personal Account s - Overdraft Practices and Settings
 your account to cover other transactions you may have conducted (such as a check you previously           We automat ically apply our standard overdraft practices to personal checking accounts, unless
 wrolt!), those llt!rns may overdraw your account or be returned unpaid. This may resul t in an            otherwise disclosed. We refer to this as our Standard Overdraft Setting. For some personal
 overdraft fee on the debit card transaction if this happens. In most cases, the hold expires when         checking accounts, we offer an optional Decline All Overdrart Setting. The Decline All Overdrart
 the transaction is paid.                                                                                  Setting is automatically applied to personal savings accounts and may nol be changed to the
 The amount being held Is not applied to the debit card transaction or to any specific transaction. If     Standard Overdraft Setting.
 the hold expires and the transaction has not been paid, the amount being held is returned to your         With our Standard Overdraft Setting, we do not authorize overdrafts for everyday non-recurring debit
 available funds. After U1e hold expires, we determine whether you have sufficient funds available to     card transactions and ATM transactions. This means that we decline everyday non-recurring debit
 pay the debit card t ransaction. If you do not have sufficient funds, the debit transaction will cause   card transactions and ATM transactions when we determine that at the time or the transaction you
you to overdraw and, If It is a recumng transaction, may incur an overdraft fee. This can occur even      may not have enough available funds in your account (or, for an eligible checking account enrolled
if your account did have sufficient available funds when the merchant requested authorization,            in Balance Connect'M ror overdraft protection, linked backup account(s)) to cover the transaction.
Your debit card transaction is paid when the merchant presents it to Bank of America for payment          With this overdraft setting, we may authorize and pay overdrafts for other types nf items, and when
- th at Is, when tile mercha11t asks us to transfer the funds from your account to the merchant.          this happens, you may be charged an overdraft fee. Other types or Items include checks and other
It is Important to note that authorization and payment of debit card transactions do not occur            items transmitted using your checking account number, recurring debit card transactions, ACH
simultaneously - there can be days between.                                                               submissions, preauthorized payments, and automatic and onllne blll payments. For more examples
If other account activity has caused the runds available In your account to drop below zero be fore       of 0U1er Items, please revie,w the definition of items. With the Standard Overdraft Setting, we
the debit card transaction is paid, you may no longer have sufficient funds to pay the merchant.          will not charge a fee to your deposit account when we decline or return an item unpaid due to
If that occurs the debit card transaction will overdraw your account because we must honor our            insufficient funds. However, you may be charged a fee by the payee.
promise to pay the merchant. You may incur an overdraft fee when this happens.                             Optional Decline All Overdraft Setting. This is an optional overdraft setting offered on some personal
Here is an example of how that may happen: On Monday we authorize a debit card transaction                checking accounts that you can ask us to apply. With the Decline All overdraft Setting we decline
because you have enough available runds at the time. A hold is then placed on your funds                  everyday non-recurring debit card transactions and ATM transactions when we determine that at the
until the merchant presents the transaction for payment. On Tuesday we process and post                   time of the transaction you may not have enough available funds in your account (or, for an eligible
another transaction (such as a check you wrote) that reduces your available funds below zero.             checking account enrolled in Balance Connect'M ror ove,drart protection, linked backup accounl(s))
If the merchant presents the original debit card transaction for payment on Wednesday, and                to cover the transaction. In addition we do not authorize or pay any Item, including recurring debit
your available funds are now below the amount needed to pay the transaction, the debit card               card transactions, checks and ACH submissions unless we determine that at the time of the
transaction will overdraw your account and you may incur an overdraft fee.                                transaction you appear to have enough available funds in your account (or linked backup account(s))
                                                                                                          to cover the item, This means that if you ask us to apply the Decline All Overdraft Setting to your
We may also treat as an Insufficient funds item each fee U1at creates an overdraft and each
                                                                                                          account, you are telling us to decline or return these Items unpaid. With the Decline All Overdraft
deposited item returned to us unpaid that creates an overdraft.
                                                                                                          Setting, we will not charge a fee to your deposit account when we decline or return an Item unpaid

Page 19                                                                                                                                                                                                 Page 20
08/2022                                                                                                                                                                                                08/2022




                           Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 50 of 129
  due to Insufficient funds. However, you may be charged a ree by the payee. In addition, Ir your          Occurrences
  account does become overdrawn, we will not charge an overdraft fee.
                                                                                                           An •occurrence" is a day during which your account has at least one overdraft item or returned
  We may also apply the Decline All Overdraft Setting to accounts at our discretion and to accounts        item. If we transfer your account to another financial center or convert il to a diHerent type of
  with excessive overdrafts.                                                                               account, your record of overdraft items and returned it ems continues to apply.
  With either overdraft setting, your account might still become overdrawn. Please see the Impact of
  Holds section for an example of how this could occur.                                                    Balance Connect™ for Overdraft Protection
                                                                                                          Our optional Balance Connect"" for overdraft protection service can help you cover your
  Please review the Schedule of Fees for your account carefully.
                                                                                                          transactions and avoid overdrafts and/or declined transactions when you do not have sumcient
  Business Accounts - Overdraft Practices and Settings                                                    funds in your checking account. While there is no transfer fee when you use Balance ConnectJM,
                                                                                                          other fees and charges may apply. Please carefully review this section and t he account
  With our Standard Business Overdraft Setting, we do not authorize overdrafts for ATM transactions.
                                                                                                          agreements for the backup accounts you link through Balance Connect 0" to understand the fees
  This means that we decline ATM transactions when we det ermine at the time of the transaction
                                                                                                          or charges that apply when funds are transferred from those accounts.
  that you may not have enough available funds in your account (or, for an eligible checking account
  enrolled in Balance Connect ",. for overdraft protection, finked backup account(s)) to cover the        Balance Connect",. allows you to link up to 5 eligible backup accounts to your eligible checking
 transaction. With this overdraft setting, we may authorize and pay overdrafts for other types of         account (covered account). Whe n you do not have enough available funds in the covered account
 items, and when this happens, you may be charged an overdraft fee. Other types of Items include          to cover an item, we may automatically transfer/advance availab le funds from the linked backup
 checks and other items transmitted using your checking account number, everyday non-recurring            account(s) to the covered account. Ir your linked backup account(s) do not have enough available
 debit card transactions , recurring debit card transactions, ACH submissions, preaulhorized              funds to cover the necessary amount, we may decline to make the lransfer, and your checking
 payments, and automatic and online bill payments. For more examples of other items, please               account may become overdrawn and you may be charged Overdraft llem Fees, or the payee may
 review the definition of Items. With this overdraft setting, we will not charge a fee to your deposit    charge you a fee(s) rur the relurned paymen t.
 account when we decline or return an item unpaid due to insufficient runds. However, you mdy be          When you link multiple backup accounts, you tell us the order in which you want your accounts
 charged a fee by the payee.                                                                              accessed for transfers to the covered account. When the available funds in your f1tst linked
 For some business checking accounts, we offer an opOonal Decline All Overdraft Setting that you can      backup account are not enough to cover the necessary amount, the next linked backup account(s)
 ask us to apply to your account. The Decline All Overdraft Setting is automatically applied to all       will transfer/advance available funds to cover the remaining amount. Therefore, funds may be
 business savings accounts and may not be changed to the Standard Business Overdraft Setting.             transferred/advanced from more than one linked backu p account to cover the necessary amount.
 With the Decline All Overdraft Setting, we decline everyday non-recurring debit card transactions        We are not required to notify you if funds from the backup account cannot be transferred by
 and ATM transactions when we determine at the time of the transaction you may not have enough            Balance ConnectTM (for example If the account is dormant, purged, restricted or not in good
 available funds In your account (or linked backup account(s)) to cover the t1ansaction. In addition,     standing).
we do not authorize or pay any transaction, including recurring debit card transactions, checks and      H you use your savings account for this service, each transfer from that savings account counts
ACH submissions, unless we determine that at the time of the transaction you appear lo have              as one of the six limited transactions you are allowed each month from your savings account.
enough available funds In your account (or linked backup account(s)) to cover the transaction. This      Please see the Limits on Withdrawals and Transfers from savings Accounts section herein and the
means that if you ask us to apply the Decline All Overdraft Selling to your account, you are tel/Ing     Schedule of Fees for your account for more information.
us to decline or return these transactions unpaid. With the Decline All Overdraft Setting, when we
                                                                                                          U you use your credit card account for this service, advances are made under, and are subject to,
decline or return an item unpaid due to Insufficient funds, we will not charge a fee to your deposit
                                                                                                         the t.e rms and conditions described In the applicable credit card agreement. We ordinari ly do not
account. However, you may be charged a fee by the payee. In addition, If your account does
                                                                                                         make an advance If you are in default under your credit card agreement or if the advance would
become overdrawn, we will not charge an overdraft fee.
                                                                                                         cause you to exceed the amount of credit available for that type of transaction. As examples, we
We may also apply the Decline All Overdran Setting to accounts at our discretion and to accounts         may decide not to advance funds from your credit card account if you fall to make a credit card
,'11th excessive overdrafts.                                                                             payment by Its due date or If you exceed any credit card limit on your credit card account. TI1e
With either overdraft setting, your account might still become overdrawn. Please see the Impact of       funds advanced are subject to finance charges under your credit card agreement. Please see your
Holds section for an example of how this could occur.                                                    credit card agreement for more information.

Please review the Business Schedule of Fees for your account carefully.                                  Jr you use your line of credit account for this service, advances are made under, and are subject
                                                                                                         to, the terms and conditions described In the line of credit agreement. We ordinarily make the
Posting Orders                                                                                           advance as long as you are not in default under the line of credit agreement and as long as the
We determine the order In which we process and post deposits and other credits and checks and            advance does not cause you to exceed the amount of your available credit on your line of credit.
other Items to your account. We may pay or authorize some items, and decline or return others,           The funds advanced are subject to finance charges under the line of credit agreement. Please see
In any order we deem appropriate. When you do not have enough available funds to cover all of            your line of credit agreement for more information.
the items presented that day, some processing and posting orders can result in more insufficient
funds items and more overdraft items than other orders. We may choose our processing and
posting orders regardless of whether additional fees result.
Please see the Processing and Posting Orders section for more information.
Page 21                                                                                                                                                                                               Page 22
08/2022                                                                                                                                                                                              08/2022




                               Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 51 of 129
  Please note the following:                                                                             After the end of the business day, our automated systems assign each transaction received for
       • Bank of America Advantage SafeBalance Banking accounts are not eligible to be enrolled in       that day to a category. We generally post all transactions within a catego,y, using the posting
         Balance ConnecttM as a covered account or to be linked as a backup account.                     order or orders that apply to that category, before we post any transactions assigned to the next
                                                                                                         category.
       • Savings accounts are not eligible to be enrolled in Balance Connect"•4 as a covered
         account, but can be linked as a backup account.                                                 We start with the balance in your account al the beginning of the business day, subtracl holds from
                                                                                                         your balance, and make any adjustments from prior days. Next, we generally add credits to your
       • Other eligibility restrictions may exist. Please ask us whether your account is eligible.
                                                                                                         balance and then subtract debits from your balance. Some, but not all, of our categories are shown
       • Balance Connect'N transfers/advances may not be transferred to your covered account on          below. For each debit category shown below, we list some common types of debits that we assign
         the same day as the covered item(s) is posted.                                                  to t he category and summarize how we generally post them within the category.
       • Funds you deposit into your linked deposit account may not be available Immediately for               • We add depcsits and other credits to your balance.
         tfansfe,s.
                                                                                                               • Then, we subtract from your balance in date and time order the types of debits listed in
       • If you close a linked backup account or If It becomes ineligible, It will be removed as a               this paragraph, when our systems receive date and time information. If our systems do not
         backup account. If all of your linked backup accounts are closed or become ineligible, we               receive date and time Information, then we subtract the remaining debits in this category
         will cancel your Balance Connect™ service.                                                              from your balance in order from the highest to lowest dollar amount.
       • Any owner of both an eligible checking account and the linked backup account may enroll in             Common debits In this category include:
          or cancel Balance Connect'M without the consent of other owners and both accounts must
                                                                                                                   - one-time and recurring debit card transactions;
          share at least one owner to maintain Balance Connect""·
                                                                                                                   - withdrawals made at our tellers and ATMs;
       • An eligible personal checking account may be linked to an eligible Bank of America
         personal deposil act.-ounl, pe,sunal cr~cJIL card accounl, line or credit, and/or a home                  - one-time transfers made at ATMs, through our tellers , by telephone, and through Online
         equity line of credit in good standing. An eligible business checking account may be                        and Mobile Banking;
         linked to an eligible Bank of America business deposit account, business credit card or a                 - checks you wrote that are cashed at our t ellers; and
         business line of credit in good standing.                                                                 - wire transfers.
       • When you link a backup account, you authorize us to automatically transfer funds from lhe            • Then, for other checks you wrote, we subtract from your balance checks with check
         linked backup account{s) to cover an item or i tems. In addition, when you link an account             numbers sequentially in check number order when our systems can read the check number.
         solely owned by you to an account you own jointly, you authorize us to share Information               Next, checks without a check number that our systems can tead are subtracted in order
         about your solely owned account with each joint.owner of the other link ed account, such as            from highest to lowest dollar amount. ·•
         type of account and account number.
                                                                                                                As an example, on the same business day we receive five checks that you wrote and were
Cenain other restrictions apply. We reserve the right to cancel your Balance Connect™ service and               not cashed al a teller. Our systems can read three or the check numbers, which are #105,
make changes to the service at any time for any reason.                                                         #112, and #115. The other two checks do not have check numbers that our systems can
                                                                                                                ,ead. We subtract check #105 first, then #112, and then #115. men. we subtract the two
                                                                                                                remaining checks in order from the highest to lowest dollar amount.
Processing and Posting Orders                                                                                 • Then, we subtract rrom your balance many other types o f electronic debits In order from the
Processing Transactions and Posting Orders                                                                      highest to lowest dollar amount. These debits include: scheduled transfers, preauthorlzed
Posting transactions to your account impacts your account balance. Posting a credit increases                   or automatic payments that use your deposit account number {generally referred to as
                                                                                                                automated clearing house {ACH) debits}, and Online and Mobile Banking bill payments.
your balance. Posting a debit or hold reduces your balance. Credits include teller deposits,
direct deposits and credils we make. Holds Include deposit holds, debit card authorizations, and              • Then, we subtract from your balance most fees incurred that day (such as monthly
holds related to cash withdrawals and electronic transfers. Debits include withdrawals, transfers,              maintenance fees, overdraft item fees, and ATM fees) In order from highest to lowest dollar
payments, checks, one-lime and recurring debit card transactions. and fees.                                     amount. We subtract these fees whether or not you have a positive account balance. Some
                                                                                                                fees may show as " processing" until the next day.
We use automated systems to process transactions and then to post transactions to accoun ts.
When we process multiple transactions for your account on the same day, you agree that we
                                                                                                        Changing Posting Orders
may in our discretion determine our posting o rders ror the transactions and that we may credit,
                                                                                                        You agree that we may determine in our discretion the orders In which we post transactions to your
authorize, accept, pay, decline or return credits, debits and holds in any order at our option.
                                                                                                        account.
Posting Orders                                                                                          You agree that we may determine in our discretion the categories, the transactions within a
This section summarizes how we generally post some common transactions to your account.                 category, the order among categories, and the posting orders within a category. We some times add
                                                                                                        o r delete categories. change posting orders within categories and move transaction types among
We group the different types of transactions Into categories. We use several different categories for
holds, credits, and debits. Most categories include more than one transaction type.                     categories. You agree that we may in our discretion make these changes at any time without notice
                                                                                                        to you.

Page 23                                                                                                                                                                                            Page 24
08/2022                                                                                                                                                                                           08/2022




                           Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 52 of 129
  Post ing Orders Det ermined at End of Day                                                             Credits. We generally add to your account balance the following credits, when the transaction
  We receive credits, debit s and holds throughout the day. Regardless of when during the day we        occurs arter the cutoff time for the business day, but during the same calendar day:
  receive transactions for your account, you agree that we may treat them as Ir we received all              • Cash deposited at one of our ATMs or financia l centers, and
  transactions at the same time at the end of the business day.
                                                                                                             • Transfers to your account from another deposit account with us made at one of our ATMs
 During the day, we show some transactions as processing. As an ex.ample, we show some                         or financial centers, through Online Banking, Mobile Banking, or by calling customer
 transactions as processing on the Account Details screen in Online Banking. Please note                       service.
 that transactions shown as processing have not been posted yet. The posting order for these
                                                                                                        Debits. We generally subtract from your account balance the following debits, when the transaction
 transactions is determined at the end of the day, with the other transactions we receive ror that
                                                                                                        occurs after the cutoff time for the business day, but during the same calendar day:
 day.
                                                                                                             • Cash withdrawals made at one of our ATMs or financial centers, and
 You should note that orten we do not receive debits on the same day that you conduct them. As
 an example, when you use your debit card to pay for a purchase at a merchant and sign for the               • Transfers from your account made at one of our ATMs or financial centers, through Online
 transaction, we usually receive an authorization request from the merchant the same day, but we               Banking, Mobile Banking, or by calllng customer service.
 might not receive the final debit card transaction ror payment and posting until several days later.
 We generally post credits and debits to your account, and report them on your statement, In a
 different order than the order in which you conduct them or we receive them.

 Overdraft Fees
 We generally determine at the time we post a debit to your account whether It creates an overdraft
 and whether an overdraft Item fee applies. You should note that sometimes we authorize a
 transaction at a time when you have enough available funds to cover it, but because other items
 and fees post before it and reduce your balance, the transaction creates an overdraft when we post
 it to your account. You can avoid fees for overdraft items by making sure that your account always
 contains enough available funds to cover all of your items and associated fees. When your account
 balance includes some funds that are subject to a hold, dispute or legal process, you should note
 that those funds are not available to cover your items and fees.
 We o ffer services to help you manage and keep track of your finances, such as Online Banking and
 Online Alerts. Please see ..How to Get Started" al the beginning of this agreement.
Our pasting ordets can impact the number or overdraft fees we charge you when you do not have
enough available funds to cover all of your transactions. When several debits arrive the same
business t1ay for payment from your ~~r.nunt ;mrl you do not have enoueh available funds in your
account to cover all of the debits we receive for that day, you understand that some posting orders
can 1esult In more overdrafts, and more fees for overdraft items, than if we had used other posting
orders. You agree that we may in our discretion choose our posting orders, and also change them
from time to time, regardless of whether additional fees may result.
When your account balance includes some runds that are not available at the time that we post
a debit, and you do not have enough available funds In your account to cover the debit, the debit
results In an overdraft and we generally charge you an overdraft Item fee for the debit. You should
note that we do not show holds, or distinguish between available and unavailable funds in your
account balance, on your statement so when you review your statement later, it might appear that
you had enough available funds in your account to cover a debit for which we charged you a fee.

Ce rtain Transactions Made After Business Day Ends
During processing, we generally include in your account balance some transactions that you make
after the business day cutoff, but before the end of the calendar day. These transactions are
described below. This can impact fees t hat apply to your account. The credits can help you avoid
overdrafts, returned items, and related fees. However, the debi ts can cause you to incur overdrafts,
returned items, and related fees. You should note that we show these transactions on your
statement as posting to your account on our next business day.


Page 25                                                                                                                                                                                          Page 26
08/2022                                                                                                                                                                                         08/2022




                           Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 53 of 129
  Processing Deposits and Cashed Items                                                                      other reason, we may charge your account for the amount of the Item. TI1is may occur even if we
                                                                                                            previously made the funds available to you, or this causes your account to become overdrawn.
  We may forward deposits, cashed Items and other transaction requests for an account to one of             Foreign Items You should be especially cautious about accepting Items drawn on banks located
  our processing centers. We may use the date that our processing center receives lhe transaction           outside of the United States. See Foreign Items and Foreign Currency.
  as the effective date of the transaction.
                                                                                                            Checks Lost in t he Collection Process
  Cashing Items or Accepting Items for Deposit                                                             When we cash a check for you or accept a check for deposit to your account, we are acting as
  We may accept, accept for collection only, refuse, or return all or part of any deposit. If we accept    your agent in collecting the check. We are not responsible 11 the check Is lost or delayed In the
  checks or other items for deposit to your account or cash them, you are responsible for the checks       collection process. We may charge your account for the amount of the check, even if this causes
  and other items If there Is a subsequent problem with them.                                              your account to become overdrawn, If a check ls lost during the colleclion process or if the
       • If we cash a check or other Item for you or credit it to your account and it is not pctid for     financial institution on which the check is drawn gives us a photocopy of the check or a debit slip
                                                                                                           representing the check.
         any reason, we may charge your account for the amount of the check or other item, even If
         this causes your account to become overdrawn.                                                     A check that was lost may not be returned lo us for some time. Despite any delay, we may charge
       • We may accept a check or other Item for deposit to your account from anyone. We do not            your account when we receive either the returned check, a copy of the check, or a notice of return.
         have to question the authority of the person making the deposit.
                                                                                                           Collection Items
       • If your account is overdrawn, we may use the deposit to pay the overdraft and any rees you
                                                                                                           We may accept certain Items - such as certain securities and checks payable in foreign
         owe us.
                                                                                                           currencies or at roreign locations - on a collection basis only. We route and process colleclion
       • We may adjust your account for any deposit errors, even if you have already withdrawn all         items separately. We normally credit your account for collection Items only after we receive
         or part of the deposit, though we reserve the right not to do so in every case.                   payment for them. But if we do credit your account and then do not receive payment, we may debit
       • We may refuse to accept for deposit to your account Items payable to another person.              your account for the amount or the Item, even if this causes your account to become overdrawn.

       • In receiving checks or other Items for deposit or collection, we act only as your collecting      We charge fees for processing collection items. Ananclal institutions in the collection process and
         agent and assume no responsibility beyond the exercise of ordinary care. We are not               the financial Institution on which the collection item Is drawn may also charge fees. If a financial
         responsible for errors and delays made by others in the collection process.                       Institution requires payment of a fee before that institution wlll process the collection item, we may
                                                                                                           pay the fee and charge your account. A financial Institution may subtract its fee from the amount of
       • We may assess a charge for processing cash in a deposit.
                                                                                                           the payment we receive. You have to pay these fees even if the collection item is returned unpaid.
      • If you give us cash that we later determine to be counterfeit, we may charge your account
                                                                                                           For our current collection fees, call us at the numbe, for customer service shown on your
        for the amount we determine to be counterleil.
                                                                                                           statement, or ask a financial cent er associate.
      • You will not knowingly deposil items Into your account that do not have either a ttue
        original signature of the person on whose account it is drawn or an authorized mechanical          Demand Drafts and Remot ely Created Checks
        reproduction of that person 's signature.
                                                                                                          If you deposit a demand draft or remotely created check {an unsigned draft or a preauthorized
      • We may ,equite ID 01 impose other condition~ b1.?fo1e accepting a de1,>0~it.                      draft} into your .lCCount, you warrant and gu.lrantee that the draft or remotely created check Is
      • An electronically created item {ECI) Is an electronic Image that has all the attributes of an     authorized according to the terms on its face by the person identified as drawer. You agree to
        electronic check but is not originally derived from a paper check. You agree not to deposit       Indemnify us from all loss, expense and llablllty related to a claim that such draft or check was not
        an ECI. You warrant that any item you deposit-including by means of mobile banking-               authorized by the persons on whose accounts it was drawn.
        has been created from a paper check, was authorized by the account holder, and will
        not be presented more than once. Ir you deposit or create for deposit an ECI, you agree
                                                                                                          Deposit Preparation and Acceptance
        to Indemnify the Bank for any liability or loss resulting from a breach of any of these           Please note that we may refuse to accept deposits to consumer and business accounts by mail.
        warranties and to fully reimburse the Bank for all losses incurred, Including any loss due to     When you make deposits through our fmancial centers, including lobby boxes, ATMs, night
        the item not being derived from paper.                                                            depositories and other automated depositories, or by mail, we may use the method of delivery to
Deposit Slips You should always use our personalized deposit slips with your preprinted name and          our branch or processing center to determine when we accept the deposit, when you receive cred it
account number. If you use a blank deposit slip from one of our financial centers, rather than your       for the deposit, and whether deposit fees apply,
personalized deposit slip, we are not liable to you for errors that may result from your or our hand      If we credit your account for a deposit and provide you with a receipt, we may use the amount
encoding the account Information.                                                                         shown on the deposit slip or otherwise specified by you. The amount of the credit is subject to
Checks, Cashier's Checks, and Slmllar Items We cannot generally verify that checks, money                 subsequent verification by us and, after review, we may adjust your account for any errors, though
orders, cashier's checks or similar items are authentic and valid at the time you ask us to cash          we reserve the right not to do so In every case.
them or accept them for deposit. If we cash, or accept for deposit, a check, money order, cashier's       Any of our employees or authorized agents may open and count any deposit tha t a teller did not
check or similar item and we later learn that the item is fraudulent, counterfeit or invalid for some     count in front of you, including coin deposits, cash deposits, and each deposit made through the
                                                                                                          mail, a lobby box, a night depository, or other automated depository. You agree not to dispute that

Page 27                                                                                                                                                                                               Page 28
08/2022                                                                                                                                                                                              08/2022




                           Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 54 of 129
  employee or agent's determination of the amount you delivered. The funds will be accepted ror            Otherwise, It may overlap Into the area reserved for the banks' endorsements. The trailing edge Is
  deposit after the counting has been completed and we have verified the amount, if we opt to do           the left side of the check when you look at It from the front.
  so. The funds will be made available to you in accordance with our runds availability schedule at
                                                                                                           If you endorse a check outside of that area, mark or otherwise obscure the other area or a prior
  that time.
                                                                                                           endorsement or make an endorsement that is illegible or incomplete, we may refuse lhe item or
  If you make your deposit through a mechanical or automated depository such as an ATM or night            we may accept such nonconforming endorsement and you agree to hold us harmless from any
  depository, you agree to exercise due care in opening, closing and properly securing the depository.     loss, delay, liability, claim or damage wh ich may arise as a result .
 If your deposit Includes items that we do not accept for deposit, we may hold those items until          If it becomes necessary for us to return one of your checks, your endorsement or information
 claimed by you.                                                                                          placed on the back of the check may Interfere with the bank endorsements and cause delays in
                                                                                                          returning the Item. You are liable for and agree to reimburse us for all claims, costs, losses and
 Deposit Error Correction                                                                                 damages that result from late return of a check due to material entered on the back of the check
  When we accept your deposits, we may provlslona!ly credit your account for the amount declared          that obscured or interfered with the depository or another bank's endorsement.
  on the deposit slip. You must ensure that the amount declared on the deposit slip is correct even
  if you did not prepare the deposit slip. Ir later we determine that the amounts declared on the         Identifying the Account for Your Deposit
 deposit slip are incorrect, we may adjust (debit or credit} your account, though we reserve the right    You must correctly identify the account to which you want funds deposited. We may cred it a
 not to do so if the error in completing the deposit slip was apparently inadvertent and Is less than     deposit to an account based solely on the account number listed on the deposit sllp or other
 our standard adjustment amount. In that case, we may not adjust the deposit unless you notify            instruction to credit an account, even if the name on the deposit slip or other Instruction differs
 us of the effor within one year of the date of your periodic statement that shows the deposit.           from the name on the account.
 After this notict! pe,iod has passed without your bringing an error to our attention, the deposit        You are responsible for any clalm, cost, loss or damage caused by your failure to properly identify
 amount Indicated on the statement will be considered finally settled. That is. If the actual amount
                                                                                                          the account to which a deposit is made or intended to be made.
 deposited was less than the amount declared on the deposit slip, the difference wlll become your
 property and if the actual amount deposited was mo,e than the amount declared on the deposit             Overpayments a nd Reversals
 slip, the difference will become our property. We may change our standard adjustment amount              If funds to which you are not entitled are deposited to your account by mistake or otherwise, we
 from time to time without notice to you.
                                                                                                          may deduct these funds from your account, even if lhis causes your account to become overdrawn.
                                                                                                          If the funds were transferred from your account, we may reverse the transfer. We can do this
 Encoding Deposits
                                                                                                          without giving you any prior notice or demand.
 Ir you are a business client, you may ask us for permission to encode U1e MICR {Magnetic Ink
Character Recognition} llne of an item you deposit with us. If we permit this, you agree to follow        Returned Items
the instructions we give you for preparing and encoding your deposits. U you make an encoding
                                                                                                         This section applies to items that you deposit or that we cash for you (a · cashed or deposited
mistake that results in costs, losses or damages to us, you agree to reimburse us for our costs,
                                                                                                         item· ) and Includes items drawn on us as well as Items drawn on other financial institutions. You
losses and damages. including attorneys' fees . We may charge them to your account. We are not
                                                                                                         are responsible for ,eturned items.
liable for any claims, costs, losses, or damages you may incur when you encode your own items.
                                                                                                         If a cashed or deposited Item Is returned to us at any time for any reason by the bank on which
If our equipment is unable to read what we consider a significant number of your encoded Items,
                                                                                                         it is drawn or any collecting bank, we may accept that return, pay the cla lming party, and cha,ge
we may refuse lo accept some o, all or your items and we may charge you fees for each item we
                                                                                                         the ,tern to your account without regard to whether we or the other bank finally paid the item or
do accept.
                                                                                                         returned the item in accordance with any applicable midnight deadline or clearinghouse rule. We
You must provide us with a replacement or a copy of each original check if the deposit is lost or        may also deduct from your account any interest you may have provisionally earned on tJ1e item. We
destroyed. We are not liable to you if you are unable to do so.                                          may debit your account for a returned i tem at any time on or after the day it ls returned to us by
                                                                                                         electronic, automated clearinghouse (·AcH· } or other means or on the day we receive notice that
Endorsing Checks                                                                                         the item is being returned to us • whichever Is earlier.
We may endorse and/or collect items deposited to your account without your endorsement but
                                                                                                         As an example: if an item deposited in your account has been paid by the bank on which It is
may, at our option, require your personal end01sement prior to accepting an item for deposit. If
                                                                                                         drawn (Including on us} and that Item is later returned to us with a clalm that the item was altered.
you deposit items which bear the endorsement of more than one person or of persons who are
                                                                                                         forged, unauthotized, bears a forged or missing endorsement or should not have been paid for
not signers on the account, we may refuse the item or may require you to have their endorsement
                                                                                                         any reason, we may at our discretion charge the item against your account or place a hold on the
guaranteed before we accept an Item.
                                                                                                         amount of that Item against your account until the claim is finally resolved. We may take these
We may accept for deposit checks payable to any signer on your account when endorsed by any              actions without prior notice to you and regardless of whether settlement with respect to such item
other signer.                                                                                            Is considered final.
When you endo,se checks that you ask us to cash or deposit, you must endorse checks In the               We are not obligated to question U1e truth of the (acts that are asserted, to assess the timeliness
area that extends 1 1/2 inches from the trailing edge of the back of the check. You must also            of the claim, to take any action to recover payment of a returned item, or to assert any defense.
confine information that you place or have preprinted on the back of your checks to the same area.       We do not need to notify you in advance of our actions related to the claim. If you do not have


Page 29                                                                                                                                                                                               Page 30
08/2022                                                                                                                                                                                              08/ 2022




                           Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 55 of 129
  surficient available funds to cover a returned item, we may overdraw your account. We are not                    person and over the counter by the payee, We may restrict certain channels such as not
  liable to you If there are Insufficient funds to pay your Items because we withdraw funds from                   accepting registered warrants for deposit through ATMs or by mobile deposit or remote
  your account or In any way restrict your access to funds due to a hold or debit to your account In               capture.
  connection with a returned item. You agree to repay Immediately an overdraft caused by a return of
                                                                                                                 • We may reject or not accept registered warrants payable to a third party.
  a cashed or deposited item,
                                                                                                                 • Because we may have to verify the authenticity of each registered warrant, if we accept
 In some cases, the financial institution on which the returned check or other item is drawn may
                                                                                                                   a registered warrant for deposit prior to its maturity date or such earlier date as the
 send us an electronic notice of return, an indemnined copy of the original, an image replacement
                                                                                                                   registered warrant is called for payment by the Issuer, we may place a hold on the
 document ("'IRD") or an image, instead of returning the item. We may act on, and you agree to be
                                                                                                                   deposited funds that may be longer than our standard hold or funds availability policies.
 bound by, the electronic notice of return, or indemnified copy or IRO just as if the original item had
 been returned.                                                                                                  • We may refuse to accept any registered warrant you attempt to deposit, with or without
                                                                                                                   cause or prior notice to you, even If we ha\ie accepted registered warrants from you in the
 We may send the unpaid item back for collection a second time before notifying you, but we are
                                                                                                                   past for deposit.
 not obligated to do so. You waive notice of dishonor and protest. You agree that we will have no
 obligation to notify you of any Item that is being returned. However, If we receive advance notice              • We may not accept a registered warrant on or after Hs maturity date or such earlier date as
 from another financial Institution that it is returning to us unpaid a check of $5,000 or more, we                the registered wartant Is called for payment by the Issuer.
 may send you a notice. We do not send a notice about returned checks of less than $5,000.                 When we accept a registered warrant from you for cash payment or deposit, you agree that you are
                                                                                                           assigning all rights that you have in the registered warrant, including the right to receive interest on
 Substitute Checks                                                                                         the registered warrant. When you present a registered warrant to us for cash payment or deposit,
 You agree that you will not cash or deposit "substitute checks" as defined by federal law or Image        you represent that the registered waHant is propelly endorsed by you as the named payee, that
 Replacement Documents ("IRO") that purport to be substitute checks and have not been previously           you are eligible to receive interest on the registered warrant, and that the registered warrant is
 endorsed by a bank. 1r you cash or Ueposit such an item, you give us the same warranties and              unaltered, valid, and free of liens and claims by others.
 indemnities that we, as a reconverting bank, wouJd give under applicable law or regulation and            Regardless of the period of time you may have held the registered warrant prior to its transfer
 you agree to reimburse us for claims, losses, costs and damages we may incur. If you provide              to us, as consideration for our agreeing to accept a registered warrant for deposit from you, you
 us wiU1 an electronic representation of a substitu te check for depasit Into your account Instead         agree that we may at our option either keep any and all interest paid to us or we may credit
 of an original check, you agree to reimburse us for all claims, losses, costs and damages we              interest to your account. At our option, should we choose to pay to you all or some of the amount
 incur because the substitute check resulting from the electronic representation does not meet             of interest accrued on a registered warrant , we will credit the amount to the account Into which you
 applicable substitute check standards or causes duplicate payments.                                       deposited the registered wartant, generally within 30 days of the date of deposit, provided that we
                                                                                                           have first received the interest, and provided such account is then open. If you have not provided
 Third-Part y Endorsements
                                                                                                           a certified taxpayer Identification number to us, this interest payment, Ir any. may be subject to
We may require that checks and other items you want to deposit or cash be endorsed by all parties          backup withholding.
to whom the items are payable. We may require verification of any endorsement through either an
                                                                                                          As a condition to accepting a registered warrant from you, you agree to execute and deliver to us
endorsement guarantee or personal identification.
                                                                                                          any document we request to evidence the assignment and to ensure payment of the registered
Registered Warrants                                                                                       warrant, and all related accrued Interest to us, If we keep the Interest in accordance with this
                                                                                                          Agreement.
Certain states, public agencies or other government entities may issue interest-bearing warrants
that may be payable or redeemable on a future date, generally referred to as ·registered warrants. "
Registered warrants are essentially a state or other government entity's "promise to pay" or "IOU.·       When Funds are Available for Withdrawal and
Registered warrants are subject to special rules.
We have no obligation to accept regis tered warrants from you, whether ror deposit, cash payment,
                                                                                                          Deposit Holds
or otherwise even if the registered warrant is redeemable.
                                                                                                           Our general policy Is to make funds from your cash and check deposits available to you no later
We generally will not cash registered warranls. If we Inadvertently or otherwise cash a registe,ed         than the first business day after the day of your deposit. However, in some cases we prace a hold
warrant for you, as consideration for our providing cash to you for the registered warrant. you agree      on funds that you deposit by check. A hold results In a delay in the availability or these funds.
that we may keep any and all interest paid to us for such registered warrant upon redemption. We          When we place a hold, you will have to wait a few days before being abfe to use the funds. When
may also debit your account if a registered wauant is returned unpaid or we receive notice that the       we decide to place a hold at the time you make your deposit, the teller or ATM gives you a notice
registered warrant will be returned unpaid.                                                               that lets you know funds are on hold. For ATM deposits, the hold notice 1s usually included on
We may, at our discretion, accept regist ered warrants for deposit from you subject to certain terms      the ATM receipt. The hold notice will let you know the date and the lime when the funds will be
and conditions, Including but not limited to the following examples.                                      available for you to use. In some cases, you will not get the hold notice from the teller or ATM, but
                                                                                                          later by mail or In Online Banking, You can avoid holds by using direct deposit or wire transfer.
     • We may require that you be an existing customer, and we rese,ve the right to decide which
       customers may be eligible on a case-by-case basis.                                                 In many cases, we make funds from your deposited checks available to you sooner than we
                                                                                                          are able to collect the checks. If funds from a deposit become avallable and you can withdraw
     • We may require that such deposits are made in certain ways or channels, such as in

Page 31                                                                                                                                                                                                 Page 32
08/2022                                                                                                                                                                                                08/2022




                           Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 56 of 129
 them, that does not mean the check or ot her item you've deposited is authorized, Is •good, .. has      We will notify you if we delay your ability to withdraw funds for any of these reasons, and we will
 ·cleared," or has been paid by the paying bank. It's also possible that the check may be returned       tell you when the funds will be available. They wlll generally be available no later than the seventh
 months after we've made the funds available to you and you've withdrawn them. No one, including         business day after the day of your deposit.
 our employees, can guarantee to you that a check will not be returned. Please keep In mind that
 even though we make funds from a deposited check available to you and you withdraw the funds,           Special Rules for New Accounts
 you are still responsible for problems with t he deposit. If a check you deposited is returned to us    If you are a new customer, the following special rules may apply during the first 30 days the
 unpaid for any reason, you will have to repay us and we may charge your account for the amount of       account Is open. Funds from electronic direct deposits t o your account are available on the day we
 the check, even if doing so overdraws your account.                                                     receive the deposit. Funds from deposits of cash, wire t,ansfers, and the first $5,525 of a day's
 While we generally apply our funds availability policy to deposits you make to savings accounts         total deposits of cashier's, certified, teller's , traveler's, and federal, state and local government
 (including money market savings accounts}, and to deposits you make remotely, such as deposits          checks are available no later than the first business day after the day of your deposit if the deposit
 made using a mobile device or scanner, please note that our funds availability policy does not          meets certain conditions. For example. the checks must be payable to you and deposited In
 apply to these deposits, and we may delay availablllty of funds from these deposits.                    person to one of our employees. The excess over $5,525 is available by the fifth business day
                                                                                                         after the day of your deposit. If your deposit of these checks (other than a U.S. Treasury check) is
 Your Ability to Withdraw Funds                                                                          not made in person to one of our employees, the first $5,525 will not be available until the second
 Our general policy Is to make funds from your cash and check deposits available to you no later         business day after the day of deposit. Funds from all other check deposits are generally avallable
 than the first business day after the day we receive your deposit, Our policy Is to make funds from     by the fifth business day after the day of your deposit.
 electronic direct deposits made through the automated clearing house (ACH) or transfer systems          However, we may place longer holds on certain items for other reasons, such as large deposits
 that deliver payments in real t ime, and incoming wire transfers available to you on the day of the     (see Longer Delays May Apply above).
 deposit. Once they are available, you can withdraw the funds In cash and we will use the funds to
 pay checks that you have written.                                                                       Government Checks, Cashier's Checks and Other Special Types of Checks
For determining the availability of your deposits, every day Is a business day, except Saturdays,        Our policy Is to make funds from U.S. Treasury checks that are payable to you available no later
Sundays, and federal holidays.                                                                           than the first business day arter the day of the deposit.
If you make a deposit on a business day that we are open at one of our local financial centers           If you make the deposit m person to one of our employees, and meet the other conditions not~d
before their close of business, or at one of our ATMs before 8:00 p.m. local time in the state          below, our policy is to make funds from the followlng types of deposits available no later than the
where we maintain your account, we consider that day to be the day of your deposit. However, if         first business day after the day of your deposit:
you make a deposit a fter such times, or on a day when we are not open or that Is not a business
                                                                                                              • State and local government checks that are payable to you and are deposited in an
day, we consider that the deposit was made on the next business day we are open. Some
                                                                                                                account in U1e same jurisdiction that Issued the check.
locations have different cutoff tirnes.
                                                                                                              • Cashier's, certified and teller's checks that are payable to you,
Longer Delays May Apply                                                                                       • Federal Rese,ve Bank checks, Federal Home Loan Bank checks and U.S. Postal Service
In some cases, we will not make all of the funds that you deposit by check available to you by the              money orders that are payahle to you.
first business day arter the day of your deposit. Depending on the type of check that you deposit,
                                                                                                        If you do not make your deposit o f these checks In person to one of our employees (for example, if
funds may not be available until the second business day afler tlle day of your depo~it. The first
                                                                                                        you mall the deposit), our policy is to make funds from these deposits available no later than the
$225 of your deposits, however, may be available no later than the first business day after the day
                                                                                                        second business day after the day or your deposit.
of your deposit,
                                                                                                        However, we may place longer holds on certain Items for other reasons, such as large deposits
If we are not going to make all of the funds from your deposit available by the first business
                                                                                                        (see longer Delays May Apply above). For information about registered warrants Issued by
day after the day of your deposit, we generally notify you at the lime you make your deposit. We
                                                                                                        government entities, see "Processing Deposits and Cashed Items • Registered Warrants" above.
also tell you when the funds will be available. If your deposit Is not made directly to one of our
employees, or if we decide to take this action after your deposit is made, we mail or otherwise         Holds on Other Funds
provide you the notice by the next business day. If you need the funds from a deposit right away,
you should ask us when the funds will be available.                                                     If we cash a check for you that is drawn on another financial Institution, we may withhold the
                                                                                                        availability of a corresponding amount of funds that are already in your account. If we accept for
In addition, we may delay the availability of runds you deposit by check for a longer period under
                                                                                                        deposit a check that is drawn on another financial institution, we may make funds from the deposit
the following circumstances:
                                                                                                        available for withdrawal immediately but delay your abllity to withdraw a corresponding amount of
     • We believe a check you deposit will not be paid.                                                 funds that you have on deposit In another account with us. In either case, we make these funds
     • You deposit checks totaling more than $5,525 on any one day.                                     available in accordance with our policy described above for the type of check that was cashed or
                                                                                                        deposited.
     • You redeposit a check that has been returned unpaid.
     • You have overdrawn your account repeatedly in the last six months.
     • There is an emergency. such as failure of communications or computer equipment.

Page 33                                                                                                                                                                                              Page 34
08/2022                                                                                                                                                                                             08/2022




                           Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 57 of 129
                                                                                                         Checks you wnte may be converted into electronic images (truncated) during the check collection
Processing Withdrawals                                                                                   and return process. You also agree to bear the risk of loss If: you elect to have your checks printed
                                                                                                         by a vendor that has not been approved by us: you use check stock or features (such as security
We may forward withdrawals and other transaction requests for an account to one of our                   features) that cause critical data to disappear or be obscured upon truncation: or you make your
processing centers. We may use the date that the processing center receives the transaction as           check out in a way {such as, using a lightly colored ink) that causes c1itlcal data to disappear or be
the effective date of the transaction.                                                                   obscured upon truncation.

Cashing Checks for You                                                                                   Converting Checks to Electronic Debit s
Check cashing services may not be available at some financial centers. We may reruse to cash
                                                                                                         Some businesses convert checks that you give them into electronic debits {sometimes referred
a check written to you. If we do cash such a check and it is returned to us unpaid for any reason        to as an electronlc check) and then sends us an electronic debit ror the transaction amount.
at any time, we may deduct the amount of the check from your account, even if this causes your
                                                                                                         When we receive the electronic debit, we charge It to your account. We may receive the electronic
account lo become overdrawn.                                                                             debit to your account immediately after the business enters the transaction, so you may have a
We may cash checks payable to any signer on your account when endorsed by any other signer.              reduced right to stop payment and you may incur an overdraft Ir you do not have sufficient funds
If you ask us to cash a check or other items for you, we may apply the proceeds of the check or          In your account to cover the amount of t he check at the time you write the check or authorize
other item to fees, overdrafts and other amounts you owe us.                                             the transaction. Since the check is not sent to us, we do not have a copy of your check. We list
                                                                                                         these electronic debits on your account statement. If the business uses your check to initiate an
Cashing or Accepting Your Checks for Others                                                              elect,onic debit at the point of sale, the business should give you notice of the conversion and
When a person with a check or other item drawn on your account asks us to cash it o r deposit it,        return the voided check to you. You should treat the voided check with care because someone
we may require identification satisractory to us. This identification may Include their fingerprint or   else who obtains possession of It could use t he information to initiate additional debits against
other biometric marker. When a person who 1s not our loan or deposit custome, asks us to cash            your account. A business that receives your check by mail and converts it to an e lectronic debit
a check or other item drawn on your account, we may Impose ac1dltlona l requirements. These may          may give you notice of the conversion and destroy the original check.
include: a dollar limit above which we will not cash the check or a fee for cashing the check. We
may also refuse to cash the check.                                                                       Examining Check s
                                                                                                         We receive checks in grea t volume. This and compliance with expedited funds availabi lity laws
I(   the person with your check falls or refuses to satisfy our requirements, we may reruse to cash
                                                                                                         require us to use automated check processi ng procedures. Although we may visually review a
the check or accept It for deposit.
                                                                                                         sample of checks and 01her Items from time to time, reasonable commercial standards do not
When we cash your cl1eck, or accept it for deposit, we may do so without reviewing your account at
                                                                                                         require us to do so.
that time to see whether you have enough available funds to cover the check. We m ay charge that
person cash ing a check or other Item a fee for cashing the check or other Item ir lhat person Is        We select some checks for review based on certain criteria that change from time to time.
                                                                                                         This means that most checks are processed on the basis of the MICR (Magnetic Ink Character
not a customer of Bank of America.
                                                                                                         Recognition) line printed along the bottom edge of the check, and are not individually examined for
We are not liable to you for refusing to cash or accept the check, or for charging a check cashing
                                                                                                         dates, maker signatures, legends or endorsement s. You agree that we will have exercised ordinary
fee.                                                                                                     care if we examine only those Items t hat we have identified according to the criteria that we may
                                                                                                         establish in our discretion for inspection.
Chec ks with Legends or Restrictions
Some customers print or write legends or restrictions on their checks. Sometimes the person              If we do visually review any check or o ther item. we may disregard any restrictive instructions or
to whom the check is payable prints or writes a legend or restriction on the check. Legends and          notations, such as an instruc tion to permit w ithdrawals only upon more than one signat ure. We
restrictions include conditions, special or restrictive instructions, and other notations. So me         may re turn the item unpaid if, in our opinion, it does not bear a signature matching any specimen
examples are: '"not valid after 60 days'", "not valid over $1,000" or "paid in full '". We may           signature we have on file for your account. You agree, however, that we will not be liable to you
disregard legends and restrictions. We may pay the item even If the legend or restriction has not        for honoring any check or other item bearing a signature that, In our sole opinion, resembles the
been met. We are not liable to you for any claims, costs, losses or damages that result from the         specimen signature on file with us.
placement of these legends or restrictions on your checks, or from our failure to abide by them.         Since we do not individually examine most checks, it Is critical for you to take care o r your checks,
                                                                                                         promptly review your account statemenl, and immediately repon any suspicious or unauthorized
Collection Items                                                                                         activity to us. You agree that automated processing of your checks is reasonable and that you
When another financial Institution sulJmlts to us for collection an item drawn on your account,          accept responsibility for preventing and reporting forgeries, alterations, and other unauthorized
we may charge the other financial institut ion a fee. When you do not have enough funds in your          use s of your checks or accoun ts. You agree that the exercise of ordinary care will not require us
account for us to process a collection item drawn on your account, submitted to us by a financial        to detect forgeries or alteration s that could not be detected by a person observing reasonable
institution, including Bank of America, we may charge you a fee for each item.                           commercial s tandards.
                                                                                                         Since some types of check fraud have bec ome more difficult to detect, we may elect in some
Check Stock and Ink
                                                                                                         cases to make further Inquiries about cenain checks or othe r items that are presented for payment
You agree to bear the risk of loss if you use check stock that cont ains defects, such as printing
                                                                                                         against your account. If we are unable to contact you, or take other steps, to determine with
inaccuracies, faulty magnetic ink, faulty encoding, or duplicate serial numbers.
                                                                                                                                                                                                        Page 36
Page 35                                                                                                                                                                                                08/ 2022
08/2022




                            Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 58 of 129
  reasonable certainty that you authorized these payments, we may either pay the checks and other
  items or return them unpaid without any liability to you.
                                                                                                              Substitute Checks and Your Rights
  Items Resulting from Voluntary Disclosure                                                                  The following provisions help explain some of the tights a consumer has under a federal law
                                                                                                             commonly referred to as Check 21. Check 21 was enacted to increase the efficiency of the U.S.
  If you voluntarily disclose your account number to another person orally, electronically, in writing or
                                                                                                             check clearing system. The clearing system relies heavily on the physical transport of checks
  by other means, you are deemed to authorize each item, including electronic debits, which result
                                                                                                             between banks. Check 21 allows banks to create substitute checks and present them to other
  from your disclosure. We may pay th ese items and charge your account.
                                                                                                             banks instead of the original check. This reduces the transport of checks among banks and helps
  La rge Cash Withdrawals                                                                                    enable the electronic collection of checks.
 We may require reasonable advance notice for large cash withdrawals. We may also refuse
                                                                                                             What is a substitute check?
 to honor a request to withdraw funds in cash from your account or to cash a check (including
                                                                                                             To make check processing faster, federal law permits banks to replace original checks with
 a cashier's check or other official item) at a financial center if we believe that the amount is
                                                                                                              "substitu te checks."' These checks are similar in size to original checks with a slightly reduced
 unreasonably large or that honoring the request would cause us an undue hardship or security risk.
                                                                                                             Image of the front and back or the original check. The front of a substitute check states: "This is a
 We may require that such withdrawals be made at one or our cash vaults by an armored courier,
                                                                                                             legal copy of your check. You can use It the same way you would use the original check." You may
 acceptable to us and at your sole risk and expense. We are not responsible for providing for your
                                                                                                             use a substitute check as proof of payment just like the original check.
 security in such transactions.
                                                                                                             Some or all of the checks that you receive back from us may be substitute checks. This notice
 Paying Checks and Other Items                                                                               describes rights you have when you receive substitute checks from us. The rights in this notice do
 We may debit your account for a check or other item drawn on your account either on the day it is           not apply to original cllecks o, lo elecltonic debits to your account. However, you have rights under
 prese11telJ to us fo, payment, by electronic or other means, or on the day we receive notice that           other law with respect to those transactions.
 the item has been deposited for collection at another financial institution - whichever is earlier.
 If you do not have sufficient available runds to cover the item, we decide whether to return it or to       What are my rights regarding substitute checks?
 pay it and overdraw your account.                                                                          In certain cases, federal law provides a special procedure that allows you to request a refund fot
                                                                                                            losses you suffer if a substitute check Is posted to your account {for example, If you think that we
 We may determine your balance and make our decision on an insufficient funds item at any time
                                                                                                            withdrew the wrong amount from your account or that we withdrew money from your account more
 between our receipt of the item or notice and the time we must teturn the item. We are required to
                                                                                                            than once for the same check). The losses you may attempt to recover under this procedure may
 determine your account balance only once during this time period.
                                                                                                            include the amount that was withdrawn from your account and fees that were charged as a result
 When you deposit checks or other items that are drawn on another account with us, we may treat             of the withdrawal (for example, bounced check fees).
 such items as presented to us for payment 011 the business day that they are received by our
                                                                                                            The amount of your refund under this procedure is limited to the amount of your loss or the
 office that processes checks drawn on the other account.
                                                                                                            amount or the substitute check, whichever is less. You also are entitled to Interest on the amount
 Stale-Dated and Postdated Checks                                                                           or your refund if your account Is an interest-bearing accounl. If your loss exceeds the amount of
                                                                                                            the substitute check, you may be able to recover additional amounts under other law.
If a stale•dated check - that is, a check datetl more than six months in the past - Is presented
for payment against your account, we may pay the check and charge it to your ac:t.:ou11t. Ir a              If you use this procedure, you may receive up to $2,500 of your refund {ptus inrerest if your
postdated check - a check dated in the future - is presented for payment, we may pay the                    account earns Interest) within 10 business days after we received your claim and the remainder of
check and charge it to your account even if it is presented for payment before the date stated on           your refund (plus Interest if your account earns Interest) not later than 45 calendar days after we
the check. If you do not want us to pay a stale-dated or postdated check, you must place a stop             received your claim.
payment order on It.                                                                                        We may reve rse the refund {including any interest on the refund) if we later are able to
                                                                                                            demonstrate that the substitute check was correctly posted to your account.
Substitute Checks, Indemnified Copies, Images and Image Replacement
Copies                                                                                                      How do I make a claim for a refund?
In some cases, we may be sent an Indemnified copy of your original check, an image replacement              If you believe that you have suffered a loss relating to a substitute check that you received and
document (IRO), a substitute check or an image of your check, instead of the original item. We              that was posted to your account, please contact us at the telephone number listed on your
may act upon presentment of an IRD, indemnified copy, substitute check, or image of your check              account statement, or \'/rite to us at:
and pay these items against your account, just as if the original item had been ptesented.                  Bank of America
                                                                                                            Attn; Research and Adjustments
Unpaid Items
                                                                                                            PO Box 655961
Ir we decide not to pay a check or other item drawn on your account, we may return the original,            Oallas, TX 75265-5961
an image or a copy or the item or we may send an electronic notice of return and keep either the
                                                                                                            You must contact us within 40 calendar days of the date that we mailed (or otherwise delivered by
original, an image or a copy of the item in our records. If we send an electronic notice of return,
                                                                                                            a means to which you agreed) the substitute check in question ot the account statement showing
you agree that any person who receives that electronic notice may use it to make a claim against
                                                                                                            that the substitute check was posted to your account, whichever is later. We will extend this time
you to the same extent and with the same effect as if we had returned the original Item.
                                                                                                            period if you were not able to make a timely claim because of extraordinary circumstances.
Page 37                                                                                                                                                                                                 Page 38
08/2022                                                                                                                                                                                                 08/2022




                            Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 59 of 129
 Your claim must include-                                                                                  If a notice of a change to this Agreemen t is returned to us as being undeliverable or because
       • A description of why you have suffered a loss (for example, you think the amount withdrawn        notices or statements we previously sent you were returned to us as being undeliverable, you
         was incorrect);                                                                                   understand that the notices are available to you through our financial centers. You agree to that
                                                                                                           method of delivery and that changes covered In these notices are slill effective and binding on you .
       • An estimate or the amount of your loss;
                                                                                                           A notice sent to any one owner is deemed notice to all account owners and is effective for all
       • An explanation of why the substitute check you received Is insufficient to confirm that you
                                                                                                           account owners.
         suffered a loss; and
       • A copy of the substitute check or the following information to help us Identify the substitute    Statements
         check: your account number, the check number, the name or the person to whom you wrote            We provide you with a single statement when there is activity on your checking or savings account.
         the check, the amount of the check and the date of the check.                                     When there is no activity on your account, we may choose not to provide a statement. You may
                                                                                                           generally obtain an additional copy of your statement for a ree.

 Notices, Statements and Other Communications                                                              We recommend that you use our Online Banking se,vice and receive your statements electronically.
                                                                                                           If your statement is received at one of our offices, we may mail it to you or destroy it, along with
 General Terms for Notices, Statement s and Other Communications                                           any accompanying checks and other Items.
 Please review promptly all notices, statements and other communications we send you. In this             For checking, money market savings and business savings accounts, we provide you with a
 section "communications" means all notices, statements and other communications we send you.             monthly statement. Statement cycles generally vary from 28 to 33 days and may end on different
                                                                                                          days during the month. A statement cycle can be shorter than monthly. As examples, a statement
 We may provide communications in English. Many communications will be notices of change
                                                                                                          cycle may only be a few days In length for the nrst statement cycle after an account is opened or
 affecting you, rights and obligations. If you have questions about any or lhe,n or difficulty re~Lllng
                                                                                                          when a statement date Is changed to link accounts for combined statements. If you want to know
 English. please call us at the number for customer service on your statement.
                                                                                                          the date your statement cycle ends, call us at the number for customer service on your statement.
 We may:
                                                                                                          For Regular Savings accounts, we provide you with a quarterly statement. If you have an electronic
      • address communications to one account owner;
                                                                                                          fund transfer (such as a direct deposit or an ATM withdrawal) to or from your account during any
      • provide communications in English, even though we may have given you account opening              month, we provide a statement for that month.
        documents and disclosures In a language other than English;
                                                                                                          For analyzed business checking accounts, you can elect to receive an additional m onthly account
      • destroy communications that are sent to you and returned to us as being undeliverable,            analysis statement. This statement Includes balance and floa t informatlon, quantity of services
        along with any accompanying checks and other items;                                               used during the period, fees and charges for these services and the earnings allowance, i f any.
      • authorize the Post Office or an agent to destroy communications. along with accompanying          For IRAs , we provide you with a quarterly statement.
        checks and other items, that the Post Office Informs us are undeliverable; and
                                                                                                          Combined Statements With combined statement service we provide a single statement that
      • stop sending communications to you until a new address Is provided to us if one or more           reports activity for all accounts linked for this service, Instead of separate statements for each
        communications that we mail to you are returned to us as being undeliverable.                     linked account.
We are not responsible for communications, or fu, any checks or othe, accompanying Hems, lost             Accounts must contain Identical ownership In order to be eligible to receive Combined Statements.
while not in our possession.
                                                                                                          You must generally request combined statement service and tell us what accounts you want us to
If we receive communications that we sent you at a financial center, they are deemed to have been         link and report on a combined statement. In some cases, however, we may automatically send you
delivered to you at the time that they are available to you at the financial center.                      a combined statement. As an example: we may automatically link accounts tha t have the same
Electronlc dellvery of communications We recommend that you use our Online Banking service                owners and provide a combined statement for those accounts.
and receive your communications electronically. When you use electronic or paperless delivery,            We may restrict what accounts can be linked for a combined statement. Please note U1at
we deliver communications to you by placing them in Online Banking. You can find your account             combining accounts on a single statement does not mean they are also linked for pricing. To
statements, notices, and other eHglble documents in Online Banking within the statements and              determine which accounts can be linked, or to link accounts, for combined statements or for
documents area of your account details page. Communications currently available for electronic            combined balances (pricing), please call us.
delivery are listed in the statements and documents area of Online Banking.
                                                                                                          Check Image and Safekeeping
Notices                                                                                                   For most accounts, we offer the following options regarding your canceled checks.
When we inform you of changes affecting your rights and obligations, we do so by delivering or
                                                                                                          Check Image Service We provide with your statement an image or the front of each of your
otherwise making a notice available to you. In some cases, we may post a notice or a change
                                                                                                          canceled checks that we post to your account during the statement cycle. We print images of your
in our banking offices or on our website. Otherwise, we mail the notice to you at the address
                                                                                                          checks up to 10 images on a page. We do not return your canceled checks. In some states and
we currently show for your statement or, if we have agreed on this method, we provide It to you
electronically. We may provide a notice as a message on your statement or as an insert with your          for some business accounts we provide an Image of the front and back of your canceled checks.
statement.                                                                                                When you use this service, checks are deemed to be made available to you at the same time your
                                                                                                          statement is made available.
Page 39                                                                                                                                                                                           Page 40
08/ 2022                                                                                                                                                                                               08/ 2022




                           Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 60 of 129
 We store copies of your canceled checks (usually on microfilm or as a digital Image) and then
 destroy the checks. Copies of checks are generally available for seven years from the date the
                                                                                                       Actions You Can Take to Help Protect Your
 checks are paid. See Check Copies In Other Terms and Services.                                        Account
 Check Safekeeping Servi ce We report on your statement Information about ca11celed cltt!cks
 (check numbe,, amount and date posted) that posted to your account during the statement               Your role Is extremely Important in helping to prevent U1e wrongful use of your account. Please
 cycle. You do not receive your canceled checks with your account statement. When you use this         consider the measures below to help you protect your account.
 service, checks are deemed to be made available to you at the same time your statement ls made        St ay Informed We offe1 several seivices you can use to help you keep track or your account on a
 available.                                                                                            dally basis. You can use our Online Banking service to review your accounts and Online Alerts to
 If your statements are returned to us, you automatically receive check safekeeping service. If you    receive not ice of account balance s and activity. Please see the information about these services in
 usually receive your checks with your statement but we are unable to ret urn them because of          How 10 Get Started.
 circumstances beyond our reasonable control, we may convert your account to check sa fekeeping        Be Cautious about Giving Out Your Personal Information We will not send you e-mails requesting
 seivlce.                                                                                              personal Information. If you receive an e-mail that seems to come from us and requests personal
We store copies of your canceled checks (usually on microfilm or as a digital image) and then          information, do not answer it. Instead, please contact us Immediately at lhe number on your statement.
destroy the checks. Copies of the checks are generally available for seven years from the date the    Bo Cautious about Accept ing Checks, Money Orders and Cashier's Checks, especlally r,om
checks are paid. See Check Copies In Other Terms and Services.                                        Strangers You should be cautious about accepti ng checks, money orders and cashier's checks
Ir you use our check safekeeping service, we cannot provide a copy of a check that posted to your     (e specially, foreign checks) from strangers. Sometime s they are fraudulent or counterfeit. We
account , and you lose money as a result, we may cover the loss up to the amount of the check.        cannot verify that a check, money order or cashie(s check that purports to be Issued by another
However, we are not liable to you for consequential loss or damage of any kind.                       company or financial institution Is auth entic, or has any value at all, when you give it to us and ask
                                                                                                      us to cnsh or deposit it.
Your Address and Change of Address                                                                    We ordlnarlly make funds from a check you deposit (or we cash for you) available to you sooner
We may send notices , statements and other communications regarding your account to you at the        than we are able to collect the check or determine whether the check is any good. If the check
electron ic or street address we have In our reco,ds for your account.                                Is returned to us unpaid for any reason, you are st ill responsible for the check. We cliarge your
You agree to notify us i f you change your address. If the United States Post Office or one or Its    account for, and you will have to repay us, the fu11 amount or the retumed check. A check may be
agent s tells us U1at your address has changed:                                                       returned because it • oounces" or because the check is fraudulent, counterfeit or Invalid for some
                                                                                                      other reason.
      • we may change your address on our records to the address specified by the Post Office:
          and                                                                                         One way to help protect yourself is to take the check to the bank, company (such as Western
                                                                                                      Union} or se,vice (such as the U.S. Postal Service) that issued it and redeem the check for cash.
      • we may send notices, statement s and other communications regarding your account to that
                                                                                                      For more information on how to avoid being a victiJJI of fraud, visit bankofamerlca .com, or consult
          new address.
                                                                                                      trusted organizations such as your local Better Business Bureau or the f ederal Citizen Information
                                                                                                      Center.
                                                                                                      Re view St atement s and Report Suspect ed Problems l mmec.llat ely You must promptly review
                                                                                                      the notices, statements and other communications, along with any accompanying checks and
                                                                                                      other Items, we send you. You must also repon. problems or unauthorized transactions to us
                                                                                                      immediately, by calling the number for customer service on your statement. See Reporting
                                                                                                      Problems.
                                                                                                      Ident it y Theft Identity theft occurs when someone uses your personal information without your
                                                                                                      permission to take over your existing account or to open new accounts In your name. Identi ty theft
                                                                                                      often begins with the loss or theft of a wallet or purse. Crim inals can also obtain your personal
                                                                                                      information by stealing records rrom your trash or sending fraudulent e-mails to you requesting your
                                                                                                      information.
                                                                                                      You should destroy or shred account statements, checks, deposit slips and other documents with
                                                                                                      your personal information before you throw them away.

                                                                                                      Other Actions You Can Take
                                                                                                      Here are some other actions you can take to help control your risk. This is by no means a
                                                                                                      complete list of preventive measures. You may want to take other or additional act ions.
                                                                                                           • Do not share your passwords, user numbers or Personal Identification Number (PIN) for
                                                                                                             Online Banking ot your ATM or debit card.
Page 41                                                                                                                                                                                            Page 4 2
08/2022                                                                                                                                                                                           08/ 2022




                          Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 61 of 129
      • Call us if your new check order or debit card does not arrive within 14 business days.
                                                                                                          Reporting Problems
      • Be cautious about giving someone your account number. I( you give your account number
        to a third person and authorize that third person to initiate one or more transactions on         If you find that your records and ours disagree, If you suspect any problem or unauthorized
        your account, you may be liable for all transactions Initiated by the third person even if you    transaction on your account or you do not receive a statement when expected, call us immediately
        did not intend to authorize a particular t ransaction.                                            at the number for customer service on your statement. If you fail to notify us in a timely manner,
      • Do not give anyone a pre-signed b lank check. Do not give anyone permission t o sign your         your rights may be limited.
        name on a check.                                                                                  This section does not apply to electronic fund transfers that are subject to Regu lation     E. If we have
      • Do not preprint your driver's license or Social Security Number on your checks.                   a specific agreement with you for a service or this Agreement has specific provisions for a service
                                                                                                          {such as U1e Funds Trans(~, SeNic~~ St:l:lio11), thes~ provisions suµµlement the specific agreement
      • Write checks In a dark colored permanent ink and fill In all lines. Make sure the written and
                                                                                                          and provisions to the extent they are not Inconsistent.
        numeric amounts match, are readable and begin on the far left of the line so additlonal
        numbers or words cannot be added.
                                                                                                          Your Responsibility
      • Write and sign your checks clearly, because illegible checks are easier to forge.                 You must exercise reasonable control over your statements, checks, deposit slips, endorsement and
      • Use tamper resistant checks. If you do not order checks through us, ask your check vendor         signature stamps, debit and ATM cards, Persona l Identification Numbers and other access devices. It
        about tamper resistant checks.                                                                    is your responsibility to keep them safe and secure and to promptly discover and report If any of them
                                                                                                          are missing rn time to prevent misuse. You assume full responsibility ror monitoring and reviewing the
      • Store blank checks. deposit slips and statements In a safe place and audit your check
                                                                                                          activity or your account, the work of your employees, agents and accountants, and any use they make
        stock frequently. When discarding, destroy them by shredding or other means so they
                                                                                                          of your account.
          cannot be copied or used. Call us immedi~tely if any of these items are lost, stolen or
          missing.                                                                                       We may deny a claim fur losses due to forged, altered or unaulhoriLed transactions, items or
                                                                                                         signatures If you do not guard against improper access to your checks, statements. deposit slips,
     • Use the same precautions that apply to your checks to your endorsement and signature
                                                                                                         endorsement and signature stamps, and account Information . We may also deny your claim if you
       stamps.
                                                                                                         do nut mu11ilo1 your account amt report problems as provided fn this section. Please review this
     • Do not leave outgoing mail in an unlocked collection box or in your residence mailbox.            Reporting Problems section carefully.
       Deposit outgoing mail in a locked Postal Service mall deposit box.
                                                                                                         In some states we offer certain fraud prevention and detection products and services to
     • l{eep accurate records of your transactions and reconcile your statements as soon as they
                                                                                                         business customers. If we have offered you one or more or these setVices, and you decline to
          are made available to you. Pick up your mail every day. When reviewing your statements,        use them or fail to implement them, or you fail to follow the procedures necessary for proper
          watch for:
                                                                                                         use of these products or services, or you fail to follow other precautions reasonable for your
          - Checks cashed out of sequence or made payable to cash                                        particular circumstances, you a,e precluded from asserting any claims against us for paying any
          - Use of a check num ber from a previously cleared item                                        unauthorized, altered, counterfeit or other fraudulent Item that such product, service, or precaution
                                                                                                         wa~ ue~itned to Uetect 01 Uete,, anJ we will 1101 be retl1Ji1ed to re-t.:rt:iJit you, accow1l 01 uthe,wi:,~
          - Balance discrepancies or unexpected fluctuations
                                                                                                         have any liability for paying such items.
     • Reconcile your account yourself. If you have authonzed someone else to transact on your
       account and you do not reconcile your account yourself, someone other than an authorized          What Are Problems and Unauthorized Transactions
       signer should reconcile your accounts.                                                            Problems and unauthorllec..l transactions include suspected f1aud; missing deposils; unauthorized
     • Business customers should assign to different individuals responsibilities for: opening           or mislabeled ACH submissions or othe, electronic transfers; missing, stolen, or unauthorized
       mail, reconciling bank statements, endorsing incoming checks, making deposits, reconciling        checks or other withdrawal orders; checks or other withdrawa l orders bearing an unauthorized
       accounts payable checks with vendor Invoices, reconciling incoming checks against                 signature. endorsement or alteration; illegible images: encoding errors made by you or us;
      outstanding receivables and issuing checks.                                                        contested fees; and counterfeit checks. This is not a complete list.

                                                                                                         Reviewing Your Account Statements
                                                                                                         Your review of your statements, checks and other items is one of the best ways to help prevent
                                                                                                         the wrongrul use of your account. You agree:
                                                                                                              • to review your s tatements, checks and other Items and reconcile them as soon as they are
                                                                                                                made available to you;
                                                                                                              • that our statements provide sufficient inrormation to determine the identification and
                                                                                                                authenticity of any tra nsaction including without limit, whether any are forged, altered or
                                                                                                                unauthorized if the statement includes U1e Item number, amount and the date the item
                                                                                                                posted to your account;
                                                                                                              • to report any problems or unauthorized transactions as soon as possible; and
Page 43                                                                                                                                                                                                   Page 44
08/2022                                                                                                                                                                                                  08/2022




                           Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 62 of 129
        • that 6 0 days after we send a statement and any accompanying items (or otherwise                                        Business Insurance
           make them available} is the maximum reasonable amount of time for you to review your                                   If your claim relates to a business account, you agree to pursue all rights you may have under
           statement or items and report any problem or unauthorized transaction related to a matter                             any Insurance coverage you maintain before making a claim against us in connection with any
           shown on the statenumt 01 Items. There are e.Kceptiu11s to this 60-day period. For fo,ged,                            transaction involving your accounts. You will provide us with all reasonable information about your
           unauthorized or missing endorsements, you must notify u s within the period specified by                              coverage, Including Ole name o( your insurance carrier, policy numbe,, policy limits and applicable
           the state law applicable to your account. For substitute checks, you must notify us within                            deductibles. Our liability is reduced by the amount of all insurance proceeds you receive or are
           40 days to qualify for an expedited recredit. See section titled Substitute Checks and Your                           entitled to receive. Al our request, you agree to assign to us your rights under your insurance
          Rights,                                                                                                                policy.

 We Are Not Liable If You Fail To Report Promptly                                                                                Opening a New Account
 Except as otherwise expressly provided elsewhere in this agreement, If you fail to notify us ln                                 If you or we suspect that your account is or may be compromised, we may recommend that you
 writing of suspected problems or unauthorized transactions within 60 days after we make your                                    close your account and open a new account. If there are any unauthorized tran sactions on your
 statement or Items available to you, you agree that:                                                                            account, we recommend that you close your account and open a new one. If we recommend that
       • you may not make a claim against us re lating to the unreported problems or unauthorized                                you close your account and you do not do so, we are not liable to you for subsequent losses or
         transactions, regardless of the care or lack of care we may have exercised in handling your                             damages on the account due to unauthorized transactions. When you open a new account, you are
         account; and                                                                                                            responsible for notifying any third parties that need to know your new account number.

       • you may not bring any legal proceeding or action against us to recover any amount alleged
         to have been Improperly paid out or your account.
                                                                                                                                 Foreign Items and Foreign Currency
 Except as otherwise expressly provided elsewhere in this agreement, we are not liable to you for
 subsequent unauthorized transactions on your account by the same person if you rail to report an                                What is a Foreign Item
 unauthorized transaction on your account within 30 days (or such lesser period as is specified in
                                                                                                                                 A foreign item is a check or other item In any currency {including United States dollars) that is
 the state law applicable to your account) following the closing date of the statement containing
                                                                                                                                 drawn on a bank or branch or a bank located outside of the United States. A foreign currency is
 information about the first unauthorized transaction.
                                                                                                                                 any currency other than United States dollars. Some roreign items are payable In United States
For business deposit accounts, also see Electronic Banking Disclosures in the Electronic Banking                                 dollars. Some are payable in a foreign currency.
Services section and ACH Debits and Credits in the Funds Transfer Services section.
                                                                                                                                 Be Cautious About Accepting Foreign Items
Written Confirmation and Other Assistance                                                                                       You should be cautious about accepting foreign items because foreign items are not subJect to
If you report to us that an unauthorized transaction has occurred on your account, we may require                               United States laws or regulations. A foreign Item may be returned unpaid much later (sometimes
you to confirm your report in writing. We may also require that you give us a statement, under                                  many months later) than checks or other items that are drawn on banks loccJted in the United
pe11alty ur µtt1ju1y, a Luut the facts and t::i,t::1.1111:::itarlt.!es ndat111g to yuui 1t:1.x.11 t and proviUt' su.::h other   Slctle.s. If a forei~11 item is relumed lo u~ u11µ.:tiU u1 llu!1t! is !>Olllt" other v1ul.lle111 wilh the ruu:igu
Information and proof as we may reasonably request.                                                                             item, you are responsible for t he Item and you may incur a loss.
If you assert a claim regarding a problem, you must cooperate with us in the investigat ion and
prosecution of your claim and any attempt to recover funds. You also agree to assist us in                                      Currency Exchange Rates
Identifying and In seeking criminal and civil penalties against the person responsible. You must file                           Exchange rates fluctuate, at times significantly, and you acknowledge and accept all risks that may
reports and complaints with appropriate law enforcement authorlties.                                                            result from such fluctuations. If we assign an exchange rate to your foreign exchange transaction,
                                                                                                                                that exchange rate will be determined by us In our sole discretion based upon such factors as
If you fail or tefuse to do these things, we will consider your railure or refusal to be your ratification
                                                                                                                                we determine relevant, including without limitation, market conditions, exchange rates charged
of the defect in the statement or Item, unauthorized ttansaction or other problem and your
                                                                                                                                by other parties, our desired rate o f ret urn, market risk, credit risk and other market, economic
agreement that we can charge the full amount to your account.
                                                                                                                                and business factors, and is subject to change at any time without notice, You acknowledge
                                                                                                                                that exchange rates for retail and commercial transactions, and for transactions effected arter
Our Investigation and Maximum Liability
                                                                                                                                regular business hours and on weekends, are diHerent from the exchange rates for large inter-
We may take a reasonable period of time to Investigate the facts and circumstances sur,ounding any
                                                                                                                                bank transactions effected during the business day, as may be reported In The Wall Street Journal
claimed loss. We do not have to provisionally credit your account while we investigate.
                                                                                                                                or elsewhere. Exchange rates offered by other dealers or shown at other sources by us or other
Our maximum liability is the lesser of your actual damages proved or the amount of the missing                                  dealers (including online sources) may be different from our exchange rates. The exchange rate
deposit or the forgery, alteration or other unauthorized withdrawal, reduced in all cases by the                                you are oHered may be different from, and likely Inferior to, the rate paid by us to acquire the
amount of the loss that could have been avoided by your use o f ordinary care.                                                  underlying currency.
We are not liable to you for special or consequential losses or damages of any kind, including loss                             We provide all-in pricing ror exchange rates. The price provided may Include profit, fees, costs,
of profits and opportunity or for attorneys' fees incurred by you.                                                              charges or other mark ups as determined by us In our sole discretion. The level of the fee or


Page 45                                                                                                                                                                                                                                  Page 46
08/2022                                                                                                                                                                                                                                 08/ 2022




                                Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 63 of 129
  markup may differ for each customer and may difrer for lhe same customer depending on the                    U we accept an item for deposit which we later determine to be a foreign item, we may decide that
  method or venue used     ro,
                            transaction execution.
                                                                                                               the item needs to be sent for collection. If so, we may reverse any credit given for the item and
  In connection with our market making and other activities, we may engage in hedging, including               mail the foreign Item to you at the address we have for your account statement. You may ask us
  pre-hedging, to mitigate our risk, facilitate customer transactions and hedge any .Jssoclated                to send the item for collection.
  exposure. Such activities may Include trading ahead of order execution. These transactions will be           When we send a foreign item for collection, you understand that the foreign Hem is sent solely
  designed to be reasonable in relation to the risks associated with the potential transaction with            for you and at your risk and that we are not liable for any event in the collection p rocess which is
  you. These transactk>ns may affect the price or the underlying currency, and consequently, your             beyond our control. As examples, we are not liable for a default by any bank or agent involved in
  cost or proceeds. You acknowledge that we bear no liability for these potential price movements.            the collection process or for the loss of the foreign Item in transit. We may send the foreign Item
  When our pre-hedging and hedging activity is completed at prices that are superior to the agreed            through a correspondent bank or directly to the paying bank. We may deduc t our fees and the fees
  upon execution price or benchmark, we will keep the positive difference as a profit in connection           and charges assessed by the paying bank and any agents Involved In the collection process from
  with the transactions. You will have no interest In any profits.                                            any amount collected or from your account.
  We also may take proprietary positions in cenain currencies. You should assume we have an                   If you request, we will try to determine the status or a collection. You ag,ee to pay all fees and
  economic incentive to be a counterpany to any transaction with you. Again, you have no int erest in         charges related to such a request. We may refuse your request If less than 30 business days have
  any profit associated with this activity and those profits are solely for our account.                      passed since we first processed the collection.
  You acknowledge that the parties to these exchange rate transactions engaged In arm's length                If a foreign Item Is returned to us unpaid for any reason at any time or is initially paid but then
  negotiations. You are a customer and these transactions do not establish a principal/agent                  subsequently returned unpaid, we may charge your account for the foteign item and mail the
  relationship or any other relationship that may create a heightened duty for us,                            foreign item to you at the address we have for your account statement. Even though the item is
 We do not accept any liability for our exchange rates. Any and all liability for our exchange rates          returned unpaid. we may charge you for our collection fees and for fees and charges assessed by
 is disclaimed, including without limitation direct, indirect, or conse4ue11tial loss, am.I any lial.,ility   the paying bank and any agents involved In the collection process.
 if our exct1ange rates are diffeumt from rates offered or reported by third parties, or offered by           When we credit your account for a foreign Item, we use our applicable cuuency exchange rate on
 us  at a different time, at a dirferent location, for a different transaction amount, or involving a         the day we credit the item to determine the amount of lhe credit. When we reverse a credit for
 different payment media (Including but not limited to bank-notes, checks, wire transfers, etc.).             a fo1~fg11 item, we use our applicable currency exchange rate on the day we reverse the credit to
                                                                                                              determine the amount of the debit. Currency exchange rates ate highly volatile and our rate on the
 Wires Sent to a Foreign Currency Account
                                                                                                              day of the credit is likely to be different {sometimes very different) than our rate on the day of the
 For consumers, when you send a wire denominated in U.S. dollars to an account denominated in                 debit. You understand and agree that this may result In a currency exchange loss to you.
 a foreign currency, an intermediary bank or the receiving bank may convert your wire into the appli-
 cable foreign currency and we may receive compensation In connection with any such conversion.
 When this occurs, the intermediary bank or the receiving bank determines In their di scretion the
 currency exchange rate . We are not responsible for the exchange rate set by an intermediary bank
 or the receiving bank.

 For small business customers, if you transfer funds in U.S. dollars to a non-U.S. dollar account,
 your payment may be converted imo the local currency by any onginatmg, intermediary or recelvmg
bank, payment system or payment service provider, including Bank or America or an affiliate, as
applicable. We and/or an affiliate Include a mark,up or fee on such currency conversion and may
profit In connection with any such currency conversion.

You May Not Write Foreign Currency Checks
You may not write checks or give other withdrawal orders on your account, which order payment
In a foreign currency. If we receive such a check or order, we may refuse tu accept or process It
without any liability to you.

Processing and Collecting Foreign Items
We may refuse to accept a foreign item for deposit or collection. If we accept a foreign item ror
deposit or collection, you assume all the risks relating to or arising from: the collection process, a
late return and changes in currency exchange rates.
If we accept a foreign item for deposit or collection, we may decide not to credit the value of the
foreign item to your account until we receive the proceeds in cleared funds from the paying bank.
However, ir we do credit your account, the credit is provisional and we may revetse the credit at
any time.
Page 47
                                                                                                                                                                                                           Page 48
08/2022
                                                                                                                                                                                                          08/ 2022




                            Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 64 of 129
  Other Terms and Services                                                                               If you create or obtain checks or other forms from someone else and our automated check
                                                                                                         processing systems are unable to read or process them, we may refuse to accept them and we
                                                                                                         may charge you a fee for each check or other item that we are unable to read or process through
  Account Changes
                                                                                                         our automated systems.
  You must notify us or any change to your name or address. If you do not provide notice of change
  of address, we may send notices, statements and othet correspondence to you at the address             Check Copies
  maintained on our records for your account and you agree to Indemnify us and hold us harmless         We generally keep a copy of each check we post to your account for seven years from U1e date the
  for doing so.
                                                                                                        check posts to your account. We have no obligation to retain the original check. We typically keep
  You agree to notify us In writing of any change In ownership or authorized signers of your account    the copies on microfilm or as a dlgltal image. If a copy is unavailable or of poor quality, we are not
  or if an owner or authorized signer on the account dies or is adjudicated incompetent.                liable to you for any claim, cost, loss or damage of any kind. After seven years, we may destroy the
 If there is more than one owner and/or authorized signer on the account, any one account holder        copies.
 or authorized signer may request the account be closed without consent of any other account            Requesting Coples You may request a copy of a canceled check by calling us at the number for
 holder or authorized signer. Further, any one account holdet may request, and we may, at our           customer service on your statement. To produce a copy, we need the account number, check
 option, permit removal of any account holder or authorized signer without consent of any other         number, exact amount of the check, and date the check was paid. This Information is on your
 account holder or authorized signer on the account.                                                    statement. Generally, we mall or make a copy available within seven business days. If we need
 You acknowledge that we may, but need not, require a new signature card to be completed before         more time, we will tell you. A fee may apply to each check copy. Please see the Schedule of Fees
 any change In ownership or authorized signers becomes effective and each time you open a new           for your account.
 account, we may require a Taxpayer Identification Number certification(s). You also acknowledge        If a check that you wrote was converted to an electronic debit, then the check was not sent to
 that we may require you to close your account In the event or any changt! In ownership or change       us for processing so we do not have a copy. We 11st these electronic debits on your account
 In the authorized signers.                                                                             statement.
 After we receive notice of a change and all documents we require regarding the change, we may
 take a reasonable period or time to act on and Implement the change to your account.                   Compliance
                                                                                                        You agree to comply with applicable laws and regulations. You may not use your account or related
 Automatic Transfer Service                                                                             services for any illegal transactions or activity, for example those prohibited by the Unlawful Internet
 You may have funds transferred automatically from most Bank of America checking or savings             Gambling Enforcement Acl, 31 U.S.C. Section 5361 el. seq, You agree to indemnify us from every
 accounts to another Sank or America checking or savings account or to pay a Bank of America loan       action, proceeding, claim, loss, cost and expense (including attorney's fees) suffered or incurred by
 or credit card account or sare deposit rental fee.                                                     us due to any U.S. or foreign government entity seizing, freezing or otherwise asserting or causing
 This Agreement limits the number or automated transfers you may make from savings accounts             us to assert control over any account or funds In an account of yours (or ours) when purportedly
 each month. Please see ·umits on Withdrawafs and Transfers from savings Accounts•. Certain other      caused by, or arising out of, your action or inaction. This will apply whether or not such action is
 restrictions apply.                                                                                   ultimately determined to be authorized under the laws of the U.S. or Its territories. or of any foreign
                                                                                                       jurisdiction. We are not required to inquire or determine the authority of any action taken by the
You must schedule transfers to pay a Bank of America loan for the due date each month. In most
                                                                                                       U.S. or foreign government entity prior to acceding to any legal process initiated by it.
other cases, you may schedule ttansfers periodically on the dates and for the amounts that you
specify. Transfers can only be made on a business day. If a scheduled transfer dat e falls on a        Please note that your agreement to comply with applicable laws and regulations includes United
weekend or bank holiday, we may make the transfer on the next business day. If we are unable           States economic sanctions laws and regulations, including regulations issued by the Office of
to complete a transfer because you do not have enough available funds in your account, we may          Foreign Assets Control (OFAC) of the U.S. Department of the Treasury, and Executive Orders issued
cancel this service.                                                                                   by the President of the United States.

Check and Deposit Slip Forms                                                                           Conflicting Demands and Disputes
You are responsible for verifying the accuracy of all information on your checks and other forms,      We are not required to make payment from an account to a signer, a payee, a beneficiary of a
whether obtained through others or us. Our liability, if any, for any printing errors on checks or     trust account or Payable on Death {POD} account, or to any other person claiming an interest In
other forms obtained through us is limited to the cost of replacing the forms. We are not hable        any funds In the account:
for any claims, costs, losses or damages you may incur when you use checks or other forms not               • if we have actual knowledge of, or otherwise believe in good faith that there may be a bona
obtained through us. Check deposits with a retired or Incorrect routing number will be returned               fide dispute between the signers, beneflciaries, payees, or other persons concerning their
unpaid.                                                                                                       rights to the account proceeds or
We may refuse to accept checks or other forms that you create or someone else provides that                 • if we are otherwise uncertain as to who is entitled to the account funds. We may notify all
do not meet our then current specifications, even if they met our specifications at the time they             signers, beneficiaries, payees, and other persons claiming an inlerest in the account of the
were initially drawn. You may obtain a copy of our printing specifications by calling the telephone           dispute or uncertainly without liability to you.
number on your statement or askmg your account representative. These specifications include
                                                                                                       We also may, at our option and without liability to you, take one or more or these actions:
the magnetically encoded numbers, the size of the check and the weight, color and type of paper.

Page 49                                                                                                                                                                                               Page 50
08/2022                                                                                                                                                                                              08/ 2022




                           Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 65 of 129
       • continue to rely on current signature cards and other account documents:                          with respect to any account or service as If all owners, signers or other persons are alive and
       • honor the competing claim upon receipt of evidence we deem satisfactory to justify such           competent and we will not be liable for any actions or inactions taken on that basis.
         claim;                                                                                            If you give us instructions regarding your account, and you or another owner of the account
       • freeze all or part of the funds until the dispute is resolved to our satisfaction;               subsequently dies or is declared Incompetent, we may act on the instructions unless we receive
                                                                                                          wfitten notice of death or incompetency prior to honoring such instructions.
       • close the account and distribute the account balance, subject to any bank claims, t o each
         claimant payable Jointly, or payable individually in equal shares to each claimant;              When we receive a notice that an owner has died or been declared incompetent. we may place a
                                                                                                          hold on your account and refuse to accept deposits or permit withdrawals. We may hold any funds
       • pay the funds into an appropriate court for resolution; or
                                                                                                          in your account until we know the identity of the successor.
       • refuse to disburse any funds In the account to any person until such time as: all persons
                                                                                                          If a deposit -   including salary, pension, Social Security and Supplemental Security Income (SSI)
          claimlng an interest in the account consent In writing to a resolution of the dispu te; or
                                                                                                          - payable to the deceased owner Is credited to lhe account after the date the deceased owner
          a court of proper jurisdiction authorizes or directs the payment; or the person with a
                                                                                                          died, we may debit the account for the deposit and return It to the payer.
          conflicting claim withdraws his or her claim in writing.
                                                                                                          We may accept and comply wilh court orders, and take direction from court appointed personal
 You are liable for all expenses and fees we incur, including attorneys' fees, and we may charge
                                                                                                          representatives, guardians, or conservators from states other than where your account was opened
 them to your account.
                                                                                                          or where the account, property or records are held. We reserve the right to require U.S. court
                                                                                                          documents for customers who reside outside or the U.S. at time of incompetence or death.
 Converting an Account
 We may convert your account to another type of account, revoke privileges or close your account:         Facsimile Signature
      • if you make frequent transactions on a savings account;                                           A facsimile signature can be a convenient method for signing or endorsing documents and
      • if your ar.c<"l11n1 fre(tuently h;:i~ debits ;:igai11st unr.oller.tetJ funds;                     other items. If you use a facsimile signature, you are responsible for any withdrawal from your
                                                                                                          account that bears or appears to us to bear a facsimile signature that resembles or purports
      • if your account has excessive deposit activity;
                                                                                                          to be the signature of a person authorized to withdraw funds. We will not be liable to you if use
      • if you use a pe,sonal account for business purposes; or                                           of the facsimile device (or similar device utilized to affix your signature) was unauthorized. You
      • when we consider it appropriate or necessary to do so.                                            are responsible even if the size, or color of the facsimile signature is different from that of any
 Ir we discontinue you, type of account, we may convert your account lo another type of account.          signature prevlously presented to us. We may pay the withdra\•@I and may charge your account for
We may also convert your account to another type of account based on our evaluation of how you            it. You agree to reimburse us {and we may charge your account) for all claims, costs, losses and
use the account. If we convert your account, we will send you information about your new account.         damages, including attorneys' fees, t hat result from our payment of a withdrawal bearing either
                                                                                                          a racslmile that resembles or purports to bear your signature or a facsimile that we believe you
Cutoff Time for Receipt of Orders                                                                         authorized.
Our cutoff time for receipt at a financial center of an order relating to your account is 10:00 a.m.
local time or, if later, one hour arter the financial center opens each business day. Orders include
                                                                                                          Deposit Bank Assessment
.:, stop payment order or postdatini;: order, restmining order, writ of attachment or execution, levy,   For some business accounts, Bank of America may, at our discretion, charge you a Deposit Bank
garnishment and any similar order.                                                                       Assessment on your average positive ledger balances. The assessment rate is variable and we
                                                                                                         may change it at any time without notice.
The cutoff time relates to our obligation to pay or return checks and other items. If we receive an
order before lhis cutoff time, we may review items presented for payment against your account            Fingerprint
on the previous business day to determine whether we need to return any of them to comply with
                                                                                                         If a person to whom you gave your check asks us to cash the check, we may require them to place
the order. If we receive the order after the cutoff time, we may not review items presented on the
                                                                                                         their fingerprint on the check. If they refuse to provide t heir fingerprint, we may refuse to cash the
previous business day.                                                                                   check. We have no liability to you for refusing to cash the check.
For example, if you give us a stop payment order after our cutoff time and the item you want to
stop was previously presented for payment or otherwise before we have the opportunity to act on          " Freezing" Your Account and Delayed Transactions
your order, your order comes loo late l o stop payment on the Item. Or, If we receive a levy before      H we decide to close your account, we may freeze It. If we do this, we may in our discretion either
the cutoff time and you do not have enough funds in your account to cover both the levy and all          accept or return deposits, checks and other items that we receive after we freeze your account
items presented against your account the previous business day, we may return one or more items          wllhout being liable lo you.
and apply the funds to the levy.                                                                         If at any time we believe that you, account may be subject to irregular, unauthorized, fraudulent
                                                                                                         or illegal activity, we may, In our discretion, freeze some or all of the funds in the account and
Death or Incompetence
                                                                                                         in other accounts you maintain with us, and/or delay transactions, without any liablllty to you,
You agree to notify us promptly Ir any owner or authorized signer on your account dies or is             until such time as we are able to complete our investigation of the account and transactions. If
declared Incompetent by a court. Until we receive a notice of death or Incompetency, we may act          we do freeze your account funds or delay transactions, we will provide notice to you as soon as
                                                                                                         reasonably possible. Notice may be made by mail or verbally or provided by other means such as

Page 51                                                                                                                                                                                                Page 52
08/2022                                                                                                                                                                                              08/2022




                             Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 66 of 129
  via Online Banking or text alerts as permitted by law or by updated balance information. We may               required to, send a notice to you of the legal process. We do not send a notice if we believe the
  not provide this notice to you prior to freezing the account or delaying transactions i r we believe          law prohibits us from doing so.
  that such notice could result in a security risk to us or to the owner of the funds in t he account.
                                                                                                                We may hold and tum over funds of other property to the court or creditor as directed by the legal
  The Bank will not be liable for any costs or fees incurred by the delay.
                                                                                                                process, subject to our righ t of setoff and any security interest we have in the funds or other
  Indemnification and Limitation of Liability                                                                   property. We do not pay interest on the funds during the period we hold them pursuant to legal
                                                                                                                process. Ir we hold or turn over funds, we may without any liability to you return checks and other
  You agree to reimburse us for all claims, costs, losses and damages (including rees paid for
                                                                                                                Items unpaid and refuse to permit withdrawals rrom your account. If the legal process applies to a
  colleclion) we may lncu1 with ,~spt!ct to overdrafts or returned deposits in connection with your
                                                                                                                time deposit account. we may charge the a pplicable early withdrawal penalty for funds taken from
  account.
                                                                                                                the time deposit.
 We are not liable to you for e rrors that do not result In a financial loss to you. We may take any
                                                                                                               We may charge your account a ree for each legal process. You agree to pay us ror fees and
 action authorized or permitted by this Agreement without being liable to you, even If such action
                                                                                                               expenses (including administrative expenses) that we incur in responding to any legal process
 causes you to incur fees, expenses or damages.
                                                                                                               related to your account, such as expenses for research and copying of documents. The fees and
 We are not liable to you for any claim, cost, loss or damage caused by an event that is beyond our            expenses may Include attorneys' fees. We may deduct these fees and expenses from any of your
 reasonable control. In particular, we are not liable to you if circumstances beyond our reasonable            accounts without prior notice to you.
 cont rol prevent us from, or delay us In, performing our obligations for a service, including acting on
                                                                                                               If the legal process directs us to release information about one or more, but not all, accounts
 a payment order, crediting a funds transfer to your account, processing a uansaction or crediting
                                                                                                               that are reported on a combined statement, we may release the entire combined statement,
 your account. Circumstances beyond our reasonable control include: a na tural disaster; e mergency
                                                                                                               even though other accounts reported on the combined statement are not covered by the legal
 con di tions, such as fire, theft o r labor dispute; a legal constraint or governmental action Of
                                                                                                               process. If the legal process requests Information about one or more, but not all, account owners
 inaction; the breakdown or failure of our equipment for any reason, including a loss of electric
                                                                                                               or signers, we may release information about all co-0wners or signers on the account. eveu lhuugli
 power; the breakdown of any private or common carrier communication or transmission facilities,
                                                                                                               some of the other co-owners or signers are not covered by the legal process.
 any time-sharing supplier or any mail or courier service; lhe potential violation of any guideline, rule
 or regulation o f any government au thority; suspension of payments by another bank; or your act,             We may produce documents held at. or provide access to property that is located In, any of our
 omission, negligence or fault.                                                                                facilities or any facillty operated by a third party on our behalf, even If the facility is not designated
                                                                                                               as the place to be searched in the legal process.
 Except as limited by applicable law, we are not liable for special, incidental, exemplary, punit ive or
 consequential losses or damages of any kind,                                                                  We have no liabillty to you if we accept and comµly with legal process as provided in this section
                                                                                                               or by law.
 Our llabillty for a claim will be limited to the face value of an item or transaction improperly
 dishonored or paid or the actual value of any deposits not properly credited or withdrawals not
                                                                                                               Multiple Signatures Not Required
 properly debited.
                                                                                                               We may act on the oral or written instructions of any one signer on the account. Each signer may
You agree that the amount of any claim you have against us in connection with any account or                   make withdrawals, write checks. transfer funds, stop payment s, obtain ancillary services (e.g.,
tiau::;acl/011 wilh u:,, witi:::lht:1 U1uugi1l c1s
                                          i:I wcinanly, 11eglil{t!UCt! , wrongful dishonor or other action,   electronic fund transfer services or wire transfers}, and otherwise give us instructions regarding
is subject to reduction to the extent that: 1) negligence or failure to use reasonable care on your           your account. We may require written authorization for some actions,
part, or on the part of a ny of your agents or employees, contnbuted to the loss which is the basis
                                                                                                              We do not assume a duty to enforce multiple signature requirements that you may agree upon
of your claim; and 2) damages could not be avoided by our use of ordinary care.
                                                                                                              among yourselves. If you indicate on your checks or signature card or other account documents
Any loss recovery you obtain from third parties on a particular claim will reduce the amount of               that more than one signature is required for withdrawal, this indication is for you r own internal
any obllgc1Uons we may have to you on that claim and you will immediately notiry us o f any such              procedures and Is not binding on us.
recovery. You agree to pursue all rights you may have under any Insurance policy you maintain
                                                                                                              We may disregard any Instructions to permit withdrawals only upon more than one signature with
In connection with any loss and to provide us information regarding coverage. Our liability will
                                                                                                              respect to checks, electronic fund uansfers or other debit/withdrawal requests. We may pay out
be reduced by the amount o r any insurance proceeds you receive Of are entitled to receive In
                                                                                                              funds from your account If the check, item, or other withdrawal or transfer instruction is signed or
connection with the loss. If we reimburse you ror a loss covered by insurance, you agree to assign
                                                                                                              approved by any one of the persons authorized to sign on the account. We are not liable to you if
us your rights under t he insurance to the extent or your reimbursement.
                                                                                                              we do this.

Legal Process - Subpoena and Levy
                                                                                                              Notice of Withdrawal
-Legal process· Includes a writ or attachment, execution, garnishment, tax withholdfng order, levy.
                                                                                                              Federal regulations require us to retain the right to require all savings and all NOW account
restraining order, subpoena, warrant. injunction, government agency request ror information, sea,ch
                                                                                                              depositors to give seven days' written notice before making a withdrawal. ll ls unlikely, however,
warrant, forfeiture or other similar order.
                                                                                                              that we would require this notice.
We may accept and comply with legal process: served in person, by mall, by racsimile
transmission, or by other means; or served at locations other than the location vlhere the account,           Powers of Attorney/ Appointment and Payment to Agents
property or rec ords are held, You direct us not to contest the legal process. We may, but are not            You may decide to appoint someone to act for you as your agent or attorney-In-fact C-agent") under
                                                                                                              a power of attorney. Please note that the form must be satisfactory to us in our discretion a~~ge
Page 53                                                                                                                                                                                                              54
08/2022                                                                                                                                                                                                       08/2022




                                 Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 67 of 129
 unless prohibited by law, we may refuse, with or without cause. to honor powers of attorney that          after the death, legal Incapacity or other termination of entitlement of the intended recipient of
 you grant to others.                                                                                      such funds. If you are a sole proprietor, we may charge any of your personal or business accounts.
 For our customers' convenience we have a banking power of attorney form, which is available               If we take or setoff funds from a time deposit account. we may charge an early withdrawal penalty
 at many of our financial centers. Ir your state has a statutory form power of attorney, we also           on the funds withdrawn.
 generally accept that form. We may, however, accept any form that we believe was executed by              We may take or setoff funds from your account before we pay checks or other items drawn on
 you and act on instructions we receive under that form without any liability to you. You agree to
                                                                                                           the account. We are not liable to you for dishonoring items where our action results in Insufficient
 reimburse us for all claims, costs, losses and damages that we incur in accepting and acting on
                                                                                                           funds in your account to pay your checks and other items.
 any power of attorney fonn that we believe you executed.
                                                                                                           Some government payments may be protected from a ttachment, levy or other legal process under
 We may pay any funds deposited in your account to your agent or upon the order or your agent.
                                                                                                           federal or state law. If such protections may apply, to the extent that you may do so by contract,
 When we accept a power of attorney, we may continue to recognize the authority or your agent to
                                                                                                           you waive these protections and agree that we may take or setoff funds, including federal and
 act on your behalf without question until we receive written notice of revocation from you or notice
                                                                                                           state benefit payments, from your accounts to pay overdrafts, fees and other obligations you owe
 of your death or Incapacity and have had a reasonable lime to act upon it. We will not be liable for
                                                                                                           us.
 action In accordance with the most current documentation If we have not received such notice.
                                                                                                           This section does not limit or reduce our rights under applicable law to charge or setoff funds in
 We may require a sepafate form for each agent and for each account for which you want to grant
                                                                                                           your accounts with us for direct, indirect and acquired obligations you owe us.
 power of attorney. We may require youf agent to present t he original form and refuse to act on
 a copy. In some cases, we may require that your agent conf1tn1 in an affidavit that the power             Sample of Your Signature
 has not been revoked or terminated or that you register the power with the appropriate recording
                                                                                                           To determine the authenticity of your signature, we may refer to the signatute ca rd o, to   a   check
 authorities. We may restrict the types or sizes of transactions we permit your agent to conduct.
                                                                                                           or other document upon which your signature appears. We may use an automated process to
 The authority of your agent to receive payments, transact on Of otherwise make changes to your            reproduce a11d fetain your signature from a check upon which your signature appears.
 ac.;ouut geni=,dlly terminates with your death or Incapacity, unless the document creating such
                                                                                                           If you create your own checks, or obtain them from someone else, and we cannot accu,ately
 agency provides, in accordance with appllcable law, that the agenl's powers continue in spite of
                                                                                                           verify your signature on a check by comparing it with a check that pos1ed to your account, you
 your Incapacity.
                                                                                                           are fesponsible for any losses that may result from our inability to use that check to verily your
                                                                                                           signature.
 Record s
We may in our discretion retain records m any form including, w1t11out limit, paper, film, fiche,          Stop Payment Orders
digitalized or other electronic medium. If we are not able to produce the original or a copy of your
                                                                                                          Acceptance of Stop Payment Orders If we have not already paid a check or other item that
signature card or any other document relating to your account or service, our records (including our
                                                                                                          ls drawn on your account, then at your request and risk, we may accept a stop payment order
electronic records) will be deemed conclusive. If there is a discrepancy between your records and
                                                                                                          on it. If you request a stop payment on a check or other Item In a financial center, we may
our records, our records will be deemed conclusive.
                                                                                                          require identification such as a Government-issued photo 10 {Primary) and a secondary form of
                                                                                                          identification. You may not stop payment on a polnf of sitl~ lrnns;1clion or rm ATM wlthdrawr1I or
Right of Setoff
                                                                                                          transfer.
We may take or setoff funds in any or all of your accounts with us and with our affiliates for direct.
indirect and acquired obligations that you owe us. regardless of the source or funds In an account.       If we receive a postdated check that Is subject to a stop paymen t order, we may return the check
This provision does not apply to IRA or tax-qualified retirement accounts, to consumer credit card        ~payment stopped," ·refer to maker,· or with a similar designation,
obligations or where otherwise prohibited by law. Your accounts Include both accounts you own             Placing A St op Payment Order We may accept a written or oral stop payment order from any
individually and accounts you own Jointly with others. Our set orr rights are In addition to other        person who has a right to withdraw funds from the account. We may require you to complete a
rights we have under this Agreement to take or charge funds In your account for obligations you           fonn authorizing the order. You must give us sufficient notice and information so that we have a
owe us.                                                                                                   reasonable opportunity both to verify that the item is unpaid and to act on your request. We may
If the law Imposes conditions or limits on our ability to take or setoff funds in youf accounts, to the   charge you a fee tor each stop payment order and each renewal of lhe order.
extent that you may do so by contract, you waive those condit ions and limlts and you authorize us        We use a computer system to identify items. Therefore, to place a stop payment order on a check
to apply funds in any or all o f your accounts with us and with our affiliates to obllgations you owe     or draft, we need specific Information to process the request, such as the account number, the
us.                                                                                                       routing number, the name of the party to whom the Item was made payable, the item number
We may use funds held in your joint accounts to repay obligations on which any account ownef              and the exact amount of the item - in dollars and cents. If you give us the wrong amount (even
Is liable, whether jointly with another or individually. We may use funds held in your individual         one penny off} Of the wrong item number. we may pay the item. We may also require the date of
accounts to repay your obligations to us, whell1ef owed by you individually or jointly with another,      the item, the name of the person who signed or authorized the Item, and the name of the party
Including: obligations owed by you arising out of another joint account of which you are a joint          to whom the item was made payable. We may use only a portion of the required Information to
owner, even if the obligations are not directly Incurred by you: obligations on which you are             identify an item. Please see the Additional Information about Stop Payments for Preauthorlled
secondarily liable; and any amounts for which we become liable to any govemmental agency ot               (Recurring) Electronic Funds Transfers section for infonnatlon about how to stop those types of
department of any company as a result of recurring payments credited to any of yout accounts              payments.

Page 55                                                                                                                                                                                                  Page 56
08/2022                                                                                                                                                                                                 08/2022




                           Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 68 of 129
  In some cases, we may pay an item even If an order is In effect. For example, if one of our                         to receive this type of notice only when the payment would differ by more than a certain amount
 financial centers, without notice of your request, pays a check that you have asked us to stop, we                   from the previous payment, or when the amount would fall outside cenain limits that you set.
 may still pay the check.
                                                                                                                     Liability for Failure to Stop Payment
 A stop payment order generally expires after twelve months. However, we may, in our sole                            If you order us to stop a preauthorized payment three business days or more before the transfer
 discretion, elect to honor a stop payment order for a longer period of time without notice to you.                  is scheduled, and you have given us all of the information we requested, and we do not stop the
 If you want the order to continue after twelve months, you must ask us to renew the order. Each                     payment, we will be liable for your losses or damages directly caused by our failure to stop the
 request for a renewal ls treated as a new order. Jr you want the order to expire in less than twelve                payment.
 months. you must ask us to cancel the order on or after the date you want it to expire. We may
 accept a written or oral instruction to cancel the order. Your request to cancel the order Is not                   Subaccounts
 effective until we have a reasonable opportunity to act on it. We cancel the order automatically                    For regulatory accounting purposes, we may classify checking accounts as two subaccounts:
 when the account on which the item is drawn is closed. If the item is presented to us for payment                   a checking subaccount and a savings subaccount. For interest-bearing checking accounts, we
 after the stop payment order expires, we may pay the item.                                                          calculate and pay Interest at the same rate and in the same way on both subaccounts. For non-
 Ir we pay an item subject to a valid and timely stop payment order, we may be liable to you if                      Interest-bearing checking accounts, we do not pay Interest on either subaccount. We may transfer
 you had a legal right to stop payment and you establlsh that you suffered a loss because of the                     funds between these subaccounts. We record the subaccounts and any transfers between them on
 payment. Our liability, if any, Is limited to the actual loss suffered, up to the amount or the item.               our internal accounting records only. Otherwise, the subaccounts are subject to the same terms as
 You must prove the loss to our satisfaction, We afe not liable to you ror any special, Incidental or                the checking and savings accounts described in this Agreement.
 consequential loss or damage of any kind.
                                                                                                                     Unclaimed Property - Acc ounts Presumed Abandoned or Inactive
 Ad ditional Information about Stop Payments for Pre authorlzed (Recurring) Electronic Funds
                                                                                                                     State and federal law and ouf policy govern when accounts are considered abandoned. The
 Transfers If you have told us in advance to make regular payments out of your account (such as
                                                                                                                     applicable state law Is generally the slate listed m the address for your account statement.
 fet.:u11i11g t.leLil transactium,) u, if yuu hdv~ aulhuliietl ~u111~u11e t:l~e tu tl~I.Jll your accuu11l U11uugh
 the ACH system, you can stop these payments.                                                                        Your account is usually considered abandoned if you have not perlofmed at least one of the
                                                                                                                     following activities for the period or time specified In the appllcable state's unclaimed property law:
 Here's how: Call us at 800.432.1000 or write us at Bank of America Customer Servic~, PO Box
                                                                                                                     made a deposit or withdrawal, written to us about the account, or othef\vise shown an interest
 25118, Tampa, Fl 33622.
                                                                                                                    In the account, such as asking us to keep the account active. You usually need to perform the
 You must notify us In time to receive your request at least three business days before the payment                 activity. Therefore, bank charges and Interest payments, and automatic deposits and withdrawals,
 order is scheduled to be made. If you call us to stop the payment, we may require you to confirm                   are usually not considered activity.
the request in writing. If you do not notify us in writing, we may remove the stop payment after 14
                                                                                                                    We are required by the unclaimed property laws to turn over accounts considered abandoned to
days. We may charge you a fee for each stop payment order you give.
                                                                                                                    the appllcable state. Before we turn over an abandoned account, we may send a notice to the
 Stop payment orders for preauthorized (recurring) payments do not expire without action on your                    addr~ss we currently show ro, th~ account statement. We may not send this notice 1f mail we
part, including recurring debit card and ACH transactions.                                                          previously sent to this address was returned. Unless prohibited by the applicable state law. we
To place a stop payment order on an ACH debit, we may require you to provide your name and                          may charge to the account our costs and expenses of any notice, advertisement, payment and
telephone number, the type of account (checking or savings}, and the exact company name used                        delive,y of the account to the appl!cablt! state agency.
by the sender of the ACH debit, and some of the other Information listed under Placing a Stop                       After we tum the funds over to the state, we have no further liability to you for the funds and you
Payment Order. You can obtain the company name used by your sender from your statement by                           must apply to the appropriate state agency to reclaim your funds.
looking at a prior ACH debit rrom this sender that posted to your account.
                                                                                                                    If we consider your account inactive, then (unless prohibited by federal law or the law of the state
If you do not know the amount of the ACH debit, we may still be able to place the stop payment                      where we maintain your account) we may:
order based on the company name of the sender, but this may stop all ACH items from this
                                                                                                                          • charge dormant account fees on the account in addition to regular monOlly maintenance
sender. Ir you give us the wrong company name or if the sender changes the company name, we
                                                                                                                            and other fees,
may pay the item.
                                                                                                                          • stop sending statements,
To place a stop payment on other preaulhorlzed (recurring) transactions, you must give us the
                                                                                                                          • If the account received Interest. stop paying Interest on the account; and
identifying information we request . You may be able to give us a specific expiration date for certain
stop payment orders if you choose to do so.                                                                              • refuse to pay items drawn on or payable out of the account.

You must notify the payee that you have withdrawn your authorization for any preauthorized                          If you re•establish contact with us, we do not have to rei mburse you for these fees and we are not
(recurring) transaction.                                                                                            liable to you for any interest that would otherwise have accrued on your account.

Notice of Varying Amounts                                                                                           Verification of Transactions and Right to Reverse Transactions
If these regular payments may vary m amount, U1e person you are going to pay will tell you, 10
                                                                                                                    Transactions, including those for which we provide a receipt, may be subject to subsequent
days before each payment, when It will be made and how much it will be. You may choose instead
                                                                                                                    verification and correction, though we reserve the right not to do so in every case. We do not verify
                                                                                                                    a deposit at the teller window so the receipt that you receive at the time of your deposit is not
Page 57                                                                                                                                                                                                           Page 58
08/2022                                                                                                                                                                                                          08/2022




                              Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 69 of 129
  evidence that your deposi t has been verified. We may reverse or otherwise adjust any transaction
  (both credit and debit) that we believe we erroneously made to your account at any time without         Electronic Banking Services
  prior notice to you, if we opt to do so.
                                                                                                          We offer a variety of electronic banking services for use with your deposit accounts. We describe
 Waiver, Severabilit y, and Change of Law by Agreement                                                    some in this section and also provide certain disclosures that apply to use of an electronic banking
 Waiver We may delay or watve the enrorcement of any or our rights under this Agreement without           service with personal deposit accounts. We provide separate agreements to you that govern t11e
 losing that right or any other right. No delay In enforcing our rights will affect your obligation to    terms of some services. including separate agreements for ATM and debit cards and Online and
 pay us fees and other amounts you owe us under this Agreement. If we waive a provision of                Mobile Banking services. Please review the following provisions and the scporote agreement for
 this Agreement, the waiver applies only in the specific Instance In which we decide to waive the         the service.
 provision and not to future si tuations or other provisions regardless of how similar they may be.
                                                                                                          Types of Electronic Banking Services
 Sevcrablllt y A determination that any part of this Agreement is invalid or unenforceable will not
                                                                                                          A TM and Debit Cards
 affect the remainder of this Agreement.
                                                                                                          We may issue you an ATM or debit card (either Is called a •card'") and a personal identification
 Change of Law by Agreoment If any part of Otis Agreement is inconsistent with any applicable
                                                                                                          number (PIN) when you open your account. The terms that govern this service are In a separate
 law, then to the extent the law can be amended or waived by contract, you and we agree that this
                                                                                                          agreement that you teceive with your card. Please review that agreement carefully.
 Agreement governs and that the law is amended or waived by this Agreement.
                                                                                                         There are daily dollar limits fot withdrawals and purchases. We provide your card limits to you as
                                                                                                         part of the separate agreement for card services. We may occasionally decide not to issue a card
                                                                                                         or code to a customer. We may suspend or terminate a card or code at any time without cause or
                                                                                                         notice.
                                                                                                         The followinc information is a summary of how }'OU c.Jn use your cord. Some of these uses may
                                                                                                         not be available with every card or at every ATM or other terminal.
                                                                                                         At ATMs You can use your card with linked accounts at participating ATMs to withdraw cash,
                                                                                                         transfer funds, and find out balances. At most ATMs that are prominently branded with the
                                                                                                         Bank of America name and logo, you can also use your card and PIN with linked accounts to make
                                                                                                         deposits and make payments to qualifying Bank of America credit cards and loans.
                                                                                                         At participating merchants You can use your card with linked accounts at participating merchants
                                                                                                         to purchase goods and services. Some merchants may also permit you to withdraw cash from your
                                                                                                         checking account while making a purchase.
                                                                                                         At participating financi al institutions You can use your card with linked accounts a l participating
                                                                                                         financial institutions to obtain a cash withdrawal from a teller.
                                                                                                         Payments, Credits, and Transfers You can senrf or receive electronic transfers from or to your
                                                                                                         accounts. We may do this by ACH (as a member of a national or local automated clearinghouse
                                                                                                         association) or other similar networks. Electronic transfers may take various forms, such as:
                                                                                                              • Automatic electrnnic deposits to your account, such as payroll or benefits payments;
                                                                                                              • Automatic one-time or repeating charges to your account for bill payments, sent by a
                                                                                                                merchant or other payee with your authorization. The merchant or payee may ask you
                                                                                                                for bank number and account Information from your check or a canceled check to create
                                                                                                                 these orders. The merchant or payee may resubmit returned Items multiple times, even for
                                                                                                                one-time charges. Each submission or resubmission for payment constitutes a separate
                                                                                                                Item. For example, if you authorize your cable company to debit your account on a one-
                                                                                                                time or recurring basis and a debit Is returned for insufficient funds, the cable company
                                                                                                                may attempt to resubmit the debit item for payment and each resubmission constitutes
                                                                                                                a separate item. We have no control over whether or when a merchant or its financial
                                                                                                                Institution resubmits a debit Item. If you believe that a resubmitted electronic tra nsfer
                                                                                                               was mislabeled and you were improperly charged a fee, you must notify the Bank within
                                                                                                               the tlmeframes established by the Deposit Agreement and the EFTA. See sections titled
                                                                                                               Reporting Problems and Funds Transfer Services; and


Page 59                                                                                                                                                                                               Page 60
08/2022                                                                                                                                                                                              08/2022




                          Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 70 of 129
        • A Mcheck conversion" lfansfer, where a merchant or other payee uses a check that you               Your authorization (whether express or Implied) for any Individual to establish an Access ID shall
          have written to create an electronic transfer from your account. The merchant may either           constitute your authorization for the bank to provide account information to such individual and
          keep the check you wrote or return it to you.                                                      (unless Inquiry onty access is selected) to transfer funds and conduct other banking transactions
  Online and Moblle Banking Online and Mobile Banking services are governed by a separate                    u pon that person's request. Such authorization supersedes any resolution, signature card or other
  agreement. You receive the agreement for the service at the time you enfOII. You can use these            docun1e11t filec.J with the bank that purports to limit authority ovt!t any of your accounts, whethe,
 services with linked accounts to view your account information, make deposits, transfer funds              currently on file or subm itted or modified in the future, unless the Access ID authorization Is
 between your accounts and to the accounts of others, pay qualifying loans or credit cards, and             expressly modified or revoked.
 make payments from your account to third parties. You can enroll for these services on our
                                                                                                            Electronic Banking Disclosures
 website bankofamerica.com.
                                                                                                            Personal deposit acco unts Our Personal Schedule of Fees describes our personal deposit accounts.
 Te lephone Banking You may use our automated customer service system with an Access 10
                                                                                                            This Electronic Banking Disclosures section explains provisions that apply to electronic fund transfers
 or speak to a tele phone banker to get your account information, transfer funds between your
                                                                                                            to or from personal deposit accounts (sometimes refeued to as Mconsumer deposit accounts· ).
 accounts with us, a nd pay qualirying loans or credit cards.
                                                                                                            These Transfers are governed by Regulation E, which Implements the federal Electronic Fund
 Access ID                                                                                                  Transfer Act. A personal deposit account Is an account that is owned by a natural person and that is
                                                                                                            established primarity for personal, family, or household purposes.
 An Access ID is a numeric code which, when used with a separate PIN number or passcode (plus,
 in some circumstances, another piece o f identifying information called a Mverbal veriftcation code"),     Business deposit acc ounts Our Business Schedule of Fees describes our business deposit accounts.
 enables consumer and small business customers to do the following through our automated                    Business deposit accounts are accounts that are established primarily for business purposes. When
 telephone syst em or In person at a financial center:                                                      you open one of our business deposit accounts, you represent and agree that you are establishing it
                                                                                                            primarily for business purposes. Provisions below that explain a co11sume1's liability fu, u11autllorlzet.l
       • obtain information about deposit ond credit accounts that are finked to the Access ID
                                                                                                            transfers do not apply to business deposit accounts. although as a matter of practice we generally
       • transfer funds and make payments between linked accounts, and
                                                                                                            follow the error resolution procedures described In this Electronic Banl<ing Disclosures section for
       • obtain other services such as stop payments, check reorders, and copies of checks and              busineSS·purpose accounts. Please note that we are not required to follow these procedures        ro,
         statements                                                                                         business accounts and that we may change our practice at any time \vithoul notice.
 You may request an Access ID and related security codes by calling customer service or at any              Consumer's Llablllt y for Unauthorized Transfe rs
 Onanc1al center. Please note that Access IDs may not be available to customers in all states.              Tell us AT ONCE If you believe your card or your personal identification number (PIN) or other code
 In some states, individual account numbers, combined with additional security codes, may be                has been lost or stolen. Also, tell us AT ONCE if you believe that an electronic fund transfer has
 required to obtain account Information and transact other business.                                        been made without your permission using Information from your check. The best way to keep your
 Two activity levels are available for most accounts linked to your Access ID:                              possible losses down is to call us immediately.
(1 ) Inquiry: Allows you to obtain account balances and transaction Information.                           Your losses could include all of the money in your account plus any transrers from another account or
(2) Financial: Allows you to obtain account information, transfer funds among accounts linked to           any advances on a credit line if you are enrolled In Balance Connect'"' for overdraft protection.
the Access 10, and obtain certain other banking services.                                                  If you t~II us within two business days after you learn of the loss or theft of your card or code, you
When you first choose your Access ID, and when you subsequently open any new accounts, we will             can lose no more than $50 If someone uses your card without your permission.
link all your Bank of America accounts that are eligible. and assign the financial activity level to all   If you do NOT tell us within two business days after you learn of the loss or theft o f your card or
accounts for which that activity level is available, unless you tell us otherwise. We may establish        code, and we can prove we could have stopped someone from using you, card or code without
certain limit s on the accounts that can be linked to your Access 10 and that can have the financial       your permission if you had told us, you could lose as much as $500.
activity level.
                                                                                                           Also, if your statement shows transfers that you did not make, Including those made by card, code or
If you permit another person to use your Access ID or account number(s) and related code(s),               other means, tell us at once. If you do not tell us within 60 days after the statement was malled to
you are responsible for all transactions conducted by that person (even if he or she exceeds your          you, you may not get back any money you lost after the 60 days if we can prove that we could have
authorization), until you notify us that the person is no longer authorized so that we may block the       stopped someone from taking the money if you had told us In time. If a good reason (such as a long
codes and issue new ones.                                                                                  trip or a hospital stay) kept you from telling us, we will extend the time periods.
You must review your periodic statements and promptly report to us any unauthorized funds                  Noto: These liability rufes are established by Regufatlon E., which does not appfy to business deposit
transfers initiated through the use of your security codes or ot herwise. You must also promptly           accounts. For personal deposit accounts, our liability policy regarding unauthorized debit card or
notify us of any suspected loss or theft of your security codes. Failure to take these actions may         ATM card transactions, and unauthorized Online Banking lransaclions may give you more protection,
affect the extent of your liability for any unauthorized transfers under federal banking regulations or    provided you report the transactions promptly. Please see the agreement you receive with your ATM
other applicable laws.                                                                                     or debit card and the Online Banking agreement.
Small Business Access IDs If you are a small business customer, to uniquely identify each                  You should never write your PIN on your card or carry the PIN wi th you. This reduces the possibility
person who Initiates a request for banking services, you should establish a separate Access ID             of someone usmg your card without your permission If it is lost or stolen.
and related security codes for each person who you determine needs access to your accounts.
Page 61                                                                                                                                                                                                      Page 62
08/2022                                                                                                                                                                                                     08/2022




                            Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 71 of 129
 If you give, or make reasonably available, your card, PIN or other access device or code to anyone,             • If we consider your account to be inactive or dormant.
 you may be liable for any use made of such until you advise us that such person is not authorized
                                                                                                                • If your card or code has been revoked due to inactivity or at our discretion.
 to use them.
                                                                                                          There may be o ther exceptions stated in our agreement with you or permitted by law.
 Also, the state law applicable to your account may give you more time to report an unauthorized
                                                                                                          Confidentiality - Account Information Disclosure We will disclose information to third parties about
 transaction or may give you more protection. For example, In Massachusetts, the two-day and
                                                                                                          your account or transfers you make as stated in lhe Information about You and Your Account
 60-day time limits for reporting unauthorized transactions do not apply and the $500 limit does not
                                                                                                          section near the front of this Agreement.
 apply.

                                                                                                         Fees
 Contact In Event of Unauthorized Transfer; and Lost or Stolen Card, PIN or Other Code
 If you believe your card, PIN or other code Is lost or stolen, or learned by an unauthorized person,    ATM Fees When you use an ATM that is not prominently branded with the Bank of America name
 or that someone has transferred or may transfer money from your account without your permission,        and logo, you may be charged a fee by the ATM operator or any network used and you may be
 notify us immediately by calling the n umber list ed below.                                             charged a fee for a bala nce Inquiry even if you do not complete a fund transfer. We may also
                                                                                                         charge you fees.
 Telephone: 800.432.1000
                                                                                                         Other Fees For other fees that apply to electronic banking services, please review the Schedule
 You can also write to us at: Bank of America, PO Box 53137, #7405, Phoenix, AZ 85072-3137
                                                                                                         of Fees for your account and each agreement or di sclosure that we provide to you for the specific
 You should also call the number or write to the address listed above If you believe a transfer has      electronic banking service, including the separate agreement for Online and Mobile Banking
 been made using the information from your check without your permission.                                services and the separate agreement for ATM and debit cards.
 ff unauthorized activity occurs, you agree to cooperate during the investigation and to comple te a     In Case of Errors or Questions about your Electronic Transfers You May Sign Into Online Banking
 Lost/Stolen Card and Fraud Clain1s Report or similar affidavit.                                         to Report the Error Promptly, or Call or write us at the telephone number or address below, as
 Business Days For purposes of these electronic banking disclosures, our business days are               soon os >'OU con, if rou thinl{ your sto tement or receipt Is wrong. or if you need more inform.ition
 Monday through Friday. Weekends and bank holidays are not Included.                                     about a transfer listed on the statement or receipt.

 Document at ion of Transfers                                                                            Call us at 800.432.1000 during normal Claims Department business hours or write us at
 Receipts You can usually get a receipt a t the time you make any transfer to or from your account       Bank of America, PO Sox 53137, #7405, Phoenix, AZ 85072-3137.
 at an ATM or point or sale terminal. You may not get a receipt fo r small dollar transact ions.         We must hear from you NO LATER than 60 days after we sent you the FIRST statement on which
 Transactions may be verified by us though we reserve the right not to do so in every case, so the       t he error or problem appeared. Please provide us with the following:
 receipt is not final and our records will control if the,e is a conflict.
                                                                                                                • Tell us your name and account number;
Preaulhorized Credits If you have arranged to have direct deposits made to your account at least                • Describe the error or the transfer you are unsure about. and explain as clearly as you can
once every 60 days from the same person or company, you can call us at 800.432.1000 to find                       why you believe it is an error or why you need more information;
out whether or not the deposit has been made.
                                                                                                              • Tell us the dollar amount of the suspected error.
Periodic S1atemen1s We send you a monthly account statement unless there are no electronic fund
                                                                                                        If you tell us orally, we may requ1te that you send your complaint or question In writ ing within 10
transfers in a particular month. 111 any case. we s~nd you a statement at least qua,terly unless. we
                                                                                                        business days.
consider your account Inactive.
                                                                                                        We will determine whether an error occurred within 10 business days after we hear from you and
Preauthorlzed Payments                                                                                  will coffecl any error promptly. Jr we need more time, however, we may take up to 45 days to
Please see the Additional Information about Stop Payments for Preauthorized (Recurring) Electronic      Investigate your complaint or que stion. U we decide to do this, we will credit your account within
Funds Transfer section in the Stop Payment Orders section of the Agreement.                             10 business days for the amount you think is in error, so that you will have the use of !he money
Llab lllty for Failure t o Make Transfers                                                               during the time It takes us to complete our Investigation . If we ask you to put your complaint
                                                                                                        or question In writing and we do not receive It within 10 business days, we may not credit your
If we do not complete a t,ansfer to or from your account on time or In the correct amount
                                                                                                        account.
according to our agreement with you, we will be liable for your losses or damages. However, there
are some exceptions. We will not be liable, for Instance:                                               For ertors involving new accounts, point of sale, or foreign-initiated transactions, we may take up to
                                                                                                        90 days (instead of 45) to investigate your complaint or question. For new accounts we may take
     • If, through no raull of ouIs, you do not have enough money in your accouut to make the
       transfer.                                                                                        up to 20 business days to credit your account for the amount you think is in error.

     • If the ATM where you are making the transfer does not have enough cash.                          We will tell you the results within 3 business days after comp leting our investigation. Ir we decide
                                                                                                        t hat there was no error, we will send you a written explanation. You may ask for copies of the
     • If the ATM, terminal or system was not working properly and you knew about the breakdown
                                                                                                        documents that we used in our investigation.
       when you started the transfer.
                                                                                                        Notice: As part of the security system to help protect your card and PIN, we may use hidden
     • If circumstances beyond our control (such as power outages, equipment failures, fire or flood)
       prevent the transfer. despite reasonable precautions that we have taken.                         cameras and other security devices to d etermine who is using a card at an ATM. You consent to
                                                                                                        this.
     • If the funds are subject to legal process or other encum brance restricting U1e transfer.
Page 63                                                                                                                                                                                                Page 64
08/2022                                                                                                                                                                                               08/2022




                            Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 72 of 129
  Additional Information for Massachuseus customen;:: Any documentation provided to you which                In all states excepl NY a nd NJ, direct concerns about the security of Bank of America ATMs to our
  indicates that an elect ronic fund transfer was made shall be admissible as evidence or the transfer       Corporate Security Department by calling 800.222. 7511,
  and shall constitute prima facle proof that the t ransfer was made. And the Initiation by you o f          New York
  cenain electronic fund transfers from your account will effectively eliminate your ablllty to stop
                                                                                                                   • Questions or complaints concerning security? Call our Security Department at
 payment of the transfer. UNLESS OTHERWISE PROVIDED IN THIS AGREEMENT, YOU MAY NOT                                   800.222. 7511, or the New York Department of Financial Services at 888.697 .2861.
 STOP PAYMENT OF ELECTRONIC FUND TRANSFERS. THEREFORE, YOU SHOULD NOT EMPLOY
                                                                                                             New Jersey
 ELECTRONIC ACCESS FOR PURCHASES OR SERVICES UNLESS YOU ARE SATISFIED THAT YOU
 WILL NOT NEED TO STOP PAYMENT.                                                                                    • Questions or complaints concerning security? Call our Security Department at
                                                                                                                     800.222.7511, or the New Jersey Department or Banking at 609.292.7272.

 ATM Safety Tips
                                                                                                             Funds Transfer Services
 The suggestions that follow offer some simple Ups on protecting your card and PIN and on
                                                                                                             The following provisions apply to funds transfers you send or receive through us, but do not apply to
 exercising ca re when using an ATM.
                                                                                                             electronic fund transfers governed by Regulation E, Subpart A of the Consumer Financial Protection
 Prot ect Your ATM Card and Personal Identification Number (PIN)                                             Bureau. We provide separate agreements to you that govern the terms of some funds tra nsfer
                                                                                                             services, including separate agreements for Online and Mobile Banking, telephone transfers, and
       • Always protect your c ard by keeping it in a safe place. Ir your card is lost or stolen, contact
          us immediately.                                                                                    funds transfers in the financial centers. If you have a specific agreement with us for these services,
                                                                                                             these provisions supplement that agreement to the extent these provisions are not inconsistent with
       • Memorize your PIN. Do not writ~ it on your card, keep it in your wallet, or give It to anyone.
                                                                                                             the specific agreement.
       • If you choose your own PIN, avoid using numbers for your PIN that are ec-Jl:iily id~11tifiell
                                                                                                             The Uniform Commercial Code Includes provisions relating to funds transfers. These provisions
          (birth dates, telephone numbers, addresses, etc.)
                                                                                                             dellne the following terms: funds transfer, payment order and beneficiary. These terms are used
       • Never give your PIN to anyone or Information about your card over the telephone, email or
                                                                                                             here as they are defined in Article 4A o r the Uniform Commercial Code - Funds Transfers as adopted
         the Internet, unless to a trusted merchant In a call or transaction you initiated. If someone
                                                                                                             by the state whose law applies to the account for which the funds transfer service Is provided.
         asks for this Information, refuse and Immedi ately contact us.
                                                                                                             In general: A funds transfer is the process of carrying out payment orders that lead to paying a
       • Carefully review your account statements and report any fraudulent transactions
                                                                                                             beneficiary. The payment order is the set of instructions given to us to transfer funds. The beneficiary
         immediately.
                                                                                                             Is the person or business who receives the payment.

 Be Aware of Your Surroundings at ATMs                                                                      In addition, funds transfers sent outside of the United States that are initiated by consumers
      • Be aware of people and your surroundings before, durmg and after you use an ATM,                    primarily for personal, famlly or household purposes are governed by ft>deral law (Remittance
        particularly at night. If you thmk it is unsafe, press "cancel, " leave immediately and visit       Transfers) (see below). Effective as of the date set forth in the final rules Implementing EFTA
        another ATM.                                                                                        (defined below). federal law may provide rights with respect to Remittance Transfers that may vary in
          If you must use an ATM at night, take someone with you.                                           ccrtoln woyr. from the term:; ond conditions ~ct forth hc1cin. Your rights with respect to Remittance
                                                                                                            Transfers, Including disclosure, error resolution and cancellation rights, will be explained to you
      • When using an ATM with a doot that rt!qui,~s card access, close the door completely upon
                                                                                                            contemporaneously with each Remittance Transfer transaction you initiate, eilher orally or in writing.
        entering and exiting and do not open the door 10 anyone you don't know.
      • When you use a drive-up ATM, keep your engine running, doors locked and only the driver's           In general, your and our rights and obligations under this Agreement are governed by and Interpreted
        window open during the transaction.                                                                 according to federal law and the law of U1e state where your account is located. However, Remittance
                                                                                                            Transfers shall be governed by federal law and, as applicable, the law of the State o f New York.
      • The activity around Bank of Amefica ATMs may be monitored or recorded by surveillance
                                                                                                            Funds transfers to your account or funded from your account or otherwise funded by you may
        cameras.
                                                                                                            Involve one or more funds transfer systems, including, without limitation, Fedwire or Clearing House
      • Do not use an ATM that appears to have been damaged or t ampered with.
                                                                                                            Interbank Payments System (CHIPS). Accordingly, notwithstanding any choice or law that may be
Protect Your Privacy                                                                                        provided elsewhere in this agreement. such transfe rs will be governed by lhe rules of any funds
      • Shield the key pad with your hand or body while entering your PIN at an ATM.                        transfer system through which the transfers are made, as amended from time to time , including,
                                                                                                            without limitation, Fedwire. the National Automated Clearing House Association, any regiona l
      • Put you, card, cash and ,ecelpt away 11111ned1ately after completing your transaction. Do
                                                                                                            association (each an ..AcH•), and CHIPS. Funds transfers through Fedwire will be governed by,
        not display or count your cash at the ATM. J{eep your receipt so you can compare it to your
                                                                                                            and subject to, Regulation J, Subpa rt B, and Uniform Commercial Code Article 4A Incorporated by
        s tatement.
                                                                                                            reference thereunder. Funds transfers through CHIPS are governed by, and subject to, CHIPS Rules
Request Emergency Assistance                                                                                and Administrative Procedures and by the laws of the State of New York, including Article 4-A of
                                                                                                            the New York Uniform Commercial Code, regardless of whelher the payment message Is part of a
If you need emergency assistance, call 911 from the nearest telephone. Report all crimes
                                                                                                            transfer that Is a Remittance Transfer, except that in the case or an inconsistency between New York
Immediately to law enforcement and your local financial center. If you think you are being followed,
                                                                                                            law and EFTA, EFTA shall govern.
go to a busy area and immediately contact law enforcement.

Page 65                                                                                                                                                                                                    Page 66
08/2022                                                                                                                                                                                                   08/2022




                            Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 73 of 129
  We may charge fees for sending or receiving a funds transfer. We may deduct our fees from your                        We are nol liable to tou for the rejection or obligated to pay you Interest for the period before   you
  account or from the amount of the transfer. Other financial Institutions involved in the funds transfer               receive timely notice of rejection.
  may also charge foes. For current fees, call us at the number for customer service on your statement
                                                                                                                       Errors or Questions About Your Payment Orders We notify you about certain funds transfers by
  or ask a financial center associate.
                                                                                                                       listing them on your account statement. In some cases, we also may notify you electronically, in
                                                                                                                       writing or by a report produced through one of our information reporting services.
 Remittance Transfers
 The Bank may execute certain payment orders for you known as Remittance Transfers. A                                  You must notify us at once If you think a funds transfer shown on your statement or notice is
 Remittance Transfer is a wire transfer initiated by a consumer primarily for personal, family or                      incorrect. You must send us written notice, including a statement of relevant facts. no later than
 household purposes to a designated recipient In a foreign count ry. Effective as of the date set                      14 days after the date you receive the first notice or statement on which the problem or error
 fo1lh i11 lhe final 1ul~s i111plemtmtlng EFTA (defined below), federal law may providt: certal11 rights               appears.
 and obligations related to Remittance T,ansfers that may differ from rights and obligations t hat                     If you fall to notify us within this 14-day period, we are not liable for any loss of interest because
 apply to other types of payment orders, Including disclosure, cancellation and error resolution                       of an unauthorized or enoneous debit or because your statement or notice Is Incorrect. We are not
 rights. To the extent the provisions of this Agreement are inconsistent with the oral or written                      required to compensate you, and we are not requ ired to credit or adjust your account for any loss
 disclosures provided to you for a Remittance Transfer governed by section 919 of the Electronic                       o f interest or Interest equivalent.
 Fund Transfer Act {EFTA), 15 U.S.C. section 16930-1, lhe terms of the disclosures provided at the                     Calculations Unless otherwise prohibited by law, if we are obligated to pay for loss of interest
 time of the Remittance Transfer shall govern. Notwithstanding anything to the contrary contained                      that results from our error or delay regarding your payment order, we calculate compensation as
 herein, rights and obligations that apply to Remittance Transfers are as set forth in EFTA and, as                    follows, With an analyzed checking account, we credit the account to reflect the applicable value
 applicable, as set forth in New York law                                                                              date or otherwise adjust the account under our account analysis procedure, to recalculate earnings
                                                                                                                       credits for the period involved. With a non-analyzed. non-interest-bearing account. we use a rate
 Sending Funds Transfers
                                                                                                                       equal to th~ avtHagt:! or tht! Fedttrctl Fund~ rates set by the fel.le1al Rese1ve Bank of New York, less
 You may ~ul,~c.:,iUtt to c~rtain services we orre, Or you 111ay givtl us ol11e, i11slruc.:tio11s lo µay 111011t:!y
                                                                                                                       a reserve factor. With a non-analyzed, interest-bearing account, we use the rate applicable to the
 or have another bank pay money to a beneficiary. This Sending Funds Transfers section applies to                      account. If we have a separate agreement with you specifying a different calculation method, we
 wire transfers (excluding Remittance Transfers) and transfers we make between your                                    use that method instead.
 Bank of America accounts. It does not apply to automated clearing house (ACH) system funds
 transfer services.                                                                                                    Receiving Funds Transfers
 You may give us payment orders for ACH system funds transfers only if you have a separate                             We may receive Instructions to pay funds to your account. We may receive funds transfers directly
 agreement with us for those services.                                                                                 from the sender, through a funds transfer system or through some other communications system.
 Cutoff Times for Payment Orders We have cutoff times for processing payment orders. Cutoff                            This includes wire transfers, ACH transfers that may be sent through an ACH system or processed
times vary depending on the particular office of our bank and the type of payment order. We may                       directly to an account with us, transfers sent through transfer systems that deliver payments in real
treat payment orders we receive after a cutoff time as if received the next business day. We tell                     lime, and transfers between Bank of America accounts.
you ou, 1,;uluf1 tlmt:s uµu11 1e'4Ut::,l.                                                                             ACH Provisional Payment Ruic Under ACH rules, funds transfers sent through ;)n ACH arc
Amending or Cancellng Paym ont Orders You may not amend or cancel a payment order after we                            provisional and may be revoked prior to final settlement. You agree to these rules. If the funds
receive It. If you ask us to do this, we may make a reasonable effort to act on your request. But                     transfer is revoked beforn final settlement. we may charge your account for the amount credited.
                                                                                                                      The person who sent the payment order is considered not to have paid you. If this happens, we do
we am not liable to you Ir, for any reason, a payment order is not amended or canceled. You agree
                                                                                                                      not send a separate notice; we repotl the information on your accoum statement.
to reimburse us for any costs, losses or damages t hat we incur in connection with your request to
amend or cancel a payment order.                                                                                      Notic e o f Funds Transfer We notify you that we have received funds transfers by listing them on
Inco nsistency of Name or Number The beneficiary's bank may make payment to the beneficiary                           your accou nt statement. We provide statements to you by mail or through Onlme Banking if you
based solely on the account or other identifying number, even if the name on the payment order                        selected paperless delivery through Online Banking for your deposit account documents. If you use
                                                                                                                      one of our information reporting services, you may receive notice through that service.
differs rrom the name on the account. Wf! or an intermediary bank may send a payment order to
an intermediary bank or ben eficiary's bank based solely on the bank Identifying number, even if the                  We are not obligated to send you a separate notice of each incoming funds transfer. While we
payment order Indicates a different bank name.                                                                        generally do not provide such separate notices, we may do so on occasion, in which case we send
                                                                                                                      the notice within two business days after we credit your account.
Sending Payment Orders We may select any intermediary bank, funds transfer system or means
of transmittal to send your payment orders. Our selection may differ from that indicated in your                      We are not obligated to pay you interest for the period before you receive notice.
instructions.                                                                                                         If you are expecting a funds transfer and want to find out if it has been credited to your account,
Notice of Rejection We may reject payment orders. We notify you of any rejection orally,                              call us at the number for customer service on your statement.
electronically or in writing. If we send written notices by mail, we do so by the end of the next                     Post i ng Your Custome,s 1 Pa yments We credit to your account electronic payments (such as bill
business day.                                                                                                         payments) that we receive from your customers. If you do not apply a payment to an account of
                                                                                                                      your customer, you must promptly return the payment to us.

Page 67                                                                                                                                                                                                              Page 68
08/2022                                                                                                                                                                                                             08/2022




                              Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 74 of 129
  ACH Debits and Credits                                                                                        IRS regard less of the amount of the interest payment. You may claim amounts withheld and paid to
  From time to time, originators that you authorize may send automated clearing house (ACH) credits             the IRS as a credit on your federal income tax return.
  or debits for your account. For each ACH transaction, you agree that the transaction is subject to            If you are a certified nonresident alien individual, you are generally e)(empt from backup withholding
  the National Automated Clearing House Association (NACHA) Operating Rules and any local AC H                  on interest bu t may be subject to information reporting If you reside in a country in which we
 operating rules then in effect. You agree that we may rely on the representations and warranties               are required to report. If you are a certified foreign entity, you are generally exempt from backup
 contained in these opera ting rules and either credit or debit your account, as instructed by the             withholding and Information reporting for Interest payments. Deposit interest income that is
 originator o f the ACH transact ion. Under the NACHA Operating Rules merchants and their financial            ertectively co11nected with the conduct of a trade or business in the United States Is subject to
 inslltutions may resubmit returned debit Items multiple times. For example, if you authorize your             information reporting.
 cable company to debit your account on a one-time or recurring basis and a debit Is returned for
                                                                                                               You must renew your status as an exempt foreign person or entity prior to the end of the third
 insufriclent funds, the cable company may attempt to resubmit the debit item for payment. We
                                                                                                               calendar year following the year in which you last certified your status. U you fall to renew your
 have no control over whether or when a merchant or Its financial Institution resubmits a debit item.
                                                                                                               status by tl1e last day of the fourih calendar year, your interes t payments will be subject to backup
 You should be careful about giving someone your account number to help prevent unauthorized                   withholding. If you become a U.S. citizen or resident after opening your account, you must notify us
 transactions on your account. You must notify us Immediately of unauthorized activity.                        within 30 days and provide us wi th your certified name and TIN.
 For Information about stopping payment of an ACH transaction, see Stop Payment Orders in the                  We comply with Foreign Account Tax Compliance Act (FATCA) as mandated by U.S. federal tax law.
 Other Terms and Services section.                                                                             We will withhold on ceriain payments when required by such law.
                                                                                                               For more Information or to determine how this information applies to you, consult your U.S. tax
 Business doposlt accounts You acknowledge a nd agree that if you request us to transmit an ACH
                                                                                                               advisor.
 return transaction in connection with any ptobl~m. Including a claim o f eironeous or unautho1ized
                                                                                                               If you administer your account as a retirement account, all IRS reporting and filing implications are
 ACH debit posted to your account, the related originating depository financial institution has no
                                                                                                               the sole re sponsibility o f the account holder and should be discussed with the account holde,·s tax
 obligation to accept that return transaction If the return request is not made within the applicable          advlso, as neither Banko( America, its affiliates, nor its employees. ptovide tax advice.
 time frame set forth in the NACHA Operating Rules. We w/11 respond to your reported problem
 and attempt to pursue your request with the originating depository financicJI institution as long
 as you report the: problem to us in writing within 60 days afle, the statement first renecth1g the            Resolving Claims
 transaction was mailed to you; however, we do not guarantee that we will be able to recover your
                                                                                                              If you and we are not able to resolve a claim ourselves, then you and we agree that the claim will
 funds if you notify us of the problem beyond NACHA time frames. In some cases, depending on lhe
                                                                                                              be resolved as provided in this ResoMng Claims section. This is a dispute resolution provision.
 facts, your claim may not be honored and you could incur a loss.
                                                                                                              Please read it carefully.


 Tax Information                                                                                               What does " Claim" Mean?
                                                                                                              Clalm means any claim, dispute or controversy (whether under a statute, in contract , tort, or
Generally, we are required to report annually to you and to t he Internal Revenue Service (IRS)               otherwise and whether for money damages, penalties or declaratory or equitable relief) by either
interest payments that total $10 or more during the year on your deposit account with us. We may              you or us against the other, or against the employees or agents of the other, arising from or
also be required to teport this infonnatlon to the appropriate state revenue authority.                       relating In any way to this deposit agreement {including any renewals, e.xtensions or modifications)
                                                                                                              or the deposit relationship between us.
When you open an account, we a,e required to obtain -        and each U.S. citizen or resident alien
must give us - a certified U.S. Taxpaye, Identification Number (TIN) and infonnation regarding your           Claim does not include provisional or ancillary remedies ftom a court of competent junsdicllon,
backup withholding status. When you apply for an account, you certify that you have provided the              which eiU1er you or we may exercise without waiving the right to arbit ration or reference.
correct TIN for the account holder and the correct backup withholding status.
                                                                                                              How Claims on Personal Accounts will be Resolved
For individual accounts, the TIN Is your Social Security Number (SSN). For lndlvidual accounts with
                                                                                                              You and we both agree that all Claims relating to a personal account will be resolved In court by a
more than one owner, we report taxpayer information for the person listed first in our records.
                                                                                                              judge without a Jury, as permitted by law.
Resident aliens who do not qualify for Social Security should provide their Individual fa)(payer
Identification Number {ITIN), For other accoun~s. the TIN is the owner"s Employer Identification              JURY TRIAL WAIVER FOR PERSONAL ACCOUNTS
Number {EIN). If you do not give us a certified name and TIN, If the IRS notifies us that the name
                                                                                                              FOR PERSONAL ACCOUNTS, AS PERMITTED BY LAW, YOU AND WE AGREE AN D UNDERSTAND
and TIN you gave us is incorrect, or if the IRS notifies us that you failed to report all your interest and   THAT YOU AND WE ARE BOTH GIVING UP THE RIGHT TO TRIAL BY JURY. THIS IS A JURY TRIAL
dividends on your tax return. we are required to backup withhold al the current backup withholding            WAIVER.
rate on interest paid to your account and pay It to the IRS. In some cases, a state and focal tax
authority may also require that we pay state and local backup withholding on interest paid to your            How Claims on Business Accounts will be Resolved
account when we are required to pay backup withholding to the IRS. Backup withholding is not an               You have the right to compel us at your option, and we have the right to compel you at our option,
additional tax. If you are subject to backup withholding, we are required to report to you and to the         to resolve a Claim relating to a business account by b inding arbitration. If neither you nor we
                                                                                                              decide to compel arbitration, then the Claim will be resolved in court by a judge without a ju,y, as
                                                                                                              permitted by law. There is an exception ror Claims brought In a California state court. If a Claim
Page 69                                                                                                                                                                                                     Page 70
08/2022                                                                                                                                                                                                     08/2022




                            Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 75 of 129
  relating l o a business account is brought in a California stale court, either you or we can seek            hear or reruses to hear the arbitration, then the arbitfatlon will be handled by lhe alternative
  to compel the other to have the Claim resolved by general reference to a judicial referee under              Administrator.
  California Code or Civil Procedure (C.C.P.) Section 638, as provided below. Both parties may
                                                                                                              The arbitrator, sitting alone without a jury, will decide questions or law and ract and will resolve the
  also ag,ee to resolve their disputes through judicial reference. The arbitration, judicial reference
                                                                                                              Claim. This includes the applicability of this Resolving Claims section and the validity of the deposit
  or trial by a judge will take place 011 an indivillual basis without resort to any foun ur class 01         agreement, except that the arbitrator may not decide or resolve any Claim challenging the valld lty
  representative action.                                                                                      or the class action and jury trial waiver. The validity of the class action and Jury trial waiver will be
                                                                                                              decided only by a judicial referee or a court.
  CLASS ACTION AND JURY TRIAL WAIVER FOR BUSINESS ACCOUNTS
                                                                                                              After a decision is given by an arbitrator. and where the amount of the Claim exceeds $200,000,
 FOR BUSINESS ACCOUNTS, YOU AND WE AGREE AND UNDERSTAND: (1) THAT YOU AND
                                                                                                              either you or we can appeal the arbitrator"s decision to another arbitrator. If the amount of the
 WE ARE BOTH GIVING UP THE RIGHT TO TRIAL BY JURY, AND (2) THAT THI S SECTION PRE-
                                                                                                              Claim exceeds $1,000,000, either you or we can appeal the arbitrator's decision to a panel of
 CLUDES YOU AND US FROM PARTICIPATING IN OR BEING REPRESENTED IN ANY CLASS OR
                                                                                                              thtee arblttators. No decision may be appealed under this paragraph, unless the arbitrator that
 REPRESENTATIVE ACTION OR JOINING OR CONSOLIDATING THE CLAIMS OF OTHER PERSONS.
                                                                                                              heard the matter first makes a finding that the Claim could reasonably have exceeded either
 THIS IS A CLASS ACTION WAIVER AND JURY TRIAL WAIVER.
                                                                                                              $200,000 or $1,000,000. Any arbitrator who hears an appeal under this paragraph will be
 Judicial Reference                                                                                           selected according to the rules of the Adminis trator.
 A case sent to Judicial reference is heard by a neutral Individual {a •Judicial referee"), but remains       The arbitration of any matter lnvol1Jes lntetstate commerce and is governed by the Federal
 In t he court system subject to the same rules of procedure, discovery and evidence and appeal as            Arbitration Act, 9 U.S.C. §§ 1 et seq. (lhe "FAA"). The arbitrator will follow applicable substantive
 any court case. The Judicial referee will be an active or felired judge or attorney with more than 10        law to the extent consistent with the FAA. The arbitrator will give effect to the applicable statutes
 years of experience, chosen by mutual agreement of you and us.                                               of limitation and will dismiss barred claims. Arbitrations will be governed by the rules of the
                                                                                                              Administrator to the extent those rules do not conflict with this Resolving Clat'ms section. In
 If you and we are unable to agree on a Judicial referee, then Ihe judiciuf referee will be appointed
                                                                                                              addition, you or we may submit a written request to the arbitrator to expand the scope of discovery
 according to the procedure tor appointment ol a referee under California C.C.P. Section 640.
                                                                                                              normally allowable. At the timely request of either you or us, the arbitrator must provide a brier
 The judicial referee, sitting alone without a jury, will decide questions of law and fact and will           written explanation of the basis for the award.
 resolve the Claim. This includes the applicabUity of this Resolving Claims section and the validity or
                                                                                                              Judgment upon the award given by the arbitrator may be entered In any court having jurisdiction.
 the deposit agreement.
                                                                                                              The arbitrator's decision Is final and binding, except for any right of appeal provided by the FAA or
 Judicial reference will be governed by California C.C.P. Section 638 a t seq. and the Judicial feferee       under this Agreement.
 will determine all issues in accordance with federal and California law and the Callfomia rules
 of evidence. The referee is empowered to provide all temporary or provisional remedies and rule              Limitation and Non-Severabilit y
 on any motion that would be authorized in pretrial or trial proceedings in court, including motions         For both personal and business accounts. Regardless of anything else in this Resolving Claims
 for summary judgment or summary adjudication. The award that results from the decision of the               section, you and we both acknowledge and agree that the validity and effect of the class action
referee will be entered as a judgment in the court that appointed the referee, in accordance with            and jury trial waiver for business accounts and the jury trial waiver for personal accounts may be
the provisions of Califomia C.C.P. Sections 644(a) and 645. You and we both reserve the right to             determined only by a court or judicial referee and no t by an arbitrator. You and we both have the
seek appellate review of any judgment or order to the same extent permitted in a court of law.               right t o appeal the limitation or invalidation of t he waiver.
                                                                                                             For business accounts. Regardless of anything else in this Resolving Claims section, you and we
Arbitration                                                                                                  both acknowledge and agree that the class action and jury trial waiver Is material and essential to
This section on arbitration applies to business accounts and is subject to the provisions of the             the arbitration of any disputes between you and us and is non·severable from the agreement to
Liml(atlon and Non-SeverabiUly section below.                                                                arbitrate Claims. If the class action and jury trial waiver Is limited, voided or found unenforceable,
                                                                                                             then the agreement to arbitrate {except for this sentence) will be null and void with respect to such
Arbitration is a method of resolving disputes in front of one or more neutral individuals, instead of        proceeding and this Resolving Claims section will be read as If the provisions regarding arbitration
having a trial in court In front of a judge and/or jury. The arbitrator will be an active or retired Judge   were not present. You and we both have the right to appeal the limitation or invalidation of the
Of attomey with more than 10 years of experience. chosen by mutual agreement or you and us.                  class action and jury trial waiver. You and we acknowledge and agree that under no circumstances
If you and we are unable to agree on an arbitrator, then you agree to choose one of the following            will a class action be arbitrated.
Administratots within 10 days or our written notice that an agreement cannot be reached.
                                                                                                             Rules of Interpretation
      • JAMS Resolution Center
                                                                                                             Except as provided In the Limitation and Non-Severabilily section above, if any portion of this
        W\VW.jamsadr.com
        800.352.5267                                                                                         Resolving Claims section is determined to be Invalid or unenforceable, it will not Invalidate
                                                                                                             the remaining portions of this section. If there is a conflict or inconsistency between this
      • American Arbitration Association {"MA")
                                                                                                             Revolving Claims section and other terms or this deposit agreement or the applicable rules o f
        www.adr.org
                                                                                                             the Administrator, this Resolving Claims section will govern. Ir there Is any conflict between this
        212.716.5800
                                                                                                             Revolving Claims section and any other dispute provision {whether It be for arbitration, reference of
Ir you do not choose the Administrator on a timely basis. we will select the Administrator and the
Administrator will select the arbitrator using the Administrator's rules. If an Administrator cannot
Page 71                                                                                                                                                                                                      Page 72
08/2022                                                                                                                                                                                                     08/2022




                            Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 76 of 129
 any other rorm or dispute resolution), this Resolving Claims section will prevail for Claims arising
 out or this deposit agreement or transactions contemplated by this deposit agreement.

 Jurisdiction and Venue
 Any action or proceeding regarding your account or this deposit agreement must be brought In
 the stale In which the financial center that maintains your account Is located. You submit to the
 personal jurisdiction of that state. Note that any action or proceeding will be governed by and
 interpreted in accordance with the Governing Law section or this agreement.
 If a Claim is submitted to arbitration and the state where that financial center Is located is not
 reasonably convenient for you, then you and we will attempt to agree on another location. If you
 and we are unable to agree on another location, then the location will be determined by the
 Administrator or arbitrator.




Page 73
08/2022




                          Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 77 of 129
                                                                      •




Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 78 of 129
                     Personal Schedule
                          of Fees

                                    Effective August 19, 2022




                  BANK OF AMERICA                                          qq    --
                                                                                                   EXHIBIT
                                          bankofamerica.com                                   j
                                                                                              SJ
                                            Applies in all states.                            tJ


         Bank of America, N.A. Member FDIC. ©2022 Bank of America Corporation.
         91-11-30008 08/ 2022
         00-14-9299                                                                   29918
Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 79 of 129
Table of Contents

Overview......................................................................................................2

Optional Services ..........................................................................................2

Personal Bank of America Advantage Banking Account ...................... .............3

Personal Savings Accounts .. .........................................................................6

Personal CD/IRA Accounts............................................................................7

other Account Fees and Services ..................................................................9

Frequently Asked Questions About Accounts ............................................... .14

Keep the Change" Savings Service ............................................................. 15

Other Important Account Information for Bank of America Advantage
SafeBalance Banking• Account ................................................................... 15

Preferred Rewards .............................. ........................................................16




Investment products are provided by Merrill Lynch, Pierce, Fenner & Smith Incorporated and:

   Are Not FDIC Insured               Are Not Bank Guaranteed                     May Lose Value
Merrill Lynch, Pierce, Fenner & Smith Incorporated (also referred to as ..MLPF&S" or •Merrill")
makes avallable certain Investment products sponsored, managed, distributed or provided
by companies that are affiliates of Bank of America Corporation ("BofA Corp."). MLPF&S Is
a registered broker-dealer, registered investment adviser, Member SIPC and a wholly owned
subsidiary of BofA Corp.

                                                                                                                    Page 1
                                                                                                                  08/2022




                            Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 80 of 129
                                                                                               · Affinity Banking (Checking accounts only)
Overview                                                                                       · Preferred Rewards
                                                                                               · Balance Connect'M ror overdraft protection is an optional service which allows you
                                                                                                 to link up to five eligible bacl<Up accounts (Balance Connect"' is not available on
This schedule lists the fees associated with your account and ways to avoid them                 Advantage SareBalance Banking or savings accounts). Please see the Deposit
when applicable. For details about your account and its fees, please review the account          Agreement and Disclosures for more information about eligibility and how Balance
descriptions and Other Account Fees and Services section or this document.                       Connect'M transfers work. Transfers from a linked savings account are applied to
                                                                                                 the transaction limits and may result In a Withdrawal Limit Fee. Transfers from a
Your account and deposit relationship with us are governed by this schedule or fees              linked credit card or HELOC are subject to interest charges.
and the Deposit Agreement and Disclosures. Please read both agreements carefully.
These agreements are part of the binding contract between you and us for your account          · Automatic transfers from checking to savings
and deposit relationship. You can also find these agreements at bankofamerica.com.
                                                                                             These optional services can help you manage your account. To learn more about them,
When you open a deposit account, it is located at a financial center and generally           please review the agreement for that service. You can also review information on
remains at that location until it is closed. If your address is in a state where we do not   bankofamerica.com or speak to a financial center associate.
have a financial center at the time, we may open the account at a financial center in
Virginia. If state taxes apply to an account or service, taxes are in addit ion to the fee
amount listed.

We may change the accounts and services described in this schedule at any time.
We may add new terms and conditions. We may delate or amend existing terms and
conditions. We may also add new accounts or services and convert or discontinue
existing accounts or services at any time.

You can get information about interest rates and fees for services not covered in this
schedule by visiting a financial center or calling us at the number on your statement.

Deposit Agreement and Disclosures Amended for Bank of America Advantage
SafeBalance Banking* Account
Your account and deposit relationship with us are governed by this schedule of fees
and the Deposit Agreement and Disclosures. Note that since there are no checl<·
writing privileges with the Advantage SafeBalance Banl<ing account, references in the
Deposit Agreement and Disclosures to the ability to write checl1s and associated rights
and obligations do not aµply lo Advdntage SafeBalance Banking. All other terms and
conditions in the Deposit Agreement and Disclosures that apply to checking accounts
apply to Advantage SafeBalance Banking except as otherwise amended in this schedule
of fees.

Other terms and conditions in this schedule of fees amend the Deposit Agreement and
Disclosures, including information in the "Other Important Account Information for
Bank or America Advantage SafeBalance Banking• Account" section.


Optional Services

The following optional services are generally available with our checking and savings
accounts:
  · Debit card or ATM card
    Online Banking service
    Online and Mobile Bill Pay service
    Email and Text Alerts
    Direct deposits                                                                                                                                                           Page 2
                                                                                                                                                                            08/2022
    Keep the Change8 Savings Service




                       Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 81 of 129
Personal Bank of America Advantage Banking
Account                                                                                            SafeBalance Banking account setting you can make deposits, withdrawals and pay bills.
Advantage Banking Account Settings                                                                You can make payments with your debit card, a wire transfer, an Automated Clearing House
                                                                                                  transaction (ACH), Zelle•, or through our Online and Mobile Banking Bill Pay service, and you
· Bank or America Advantage SafeBalance Banking•                                                  can make withdrawals at an ATM or financial center.
· Bank or America Advantage Plus Banking"
                                                                                                  Switching to the Advantage SafeBalance Banking Account Setting
· Bank of America Advantage Relationship Banking•
                                                                                                  If you elect to switch from your existing personal checking account or account setting to
Your Bank of America Advantage Banking Account offers you the ability to choose from and          Advantage SafeBalance Banking, you will no longer be able to write personal paper checks and
switch between three account settings. Each account setting has a different set of features to    should immediately stop writing them. We will continue to process checks you have written prior
offer you flexibility If your banking needs change.                                               to switching to Advantage SafeBalance Banking for 60 days. After the 60 day period, all paper
Paper checks are an included feature of the Bank of America Advantage Plus Banking and            checks that you have written will be returned unpaid even when sufficient funds are available In
Bank of America Advantage Relationship Banking account settings.                                  the account to cover the check. When this happens, the payee may charge you a ree(s) for the
The Bank of America Advantage SafeBalance Banking account setting Is a checkless checking         returned payment.
account setting which means that you cannot write personal paper checks. With the Advantage

  Account                            Monthly Maintenance Fee and How to Avoid It                  Other Important Account Information

  Bank of America                   Monthly maintenance ree for Advantage SafeBalance            The Advantage SareBalance Banking account is different from a traditional checking
  Advantage SafeBala11ce            Banking account - $4.95                                      account. It has important limitations that you should review. If you want any or the functions
  Banking                                                                                        listed below, It might not be the right account setting for you.
                                    To avoid the monthly maintenance fee, meet one of the
 • No Overdraft Item Fees                                                                        The following features are not available with your Advantage SafeBalance Banking account
                                    following requirements during each statement cycle:
 • No paper checks                                                                                • Checks. Paper checks written by you or others on the account will not be paid.
 • Use direct deposit                • An owner or this account qualifies as a Student,              - Do not buy checks from any source, such as checks you see advertised on the Internet
 • Non-Interest bearing account        Or                                                               or in the newspaper or any other third parties.
                                     • An owner of this account is under the age of I 8,             - If a check is presented for payment, it will not be paid even if you have enough money
 • Sole ownership for ages 16+
                                       Or                                                              in your account to cover it. You may incur fees from the party you were trying to pay
 • Minimum to open • $25.00                                                                            when the check is returned.
                                     • Enroll in the Preferred Rewards program and qualify for       - If a merchant uses your account and routing numbers to process a payment as a
                                       the Gold, Platinum or Platinum Honors tier (first 4              check, it may be rejected.
                                       checking accounts) or Diamond or Diamond Honors tier       • Balance Connect•u for overdraft protection to or from a linked account.
                                       (unlimited).                                               • Overdraft services. Your account does not come with overdraft services and it is set to a
                                                                                                    Decline All Overdraft Setting. This means tl1at If you do not have sufficient available funds
                                                                                                    in your account W cover an item, the item will be returned unpaid. You may be assessed a
                                                                                                    fee by a merchant if this happens. Please see the •other Important Account Information"
                                                                                                    section for more details.
                                                                                                  How to qualify as a Student
                                                                                                 When you notify us an account owner is a Student, we will waive the monthly maintenance
                                                                                                 fee for each statement cycle during which the account owner qualifies as a Student as
                                                                                                 defined below. A Student Is defined as an account owner who is both:
                                                                                                   • Enrolled in school or an educational or vocatlonal program
                                                                                                     AND
                                                                                                   • Under 25 years old.
                                                                                                 The Student waiver does not apply when the student turns 25, ceases to be an owner of
                                                                                                 the account, or notifies us that they are no longer enrolled In school or an educational or
                                                                                                 vocational program.
                                                                                                 Fiduciary titled accounts, including UTMA/UGMA, do not qualify for the under the age or 18
                                                                                                 or Student waiver.
                                                                                                                                                                                            Page 3
                                                                                                                                                                                         08/ 2022




                         Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 82 of 129
Personal Bank of America Advantage Banking
Accounts (cont.)

Account                          Monthly Maintenance Fee and How to Avoid It                 Other Important Account Information

Bank of America                  Monthly maintenance fee for Advantage Plus Banking          For information about direct deposits, see the Frequently Asked Questions About Accounts
Advantage Plus Banking           account - $12.00                                            section.
• Use direct deposit                                                                         The minimum daily balance is the lowest balance that we determine is in the account during
                                 To avoid the monthly maintenance fee, meet one of the       a statement cycle. This means you will need to ensure your account does not rail below
• Non-interest bearing account   following requirements during each statement cycle:         $1,500 during your statement cycle.
• Minimum to open - $100.00      • Have at least one qualifying direct deposit or $250 or
                                    more made to your account.
                                   Or
                                 • Maintain a minimum daily balance of $1,500 or more in
                                   your account.
                                   Or
                                 • Enroll in the Preferred Rewards program and qualify ror
                                   the Gold, Platinum or Platinum Honors tier (first 4
                                   checking accounts) or Dia111011d or Diamond Honors lier
                                   (unlimited).




                                                                                                                                                                                 Page 4
                                                                                                                                                                               08/2022




                       Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 83 of 129
   Personal Bank of America Advantage Banking
   Accounts (cont.)

   Account                               Monthly Maintenance Fee and How to Avoid It                          Other Important Account Information

  Bank of America                       Monthly maintenance lee for Advantage Relationship                    You can also get the following services with this account:
  Advantage Relationship                Banking account - $25.00                                                 • Three additional Advantage Relationship Banking accounts and lour savings accounts
  Banking                                                                                                          with no monU1ly maintenance fee when you link them to your primary Advantage
                                        To avoid the monthly maintenance fee, maintain a                           Relationship Banking account.
  • Interest bearing account            combined balance of $10,000 or more during each
  • Variable rate                       statement cycle.                                                        • Free standard checks or discounts on certain styles.
  • Minimum to open - $100.00                                                                                   • No fee for incoming domestic wire transfers, stop payments, and more.
                                        For each statement cycle, we add the following balances
                                        together to determine your combined balance:                         Additional accounts. For accounts linked to your Advantage Relationship Banking account,
                                                                                                             we waive the monthly maintenance fee on the first three linked Advantage Relationship
                                           • The average daily balance in your Advantage Relationship        Banking accounts and on the first four linked savings accounts ol any type. The minimum
                                             Banking account and in each checking and savings                amount you need to open each additional account, and other terms and fees, apply to each
                                             account that is linked to your Advantage Relationship           linked account. While you can also have us link more accounts, this waiver of the monthly
                                             Banking account. We determine the average daily                 maintenance fee does not apply to them. Transaction limits apply to savings accounts.
                                             balance in a linked account by using the beginning              See "What are the transaction limitations on my savings account?" in the Frequently Asked
                                             balance in the linked account for each day of the               Questiu11s Abuul Acwu11ls secliu11.
                                             Advantage Relationship Banking statement cycle.
                                                                                                             Linking accounts. You must tell us what accounts you want us to link to your Advantage
                                             And
                                                                                                             Relatio11ship Banking account You can do so by visiting a financial center 01 calling us at the
                                          • The current balance, as of the end of your Advantage             number on your statement. We do not automatically link other accounts for pricing. Certain
                                            Relationship Banking statement cycle, in each CD and             restrictions apply. Please review "What does it mean to link accounts?" in the Frequently
                                            IRA that is linked to your Advantage Relationship Banking        Asked Questions About Accounts section.
                                            account.
                                            And                                                              Employees and Retirees: Bank al America employee and retirees qualify for a waiver of the
                                                                                                             monthly maintenance fee on up to lour Bank al America Advantage Relationship Banking
                                          • The current balance, as of two business days before the          accounts. When employees or retirees no longer meet the qualifications, standard product
                                            end of your Advantage Relationship Banking statement             terms and pricing apply. See "Which employees and retirees are eligible for a waiver of the
                                            cycie, i11 each eiigiuie Merrill i11vestme11l accuu11t Ural is   Monthly Maintenance Fee?" in the Frequently Asked Questions About Accounts section.
                                            linked to your Advantage Relationship Banking account.
                                            Or
                                          • Enroll in the Preferred Rewards program and qualify
                                            for the Gold, Platinum or Platinum Honors tier (first 4
                                            checking accounts) or Diamond or Diamond Honors tier
                                            (unlimited).




Please also review the Other Account Fees and Services section, Frequently Asked Questions About
Accounts section and the Deposit Agreement and Disclosures for additional details related to your
Bank or America Advantage Banking account.                                                                                                                                                            Page 5
                                                                                                                                                                                                    08/2022




                          Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 84 of 129
 Personal Savings Accounts

 Account                              Monthly Maintenance Fee and How to Avoid It                         Other Important Account Information

 Bank of America                       Monthly maintenance fee - $8.00                                 • You may not write checks on this account.
 Advantage Savings                                                                                     • This account is eligible for the interest rate booster feature of the Preferred Rewards program,
                                      For new accounts, we will waive the monthly maintenance
                                                                                                         which may increase your interest rate based on your Preferred Rewards tier.
 • Interest bearing account           fee for six months from account opening. This waiver does
                                      not apply if your account has been converted or changed to       • Each monthly statement cycle, you can make a total of six withdrawals and transfers with no
 • Variable interest rate                                                                                Withdrawal Limit Fee.
                                      a Bank of America Advantage Savings account.
 • No Overdraft Item Fees                                                                              • You won't be charged the Withdrawal Limit Fee if:
                                      To avoid the monthly maintenance fee, meet one of the
 • Potential for Preferred            following requirements during each statement cycle (after           • You maintain a minimum daily balance of $20,000 or more in your Bank of America
   Rewards interest rate              the expiration of any applicable waiver):                             Advantage Savings account, Or
   booster feature                                                                                        • You are enrolled In the Preferred Rewards program, Or
                                       • Maintain a minimum daily balance of $500 or more in
 • Minimum amount                                                                                         • An owner of this account is under the age of 18, Or
                                          your account.
   to open - $100.00                                                                                      • An owner of this account qualifies as a Student.
                                         Or
                                                                                                       Otherwise, the Withdrawal Limit Fee is $10.00 for each withdrawal and transfer during tl1e
                                       • Link your account to your Bank of America Advantage           monthly statement cycle above the six. We charge no more than six Withdrawal limit Fees per
                                          Relationship Banking, Bank of America Advantage'" with       monthly statement cycle. This fee applies to all types of withdrawals and transfers, including at
                                         Tiered Interest Checking or Bank of America Advantage~        ATMs, at financial centers, by telephone, by mail, through Online and Mobile Banking, and by
                                         Regular Checking accounts (first 4 savings accounts).         any other electronic means.
                                         Or                                                            • limits apply to some types of withdrawals and transfers from a savings account. See 'What
                                       • Enroll in the Preferred Rewards program and qualify for         are the transaction limitations on my savings account?" in the Frequently Asked Questions
                                         the Gold, Platinum or Platinum Honors tier (first 4 savings     About Accounts section. Keep in mind, the Withdrawal Limit Fee is separate from these
                                         accounts) or Diamond or Diamond Honors tier                     limitations.
                                         (unlimited).                                                  • This account is set to the Decline All Overdraft Sening. This means U1at when we determine
                                         Or                                                              that you do not have sufficient available funds in your account to cover an item, we will
                                                                                                         decline or return it unpaid. You may be assessed a fee by a merchant if this happens.
                                       • An owner of this account is under the age of 18.
                                         Or                                                            • This account is not eligible to be enrolled in Balance Connect'" as a covered account, but
                                                                                                         can be linked as a backup account
                                       • An owner of this account qualifies as a Student.
                                                                                                       How to qualify as a Student
                                                                                                       When you notify us an account owner is a Student, we will waive the monthly maintenance fee
                                                                                                       for each statement cycle during which the account owner qualifies as a Student as defined
                                                                                                       below. A Student is defined as an account owner who is both:
                                                                                                         • Enrolled in school or an educational or vocational program
                                                                                                         AND
                                                                                                        • Under 25 years old.
                                                                                                       The Student waiver does not apply when the student turns 25, ceases to be an owner of the
                                                                                                       account, or notifies us that they are no longer enrolled in school or an educational or vocational
                                                                                                       program.
                                                                                                       Fiduciary titled accounts, including UTMA/UGMA, do not qualify for the under the age of 18 or
                                                                                                       Student waiver.




Please also review U1e Other Account Fees and Services section, Frequenlly Asked Questions About                                                                                                    Page 6
Accounts section and the Oeposit Agreement and Disclosures.                                                                                                                                       08/2022




                         Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 85 of 129
   Personal CD/ IRA Accounts

   Account                              Minimum Amount                Account Features /                      Other Important Account Information
                                        You Need to                   Services
                                        Open Account

  Fixed Term CD                        $15,000                        • Interest rate f1Xed until maturity.   • A penalty is imposed ror early withdrawal.
  Terms of 7 Days-27                                                  • No additional deposits until
  Days                                                                  maturity.
                                                                      • Automatically renews.

  Fixed Term CD                        $1,000                         • Interest rate f1Xed until maturity.   • A penalty is imposed for early withdrawal.
  Terms of 28 Days- 10                                                • No additional deposits until          • For CDs with terms of 30 days or more, we send you a maturity notice prior to renewal.
  Years                                                                 maturity.                               Please read it carefully. We may change the type, term or other feature of your CD by
                                                                      • Automatically renews.                   giving you notice. If we make a change, we tell you about the change in the maturity
                                                                                                                notice.

  Featured CD/IRA                      See deposit rate sheet        • Interest rate fixed until maturity.    • A penalty is imposed for early withdrawal.
                                       for minimum opening           • No additional deposits until           • For CDs with terms or 30 days or more, we send you a maturity notice prior to renewal.
                                       amount                          maturity.                                Please read it carefully. We may change the type, term or other feature of your CD by
                                                                     • Automatically renews.                    giving you notice. Jr we make a change, we tell you about the change in the maturity
                                                                     • See deposit rate sheet for               notice.
                                                                       available terms.

 Fixed Term IRA                       $1,000                         • Interest rate f1Xed until maturity.    • A penalty is Imposed ror early withdrawal.
 Terms of 6 Months-10                                                • No additional deposits until           • We send you a maturity notice prior to renewal. Please read it carefully. We may change
 Years                                                                 maturity.                                the type, term or other feature or your CD by giving you notice. If we make a change, we
                                                                     • Automatically renews.                    tell you about the change in the maturity notice.




Please also review the OlherAccounl Fees and Services section and the Deposil Agreemenl and
Disclosures. The Depasil Agreemenl and Disclosures contains information about the early withdrawal
penally and other terms for CDs. Also, see the TraditionaVRolh Individual Reliremenl Custodial Accounts
and Disclosure Slalemenls for additional IRA information.
                                                                                                                                                                                                     Page 7
                                                                                                                                                                                                   08/ 2022




                          Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 86 of 129
 Personal CD/ IRA Accounts (cont.)

 Account                               Minimum Amount                 Account Features/                    Other Important Account Information
                                       You Need to                    Services
                                       Open Account

 Var/able Rate IRA                     $100                           • Variable interest rate. Your       • A penalty is imposed for early withdrawal.
 Terms of 18 Months -                                                   interest rate and annual           • We send you a maturity notice p1io1to renewal. Please read it carefully. We may change
                                                                        percentage yield may change. At      the type, term or other feature or your CD by giving you notice. II we make a change, we
 23 Months
                                                                        our discretion, we may change        tell you about the change in the maturity notice.
                                                                        the interest rate and annual
                                                                        percentage yield on your
                                                                        account at any time.
                                                                      • Additional deposits allowed
                                                                        during term.
                                                                      • Automatically renews.
                                                                      • Make saving easier with
                                                                        automatic transfers.



 Money Market IRA                     $100                           • Variable interest rate. Your        • This is a savings account.
                                                                       interest rate and annual            • Pre-authorized transfers and withdrawals are subject to certain limitations. See "Whal are
                                                                       percentage yield may change. At       the transaction limitations on my savings account?" in the Frequently Asked Questions
                                                                       our discretion, we may change         About Accounts section. Withdrawals by check, draft or debit card are not allowed.
                                                                       the interest rate and annual
                                                                       percentage yield on your
                                                                       account at any time.
                                                                     • Additional deposits allowed at
                                                                       any time.
                                                                     • Make saving easier with
                                                                       automatic transfers.




Please also review the Olher Accounl Fees and Services section and the Oeposil Agreemenl and
Disclosures. The Deposil Agreemenl and Disclosures contains information about the early withdrawal
penalty and other terms for CDs. Also, see the Traditional/Rolh Individual Reliremenl Cuslodial Accounls
and Disclosure Slalemenls for additional IRA information.
                                                                                                                                                                                                    Page 8
                                                                                                                                                                                                  08/ 2022




                          Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 87 of 129
  Other Account Fees and Services

  Fee Category                 Fee Name/ Description           Fee Amount                  Other Important Information About This Fee

  ATM Card and                 Replacement ATM or Debit Card   $5.00 per card              • Fee for each requested replacement of a card or other debit access device.
  De bit Card Fees             Fee                                                         • The replacement fee does not apply when we replace a card upon Its expiration.
                                                                                           • Bank of America Advantage Relationship Banking, Bank of America Advantage• with
                                                                                            Tiered Interest Checking and Bank of America Advantage• Regular Checking accounts plus
                                                                                             Preferred Rewards members qualify for a waiver of this fee.

                               Rush Replacement ATM or Debit   $15.00 per card             • Fee for each requested rush delivery of a card or other debit access device.
                               Card Fee                                                    • The Replacement ATM or Debit Card Fee may also apply and would be In addition to the rush
                                                                                             delivery fee.
                                                                                           • Bank of America Advantage Relationship Banking, Bank of America Advantage• with Tiered
                                                                                             Interest Checking and Bank of America Advantage• Regular Checking accounts plus Preferred
                                                                                             Rewards members qualify for a waiver of this fee.
                               Non-Bank of America Teller      For each transaction, the   • Fee applies when you authorize another financial institution to use your card or card
                               Withdrawal Fee                  greater of $5.00 OR 3% of     number to conduct a transaction (such as a withdrawal, transfer, or payment) and the
                                                               the dollar amount             other financial institution processes the transaction as a cash disbursement
                                                               of the transaction, up
                                                               to a maximum of $10.00

                              International Transaction Fee    3% or the U.S. dollar       • Fee applies if you use your card to purchase goods or services In a foreign currency or In
                                                               amount of the transaction     U.S. dollars with a foreign merchant (a 'Foreign Transaction'). Foreign Transactions include
                                                                                             internet transactions made in the U.S. but with a merchant who processes the transaction
                                                                                             in a foreign country.
                                                                                           • Fee also applies if you use your card to obtain foreign currency from an ATM. Visa" or
                                                                                             Mastercard• converts the transaction into a U.S. dollar amount, and the International
                                                                                             Transaction Fee applies to that converted U.S. dollar amount. ATM fees may also apply to
                                                                                             ATM transactions. See ATM Fees section.
                                                                                           • Preferred Rewards Diamond and Diamond Honors tier members qualify for a waiver of tl1e
                                                                                             International Transaction Fee.
                                                                                           • See disclosure information that accompanied your card for more information about this fee.




                                                                                                                                                                                     Page 9
Please also review U1e Depasil Agreemenl and Disclosures.                                                                                                                          08/ 2022




                          Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 88 of 129
  Other Account Fees and Services (cont.)

  Fee Category                 Fee Name/ Description                Fee Amount                    Other Important Information About This Fee

  ATM Fees                     Withdrawals, deposits, transfers,    No ATM fee                    • Deposits and payments may not be available at some ATMs. Transaction fees may apply to
                               payments and balance inquiries                                       some accounts. See account descriptions In this schedule.
  Bank of America              at a Bank or America ATM
  ATM - an ATM that
  prominently displays         Non-Bank or America ATM Fee         $2.50 each                     • When you use a non-Bank or America ATM, you may also be charged a fee by U1e ATM
  the Bank of America          for:                                                                  operator or any network used and you may be charged a fee for a balance inquiry even if
  name and logo on             Withdrawals, transfers and                                            you do not complete a funds transfer.
  the ATM                      balance Inquiries at a                                             • The non-Bank or America ATM fees do not apply at some ATMs located outside the United
                               non-Bank or America ATM in                                            States. Call us before you travel internationally for current Information about banks
  Non-Bank of America          the U.S.                                                              participating in the program.
  ATM - an ATM                                                                                    • Non-Bank or America ATM fees are In addition to other account fees that may apply to the
                               Non-Bank of America ATM Fee         $5.00 each                        transaction, such as a Withdrawal Limit Fee for savings.
  that does not
                               for:                                                              • Prefe1red Rewards Platinum members using a Bank or America Debit or ATM card are not
  prominently display
                               Withdrawals, transfers and                                            charged the non-Bank of America ATM fee for one withdrawal, transfer and balance inquiry
  the Bank of America
                               balance inquiries at a                                                per statement cycle from a non-Bank or America ATM In the U.S., and receive a refund or
  name and logo on
                               non-Bank or America ATM in a                                         the ATM operator fee ru1 one withdrawal, transfer and balance inquiry per statement cycle
  the ATM
                               foreign country                                                      from a non-Bank of America ATM in the U.S.
                                                                                                 • Preferred Rewards Platinum Honors, Diamond and Diamond Honors members using a
                                                                                                    Bank of America Debit or ATM card are not charged the non-Bank or America ATM fee for
                                                                                                    withdrawals, transfers and balance inquiries from non-Bank or America ATMs in the U.S.,
                                                                                                    and receive a refund or the ATM operator fee for withdrawals, transfers and balance
                                                                                                    inquiries from non-Bank or America ATMs In the U.S.
                                                                                                 • Preferred Rewards Diamond and Diamond Honors members using a Bank of America Debit
                                                                                                   or ATM card are not charged the non-Bank or America ATM ree for withdrawals, transfers
                                                                                                   and balance Inquiries from non-Bank or America ATMs 1n a foreign country.
                                                                                                 • See the disclosure information that accompanied your card for other fees that may apply.

 Check Cashing-                                                    No Check Cashing Fee          A fee may be asses,ed to a payee presenting a check that you issued if the payee is not a
 Bank of America                                                                                 Bank of America relationship customer.
 customer
 Check Cashing-               Applies to checks drawn              $8.00 per check for amounts   A Bank of America relationship customer is an account owner or a deposit account
 Nonrelationshlp              on Bank or America                   greater than $50.00.          (checking, savings, CD), Individual Retirement Account (IRA), loan, credit card, mortgage,
 customer                     personal accounts Including                                        safe deposit box or a Merrill Investment account.
                              checks issued through Online or
                              Mobile Bill Pay

 Check Image                  Check Image Service Fee              $3.00 each statement cycle    • Fee to return Images or your cancelled checks with your statement. Applies to each
 Service                                                                                           statement cycle during which we return one or more images or your checks.
                                                                                                 • Our Online Banking service allows you to view and print copies of checks that posted to
                                                                                                   your account within the last 18 months.
                                                                                                 • Preferred Rewards members qualify for a waiver or this fee.
                                                                                                 • No fee for check Images if you receive your statements online instead or in the mail.



                                                                                                                                                                                        Page 10
Please also review the Deposit Agreement and Disclosures.                                                                                                                              08/ 2022




                          Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 89 of 129
  Other Account Fees and Services (cont.)

   Fee Category                 Fee Name/ Description            Fee Amount                         Other Important Information About This Fee

   Coples                       Check Copy Fee                  No fee for the first two copies    • Bank of America Advantage Relationship Banking, Bank of America Advantage" with Tiered
                                                                of each request. After two           Interest Checking and Bank of America Advantage" Regular Checking accounts plus
                                                                copies, there is a $3.00 fee for     Preferred Rewards members qualify for a waiver of this fee.
                                                                each copy up to a maximum          • This fee does not apply to accounts opened in Massachusetts and New Hampshire.
                                                                of $75.00 per request              • You can avoid the fee by viewing and printing your available checks in Online Banking,
                                                                                                     instead of ordering the copy from us. For information about what checks are available in
                                                                                                     Online Banking, please review the Activity tab.
                               Deposit Slips and other Credit   No fee for the first two copies    • Bank of America Advantage Relationship Banking, Bank of America Advantage" with Tiered
                               Items                            of each request. After two           Interest Checking and Bank or America Advantage"' Regular Checking accounts plus
                                                                copies, there is a $3.00 fee for     Preferred Rewards members qualify for a waiver of this fee.
                                                                each copy up to a maximum of       • This fee does not apply to accounts opened in Massachusetts and New Hampshire.
                                                                $75.00 per request.                • You can avoid the fee by viewing and printing your available Deposit Slips and other Credit
                                                                                                     Items in Online Banking, instead or ordering the copy from us. For information about what
                                                                                                     Deposit Slips and other Credit Items are available in Online Banking, please review the
                                                                                                     Activity tab.
                               Statement Copy Fee               $5.00 per copy                     • Bank or America Advantage Relationship Banking, Bank or America Advantage" with Tiered
                                                                                                     Interest Checking and Bank of America Advantage" Regular Checking accounts plus
                                                                                                     Preferred Rewards members qualify for a waiver of this fee.
                                                                                                   • You can avoid the fee by viewing and printing your available statements in Online Banking,
                                                                                                     instead of ordering the copy from us. For information about what statements are available
                                                                                                     in Online Banking, please review the Statements and Documents tab.
                                                                                                   • This fee does not apply to your monthly statement delivery. It only applies when you request
                                                                                                     paper copies or your statements.
  IRA                          IRA Direct Custodian Transfer    $50.00 each plan, each             • Fee for transferring funds to another institution.
                               Processing Fee                   occurrence




                                                                                                                                                                                         Page 11
Please also review the Deposil Agreemenl and Disclosures.
                                                                                                                                                                                        08/2022




                         Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 90 of 129
   Other Account Fees and Services (cont.)
   Fee Category                 Fee Name/ Description       Fee Amount                     Other Important Information About This Fee

   Overdraft Items              Overdraft Item Fee          $10.00 each item over $1.00     • When we determine that you do not have enough available funds in your account to cover
   (an overdraft                                                                                 an item, then we either authorize and pay the item and overdraw your account (an
   Item)                                                                                        overdraft item), or we decline or return the item unpaid.
                                                                                            • Some common examples of items are a check or other transaction made using your
                                                                                                checking account number, an everyday non-recurring debit card transaction, a recurring
  Bank of America                                                                               debit card transaction, an ATM withdrawal, an ACH submission, and an Online or
                                                                                                automatic bill payment. Please see the Deposit Agreement and Disclosures for more
  Advantage
                                                                                                information about Items, overdrafts, declined or returned items and for information about
  SafeBalance Banking,                                                                          how we process and post items.
  Bank ofAmerica                                                                            • We do not charge you an Overdraft Item Fee on everyday non-recurring debit card
  Advantage Savings                                                                            transactions or ATM transactions. We do charge you an Overdraft Item Fee each time we
  and Minor Savings                                                                            authorize and pay any other type of overdraft transaction. These other types of transactions
  do not have Overdraft                                                                        include checks and other transactions made using your checking account number,
  Item Fees                                                                                    recurring debit card transactions, Online and automatic bill payments, and ACH
                                                                                               transactions. We do not charge you an Overdraft Item Fee for any item that is $1.00 or
                                                                                               less or any item that overdraws your account by $1.00 or less.
                                                                                           • We will not charge a fee to your deposit account when we decline or return an item unpaid
                                                                                               due to insufficient funds, but you may be charged a fee(s) by the payee for the returned
                                                                                               payment.
                                                                                           • We charge you Overdraft Item Fees for no more than 2 items each day.
                                                                                           • Under the NACHA Operating Rules, a merchant or payee, or its financial institution is
                                                                                              required to label an ACH submission that has been resubmined after the previous
                                                                                              submission was returned for Insufficient funds as a 'RETRY PYMr or "REDEPCHECK". We
                                                                                              do not charge you an Overdraft Item Fee on any ACH submission labeled as a ' RETRY
                                                                                              PYMT" or "REDEPCHECK" in the data transmined through the ACH Network. For example, if
                                                                                              you authorize your cable company to debit your account on a one-time or recurring basis
                                                                                              or through an electronic check and the resulting ACH submission is returned for insufficient
                                                                                              funds, we will not charge you an Overdraft Item Fee on a resubmission as long as the
                                                                                              resubmission bears the "RETRY PYMT" or 'REDEPCHECI(" label. However, because we
                                                                                             cannot reliably identify ACH resubmissions that are not labeled "RETRY PYMT" or
                                                                                             "REDEPCHECK" by the merchant or payee, or its financial institution, if your cable company
                                                                                             resubmits the ACH submission without the "RETRY PYMT" or 'REDEPCHECK" label, you may
                                                                                             incur an additional and separate Overdraft Item Fee. We have no control over how
                                                                                             merchants label their ACH submissions or resubmissions. If you believe that a resubmined
                                                                                            electronic transfer was mislabeled and you were improperly charged an Overdraft Item Fee,
                                                                                            you must notify the Bank within the timeframes established by the Deposit Agreement and
                                                                                            Disclosures and the Electronic Fund Transfer Act. See Deposit Agreement and Disclosures
                                                                                            sections titled Reporting Problems and Funds Transfer Services.
                                                                                          • Preferred Rewards Diamond tier members are eligible to have one Overdraft Item Fee
                                                                                            waived per statement cycle and Diamond Honors tier members are eligible to have all
                                                                                            Overdraft Item Fees waived.
                                                                                          • For information about our Balance Connect"·' for overdraft protection service, overdraft
                                                                                            practices and overdraft settings, please see our Deposit Agreement and Disclosures and
                                                                                            our What You Need to /(now about Overdrafts and Overdraft Fees notice.




Please also review the Deposit Agreement and Disclosures.                                                                                                                          Page 12
                                                                                                                                                                                  08/2022




                          Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 91 of 129
   Other Account Fees and Services (cont.)

   Fee Category                 Fee Name/ Description              Fee Amount                      Other Important Information About This Fee

   Miscellaneous                Check and Deposit Ticket Orders   Fee varies                       • Bank of America Advantage Relationship Banking, Bank of America Advantage"' with Tiered
                                                                                                     Interest Checking and Bank of America Advantage" Regular Checking accounts plus
                                                                                                     Preferred Rewards members qualify for a waiver of this fee.
                                                                                                   • This fee does not apply to accounts opened in Massachusetts and New Hampshire.
                                                                                                   • You can avoid the fee by viewing and printing your available checks in Online Banking,
                                                                                                     instead of ordering the copy from us. For information about what checks are available in
                                                                                                     Online Banking, please review the Activity tab.
                                Legal Process Fee                 $125.00 each occurrence          • Fee applies to each legal order or process that directs us to freeze, attach or withhold
                                                                                                     funds or other property, such as an attachment, levy or garnishment.
                                                                  (or such other rate as may be
                                                                  set by law}
                               Stop Payment Fee                   $30.00 each request             • Bank of America Advantage Relationship Banking, Bank of America Advantage"' with Tiered
                                                                                                    Interest Checking and Bank of America Advantage" Regular Checking accounts plus
                                                                                                    Preferred Rewards members qualify for a waiver of this fee.
                                                                                                  • There is no charge to place a slop payment on a recurring debit card transaction.

                               Wire Transfers, Incoming           Fee varies                       • Bank of America Advantage Relationship Banking, Bank of America Advantage" with Tiered
                               or Outgoing (U.S. or                                                   Interest Checking and Bank of America Advantage" Regular Checking accounts plus
                               International}                                                         Preferred Rewards members qualify for a waiver of our standard wire fee for an incoming
                                                                                                      domestic wire transfer. The standard wire fee for incoming international wire transfers Is
                                                                                                     waived for Preferred Rewards (Platinum, Platinum Honors, Diamond and Diamond Honors)
                                                                                                     members.
                                                                                                   • Preferred Rewards Diamond tier members qualify for a waiver of lhe Outgoing Domestic and
                                                                                                     International Wire Transfers fees (2 per statement cycle). Diamond Honors tier members
                                                                                                     qualify for unlimited waivers of these fees.
                                                                                                  • We may change the fees for wire transfers at any time. Visit a financial center or call us at
                                                                                                     the number on your statement for current fees.
                                                                                                  • For international wire transfers, in addition to our standard wire transfer fee, other fees may
                                                                                                    also apply, including those charged by the recipient's financial institution, foreign taxes and
                                                                                                    other fees that are part of the wire transfer process. Markups associated with the currency
                                                                                                    conversion are included in the Bank of America exchange rate. Preferred Rewards Diamond
                                                                                                    tier members have 2 foreign currency exchange fees waived per statement cycle. Diamond
                                                                                                    Honors tier members are not assessed a foreign currency exchange fee.
                                                                                                  • When deciding between sending in foreign currency or U.S. Dollars, you should consider
                                                                                                    factors that impact the total cost to send or the amount available after transfer, such as
                                                                                                    exchange rates and other fees.




                                                                                                                                                                                           Page 13
Please also review the Deposit Agreement and Disclosures.
                                                                                                                                                                                          08/2022




                          Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 92 of 129
  Frequently Asked Questions About Accounts

 This section covers some of the features and services that may apply to your account.        refinance your mortgage loan, the refinanced loan is a new account. Whenever we
                                                                                              change the account number of your checking account, we close the current checking
 What other agreements have terms that apply to my deposit account?                           account and open a new checking account. In both examples, the replacement account
                                                                                              is a new account and, if you want us to link it to your checking or banking account for
 In addition to the terms in this Schedule of Fees, the terms in the Deposit Agreement        pricing, you need to tell us to link the new account.
 and Disclosures, the signature card for your account and the other account opening
 documents govern your account and are part of the binding contract between you and          For linl<ed accounts, we may send you a monthly statement t hat reports account
 us for your account. Please read these documents carefully.                                 information for all of your linked accounts instead of separate statements for each
                                                                                             account.
 What are paperless statements?
                                                                                             What Bank of America first mortgage loans can qualify for a waiver of the
 With the paperless statement option, you get your account statement electronically
                                                                                             m onthly maintenance fee on a Bank of America Advantage"' with Tiered Interest
 through Online Banking and you do not get a paper statement. You can enroll in
                                                                                             Checking or Bank of America Advantage® Regular Checking account?
 paperless statements at a financial center or through Online Banking. When you enroll
 at a financial center, you'll need to log into Online Banking from your computer to         We currently service many mortgage loans we make. If we service your Bank of America
 confirm your choice.                                                                        first mortgage loan, you can have us link the loan to your Bank of America Advantage•
                                                                                             with Tiered Interest Checking or Bank of America Advantage• Regular Checking
 What Is a direct deposit?                                                                   account. Sometimes we sell mortgage loan servicing to other companies. If we sell the
 A direct deposit is an electronic deposit of funds to a checl<ing or savings account.       servicing on your mortgage loan, then the loan is no longer eligible to be used for this
                                                                                             waiver.
 For Bank of America Advantage Plus Banking accounts, qualifying direct deposits are
 deposits of regular monthly income - such as your salary, pension, or Social Security       What limits apply to linking accounts?
 benefits - which are made by your employer or other payer using the account and
                                                                                             Some restrictions apply to what accounts can be linked to a checl<ing or banking
 routing numbers that you provide to them.
                                                                                             account, including the following. You can generally link savings, Individual Retirement
 Other types of transfers and deposits do not qualify for the waiver of the monthly          Account (IRA} and CD, and some checking and Merrill investment accounts to your
 maintenance fee. Examples of non-qualifying t ransfers and deposits include: teller         checl<ing or banking account. You may only llnl< an account to one checking or banking
 deposits, wire transfers, Online and Mobile Banking transfers, transfers from one           account at a time. To link additional accounts to a checking or banl<ing account, at
 account to another. and ATM transfers and deposit s.                                        least one of the owners of the linked additional account must also be an owner of
                                                                                             the checking or banking account. You may not link personal and business accounts
What does variable rate mean?                                                                together.
Funds in an interest bearing checking or savings account earn a variable interest rate.      You may not link custodial accounts, such as UTMA or UGMA accounts, for pricing or
This means that your Interest rate and annual percentage yield may change after the          other program benefits.
account is opened. At our discretion, we may change your interest rate and annual
percentage yield at any time.                                                                We may in our discretion place other restrictions on what accounts can be llnl<ed.

What does it mean to link accounts?                                                          Are the statement cycles for linked accounts the same?
 You can link some of your other accounts with us either to your Bank of America             When you link accounts for pricing, the statement cycles are generally different. If you
Advantage Relat ionship Banking, Bank of America Advantage• with Tiered Interest             use a combined statement for your checking and savings accounts, the statement
Checking, or Bank of America Advantage• Regular Checking account for pricing. When           cycles for the linked checking and savings accounts are generally the same.
you link another account for pricing, you can use the balances in the other account
                                                                                             What are combined statements?
to help you meet t he balance required to avoid the monthly maintenance fee on your
checking account. You must tell us what other accounts you want us to link to your           A combined statement is one statement that reports activity for your checking or
checking or banking account. An account can only be linked for pricing to one checking       Advantage Banking account and each deposit account linl<ed to that account, instead of
or banking account at a time. We do not link your other accounts for pricing unless you      separate statements for each account. In most cases we do not automatically send you
tell us to do so.                                                                            a combined statement. You must generally request a combined statement and tell us to
                                                                                             link the accounts you want included in the combined statement.
Please see the Advantage Banking account descriptions in this Schedule of Fees for
information about what accounts can be linked and applicable balance requirements.
Some restrictions apply to what accounts can be linked. See below and the Combined
Balance Service section in the Deposit Agreement and Disclosures for information.                                                                                           (continued)

When a new account is opened to replace an existing account, we do not automatically
link the new account to your checking or banking account for pricing, even if the existing                                                                                     Page 14
account was linked. You must tell us to link the new account. As examples, when you                                                                                           08/ 2022




                        Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 93 of 129
 When linked account s are reported on the combined st atement, you understand and             If your debit card purchase is subsequently cancelled or reversed, the corresponding
 agree that each owner of any linked account can review information about all other            Keep the Change transfer will remain in the savings account.1 We may cancel or modify
 linked accounts. You should not link accounts that you do not want others to see.             the Keep the Change service at any time.
 Please read the information about Combined Statements in the Deposit Agreement and
 o;sc/osures.                                                                                  •If your savings account enrolled in i(eep the Change is converted to a checking
                                                                                                account, Keep the Change transfers will continue to be made into that account. Should
 What Is the transaction date for the savings Withdrawal Limit Fee?                             you have any questions on the Keep the Change program, please contact your nearest
 To determine whether a Withdrawal Limit Fee applies to a withdrawal from your savings          financial center.
 account, we count the withdrawal on the date we post it to your account. If you are
 counting the number of withdrawals you make each monthly statement cycle, please              Keep the Changee Patent No. US 8,301,53082.
 note that the date we count the withdrawal may be different than the date you authorize
 or make the withdrawal. This means that we may not count the withdrawal until a later
 statement cycle.                                                                              Other Important Account Information for
 What are the transaction limitations on my savings account?                                   Bank of America Advantage SafeBalance
 There is no limit on the number of deposits you may make to your account. You can             Banking Account
 also make any number of withdrawals and transfers from your account through the
 financial center, by mail or at an ATM.                                                      This section covers some of the features and services that may apply to your account
 However, the Deposit Agreement and Disclosures limit the number of certain types             and amends certain sections of the Deposit Agreement and Disclosures.
 of withdrawals and transfers from a savings account to a total of s ix each monthly          How does the Deposit Agreement and Disclosures apply to my Advantage
 statement cycle (each month for savings accounts with a quarterly statement). This           SafeBaiance Banking account?
 transaction limit applies to the following types of withdrawals or transfers: automatic or   In addition to the terms in this Schedule of Fees, the terms in the Deposit Agreement
 pre-aut horized transfers, telephone t ransfers, Online and Mobile Banking transfers or      and Disclosures, the signature card for your account and the other account opening
 payments, and drafts.                                                                        documents govern your account and are part of the binding contract between you and
If you exceed these limits on more than an occasional basis, we may convert your              us for your account. Please read these documents carefully. Certain sections of the
account to another type of account. iil<e a checking account, and your account may no         Deposit Agreement a nd Disclosures that are changed are noted in this section and in the
longer earn interest.                                                                         Overview.
Please note that for savings accounts, we charge a Wit hdrawal Limit Fee for each             NOTE: The following two questions amend the "Insufficient Funds - Overdrafts and
withdrawal and transfer of any type in excess of six if the applicable balance                Returned Items· section of the Deposit Agreement and Disclosures. That section is
requirement is not met. Keep in mind, the Withdrawal Limit Fee is separate from these         deleted and replaced with the information in these two questions.
limitations. See the information about this fee in the savings account section.               My account Is overdrawn. I thought I could not overdraft my Advantage SafeBalance
                                                                                              Banking ac~ou11I?
Which employees and retirees are eligible for a waiver of the Monthly
Maintenance Fee?                                                                               While we attempt to limit overdrafts on your Advantage SafcBaiance Banl<ing account, at
                                                                                               times overdrafts still occur. When we determine that you do not have enough available
The fee waiver applies to full-time or part-time employees actively employed by                funds in your account to cover an item, then we consider the item to be an insufficient
Bank of America and Retirees with at least 10 years of vesting service, and their age          funds item. Without notice to you, we may overdraw your account (an overdraft item)
plus years of vesting service equal to at least 60 (with no minimum age requirement).          or we decline or return the insufficient funds item without payment (a returned item).
                                                                                               We will not charge you an Overdraft Item Fee if this happens. However, you may be
                                                                                              assessed a fee by the merchant. If we overdraw your account, you agree to repay us
                                                                                               immediately, without notice or demand from us. We ordinarily use deposits you or others
Keep the Change®Savings Service                                                               make to your account to pay overdrafts, fees and other amounts you owe us.
                                                                                              Sometimes funds in your account are not available to cover your items. When we
When you enroll in our l(eep the Change savings service, we round up the amount of
                                                                                              determine that funds in your account are subject to a hold, dispute, or legal process,
Bank of America debit card purchases made by you or a joint owner of your checking
                                                                                              then these funds are not available to cover your items. We usually make t his
account to the next whole dollar amount, and transfer the amount in excess of the
                                                                                              determination once at the end of the day when we process items. Examples of holds
purchase price to your savings account. 1
                                                                                              include deposit holds, holds related to cash withdrawals. and authorization holds we
We aggregate the round-up from purchases that post to your checking account each              place on the account for debit card transactions. We may also treat as an insufficient
business day and make a single transfer (the "Keep the Change· transfer) at the end of        funds item each fee that creates an overdraft and each deposited item returned to us
the business day. if on a business day you do not have sufficient available funds in your     unpaid that creates an overdraft.
checking account, or if any transac tion has overdrawn your checking account, we do not
                                                                                              Here is an example of how your account might still become overdrawn. You use your
round-up purchases posted on that business day and we cancel the l(eep the Change
                                                                                              debit card to pay for your meal at a restaurant. The restaurant asks us to authorize
transfer for that day.
                                                                                                                                                                                Page 15
                                                                                                                                                                              08/ 20 22




                       Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 94 of 129
the transaction for the amount or the meal. We authorize the transaction because we
determine you have enough available funds in your account at this time. However, If you
                                                                                              Preferred Rewards
decide to use your debit card to leave a tip and add the amount or the tip to the cost or     You are eligible for the Preferred Rewards program when you:
t he meal, that will increase the total amount or the transaction. When the transaction
                                                                                               (I) have an active, eligible personal checking account with Bank of America~ and
is processed that night, you may not have enough funds in your account to cover the
increased amount or the transaction and it will overdraw your account. This means,             (ii) maintain the balance required for one of the balance tiers In any combination of
unless you promptly transfer or deposit enough available funds, when we receive the                 eligible deposit accounts with Bani< of America and/or eligible Merrill or Private Bank
debit card transaction, it will overdraw your account. However, you will not be charged an          investment balances.
overdraft fee by the Bank.                                                                    You can satisfy the combined balance requirement for enrollment with either:
What overdraft setting Is applied to Advantage SafeBalance Banking account setting?            (i) your average daily balance for a three calendar month period, or
We automatically apply our Decline All Overdraft Setting to your Advantage SareBalance         (ii) your current combined balance, provided that you enroll at the time you open your
Banking account. With the Decline All Overdraft Setting, we do not authorize or pay                 first eligible personal checking account and satisfy the balance requirement at the
any transaction unless we determine that at the time of the transaction you appear to               end of at least one day within thirty days of opening that account.
have enough available funds in your account to cover the transaction. This means that
                                                                                             Once you are eligible, you can enroll for program benefits. Eligibility to enroll is generally
we will decline or return these transactions unpaid. You may be assessed a fee by the
merchant If this happens.                                                                    available three or more business days after the end of the calendar month In which you
                                                                                             satisfy the requirements.
What happens if a merchant want s to use my account number and routing number for
                                                                                             Your benefits become effective within 30 days of your enrollment. or for new accounts
a payment?
                                                                                             within 30 days of account opening, unless we Indicate otherwise. Some benefits are
Be careful when you give out your account number and routing number to an originator         automatically activated upon the effective date of your enrollment and require no action
that you authorize to process debits from your account. At times, an originator may          on your part. Some benefits may require you to oµe11 a new account or take other action.
process such a payment as a check anc1 submit it to us instead of an ACH (Automated          Some benefits are available based on balances and other requirements without the need
Clearing House) transaction. Those checks may be rejected and not paid. You may be           to enroll. Read carefully the terms of any offer to understand the action required.
charged a ree by the originator if this happens. U you give anyone your account number
and routing number, make sure It is for an ACH transaction only. You may want to             Different benefits are available at different balance tiers. The balance tiers and their
ask if the merchant can use your debit card number instead. Please see the Oeposi1           qualifying combined balance amounts are: Gold, at and above $20,000; Platinum, at
Agreement and Disclosures for more details about ACH transactions.                           and above $50,000; Platinum Honors, at and above $100,000; Diamond, at and above
                                                                                             $1,000,000; and Diamond Honors, at and above $10,000,000.
How do I pay my bills If I don't have checks? What if I need t o write a check ?
                                                                                             You will qualify for the next higher balance tier when your three-month combined average
You can pay bills and make payments with your debit card, a wire transfer, an Automated
                                                                                             daily balance meets or exceeds the minimum amount ror that balance tier. You w,11 be
Clearing House transaction (ACH), Zelle• , or through our Online and Mobile Banking Bill
                                                                                             moved to a higher balance tier starting in the month after the month in which you satisfy
Pay service. If you need to write checks on a regular basis and these alternatives do
                                                                                             the combined balance requirement.
not work for you, you may need a traditional checking account that offers check-writing
capability. Cashier's checks are also available for a fee in our financial centers.          We will pe1fo1111 an annual ,~view or your qualifying balances in the month following the
What happens if my employer asks for a voided check for direct deposit?                      anniversary date or your initial enrollment in the program. The annual review will calculate
                                                                                             your three-month combined average daily balance as of the end of your anniversary
Since the Advantage sareBalance Banking account does not include checks, you cannot          month. If the result of the annual review calculation would be to move you to a lower tier,
provide a voided checl<. You can provide the account number and routing number and           you will have a three-month period rrom your anniversary month in which to restore your
indicate that it is a checking account so that your employer can set up a direct deposit     qualifying balance before you are moved to that lower balance tier. If you are moved to a
to your account. You can complete the printable direct deposit enrollment form in Online     lower balance tier, your benefits may be changed to those of the balance tier for which
Banking or ask us ror the direct deposit enrollment form that you can provide to your        you qualify without further notice. Please note that while you can be moved to a higher
employer.                                                                                    balance tier after any month In which you satisfy the three-monlh combined average dally
What happens to checks I have written from my existing personal checking account             balance requirement for that tier, you will only be moved to a lower balance tier as a
If I switc h my account t o Advant age SafeBalance Banking?                                  result of the annual review.
U you switch from your existing personal checking, Advantage Plus Banking, or                At the annual review, we will also confirm that you still have an active, eligible personal
Advantage Relationship Banking account to an Advantage SafeBalance Banl<ing                  checking account with Bank of America. If as a result or the annual review you do not
account, we will continue t o process checks ror 60 days. After the 60 day period, all       qualify ror any balance tier, or you no longer have an eligible checking account, and you
paper checks that you have written will be returned unpaid even when sufficient funds        do not sufficiently restore your balances or open an eligible checking account in the three
are available in the account to cover the check. When this happens, the payee may            months after your anniversary month, your qualification will discontinue. Your benefits may
charge you a fee(s) for the returned payment.                                                then be discont inued immediately without further notice.
                                                                                             You or we may terminate your enrollment at any time. We may change or terminate

                                                                                                                                                                                   Page 1 6
                                                                                                                                                                                  08/2022




                       Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 95 of 129
 program benefits at any time, without prior notice.
 Only personal accounts that you own, and that in our determination are in good standing,
 count toward your balance requirements and receive benefits. Accounts on which you are
 a signer but not an owner. or accounts included in your periodic statement on which you
 are not an owner, are not eligible.
 Business accounts do not count towards the checking account requirement or balance
 requirements for the program, and will not be eligible to receive program benefits.
 Preferred Rewards for Business is Bank of America' s rewards program for business
 accounts. Your business accounts may qualify separately for Preferred Rewards for
 Business.
 See below for examples of accounts that do and do not qualify for the combined balance
 calculation:

 Qualify
 Accounts on which you are an owner or co-owner, including -
   · Bank of America deposit accounts: Checking, Bank of America Advantage Banking,
     Bank or America Advantage SafeBalance Banking accounts, Savings, CD, and IRA
     accounts
  · Merrill and Private Bani< investment accounts, such as the Cash Management Account
    (CMA), and IRA accounts (Traditional, Roth, Rollover, SEP, Simple)
  · 529 plans appearing on your Merrill statement (except 529 plans owned In Uniform
    Transfers to Minors Act (UTMA)/Uniform Gifts to Minors Act (UGMA) form)
  · Revocable granter trust accounts

Do Not Qualify
                                                                                               Notice for New York Deposit Account Customers:
  ·Accounts on which you're not an owner or co-owner. For example, accounts on which           New York consumers can file complaints with the New York Department of Financial
   your role is Custodian, Administrator, Power of Attorney, Beneficiary, Guardian, or         Services if a consumer is not satisfied with the services a banking institution provides.
   Executor                                                                                    The toll free consumer hotline for the New Yori< Department or Financial Services is (800)
 . Uniform Transfers lo Minor Act (UTMA) and Uniform Gifts to Minors Act (UGMA) accounts       342-3736.
 • Business accounts or commercial accounts
 . Irrevocable t rust accounts
 . Employee Benefit plans (such as 401(1<) plans)
 - Annuities
 · Assets for which daily marl<el quotations are not readily available
                                                                                              Notice for Maine Deposit Account Customers:
Not all products and services eligible for benefits under the Preferred Rewards program       If you have a dispute with us regarding your deposit account, you may contact us and
are available in all locations. Please contact 888.888.RWDS (888.888.7937), or if you         attempt to resolve the problem directly. If you feel we failed to resolve the problem,
are a Merrill Lynch Wealth Management or Bank of America Private Bani< client contact         communicate the problem and the resolution you are seel<ing to:
your advisor, for details about which products and services are available in your location.                                    Bureau of Financial Institutions
Bank of America employees and retirees are eligible for additional Preferred Rewards                                               36 State House Station
program benefits. If you no longer meet the requirements for employee status. standard                                            Augusta, ME 04333-0036
program terms apply.                                                                          To file a complarnt electronically, you may contact the Bureau of Financial Institutions at the
                                                                                              following internet address: http:/ /www.maine.gov/ pfr/financialinstitucions/complaint.htm
                                                                                              The Bureau of Financial Institutions will acknowledge receipt of your complaint promptly
                                                                                              and investigate your claim. You will be informed of the results of the investigation.
                                                                                              When your complaint involves a federally-chartered financial institution, such as
                                                                                              Bank of America, the Bureau of Financial Institutions will refer it to the appropriate federal
                                                                                              supervisory agency and inform you to whom it has been referred.




                                                                                                                                                                                     Page 17
                                                                                                                                                                                    08/ 2022




                       Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 96 of 129
f;


t




     Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 97 of 129
  3/6/23, 5:58 PM                                                        Bank of America I Online Banking I Serv,          ,greement
   The Wayback Machine· https://web.archlve.org/ web/20221120160349/https://www.bankofamerica.com/onllne-banklng/servlce-agreement.go7requesUocale=en_US
                                                                                                            Sign In       Home   I   Locations   I   Contact Us   !   Help   En espaiiol

     BANK oF AMERICA~
                    ~                            Online Banking                                                                            How can we help you?


        Online~ 13anking Se1vice /-\greement


                                                                                                                                     • Go to Online Banking Overview



       Bank of America Online Banking Service Agreement



       Effective Date: August 19, 2022


       Table of Contents:      Show all ropics

         1. General Desc1 iption of Bank of America Online Banking Service Agreement (this "Agreement")
         2. Internal Transfer Services and Payments to Your Bank of America Loan Accounts From An External Account
         3. Bill Payment Services
         4. Zelle® Network Service (Email and Mobile Transfers)
         5. Real Time Payment Network Service
         6. ACH and Wire Transfers
         7. Online Banking Alerts
         8. F rror Resolulion Procedures for Consumer Accounts
         9. Addition.:il Provisions Only /\pplicab!c to Sm.:ill Business /\ccounts
       10. Disclaimer of Warranties, Limitation of Liability and Indemnification
       11. Other Terms and Conditions



      1. General Description of Bank of America Online Banking Service Agreement (this "Agreement")

      A. What This Agreement Covers


      This Agreement is between each owner of an eligible account, a person applying for an eligible account, or
      authorized representative appointed or entitled to on line access on another person's behalf ("you" or "your'') and
      Bank of America, N.A. (Bank of America). This Agreement governs your use of any online or mobile banking
      services maintained by Bank of America and accessible through bankofamerica.com using a personal computer
      or a mobile device, including a smartphone, tablet, or any other eligible handheld or wearable communication
      device (the "Service(s)").

      Under the terms of this Agreement, you may use the Services to obtain financial products and services, access
      and view account information, and, for certain accounts, move money electronically and perform authorized
      transactions, for eligible U.S.-based Bank of America consumer and small business accounts and affiliate
      accounts linked to the Service, such as those at Merrill Lynch, Pierce, Fenner & Smith Incorporated ("Merrill").

     When used in the Agreement, the term "small business" includes sole proprietors, non-consumer business
     entities, and individual owners of the business, unless the context indicates otherwise. If you are a small
     business customer, additional or different terms and conditions applicable to the Services, as well as additional
     Services available exclusively to small business customers, are included in the Business Services Addendum,
     which is a part of this Agreement.

     When you first set up your Online/Mobile ID, we will link all of your eligible Bank of America and affiliate
     accounts, including joint accounts. If you open an additional eligible account at a later date, we will link your new
     account to the Service, unless you tell us not to do so. Unless indicated otherwise by the context, "linked Bank of
     America accounts" or "linked accounts" refers to all of your accounts with Bank of America and its affiliates that                                       EXHIBIT
     are linked to the Service.

     When your Service is linked to one or more joint accounts, we may act on the verbal, written or electronic
     instructions of any authorized signer.
                                                                                                                                                     i
     Please note that some of the Services may not be available at all times or when using certain digital devices or
     applications. For example, some functions may be available online through a personal computer but not
                   Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 98 of 129
https ://web. archive.org/web/20221120160349/https ://www.bankofamerica.com/online-banking/service-ag reement. go?request_locale=en_ US                                           1/25
 3/6/23, 5:58 PM                                                    Bank of America I Online Banking I Servic.       Jreement

      available through our mobile app.




      B. Accepting the Agreement


      When you apply for, enroll in, activate, download or use any of the Services described in this Agreement or
      authorize others to do so on your behalf, you are contracting for all Services described in the Agreement and
      agree to be bound by the terms and conditions of the entire Agreement, as well as any terms and instructions
      that appear on a screen when enrolling in, activating or accessing the Services.


      C. Relation to Other Agreements
      Your use of the Services may also be affected by your Deposit Agreement and Disclosures, including the
      applicable schedule of fees ("Deposit Agreement"), or other agreement with us for your linked Bank of America
      accounts and/or an agreement with our affiliates for your affiliate accounts linked to the Service, including your
      investment accounts at Merrill. When an account is linked to the Services, ii does not change the agreements
      you already have with us or our affiliates for that account and you are still subject to the terms and conditions we
      gave you In the agreement and disclosure for the linked account. The terms and conditions for those account
      agreements, including any applicable fees, transaction limitations, liability rules and other restrictions that might
      impact your use of an account with the Services, are incorporated into this Agreement. In the event of a conflict
      between the terms of those account agreements and this Agreement, the terms of the applicable account
      agreement w ill prevail unless this Agreement specifically states otherwise.

     If you use the Services to move money between your investment accounts governed by the Merrill Lynch
     Brokerage Website Terms and Conditions, which you agreed to when you became a Merrill online customer, that
     agreement, and not this Agreement will apply to your transaction.




     2. Internal Transfer Services and Payments to Your Bank of America Loan Accounts From An External Account


     A . Transfers Between Your Accounts


     You may use the Service to transfer funds between your linked Bank of America and Merrill accounts without a
     fee on either a one-lime or recurring basis, including as a payment to a linked installment loan, credit card or
     mortgage.


                                                                                                  Cut-off Time
       Transfer From                  Transfer To                       $   Llmit1
                                                                                                  (all eastern PM)



       Your Checking/Savings          Your Checking/Savings             $9,999,999.99            10:452
       account                        account



       Your Checking/Savings          Your Investment account           $9,999,999.99            4:45
       account



                                      Your Checking/Savings or          $100,000.00 per          4:452,3
       Your Investment account
                                      Loan account                      calendar day

                                                                        $250,000 per week



       Your Checking/Savings          Your Loan Account                 $9,999,999.99            10:45 3
       account



      Your Credit Card/               Your Checking/Savings or          $9,999,999.99            10:45 2 •3
      Business Line of                Loan Account
      Credit/HELOC




     There are no receiving limits for Internal Transfers between your own accounts.



                   Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 99 of 129                                                   2/25
https://web .archive. org/web/20221 120160349/https://www.bankofamerica.com/online-banking/service-agreement.go?reques !_locale= en_US
   3/6/23, 5:58 PM                                                      Bank of America I Online Banking I Servi<-     Jreement
        1
         /   Higher limits may apply for Bank of America Private Bank, Merrill or small business accounts.

        2
         / Transfers to a Bank of America checking or savings account made after the applicable cut-off time indicated
        above but by 11 :59 p.m. on a business day in the State where your checking or savings account was opened,
        will be posted as of the next business day in your transaction history, but will be included in the balance we use
        to pay transactions that night. This process may impact when fees apply to your account.

        3
         / Funds transferred as a payment to an eligible credit card, business line of credit, home equity line of credit
        during draw period ("HELOC"), installment loan or mortgage (together "Loan Accounts") after the applicable cut-
        off time indicated above but by 11 :59 p.m. ET will be credited with the date the payment is submitted. It may take
        up to 2 business days for these updates to be reflected in your account balances, funds availability, and
        transaction posting.

             One-time transfers may be made at any lime and are immediately debited from a checking or savings
             account's available balance or a credit account's available credit.
             Future dated or recurring transfers scheduled for a weekend or a non-business day will be debited from the
             funding account on the prior business day. All other scheduled and recurring transfers will be debited from the
             funding account at the beginning of the business day requested.
             Future scheduled and recurring transfers can be canceled prior to midnight ET on the business day prior to the
             date the transfer is scheduled to be made. A one-time immediate transfer cannot be canceled after it has been
             submitted.

             The best way to cancel a future scheduled or recurring transfer is to follow the instructions on our website. The
             cancel feature is found in the payment activity section. You may also request to cancel a future scheduled or
             recurring transfer by calling us at 800.432.1000 for consumer accounts and 866.758.5972 for small business
             accounts. If you are calling from outside of the continental U.S., call us collect at 925.681.7600.


       B. Transfers to Someone Else Using Their Account Number



       You 111ay use the Se,vice lo 11,ak" one-li,ne transfers from a linked Bank of America checking, savings, money
       market or line of credit account to most checking, savings or money market accounts of other Bank of America
       customers using their account number.


                                                                                                    Cut-off Time
        Transfer From                     Transfer To                      $ Llmit1
                                                                                                    (all eastern PM)



        Your Checking/Savings             Checking/Savings account of      $3,500 per 24 hours      10:45
        account                           Someone Else
                                                                           $10,000 per week




      1/ You may be eligible for higher limits if you add Secured Transfer to receive a one-time passcode on your

      mobile device or register a USS security key. Higher limits may also apply for Bank of America Private Bank,
      Merrill or small business accounts.

      One time transfers may be made at any time and are immediately debited from a checking or savings account's
      available balance. A one-time transfer cannot be cancelled after it has been submitted.

      You may receive transfers from other Bank of America customers in the aggregate of $999,999.00 per week.

     Internal Transfer send limits for both Sections 2.A and 2.8 are set at the customer profile (User ID) and apply to
     all accounts visible in the "From" dropdown when initiating an Internal Transfer. If you are a small business
     customer and are not receiving the small business limits, make sure you are logged in with your small business
     User ID.


     C. Payments to Your Bank of America Loan Accounts From An External Account


       You may use the Service to make payments on your eligible Bank of America Loan accounts without a fee, on
       either a one-time or recurring basis, from your consumer asset account maintained at another financial
       institution that you have added to Transfers. For payments from your linked Bank of America accounts, see
       Section 2.A above.



                    Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 100 of 129
https ://web. archive. org/we b/20221120160349/https://www.bankofamerica.com/on! ine-banking/service-ag reement. go ?request_locale=en_US   3/25
  3/6/23, 5:58 PM                                                   Bank of America I Online Banking I Servic'- .,:1reement
          Payments to your credit card and vehicle loan accounts from your consumer asset account maintained at
          another financial institution can be for any amount up to $9,999,999.99, with the exception of charged-off
          credit card accounts which have a payment limit of $249,999.99.


         Payments to your mortgage or HELOC loan accounts from your consumer asset account maintained at
         another financial institution can be for any amount up to $99,999.99 with escrow payments limited to
         $5,000.00.


         You certify that any account you add to Transfers is an account from which you are authorized to make
         payments, and any payment you make using Transfers will debit an account that you are legally authorized to
         use. When you add an account maintained at another financial institution, you do not change the agreements
         you have with that financial institution for that account. Please review those agreements for any applicable
         fees, limitations on the number of transactions you can make, and for other restrictions.


         Payments to your Loan accounts from a consumer asset account maintained at another financial institution
         that are initiated by 11 :59 p.m. ET will be applied on the same day. It may take up to 2 business days for these
         updates to be reflected in your account balances, funds availability, and transaction posting.


         If the financial institution upon which your payment is drawn rejects, refuses, or returns the payment, the
         payment to your Loan account will be reversed and you may incur late payment or other fees. The institution
         holding your deposit account may impose a returned item or other fee.


         Future scheduled and recurring payments to your Loan accounts from your account at another financial
         institution can be canceled prior to midnight ET on the calendar day prior to the date the payment is scheduled
         to be made. A one-time immediate payment cannot be canceled after ii has been submitted.


         The best way to cancel a future scheduled or recurring payment is to follow the instructions on our website.
         The cancel feature is found in the payment activity section of Transfers. You may also request to cancel a
         future scheduled or recurring payment by calling us at 800.432.1000 for consumer accounts and 866.758.5972
         for small business accounts. If you are calling from outside of the continental U.S., call us collect at
         925.681.7600.




      3. Bill Payment Services


      This section is not applicable to small business customers participating in the Payments and Invoicing Service
      described in section 8.0 of the Business Services Addendum, which is a part of this Agreement. You may only be
      eligible to enroll in one service. Bank of America makes no representations or warranties as to whether a bill
      payment program that you are eligible to enroll in is appropriate for a particular business. You are solely
      responsible for determining whether a service that is made available to you is suitable for your business,
      considering various factors including, but not limited to, payment processing timeframes, timing for delivery of
      payments, fees, and limits included in the different plans.


      A. Bill Pay for Checking, Money Market and Home Equity Line of Credit Accounts



      Bank of America customers may use Bill Pay to make payments to companies or individuals ("Payees") in the
      following manner:

        Payments can be scheduled from linked checking, money market savings, and HELOC accounts during the
        draw period. Note that you may not link HELOC accounts opened in Texas.


        Payments can be scheduled from a checking, money market savings or other consumer asset account
        maintained at another financial institution that you have added to Bill Pay. You certify that any account you add
        to Bill Pay is an account from which you are authorized to make payments, and any payment you make using
        Bill Pay will debit an account that you are legally authorized to use. When you add an account maintained at
        another financial institution, you do not change the agreements you have with that financial institution for that
        account. Please review those agreements for any applicable fees, limitations on the number of transactions
        you can make, and for other restrictions that might limit your use of the account with Bill Pay.


       Payments can be entered as a one-time transaction up to a year in advance, recurring transactions or as
       payments that are automatically scheduled upon the receipt of an electronic bill (e-Bill).


       Future scheduled or recurring payments that fall on a weekend or a non-business day will be processed on the
       prior business day.

                  Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 101 of 129
https ://web. archive.org/web/2022112 O160349/https ://www.bankofamerica.com/online-banking/service-ag reement. go?request_locale=en_ US   4/25
 3/6/23, 5:58 PM                                                   Bank of America I Online Banking I Servic..   Jreement



         You authorize us to make payments in the manner we select from the following methods:
                 Electronic transmission. Most payments are made by electronic transmission.
                 Corporate check - This is a check drawn on our account or the account of our vendor. If a Payee on a
                 corporate check fails to negotiate the check within ninety (90) days, we will stop payment on the check
                 and re-credit your account for the amount of the payment. If a corporate check is returned to you prior
                 to the end of the ninety (90) day period, please inform us immediately so that we can stop payment on
                 the check and re-credit your account.
                 Personal check - This is a check drawn on your account when it is presented for payment.


         All payments under Bill Pay that are sent care of APO/FPO or similar addresses will be sent by corporate or
         personal check. Because all such payments will be made by check, they will not be Remittance Transfers (as
         defined in section 6.F. of this Agreement).


         Any obligations that you wish to pay through Bill Pay must be payable in U.S. dollars to a Payee located in the
         United States. We reserve the right to restrict categories of Payees to whom payments may be made using the
         Service. We recommend that you not use the Service to make:
                 Tax payments
                 Court-ordered payments
                 Payments to settle securities transactions


         Scheduling Bill Payments
                The scheduled delivery date is the date you enter for the payment to be delivered to the Payee. For
                payments made by electronic transmission or corporate check, the payment amount will be debited
                from the account that you designate on the scheduled delivery date. For payments made by personal
                check, the account you designate will be debited when the check is presented to us for payment which
                may occur before, on or after the scheduled delivery date.
                Payments (other than payments to a Bank of America Payee) initiated before 5:00 p.m. ET on a
                business day will be scheduled and begin processing on the same business day. Payments that are
                entered after this cut-off time or on a day that is a non-business day will be scheduled and processed
                the next bank business day.
                For payments to a Bank of America Payee, such as a vehicle loan, HELOC or mortgage, Bank of
                America will process and credit the payment to the account effective the same business day, provided
                the payment is scheduled prior to the 5:00 p.m. ET cut-off. It may take up to 2 business days for these
                updates to be reflected in your account balances, funds availability, and transaction posting.
                For payments to Bank of America credit card and business line of credit accounts, Bank of America will
                process and credit the payment to the account effective lhe same day, provided the payment is
                scheduled by the 11 :59 p.m. ET cut-off. It may take up to 2 business days for these updates to be
                reflected in your account balances, funds availability, and transaction posting.


        Bill Discovery Service. Al your option, we may offer you the opportunity to add Payees from our service
        provider's network or, with your consent, to access your credit report to help you identify Payees which you
        would like to add to this service. Information from these sources may make it easier for you to make payments
        or add relevant e-bills to your Service.

     When you attempt to schedule a payment, we will inform you of the earliest available delivery date. To assure
     timely payment and obtain the full benefit of the Online Banking Guarantee described below, you must schedule
     payments, and your account must be in good standing and have sufficient available funds in the designated
     deposit account to cover the payment, at least five (5) bank business days before the payment due date, NOT
     the date after which late payment fees may be assessed.

     If an account does not have sufficient available funds on the scheduled date, we may elect not to initiate one or
     more of the transfers. If we do elect to initiate the transfer, which may involve one or more attempts on
     subsequent business days, it may cause an overdraft in your account in which case you shall be fully responsible
     for the overdraft and any Overdraft Item Fees, as set forth in your Deposit Agreement, as well as all late fees,
     interest charges or other action taken by the Payee. If an account has sufficient funds on the scheduled date and
     we initiate the transfer but the account does not have sufficient funds when the payment posts to your account,
     we will not charge an insufficient funds fee to your deposit account, but you may incur late fees, interest charges
     or other action taken by the Payee.

     Under our Online Banking Guarantee, if we fail to process a payment in accordance with your properly
     completed instructions, we will reimburse you for any late payment fees. As indicated above, some payments
     may be made by a personal check. Since we can't predict the exact date that a personal check will be presented



                Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 102 of 129                                                            5/25
https://web. archive. org/web/2022112 O160349/https ://www. ba nkofamerica. com/online-banking/service-ag reement. go?request_locale = e n_US
   3/6/23, 5:58 PM                                                     Bank of America I Online Banking I Servic.       Jeement
        to us for payment, please make sure you have sufficient funds in your account beginning a few days before your
        scheduled delivery date and keep such funds available until the payment is deducted from your account.

        Bill Pay payments sent via corporate or personal check with different Payee names may be combined in one
        envelope if those payments have the same mailing address, and your intended Payee has not registered their
        full/unique mailing address with the USPS, including their secondary address designation, e.g., Suite, Room,
        Floor, Dept., Building, or Unit. lfwe need to, we'll change or reformat your Payee account number to match the
        account number or format required by your Payee for electronic payment processing and eBill activation.


        B. Bill Pay for Credit Card or Vehicle Loan (automotive, recreational vehicle, boat or a ircraft) Only
        Customers



        Bank of America credit card or vehicle loan account only customers may use Bill Pay in the following manner:

          Payments to your Bank of America credit card or vehicle loan up to $249,999.99, can be scheduled from a
          checking, money market savings or other consumer asset account maintained at another financial institution
          that you have added to Bill Pay.


          Payments can be entered as a one-time transaction up to a year in advance, or as payments that are
          automatically scheduled upon the receipt of an e-Bill.


          Payments to your credit card or business line of credit account initiated by 11 :59 p.m. ET will be applied on the
          same day. Payments entered after this cut-off will be scheduled and processed on the next calendar day.


         Payments to your vehicle loan account initiated before 5 p.m. ET on a business day will be applied on the
         same day. Payments entered after this cut-off will be scheduled and processed on the next business day.


         If the financial institution upon which your payment is drawn, including Bank of America, rejects, refuses, or
         returns the payment, the payment to your Bank of America credit card, business line of credit or vehicle loan
         will be reversed and you may incur late payment or other fees. The institution holding your deposit account
         may impose a returned item or other fee.


       C. E-Bills


       E-Bills is a feature of the Bill Pay Service that enables you to receive bills electronically from participating Payees

         Approval of e-Bills
         Participating Payees establish their own criteria for reviewing requests to receive e-Bills and have sole
         discretion to accept or decline your request.


        Accessing e-Bills from a Third Party
        In some cases we obtain the e-Bill from the web site of the Payee. To do so, we will ask you for information
        needed for this purpose, such as any required password. When you provide this information, you authorize us
        to access the third party web site to retrieve the account information on your behalf, and you appoint us your
        agent for this limited purpose.


        Timely Delivery of e-Bills.
        We lake no responsibility if a Payee does not provide the necessary data to forward an e-Bill in a timely
        manner. If you do not receive an e-Bill, it is your responsibility to contact the Payee directly. We are not
        responsible for any late charges or other adverse consequences. Any questions regarding your e-Bill details
        should be directed lo your Payee.


        Stop e-Bills
        You or we can cancel the e-Bill service, or a particular e-Bill al any lime. If you request that a particular e-Bill
        be discontinued, we require seven (7) business days for the Payee to receive and process the request. If an
        e-Bill from a Bank of America Payee is canceled, any e-Bills previously delivered but not paid will be removed
        from your list of payable e-Bills.


        Privacy
        When you request e-Bills from a participating Payee you may be asked to provide certain information that will
        be forwarded to the Payee to complete your enrollment. When you provide this information, you authorize us
        to share it with the Payee.

        Introductory e-8111 Opportunity
        You understand and agree that selected Payees may provide e-Bills to you through Bill Pay for up to three
                    Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 103 of 129
https ://web .archive. org/we b/20221120160 34 9/https ://www. bankofamerica.com/online-ba nking/service-agreement. go ?request_locale=en_ US   6/25
  3/6/23, 5:58 PM                                                      Bank of America J Online Banking I Servic . Jreement
         months in order to introduce you to the convenience of Bill Pay. We will notify you in advance of such
         introductory opportunities. Bank of America does not have access to and does not store detailed billing
         information contained in the e-Bill. Only you will have access to the detailed bill information. If at any time you
         choose not to participate in this introductory e-Bill opportunity, you have the following options:


                   You can discontinue a specific e-Bill by signing into Bill Pay and selecting "cancel the e-Bill trial."


                   To be removed from all future e-Bill trial enrollments, please e-mail customer care at
                   optoutebill@customercenler.net from the email address that you use for the Service.


                   If you wish to continue to receive the e-Bills after the introductory period, please follow the instructions
                   at the e-Bills page of Bill Pay.



       D. Limits


       Bill payments from your Bank of America account can be for any amount up to $99,999.99. Please note,
       however, that some Payees may place limits on the amount they will accept via electronic transmission. When
       the limit is exceeded, the payment will be remitted by check.


       E. Canceling Bill Payments


         In order to cancel a bill payment (including a payment you scheduled from an account maintained at another
         financial institution), follow the directions provided in Bill Pay. The cancel feature is found in the payment
         activity section. You may also request to cancel a future scheduled or recurring transfer by calling us at
         800.432.1000 for consumer accounts and 866.758.5972 for small business accounts. If you are calling from
         outside of the continental U.S., call us collect at 925.681 .7600.

        Future-dated or recurring payments can be canceled prior to 5 p.m. ET on the third bank business day prior to
        the scheduled delivery date. Once a payment has begun processing, it cannot be canceled.

        If a check has been issued for your bill payment, any stop payment provisions that apply to checks in the
        agreement governing your bill pay funding account will also apply to Bill Pay.


      F. Fees

      There are no service fees for use of the Bill Pay Service.




      4. Zelle® Network Service (Email and Mobile Transfers)


      A. Description of Service


     We have partnered with the Zelle® Network to enable a convenient way to transfer money between you and
     others who are enrolled directly with Zelle or enrolled with another financial institution that partners with Zelle
     (each, a "User") using aliases. such as email addresses or mobile phone numbers. We will refer to financial
     institutions that have partnered with Zelle as "Network Banks."

     Zelle provides no deposit account or other financial services. Zelle neither transfers nor moves money. You may
     not establish a financial account with Zelle of any kind. All money will be transmitted by a Network Bank.

     Transfers will be governed by the rules of any funds transfer system through which the transfers are made, as
     amended lime from lime, including, without limitation, the National Automated Clearing House Association
     ("NACHA") or real lime payment services ("RTP").

     THE SERVICE IS INTENDED TO SEND MONEY TO FRIENDS, FAMILY AND OTHERS YOU TRUST. YOU
     SHOULD NOT USE THE SERVICE TO SEND MONEY TO RECIPIENTS WITH WHOM YOU ARE NOT
     FAMILIAR OR YOU DO NOT TRUST.

     Zelle and the Zelle related marks are wholly owned by Early Warning Services, LLC and are used herein under
     license.


     B. Eligibility and User Profile

                   Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 104 of 129
https ://web. archive. org/web/2022112016034 9/https ://www.bankofamerica.com/on!ine-banking/service-ag reement. go?req uest_loca le=en_ US   7/25
   3/6/23, 5:58 PM                                                     Bank of America I Online Banking I Servic..       ,,reement
        When you enroll to use the Service or when you permit others to whom you have delegated to act on your behalf
        to use or access the Service, you agree to the terms and conditions of this Agreement. You represent that you
        have the authority to authorize debits and credits to the enrolled bank account. You agree that you will not use
        the Service to send money to anyone to whom you are obligated for tax payments, payments made pursuant to
        court orders (including court-ordered amounts for alimony or child support), fines, payments to loan sharks,
        gambling debts or payments otherwise prohibited by law, and you agree that you will not use the Service to
        request money from anyone for any such payments.

       The Service allows you to send or receive money using your consumer or small business deposit account. We
       reserve the right to suspend or terminate your use of the Service if we believe, in our sole discretion, that you are
       using the Service for other purposes, or if we believe you are using the Service in a manner that exposes Bank
       of America or Zelle to liability, reputational harm or brand damage, including but not limited to using the Service
       to request, send or receive money related to any of the following:

       Illegal or brand damaging activities include, but are not limited to:

         Any activity that is illegal under federal or applicable state law (e.g., drugs, gambling, counterfeit goods);
         Firearms, ammunition and other weapons;
         Sexual activities or materials;

         Pornography;

         Materials that promote intolerance, violence or hate;

         Ponzi schemes;

         Traveler's checks, money orders, equities, annuities, or currencies;

         Digital currencies such as bitcoins;
         Terrorist funding;

         Fraud, for example:

             i. Unauthorized Payments that occur in instances of account takeover, lost/stolen debit cards or account
                information, etc.;
            ii. Scams - Recipient convinces a Sender to send money with Zelle by (i). pretending to be or to represent
                another person or entity; or (ii). offering to provide a good, service, or additional funds while intending to
                provide nothing in return.

         Money laundering

        Use of the Zelle Payments Service in a manner for which it was not intended, or in a way that another
        customer finds harassing or inappropriate (e.g., use of memo fields to communicate with another customer
        with no intention of processing a Payment).


      We may determine other eligibility criteria in our sole discretion.


      C. Enrolling for the Service


       i. You must provide us with an email address that you use and access regularly and/or a permanent U.S. mobile
          phone number that you intend to use for an extended period of time.

         You may not enroll in the Service with a landline phone number, Google Voice number, or Voice over Internet
         Protocol.


      ii. Once enrolled, you may:


              a. authorize a debit of your account to send money to another User either at your initiation or at the
                 request of that User; and
              b. receive money from another User either at that User's initiation or at your request, subject to the
                 conditions of the Section below titled "Requesting Money."



     iii. If at any time while you are enrolled, you do not receive money using the Service for a period of 18
          consecutive months, we may contact you and/or take other steps to confirm that the U.S. mobile phone
          number or email address that you enrolled still belongs to you. If we are unable to confirm that you are the
          owner of the mobile phone number or email address, then you understand that we may cancel your
          enrollment and you will not be able to send or receive money with the Service until you enroll again.




                 Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 105 of 129
https://web. archive.org/web/20221120160349/https ://www.bankofamerica.com/online-banking/service-ag reement. go?reques t_l ocale=en_US   8/25
  3/6/23, 5:58 PM                                                     Bank of America I Online Banking I Servic,        dreement

        0 . Consent to Emails and A utom ated Text Messages


        By participating as a User, you represent that you are the owner of the email address, mobile phone number,
        and/or other alias you enrolled, or that you have the delegated legal authority to act on behalf of the owner of
        such email address, mobile phone number and/or other alias to send or receive money as described in this
        Agreement. You consent to the receipt of emails or text messages from us, from Zelle, from other Users that are
        sending you money or requesting money from you, and from other Network Banks or their agents regarding the
        Services or related transfers between Network Banks and you. You agree that we may, Zelle may or our agents
        may use automatic telephone dialing systems in connection with text messages sent to any mobile phone
        number you enroll. You further acknowledge and agree:

         i. You are responsible for any fees or other charges that your wireless carrier may charge for any related data,
            text or other message services, including without limitation for short message service. You are also
            responsible for the content of the memos you send using Zelle. Please check your mobile service agreement
            for details or applicable fees.


        ii. You will immediately notify us if any email address or mobile phone number you have enrolled is (i)
            surrendered by you, (ii) inactivated or removed by your provider, or (iii) changed by you. For your security, if
            we notice changes to your email or mobile number, or we are unable to deliver notifications, we may delete it
            and notify you.


       iii. In the case of any messages that you may send through either us or Zelle or that we may send or Zelle may
            send on your behalf to an email address or mobile phone number, you represent that you have obtained the
            consent of the recipient of such emails or automated text messages to send such emails or text messages to
            the recipient. You understand and agree that any emails or text messages that we send or that Zelle sends on
            your behalf may include your name and the memo that you sent.


       iv. Your wireless carrier is not liable for any delay or failure to deliver any message sent to or from us or Zelle,
           including messages that you may send through us or through Zelle or that we may send or Zelle may send on
           your behalf.


       v. To cancel text messaging from us, text STOP to 53849. This will unenroll you from the Service. For help or
          information regarding text messaging, text HELP to 53849 or contact our customer service at 800.933.6262
          for consumer accounts and 866.758.5972 for small business accounts. You expressly consent to receipt of a
          text message to confirm your "STOP" request.


       vi. Bank of America's Zelle notifications are supported by many carriers, like AT&T, T-Mobile, Sprint, and Verizon
           Wireless. Check with your individual carrier to confirm availability.


      vii. We or Zelle may use information on file with your wireless operator to further verify your identity and to protect
           against or prevent actual or potential fraud or unauthorized use of the Service. By using the Service, you
           authorize your wireless operator (AT&T, Sprint, T-Mobile, US Cellular, Verizon, or any other branded wireless
           operator) to use or disclose information related to your wireless subscriber account (such as your mobile
           number, name, address, email, network status, customer type, mobile device identifiers and other device and
           subscriber status information) to Bank of America or its service providers, which they may use for the duration
           of your business relationship with them, solely to verify your identity and help prevent fraud. See Zelle's
          Privacy Policy [https://www.zellepay.com/privacy-policy) for how it treats your data. For Bank of America's
          Privacy Policy, go to our Web site at https://www.bankofamerica.com/privacy.




      E. Receiving Money; Money Transfers by Network Banks

      Once a User initiates a transfer of money to your email address or mobile phone number enrolled with the
      Service, you have no ability to stop the transfer. By using the Service, you agree and authorize us to initiate
      credit entries to the bank account you have enrolled.

     Most transfers of money to you from other Users will occur within minutes. There may be other circumstances
     when the payment may take longer. For example, in order to protect you, us, Zelle and the other Network Banks,
     we may need or Zelle may need additional time to verify your identity or the identity of the person sending the
     money. We may also delay or block the transfer to prevent fraud or to meet our regulatory obligations. lfwe block
     a payment that you have initiated through a request for money, we will notify you by email.

     If you are receiving a payment from a business or government agency, your payment will be delivered in
     accordance with both this Agreement and the procedures of the business or government agency that is sending
     you the payment.


     F. Sending Money; Debits by Network Banks

                 Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 106 of 129
https ://web. archive. org/web/20221120160349/https ://www.ba nkofamerica.com/online-banking/service-ag reeme nt. go ?request_locale=en_ US   9/25
    3/6/23, 5:58 PM                                                    Bank of America I Online Banking I Servic,      _ireement


         You may send money to another User at your initiation or in response to that User's request for money. You
         understand that use of this Service by you shall at all times be subject to (i) this Agreement, and (ii) your express
         authorization at the time of the transaction for us or another Network Bank to initiate a debit entry to your bank
         account. You understand that when you send the payment, you will have no ability to stop it. You may only cancel
         a payment if the person to whom you sent the money has not yet enrolled in the Service. If the person you sent
         money to has already enrolled with Zelle, either in the Zelle mobile app or with a Network Bank, the money is
         sent directly to their bank account (except as otherwise provided below) and may not be canceled or revoked.

         In most cases, when you are sending money to another user, the transfer will occur in minutes; however, there
        are circumstances when the payment may take longer. For example, in order to protect you, us, Zelle and the
        other Network Banks, we may need additional time to verify your identity or the identity of the person receiving
        the money. During this period, and in any other circumstance when we need additional time to verify the transfer
        details, a hold will be placed on your account for the amount of the transfer. You understand and acknowledge
        that a person to whom you are sending money and who is not enrolled as a User may fail to register with Zelle,
        or otherwise ignore the payment notification, and the transfer may not occur. If the person to whom you are
        sending money does not enroll, set up an email address or mobile number and accept the transfer within 14
        days, the transfer will be canceled.


        The money may also be delayed or the transfer may be blocked to prevent fraud or comply with regulatory
        requirements. We will notify you by email ifwe block a payment that you have initialed using the Service.

        We have no control over the actions of other Users, other Network Banks or other financial institutions that could
        delay or prevent your money from being delivered to the intended User.


        G. Liability


       Except as otherwise provided in this Agreement, neither we nor Zelle shall have liability to you for any transfers
       of money under the Service, including without limitation, (i) any failure, through no fault of us or Zelle to complete
       a transaction in the correct amount, or (ii) any related losses or damages. Neither we nor Zelle shall be liable for
       any typos or keystroke errors that you may make when using the Service.

       For information regarding your liability for unauthorized transactions, see section 8 of this agreement.

       THE SERVICE IS INTENDED FOR SENDING MONEY TO FAMILY, FRIENDS AND OTHERS WHOM
       YOU TRUST. YOU SHOULD NOT USE ZELLE TO SEND MONEY TO RECIPIENTS WITH WHOM YOU ARE
       NOT FAMILIAR OR YOU DO NOT TRUST. NEITHER WE NOR ZELLE OFFER A PROTECTION PROGRAM
       FOR AUTHORIZED PAYMENTS MADE THROUGH THE SERVICE (FOR EXAMPLE, IF YOU DO NOT
       RECEIVE THE GOODS OR SERVICES THAT YOU PAID FOR, OR THE GOODS OR SERVICES THAT YOU
       RECEIVED ARE DAMAGED OR ARI:: U l"HERWISE NOT WHAT YOU EXPECTED).


       H. Requesting Money


      You may request money from another User. You understand and acknowledge that Users to whom you send
      payment requests may reject or ignore your request. Neither we nor Zelle guarantee that you will receive money
      from other Users by sending a payment request, or that you will receive the amount that you request. If a User
      ignores your request, we may decide or Zelle may decide, in our sole discretion, that we will not send a reminder
      or repeat request to that User.


       By accepting this Agreement, you agree that you are not engaging in the business of debt collection by
      attempting to use the Service to request money for the payment or collection of an overdue or delinquent debt; to
      request money that is owed to another person; or to collect any amounts that are owed pursuant to a court
      order. You agree to indemnify, defend and hold harmless us, Zelle, our and their owners, directors, officers
      agents and Network Banks from and against all claims, losses, expenses, damages and costs (including, but not
      limited to, direct, incidental, consequential, exemplary and indirect damages), and reasonable attorney's fees,
      resulting from or arising out of any request for money that you send that is related to overdue or delinquent
      amounts.


     You agree to receive money requests from other Users, and to only send requests for legitimate and lawful
     purposes. Requests for money are solely between the sender and recipient and are not reviewed or verified by
     us or by Zelle. Neither we nor Zelle assume responsibility for the accuracy or legality of such requests and do not
     act as a debt collector on your behalf or on behalf of the sender of a request for money.

     We reserve the right, but assume no obligation, to terminate your ability to send requests for money in general,
     or to specific recipients, if we deem such requests to be potentially unlawful, abusive, offensive or unwelcome by
     the recipient.


     I. Fees
                  Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 107 of 129
hltps://web. archive.org/web/20221120160349/h tips ://www.ba nkofamerica. com/online-banking/service-ag reement. go?req uest_locale=en_ US   10/25
   3/6/23, 5:58 PM                                                   Bank of America I Online Banking I Servic,      ,ireement


        There is no fee for sending or receiving a transfer under the Service.


        J. Cancellation


        A transfer submitted through the Service may not be canceled once the recipient has enrolled. If the recipient has
        not yet enrolled, you may cancel by going to the Zelle section of the Bank of America website or mobile app and
        tapping on "Activity".


        K. Limits



       The following limits apply to Zelle transfers.1




                                       Every 24 hours              Every 7 days                 Every Month



         Consumer                      $3500 / 10 transactions     $10,000 / 30                 $20,000 / 60
                                                                   transactions                 transactions



        Small Business2                $15,000 / 20                $45,000 / 60                 $60,000 / 120
                                       transactions                transactions                 transactions




       1
        /Private Bank and Merrill Lynch Wealth Management clients may be subject to higher dollar limits and total
       transfers. Please contact your advisor for more information on your limits.

      2
       / Zelle send limits are set at the customer profile (User ID) and apply to all accounts visible in the "From"
      dropdown when initiating a Zelle payment. If you are a small business customer and are not receiving the small
      business limits, make sure you are logged in with your small business User ID.

      There are no receiving limits for Zelle transfers.




      5. Real Time Payment Network Service


      A . Description of Service


      You can use the Real nme Payments Service ("RTP") to receive a Request for Payment ("RFP") from other
      individuals or businesses with a bank account at a financial institution participating in RTP ("hereinafter Payee")
      and to pay such RFPs from an eligible checking account to that Payee using RTP.


      8 . Eligibility and Enrollment


     Transfers using RTP may be made only in U.S. Dollars and only between accounts at banks located in the
     United States that are participating in RTP. When you enroll to use RTP to receive RFPs or send payments, you
     agree to the terms and conditions of this Agreement. You represen t that you have the authority to authorize
     payments from the enrolled bank account.

     In order to avoid potential duplicate payments to the same biller, you agree to turn off any e-bills or other
     duplicate electronic billings or recurring payment arrangements you have with the same Payee from whom you
     elect to receive a RFP. Failure to do so may result in over payments.

     You agree that you will not send money to anyone for any purpose that is prohibited by law.

     You may make payments using your consumer checking account. We may require you to validate certain
     account information before you are permitted to send a payment using RTP. We reserve the right to suspend or



                Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 108 of 129
https ://web. archive.org/web/20221120160349/https ://www. bankofamerica.com/online-banking/service-ag reement.go? reques t_iocale=en_ US   11/25
   3/6/23, 5:58 PM                                                   Bank of America I Online Banking I Servic-. .Jreemenl
        terminate your use of RTP if we believe, in our sole discretion, that you have violated any of these terms or
        conditions or are otherwise engaging in a fraudulent or other illegal manner.


        C. Sending a Payment


        Upon your receipt of a RFP, you may respond by making a payment in an amount you designate to the Payee
        submitting that RFP or you can elect to disregard the RFP. You may make a one-time immediate payment or a
        future-scheduled payment in response to a RFP. Recurring payments are not available at this time. You may
        make payments 24 hours a day, 7 days a week, including weekends and holidays.

       By making a request to send a payment, you authorize us to debit your account for the amount of the payment
       and to transfer that amount lo the Payee you designate. You also understand that your account will be debited
       immediately for a one time immediate payment, or on the dale you have scheduled for a future-scheduled
       payment, in the amount you have designated and a transfer will be made in real time to that Payee's financial
       institution. However, we do not control when the financial institution will credit the intended Payee's account or
       when your account with the Payee will reflect the payment. If we fail to process a payment in accordance with
       your properly completed instructions and the RTP requirements, we will reimburse you for any late payment fees
       charged by the Payee, in addition to any other remedies that may be available to you under Section 8 of this
       Agreement.


       Since all payments are irrevocable and cannot be reversed, you shoulc.J be careful to verify Iha! the RFP you
       receive is from a Payee you know and trust and that the amount you enter is correct before sending a payment.
       We make no representations or warranties that the information contained in a RFP is accurate and complete. II is
       your responsibility to verify the accuracy of that information prior to sending a payment. You will still be
       responsible for any payment you authorize us to make even if you enter the wrong amount. We will not be liable
       for any typographical, keystroke or other errors made by you.

       We do not offer a protection program for authorized payments made through RTP. We will not be liable if you do
       not receive the goods or services that you paid for, or if the goods or services are damaged or otherwise not
       what you expected. You are responsible for resolving any such disputes you may have with the Payee to whom
       you sent a payment through RTP.


       D.Fees


      There is no fee for receiving a RFP or making payments in response to a RFP using RTP.


      E. Cancellation


      Immediate lransfers made using RTP are irrevocable and cannot be reversed or stopped once made. Future-
      scheduled payments may be cancelled by 11 :59 p.m. ET on the business day prior lo the scheduled transfer by
      going to the Transfers section of the Bank of America website or mobile app and lapping on "Activity".


      F. Limits

      The following limits will apply to payments sent using RTP*:



                                    Every 24 hours               Every 7 days                 Every Month



       Consumer checking           $3500 / 1O transactions      $10,000 / 30 transactions     $20,000 / 60 transactions




     *Private Bank and Merrill Lynch Wealth Management clients may be subject to higher dollar limits and total
     transfers. Please contact your advisor for more information on your limits.




     G. Liability for Unauthorized Transfers


     For information regarding your liability for unauthorized transactions, see section 8 of this Agreement.




                  Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 109 of 129
https://web. archive.org/web/2022112016034 9/https ://www.bankofamerica.com/online-banking/service-ag reement. go?request_locale=en_US   12/25
   3/6/23, 5:58 PM                                                  Bank of America I Online Banking I Service    dement

        6. ACH and Wire Transfers


        Transfers sent outside of the United States that are initiated by consumers primarily for personal, family or
        household purposes ("Remittance Transfers"), are governed by federal law (see section 6.F below). This
        Agreement governs not only Remittance Transfers, but also certain other transfers between your linked accounts
        at Bank of America and your accounts at other financial institutions, or to someone else's account, using an
        account number and financial institution identifier.

        For transfers other than Remittance Transfers, including general questions, requests for cancellation of
        payments and transfers, or to report unauthorized transactions, please call us at 800.432.1000 or 866.758.5972
        for small business accounts, available Monday through Friday from 7:00 a.m. to 10:00 p.m., and Saturday and
        Sunday from 8:00 a.m. to 5:00 p.m., local time. From outside of the continental U.S., call us collect at
        925.681 .7600.

       You may also write us at:

       Bank of America
       FL1-300-02-07
       P.O. Box 25118
       Tampa, FL 33622-5118

       For Remittance Transfers, please see the contact information in Section 5.F. below.

       A. Security Procedures



       By enrolling in the Service and accessing it using your User ID and password, and such other security and
       identification methods as we may require from time to time, such as security questions or one-time passcodes,
       you acknowledge and agree that this system includes security procedures for transfers initiated through this
       Service that are commercially reasonable. You agree to be bound by instructions, whether authorized or
       unauthorized, which we implement in compliance with these procedures, unless you have given us prior notice of
       possible unauthorized use of your password and we had a reasonable opportunity to act on such notice.


       B. Types of ACH and Wire Transfers



      You may send and receive the following types of ACH and Wire transfers:


                                                                                                        Cut-Off
                                     Sending            Receiving                                       Times
        Types of Transfers1• 2       Limits {per        Limits (per       Fees4
                                     transaction)3      transaction) 3                                  {all
                                                                                                        eastern
                                                                                                        PM)



        Three Business Day AC H
        (outbound)

          Consumer                   $1000              N/A               $3.00                        8:00
          Small Business            $5000                                 $1.00                        8:00



       Three Business Day ACH
       (inbound)

         Consumer                   NIA                $1 ,000           $0.00                         8:00



       Next Business Day ACH
       (outbound)

         Consumer                   $1000              NIA               $10,00                        8:00
         Small Business             $5000                                $5.00                         8:00



       Next Business Day ACH

                 Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 110 of 129
https ://web. archive.org/web/2022112016034 9/https ://www. bankofamerica.com/online-banking/service-agreement.go ?request_locale=en_Us   13/25
  3/6/23, 5:58 PM                                                     Bank of America I Online Banking I Service .       ~emenl
           (inbound)"

             Consumer                   N/A                 $1 ,000            $0.00                           8:00



           Same Business Day
           (domestic) Wire Transfer
           (outbound)

             Consumer                   $1000               N/A                $30.00                          5:00
             Small Business             $5000                                  $30.00



           International Wire
           Transfer (outbound)6

             Consumer                   $1000               N/A                $45.00 (US Dollar transfer)     5:00
             Small Business             $5000                                  $0.00 (Foreign currency
                                                                               transfer)
                                                                               $45.00 (US Dollar transfer)
                                                                               $0.00 (Foreign currency
                                                                               transfer)




       1/ For domestic transfers, funds will be debited from your Bank of America account on the business day you
       direct us to initiate processing of the transfer, and typically will be credited to the receiving account on the same
       business day, next business day or third business day after the transfer is initiated, depending on your choice.

      2/   For Direct Payments Service, see the Business Services Addendum for details on fees and limits.

      3
       / Daily and monthly limits may also apply. You may be eligible for hiyher' ii ar ,saction limits if you add Secured
      Transfer to receive a one-time passcode on your mobile device or register a USB security key. Higher
      transaction limits may also apply for Bank of America Private Bank, Merrill or small business accounts.

      4/ You will be charged $25 for each transfer trace that you ask us to execute for you. International transfers may
      be subject to additional fees charged by intermediary, receiving and beneficiary banks.

      5
       / To be eligible to receive a next business-day ACH transfer, you must first have received an aggregate of

      $500.00 in one or more three business day ACH transfers, and the first three business day ACH transfer must
      have been at least 60 days prior to the first next business day ACH transfer.

      6 / For international outbound transfers, funds will be debited from your Bank of America account on the business

      day you direct us to initiate processing of the transfer. Bank of America will send the payment out on that
      business day and, except for Remittance Transfers the beneficiary's bank typically receives the funds 1 to 2
      business days later and the funds typically will be credited to the beneficiary within 2 business days. See Section
      6.F for special rules applicable to Remittance Transfers.

      ACH/Wires send limits are set at the customer profile (User ID) and apply to all accounts visible in the "From"
      dropdown when initiating an ACH/Wire payment. If you are a Small Business customer and are not receiving the
      Small Business limits, make sure you are Jogged in with your Small Business User ID.

      You may also move money within the U.S. without a transfer fee by using Zelle (described in Section 4 above) or
      Bill Pay (described in Section 3 above). ACH and Wire transfers are alternatives that allow you to transfer funds
      when delivery of funds domestically by a specific date is critical or when you are transferring funds outside the
      U.S.


      C. Transfer Rules


        Small business customers may transfer funds from their business checking account to an individual's or
        vendor's account at another financial institution, but may not transfer funds from an external account to their
        small business account. Before scheduling a transfer to an individual, you agree that you will have received a
        signed authorization from the payee, and that the authorization will not have been revoked. You agree to
        provide a copy of the authorization lo us upon our request. Before scheduling any vendor payment, you agree
        that you will have received authorization from the vendor to make the payment by electronic means.

       You will need to provide certain identifying information about each non-Bank of America account in order to
       register that account for this Service. For inbound transfers, you agree that you will only attempt to register
       non-Bank of America personal accounts that you own or for which you have the authority to transfer funds.
       Same-Business-Day Wire transfers are not available for inbound transfers. Transfers to accounts located
                   Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 111 of 129
https ://web. archive.org/web/2022112016034 9/https ://www. ba nkofa merica. com/online-ba nking/service-agreeme nt. go?request_locale=en_US   14/25
  3/6/23, 5:58 PM                                                     Bank of America I Online Banking I Service         ~ement
         outside the United States are available for outbound transfers only and are subject to the delivery times
         indicated above. Next-Business-Day and Three-Business-Day ACH transfers are not available for international
         transfers.
         Bank of America cannot guarantee the timely delivery or return of funds as a result of the failure of another
         financial institution to act in a timely manner. Please note that beneficiary banks located in some countries may
         take several days or even weeks to credit the receiving account. There may be some risk in making a transfer
         to a slow-to-pay country. Currency conversion charges also may apply to international outbound transfers.
         For each transfer, we will e-mail a confirmation to you at the e-mail address indicated in our records. The
         confirmation will note the date and the amount of the transfer and the bank or institution to or from which the
         transfer was made. You agree to examine the confirmation promptly upon receipt and to notify us immediately
         of any discrepancy between the confirmation and your records. Bank of America will not be liable for interest
         compensation, as otherwise set forth in this Agreement, unless Bank of America is notified of the discrepancy
         within 30 days from the date of your receipt of the confirmation or your bank statement including the transfer,
         whichever is earlier. You acknowledge and agree that if a payment order relating to a transfer describes a
         beneficiary inconsistently by name and account number, payment might be made by the beneficiary's bank on
         the basis of the account number, even if it identifies a person different from the named beneficiary, and that
         your obligation to pay the transfer issued by you to us shall not be excused by such payment.
         You agree that you will have sufficient available funds in the designated deposit account to cover all transfers
         on the date scheduled. If an account does not have sufficient available funds on the scheduled date, we may
         elect not to initiate one or more of the transfers. If we do elect to initiate the transfer, which may involve one or
         more attempts on subsequent business days, it may cause an overdraft in your account in which case you
         shall be liable for the overdraft and any overdraft fees, as set forth in your Deposit Agreement.
         You agree that Bank of America may use any means or routes which we in our sole discretion consider
         suitable to execute your transfer. For small business customers, if you transfer funds in U.S. dollars to a non-
         U.S. dollar account, your payment may be converted into the local currency by any originating, intermediary or
         receiving bank, payment system or payment service provider, including Bank of America or an affiliate, as
         applicable. We and/or an affiliate include a mark-up or fee on such currency conversion and may profit in
         connection with any such currency conversion. Bank of America hereby gives notice that Same-Business-Day
         domestic transfers and international outbound transfers may be executed through Fedwire, a funds transfer
         system operated by the Federal Reserve Banks, through CHIPS (Clearing House Interbank Payments
         System), a funds transfer system operated by The Clearing House or through SWIFT (Society for Worldwide
         Interbank Financial Telecommunication). With respect to payment orders relating to the transfer which are
         executed through Fedwire, Federal Reserve Regulation J and all applicable Federal Reserve operating rules
        shall govern the payment orders. With respect to payment orders relating to the transfer which are executed
        through CHIPS, the CHIPS Operating Rules shall govern the payment orders. With respect to payment orders
        relating to the transfer which are executed through SWIFT, the SWIFT operating rules shall govern the
        payment orders. However, with respect to Remittance Transfers, to the extent of any inconsistencies between
        the above referenced rules and the provisions of the Electronic Funds Transfer Act ("EFTA"), the provisions of
        EFTA shall prevail. Notwithstanding anything to the contrary contained herein, the rights and obligations that
        apply to Remittance Transfers are set forth in the EFTA and, as applicable, as set forth in New York law.
        Three-Business-Day ACH transfers and Next-Business-Day ACH transfers may be made through the
        Automated Clearing House processor selected by us or directly to another bank, and you agree will be subject
        to the National Automated Clearing House Association rules or our agreement with the other bank, in effect at
        such time, as applicable.

      Future scheduled or recurring transfers scheduled for a weekend or a non-business day will be processed on the
      prior business day.


      D. Cancelling Transfers


       Except for Remittance Transfers, if you direct us to begin processing a transfer immediately or a transfer's
       status is In Process or Processed, you no longer have the right to cancel it. Bank of America may at its option
       accept your cancellations or amendments to a transfer. You acknowledge that if Bank of America attempts to
       cancel or amend a transfer, then the reversal request or amendment must be agreed to by each financial
       institution which has accepted a payment order related to the transfer at issue before it will be acted upon and
       you further agree that Bank of America shall have no liability if a cancellation or amendment is not completed.
       Except for Remittance Transfers, you can cancel future scheduled and recurring domestic transfers prior to
       midnight ET on the date processing for the transfer is scheduled to be initiated by accessing the Transfers
       page and selecting To/From my accounts at other banks or To someone else or business This is the preferred
       method for cancelling transfers. You may also request to cancel a future scheduled or recurring transfer by
       calling us at 800.432.1000 for consumer accounts and 866.758.5972 for small business accounts. If you are
       calling from outside of the continental U.S., call us collect at 925.681.7600.After you cancel a future-dated
       transfer, the status changes to Canceled.
       Once an international outbound transfer has been sent, or, in the case of Remittance Transfers, after the 30
       minute cancellation period has passed, you may request that a transfer be recalled, and we will communicate
       your request to the beneficiary's bank. If the beneficiary's bank agrees to return the funds to us, then upon
       confirmation of receipt of funds in our account, we will credit your account at the current Bank of America retail
       buy rate for that currency that day (see below). Please note that the exchange rate may be different from the
                 Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 112 of 129                                                     15125
https://web.archive.orglweb/20221120160349/https ://www.bankofamerica. comlonline-banking/service-agreement. go?reques t_l ocale=en_ US
   3/6/23, 5:58 PM                                                      Bank of America I Online Banking I Service.         Jement
          original rate applicable to the transfer, which may result in a loss to you. Furthermore, the beneficiary's bank
          may assess charges for their services, which will be deducted from the amount returned to you. We will have
          no liability to you if the beneficiary's bank or foreign beneficiary refuses your request to recall the international
          wire transfer.

          If a transfer is returned by the receiving bank or beneficiary's bank for no fault of ours, we will credit your
          account at the current Bank of America retail buy rate for the currency that day (see below). Please note that
          the exchange rate will be different from the original rate applicable to the transfer, which may result in a loss to
          you. Furthermore, a returning bank and/or beneficiary's bank may assess charges for their services, which will
          be deducted from the amount returned to you.


        Please see Section 6.F for the cancellation procedures applicable to Remittance Transfers.


       E. Liability


          The following applies to Same-Business Day Domestic Wire transfers and all ACH and Wire transfers from a
          business account. The liability for Three-Business Day ACH transfers and Next-Business Day ACH transfers
          involving a transfer to or from a Bank of America consumer account is described in Section 8 below. The
          liability for Remittance Transfers is described in Section 6.F. below.
          If we fail or delay in making a transfer pursuant to your instructions, or if we make a transfer in an erroneous
          amount that is less than the amount per your instructions, unless otherwise required by law or as otherwise
          provided in this Agreement, our liability shall be limited to correcting the error. If we make a payment or
          transfer in an erroneous amount that exceeds the amount per your instructions, or if we permit an
          unauthorized payment or transfer after we have had a reasonable time to act on a notice from you of possible
          unauthorized use, unless otherwise required by law or as otherwise provided in this Agreement, our liability will
         be limited to a refund of the amount erroneously paid or transferred, plus interest thereon from the date of the
         transfer lo the date of the refund , but in no event to exceed 60 days' interest. If we become liable to you for
         interest compensation under this Agreement or applicable law, such interest shall be calculated based on the
         average federal funds rate at the Federal Reserve Bank in the district where Bank of America is headquartered
         for each day interest is due, computed on the basis of a 360-day year. Unless otherwise required by law, in no
         event will Bank of America be liable to you for special, indirect or consequential damages including , without
         limitation, loss or damage from subsequent wrongful dishonor resulting from our acts or omissions or lost
         profits, even if we are advised in advance of the possibility of such damages. We shall not be liable for your
         attorney's fees, except as required by law.
         You expressly agree that Bank of America shall be liable to you only for our negligent performance or non-
         performance of the ACH and Wire Transfer services, and that our responsibility shall be limited to the exercise
         of reasonable and ordinary care. Unless otherwise required by law, Bank of America shall not be liable for any
         error or delay on the part of any third party or for any other act or omission of any third party, including without
         limitation third parties used by Bank of America in executing any payment order relating to a transfer or
         perforr,rir,g a ltJialed act, and no such third party shall be deemed to be our agent.


       We do not accept any liability for our exchange rates. Any and all liability relating to this informalion and the rates
      provided herein is disclaimed, including without limitation, direct, indirect, or consequential loss, and any liability if
       our exchange rates are different from rates offered or reported by third parties, or offered by us at a different
      time, at a different location, for a different transaction amount, or involving a different payment media (including,
      but not limited to bank notes, checks, wire transfers etc.) For Remittance Transfers, the exchange rate to be
      applied lo the transfer will be set forth in disclosures provided to you for the trans(er in accordance with federal
      law.


      F. Special Rules for Remittance Tran sfers



     The following applies lo Remittance Transfers.

       As described above, a Remittance Transfer is an electronic transfer of funds initiated by a consumer primarily
       for personal, family or household purposes to a designated recipient in a foreign country. Federal law provides
       certain rights and obligations related to Remittance Transfers that may differ from rights and obligations that
       apply to other types of funds transfers, including disclosure, cancellation and error resolution rights. Your rights
       with respect to Remittance Transfers will be explained to you in a disclosure provided to you at the time you
       initiate each Remittance Transfer.


       Prior to sending a Remittance Transfer, we will provide you with certain important disclosures including, if
       applicable: (i) the amount that will be transferred to the recipient, (ii) a description of any fees or taxes we
       impose, (iii) the total amount of the transaction (which is the sum of (i) and (ii) above,) and (iv) the exchange
       rate we will use in the event you tell us that the receiving account is denominated in a foreign currency and
       you identify such currency. In addition, if you chose to transfer money in foreign currency, the disclosures will
       also include the following items in such foreign currency: (x) the transfer amount, (y) the fees imposed by third
       parties in connection with the transfer, and (z) the total amount lo be received by the recipient (which is the
       difference between (x) and (Y) above.) Please note the recipient may receive less than the total amount
                  Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 113 of 129
https://web.archive.org/web/20221120160349/https://www.bankofamerica.com/online-banking/service-agreement.go?request_locale=en_ US   16/25
   3/6/23, 5:58 PM                                                       Bank of America I Online Banking I Service.         .iement
           disclosed due to foreign taxes and fees charged by the recipient's financial institution for receiving a
           Remittance Transfer into an account. which are not required to be disclosed.
                   Once you confirm your acceptance of the Remittance Transfer terms, you will be shown a receipt
                   which includes the items listed above and, in addition, (i) the date the funds will be available to the
                   recipient, (ii) information you provide that identifies the recipient, and (iii) a statement of your rights in
                   the event of an error or if you wish to cancel the transfer, as described below.
                   You are hereby notified that in the event that you provide an incorrect account number or institutional
                   identifying number, and we are not able to recover the funds, you may lose the amount of the payment
                   order.


        If you think there has been an error or problem with your Remittance Transfer:

        Call us at 877.337.8357; or, from outside the U.S. call us collect at 302.781.6374.

        You can also write to us at:

       Bank of America, N.A.
       PO Box 25118
       Tampa, FL 33622-5118

       Frequently asked questions about wire transfers including error resolution procedures, can be viewed by
       accessing https://www.bankofamerica.com/deposits/wire-transfers-faqs/.

       You must contact us within 180 days of the date we indicated to you that funds would be made available to the
       recipient. When you do, please tell us:

       1. Your name and address or telephone number;

       2. The error or problem with the transfer, and why you believe it is an error or problem;

       3. The name of the person receiving the funds, and if you know it, his or her telephone number or address;

       4. The dollar amount of the transfer; and

       5. The confirmation code or number of the transaction.

      We will determine whether an error occurred within 90 days after you contact us and we will correct any error
      promptly. We will tell you the results within three business days after completing our investigation. If we decide
      that there was no error, we will send you a written explanation. You may ask for copies of any documents we
      used in our investigation.

      What to do if you want to cancel a Remittance Transfer:

       You have the right to cancel a Remittance Transfer and obtain a refund of all funds paid to us, including any fees,
      within 30 minutes of your confirmation of the transfer. The best way to cancel a transfer is to log in to your
       account at www.bankofamerica.com and select Transfers>Send Money To Someone>Using their account
      number at another bank to access the right transfers activity tab. Alternatively, you may call us at 877.337.8357,
      Monday through Friday from 7:00 a.m. to 10:00 p.m., and Saturday and Sunday from 8:00 a.m. to 5:00 p.m. ,
      local time. From outside the U.S., call us collect at 302.781.6374. When you contact us, you must provide us with
      information to help us identify the transfer you wish to cancel, including the amount and location where the funds
      were sent. We will refund your money within three business days of your request to cancel a transfer as long as
      the funds have not already been picked up or deposited into a recipient's account.


      G. Currency Exchange Rates


     We may determine a currency exchange rate and assign it to your transaction without notice to you. Exchange
     rates fluctuate, at times significantly, and you acknowledge and accept all risks that may result from such
     fluctuations. If we assign an exchange rate to your foreign exchange transaction, that exchange rate will be
     determined by us in our sole discretion based upon such factors as we determine relevant, including without
     limitation, market conditions, exchange rates charged by other parties, our desired rate of return, market risk,
     credit risk and other market, economic and business factors, and is subject to change at any time without notice.
     You acknowledge that exchange rates for retail and commercial transactions, and for transactions effected after
     regular business hours and on weekends, are different from the exchange rates for large inter-bank transactions
     effected during the business day, as may be reported in The Wall Street Journal or elsewhere. Exchange rates
     offered by other dealers or shown at other sources by us or other dealers (including online sources) may be
     different from our exchange rates. The exchange rate you are offered may be different from, and likely inferior to,



                 Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 114 of 129
https ://web. archive.org/web/20221120160349/https ://www. bankofamerica.com/online-ba nki ng/service-agreement.go?request_ locale=en_ US   17/25
   3/6/23, 5:58 PM                                                     Bank of America I Online Banking I Service          Jement
        the rate paid by us to acquire the underlying currency. We reserve the right to refuse to process any request for a
        foreign exchange transaction.

        We provide all-in pricing for exchange rates. The price provided may include profit, fees, costs, charges or other
        mark ups as determined by us in our sole discretion. The level of the fee or markup may differ for each customer
        and may differ for the same customer depending on the method or venue used for transaction execution.

       We do not accept any liability for our exchange rates. Any and all liability for our exchange rates is disclaimed,
       including without limitation direct, indirect or consequential loss, and any liability if our exchange rates are
       different from rates offered or reported by third parties, or offered by us at a different lime, at a different location,
       for a different transaction amount, or involving a different payment media (including but not limited to bank-notes,
       checks, wire transfers, etc.).




       7. Online Banking Alerts


       A. General Information



       We provide four types of alerts:

        1. General & Security Alerts are sent to you when important changes are made online to your account, such as
           changing your email or home address, telephone number, User ID or password, or unusual card activity.
             General and Security alerts are automatically activated and sent to your primary email address. If you
             choose, you may turn off General alerts, but not Security alerts.


       2. Automatic Alerts provide you with important account notifications, such as information about a money transfer,
          insufficient funds or availability of a paperless statement.
            Automatic alerts are automatically activated and sent to your primary email address only. You may not turn
            off Automatic Alerts.


       3. Account Alerts allow you to choose optional alert messages for your accounts, such as payment reminders or
          transaction alerts for credit or debit card charges.
            You must select and activate account alerts; you can turn off account alerts at any lime.


       4. Personalized insights and guidance to help manage your finances which are sent through Mobile app push
          notifications. Insights are automatically activated; you can turn off insights at any time.

      Alerts are subject to the following:

        We may add new alerts from lime to lime, or cancel old alerts. We usually notify you when we cancel alerts,
        but are not obligated to do so. Because alerts are not encrypted, we will never include your full account
        number. However, alerts may include your name and some information about your accounts, such as your
        account balance or due date. Anyone who has access to your messages could view the alert information.


        Alerts will be sent to the email address you have provided as your primary email address for online banking .
        For General & Security and Account Alerts, you can also choose to have these sent to a secondary email
        address, a mobile device that accepts text messages or a mobile device that can receive our Mobile App Alerts
        through a push notification system. You can control mobile Push notification delivery within the Bank of
        America mobile app. If your email address or your mobile number changes, you are responsible for informing
        us of that change. While Bank of America does not charge for the delivery of the alerts, please be advised that
        text or data charges or rates may be imposed by your carrier.


        We do our best to provide alerts in a timely manner with accurate information, but alerts may be delayed or
        prevented by a variety of factors beyond our control (such as system failures or misdirected delivery). We don't
        guarantee the delivery or accuracy of alerts. You agree that we are not liable for any delays, failure to deliver,
        or misdirected delivery of any alert; for any errors in the content of an alert or for any actions taken or not
        taken by you or a third party as the result of an alert.


     B. Mobile Text Alerts


      1. Online Banking Alerts via Text Message

     You have the option of adding a mobile phone number to your online banking profile. By adding a mobile phone
     number to your online banking profile, you are certifying that you are the account holder for the mobile phone
                 Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 115 of 129
https ://web. archive.org/web/20221120160349/https://www.bankofamerica. com/online-banking/service-agreement.go? request_loca le= en_ US   18/25
   3/6/23, 5:58 PM                                                     Bank of America I Online Banking I Service.     Jement
        account or have the account holder's permission to use the mobile phone number for online banking. You are
        also consenting to receive online banking Alerts using auto-dialer technology and to receiving text messages.
        Text message fees may apply depending on your mobile carrier plan.



        You can text STOP to 692632 at any time to stop SMS text alerts that you activated on the Alerts Settings pages.
        Alerts sent to your primary email address won't be affected by this action. To restore text alerts, go to the Alerts
        Settings pages and reactivate the alerts. For help with SMS text alerts, send the word HELP to 692632.




        2. Security Alerts via Text Message

        We may also send credit card, business line of credit and/or debit card security text alerts to your mobile phone
        number when applicable. Text alerts will be delivered from a short code number which are Free to End User
        (FTEU), however, data rates may apply depending on your mobile carrier plan. You can opt out of security alerts
        anytime by sending the word STOP to the applicable short codes below. Opting out of the alerts will automatically
        STOP all security alerts from being sent to you. If you need further assistance text HELP to any of the following
        codes for more information.




         Product>                                                  Short Code                    Toll Free Number



         Credit Card Security Alerts                               322632                        844.585.0488



         Debit Card Security Alerts                                39989                         844.585.0485



        Small Business Credit Card Security Alerts                 96264                         800.427.2399



        Check Fraud Security Alerts                                86006                         877.887.8935



        Digital Banking Security Alerts                            55983                         866.500.6260



        Account Takeover Security Alerts                           56433                         866.376.7091



        Zelle Payment Security Alerts                             80814                          866,376.4584




      Account Restrictions alerts are sent from short code 85594. You can opt out of this alert any lime by texting
      STOP to 85594. Opting out of this alert will automatically stop these account restriction alerts from being sent to
      you. Text HELP for SMS help, or call us at 800.427.2449

      For information about our privacy and security practices and a link to our U.S. Consumer Privacy Notice, go to
      our website at hllps://www.banl<0fa111erica.com/privacy




     8. Error Resolution Procedures for Consumer Accounts


     A. In Case of Errors or Questions About Your Electronic Transactions



     Send us a secure online mail message or call us at 800.432.1000

     If you are calling from outside of the continental U.S., call us collect at 925.681 .7600



                  Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 116 of 129
https ://web. archive.org/web/2022112016034 9/https ://www.bankofamerica. com/online-banking/service-ag reement. go ?request_locale=en_ US   19/2 5
   3/6/23, 5:58 PM                                                    Bank of America I Online Banking I Service .       Jement
         You may also write us at:

         Bank of A merica

        FL1-300-02-07
        P.O. Box 25118
        Tampa, FL 33622-5118

        Contact us immediately if you think:

           Your statement or transaction record is wrong
          You need more information about a transaction listed on your statement
          An unauthorized person has discovered your Online Banking password
          Someone has transferred or may transfer money from your account without your permission


        We must hear from you no later than 60 days after we have sent the FIRST statement on which the problem or
        error appeared (or 90 days if the problem or error relates to a transfer from an account maintained at another
        financial institution). Please see section 7B below regarding reporting an error involving an unauthorized
        transaction.

       If you tell us verbally, we may require you to send us your complaint or question in writing or via email within ten
       (10) business days (Online Banking customers may use secure online mail). When you contact us, please
       provide the following information:

          Your name and account number
          The date and dollar amount of the transaction in question
          The name of the Payee if the transaction in question is a bill payment
         The transaction number assigned by Online Banking, if available
         A description of the transaction about which you are unsure


       Please explain as clearly as you can why you believe there is an error or why you need more information.

      We will determine whether an error occurred within 1Obusiness days after we hear from you, and we will
      promptly correct any error we have made. If we need more lime, however, we may take up to 45 days to
      investigate your complaint or question. In this case, we will provisionally credit your account within 10 business
      days for the amount you think is in error, so that you have the use of the money during the time it takes us to
      complete our investigation. lfwe ask you to put your complaint or question in writing, and we do not receive your
      letter in 10 business days, we reserve the right not to provisionally credit your account. For errors involving new
      accounts, we may take up to 90 days to investigate your complaint or question and up to 20 business days to
      provisionally credit your account.

      We will tell you the results within 3 business days after we complete our investigation. If we conclude there was
      no error, we will send you a written explanation. You may request copies of the documents that we used in our
      investigation.

      If your transaction was a Remittance Transfer (transfer of funds initiated by a consumer primarily for personal,
      family or household purposes to a designated recipient in a foreign country), please see the eIror resolution
      procedures in Seclion 6.F.


      B. Limitat ion o f Liability for Online Banking Tran sactions



      Tell us at once if you believe your Online Banking password has been compromised or if someone has
      transferred or may transfer money from your account without your permission. The best way to minimize your
      loss is to call us immediately. The unauthorized use of your Online Banking services could cause you to lose all
      of your money in your accounts, plus any amount available under your Balance Connect™ overdraft protection
      service.

     You will have no liability for unauthorized transactions if you notify us within 60 days after the statement showing
     the transaction has been sent to you (or 90 days if the transaction was from an account maintained at another
     financial institution). If you do not, you may not get back any of the money you lost from any unauthorized
     transaction that occurs after the close of the 60-day period (or 90 day period if the transaction was from an
     account maintained at another financial institution) , if we can show that we could have stopped the transaction if
     you had notified us in time. If a good reason (such as a long trip or hospital stay) kept you from telling us, we
     may extend the time periods.


                  Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 117 of 129
https://web.archive.org/web/20221 120160349/https ://www. ba nkofamerica. com/online-ba nking/service-ag reeme nt. go ?request_locale=en_ US   20/25
    3/6/23, 5:58 PM                                                   Bank of America I Online Banking I Service .     ,ement
         If you give your User ID and password and grant authority to make transfers to a person who exceeds the
         authority given, you are responsible for all transactions that person performs unless you notify us that the
         transfers by that person are no longer authorized. Transactions that you or someone acting with you initiates with
         fraudulent intent are also authorized transactions.

        Note: These liability rules are established by Regulation E, which implements the federal Electronic Fund
        Transfer Act and does not apply to business accounts. Our liability policy regarding unauthorized Online Banking
        transactions on consumer deposit accounts may give you more protection, provided you report the transactions
        promptly. Also, the state law applicable to your account may give you more time to report an unauthorized
        transaction or may give you more protection.


        C. Our Liability for Failure to Complete Transactions



        lfwe do not complete a transaction to or from your account on lime, or in the correct amount according to our
        agreement with you, we will be liable for your losses or damages. However, there are some exceptions. For
        instance, we will not be liable:

          If, through no fault of ours, you don't have enough available funds in your account (or available funds under
          your Balance Connect™ overdraft protection service), or credit to cover the transaction or transfer
          If Online Banking services weren't working properly, and you knew about the malfunction when you started the
          transaction or transfer

          If circumstances beyond our control (such as fire or flood) prevented the transaction or transfer, despite
          reasonable precautions we've taken
          If there are postal delays or processing delays by the Payee
          There may be other exceptions not specifically mentioned


       D. Our Liability for ACH and Wire Transfers


       For the provisions governing our liability for Same-Business Day Outbound wire transfers and international
       transfers please see Section 6. Our liability for Three-Business Day ACH transfers and Next Business Day ACH
       transfers involving a transfer to or from a Bank of America consumer account is as described in this Section 8.




       9. Additional Provisions Only Applicable to Small Business Accounts


       A. Protecting Passwords


      If you think your password may have been compromised, or you believe there has been unauthorized or
      erroneous online activity with respect to your account, contact us at 866.758.5972. If you are calling from outside
      of the continental U.S., call us collect at 925.681 .7600.

      You agree that we may send notices and other communications, including password confirmations, to the current
      address shown in our records, whether or not that address includes a designation for delivery to the attention of
      any particular individual. You further agree that Bank of America will not be responsible or liable to you in any
      way if information is intercepted by an unauthorized person, either in transit or at your place of business. You
      agree to: 1) keep your password secure and strictly confidential, providing ii only to authorized signers on your
      account(s); 2) instruct each person to whom you give your password that he or she is not to disclose it to any
      unauthorized person; and 3) immediately notify us and select a new password if you believe your password may
      have become known to an unauthorized person. Bank of America will have no liability to you for any
      unauthorized payment or transfer made using your password that occurs before you have notified us of possible
      unauthorized use and we have had a reasonable opportunity to act on that notice. We may suspend or cancel
      your password even without receiving such notice from you, if we suspect your password is being used in an
      unauthorized or fraudulent manner. For businesses who use the additional services described in the Business
      Services Addendum, this section applies to all Online Banking passwords, including those assigned to users or
     Administrators. You are responsible for all transactions performed by you and any designated user(s). including
     Administrator(s), whether you specifically authorize the transactions or not. If you notify us that the person is no
     longer authorized, then only transactions that person performs after the time you notify us are considered
     unauthorized.


     B. Acknowledgment of Commercially Reasonable Security Procedures


     By using Online Banking, you acknowledge and agree that this Agreement sets forth security procedures for
     electronic banking transactions that are commercially reasonable. You agree to be bound by instructions,
                 Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 118 of 129
https ://web. archive.org/we b/2 022112 O160349/https://www.bankofamerica.com/online-ba nking/service-agreement. go?request_locale=en_ US   21/25
    3/6/23, 5:58 PM                                                     Bank of America I Online Banking I Service         ,ement
         whether authorized or unauthorized, which we implement in compliance with these procedures, unless you have
         given us prior notice of possible unauthorized use as described above (and we had a reasonable opportunity to
         act on such notice).


         C. Limitation of Bank's Liability


         If we fail or delay in making a payment or transfer pursuant to your instructions, or if we make a payment or
         transfer in an erroneous amount that is less than the amount per your instructions, unless otherwise required by
         law, our liability shall be limited to interest on the amount that we failed to timely pay or transfer, calculated from
         the date on which the payment or transfer was to be made until the date it was actually made or you canceled
         the instructions. We may pay such interest either to you or the intended recipient of the payment or transfer, but
         in no event will we be liable to both parties, and our payment to either party will fully discharge any obligation to
        the other. If we make a payment or transfer in an erroneous amount that exceeds the amount per your
        instructions, or if we permit an unauthorized payment or transfer after we have had a reasonable time to act on a
        notice from you of possible unauthorized use as described above, unless otherwise required by law, our liability
        will be limited to a refund of the amount erroneously paid or transferred, plus interest thereon from the date of the
        payment or transfer to the date of the refund, but in no event to exceed 60 days' interest. If we become liable to
        you for interest compensation under this Agreement or applicable law, such interest shall be calculated based on
        the average federal funds rate at the Federal Reserve Bank in the district where Bank of America is
        headquartered for each day interest is due, computed on the basis of a 360-day year. Unless otherwise required
        by law, in no event will Bank of America be liable to you for special, indirect or consequential damages including,
        without limitation, lost profits or attorney's fees, even if we are advised in advance of the possibility of such
        damages.


        For the provisions governing our liability for ACH or Wire Transfers, please see Section 6.E above.




        10. Disclaimer of Warranties, Limitation of Liability and Indemnification


       A. Disclaimer of Warrant ies


        EXCEPT AS OTHERWISE PROVIDED HEREIN, AND SUBJECT TO APPLICABLE LAW, NEITHER WE NOR
       OUR VENDORS, INCLUDING OUR OR THEIR OWNERS, DIRECTORS, OFFICERS OR AGENTS, MAKE ANY
       EXPRESS OR IMPLIED WARRANTIES, REPRESENTATIONS OR ENDORSEMENTS WHATSOEVER WITH
       RESPECT TO THE SERVICES. WE AND OUR VENDORS EXPRESSLY DISCLAIM ALL WARRANTIES OF
       ANY KIND, EXPRESS, IMPLIED, STATUTORY OR OTHERWISE, INCLUDING, BUT NOT LIMITED TO,
       IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, TITLE AND
       NON-INFRINGEMENT, WITH REGARD TO THE SERVICES DESCRIBED OR PROVIDED. NEITHER WE NOR
       OUR VENDORS, INCLUDING OUR OR THEIR OWNERS, DIRECTORS, OFFICERS OR AGENTS, WARRANT
       THAT THE SERVICES WILL BE UNINTERRUPTED, T IMELY, SECURE OR ERROR-FREE, OR THAT
       DEFECTS WILL BE CORRECTED. THE SERVICES ARE PROVIDED ON AN "AS IS" AND "AS AVAILABLE"
       BASIS. FOR PURPOSES OF THIS AGREEMENT, "VENDOR(S)" MEANS ANY THIRD-PARTY SERVICE
       PROVIDER, NETWORK OR PARTNER FINANCIAL INSTITUTION WE MAY ENGAGE TO PERFORM
       FUNCTIONS FOR US UNDER THIS AGREEMENT.

      NEITHER WE NOR OUR VENDORS, INCLUDING OUR OR THEIR OWNERS, DIRECTORS, OFFICERS OR
      AGENTS, WARRANT THAT THE WEB SITE, OR THE SERVER THAT MAKES THEM AVAILABLE, IS FREE OF
      VIRUSES OR OTHER HARMFUL COMPONENTS. YOU ASSUME THE ENTIRE COST OF ALL NECESSARY
      SERVICING, REPAIR, OR CORRECTION OF PROBLEMS CAUSED BY V IRUSES OR OTHER HARMFUL
      COMPONENTS.


      B. Limitation of Liability


     EXCEPT AS OTHERWISE PROVIDED HEREIN, AND SUBJECT TO APPLICABLE LAW, IN NO EVENT WILL
     WE OR OUR VENDORS, INCLUDING OUR OR THEIR OWNERS, DIRECTORS, OFFICERS OR AGENTS BE
     LIABLE FOR ANY DAMAGES WHATSOEVER, INCLUDING, BUT NOT LIMITED TO ANY DIRECT,
     INCIDENTAL, CONSEQUENTIAL, SPECIAL, EXEMPLARY OR OTHER INDIRECT DAMAGES ARISING OUT
     OF (I) ANY TRANSACTION CONDUCTED THROUGH OR FACILITATED BY THE SERVICES; (II) ANY CLAIM
     ATTRIBUTABLE TO ERRORS, OMISSIONS, OR OTHER INACCURACIES IN THE SERVICES DESCRIBED
     OR PROVIDED, (Ill) UNAUTHORIZED ACCESS TO OR ALTERATION OF YOUR TRANSMISSIONS OR DATA,
     OR (IV) ANY OTHER MATTER RELATING TO THE SERVICES DESCRIBED OR PROVIDED, EVEN IF WE OR
     OUR VENDORS HAVE BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. IF YOU ARE
     DISSATISFIED WITH THE SERVICES OR WITH THE TERMS OF THIS AGREEMENT, YOUR SOLE AND
     EXCLUSIVE REMEDY IS TO DISCONTINUE USING THE SERVICES.

     FURTHER, WE SHALL NOT BE LIABLE TO YOU OR ANY THIRD PARTY FOR FAILURE TO EXECUTE ANY
     TRANSFER OR PERFORM A RELATED ACT IF SUCH FAILURE IS DUE TO CAUSES OR CONDITIONS
                  Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 119 of 129
https ://web .archive. org/web/2022112O16034 9/https ://www. ba nkofamerica. com/online-b anking/service-ag reement. go?request_ locale=en_ US   22/25
   3/6/23, 5:58 PM                                                   Bank of America J Online Banking J Service .      ,ement
        BEYOND OUR REASONABLE CONTROL, INCLUDING WITHOUT LIMITATION, STRIKES, RIOTS,
        INSURRECTION, WAR, MILITARY OR NATIONAL EMERGENCIES, ACTS OF GOD, NATURAL DISASTERS.
        FIRE, OUTAGES OF COMPUTERS OR ASSOCIATED EQUIPMENT, QUARANTINES, PANDEMICS. OR
        FAILURE OF TRANSPORTATION OR COMMUNICATION METHODS OR POWER SUPPLIES.

        IN THOSE STATES WHERE THE EXCLUSION OR LIMITATION OF LIABILITY FOR CONSEQUENTIAL OR
        INCIDENTAL DAMAGES MAY NOT APPLY, ANY LIABILITY OF US OR OUR VENDORS, INCLUDING OUR OR
        THEIR OWNERS, DIRECTORS, OFFICERS AND AGENTS IN THOSE STATES IS LIMITED AND
        WARRANTIES ARE EXCLUDED TO THE GREATEST EXTENT PERMITTED BY LAW, BUT SHALL, IN NO
        EVENT, EXCEED ONE HUNDRED DOLLARS ($100.00),


        C, Indemnification


       You acknowledge and agree that you are personally responsible for your conduct while using the Services, and
       except as otherwise provided in this Agreement, you agree to indemnify, defend and hold harmless us, our
       Vendors, including our or their owners, directors, officers, agents from and against all claims, losses, expenses,
       damages and costs (including , but not limited to, direct, incidental, consequential, exemplary and indirect
       damages), and reasonable attorney's fees, resulting from or arising out of your use, misuse, errors, or inability to
       use the Services, or any violation by you of the terms of this Agreement or your breach of any representation or
       warranty contained in this Agreement.

       The provisions of Sections 10,A, B and C shall survive termination of this Agreement.




       11, Other Terms and Conditions


       A. Service Charges



       Except as otherwise provided in this Agreement or your applicable account agreements and schedule of fees,
       there is no service charge for accessing your linked accounts with the Service.

       In addition to the fees already described in this Agreement, you should note that depending on how you access
       the Services, you might incur charges for:

         Normal account fees and service charges, such as stop payment requests, check copy orders and account
         statement copy orders.
         Internet service provider fees.
         Wireless carrier fees.

        Returned item fees from the payee or overdraft fees may apply if you schedule payments or transfers and your
        available balance is not sufficient to process the items on the dates scheduled and/or on the dates when the
        items are presented to us for payment.



      8, Service Hours


      The Services are available 365 days a year and 24 hours a day, except during system maintenance and
      upgrades. When this occurs, a message will be displayed on-line when you sign on to Online Banking . Our Call
      Centers are available Monday through Friday from 7:00 a.m, to 10:00 p,m. , and Saturday and Sunday from 8:00
      a.m, to 5:00 p.m. local time, excluding bank holidays, and may be reached through the contact numbers
      contained in the applicable sections of this Agreement. You may also write us at:

     Bank of America
     FL 1-300-02-07
     P.O, Box 25118
     Tampa, FL 33622-5118


     C, Business Days


     For the Services, our business days are Monday through Friday, excluding bank holidays. For investment
     accounts only, all stock exchange closures and holidays will be observed (such as Good Friday) as well as the
     bank holidays.


     D. Changes to Agreement

                 Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 120 of 129
https ://web.archive. org/web/2022112016034 9/https ://www.bankofamerica.com/online-ba nking/service-agreement.go ?request_!ocale=en_US   23/25
   3/6/23, 5:58 PM                                                    Bank of America I Online Banking I Service •       ement


        We may add, delete or change the terms of this Agreement at any time. We will inform you of changes when
        legally required and will try to inform you of the nature of any material changes even when not legally required to
        do so. We may communicate changes by either mail, email or a notice on our website and will make the updated
        terms available on our website. You agree that by continuing to use the Services after the date that changes are
        posted to our website, such changes will be effective for transactions made after that date, whether or not you
        access the website or otherwise receive actual notice of the changes. If you do not agree with a change, you
        may discontinue using the Services.


        E.Canceflation


         The Services remain in effect until they are terminated by you or Bank of America. You may cancel one or more
        of your Services at any time by notifying us of your intent to cancel in writing, through Online Banking secure
        mail, or by calling customer service at 800.432.1000. For small business accounts, call 866.758.5972. This
        cancellation applies to your Services, and does not terminate your Bank of America accounts. We recommend
        that you cancel any scheduled payments prior to notifying us that you are discontinuing the Service. Otherwise,
        Bank of America will cancel any scheduled payments within two (2) business days from the date we receive your
        request to discontinue the Service. If you close your primary checking account, or there is no longer any eligible
        funding account linked to your Service, any unprocessed payments will be canceled. The Services will also end if
        you close all accounts linked to your Online Banking profile.

       We may terminate your participation in any or all of your Services for any reason, including inactivity, at any time.
       We w ill try to notify you in advance, but we are not obliged to do so.


       F. Disclosure of Account Information



       We may disclose information about your accounts to consumer reporting agencies and to other persons or
       agencies who, in our judgment, have a legitimate purpose for obtaining information, as more fully described in
       the account agreement for the applicable account.

       By enrolling in online and mobile banking, you will be automatically enrolled in the Bank's merchant rewards
       program, BankAmeriDeals, whereby the Bank will share anonymized transaction information with vendors in
       order to facilitate your participation in the rewards program and present offers that may be of interest to you. By
       participating in BankAmeriDeals, the Bank will also share anonymized transaction information with participating
       merchants, third parties and card networks to administer your benefits and rewards. As always, we will only use
       personally identifiable information if needed and in accordance with our Online Privacy Notice and U.S.
       Consumer Privacy Notice.

      By using our services, you authorize your wireless operator (AT&T, Sprint, T-Mobile, US Cellular, Verizon, or any
      other branded wireless operator) to use, or to disclose to Bank of America, or other entities working with Bank of
      America, your mobile number, name, address, email, network status, customer type, customer role, billing type,
      mobile device identifiers (IMSI and IMEI) and other subscriber and device status details, if available, where
      provided in accordance with your mobile operator's privacy policy, for the duration of our business relationship
      solely to help verify your identity and to protect against or prevent actual or potential fraud or unauthorized use of
      our services.

      Erica is the Bank's virtual financial assistant (a bot) that provides automated responses to your questions. We
      keep a record of your conversations with Erica for quality assurance, to maintain an accurate account of your
      requests, identify opportunities to make Erica's responses more helpful and ensure Erica's performance is
      optimal. When you interact with Erica by voice, the discussions are recorded and saved for 90 days so they can
      be analyzed to help refine listening skills. You acknowledge that once you invoke the microphone in a session,
      Erica may capture, record, and transcribe other voices in addition to yours, and may continue recording for a
      period of time (up to 15 seconds) unless you close Erica or log out of the Mobile Banking app.

      We will only use personally identifiable information in accordance with our Online Privacy Notice and U.S.
      Consumer Privacy Notice. For more information, go to our Web site at ht1ps://www.llankofamerica.co111/privacy.

     We make security and the protection of your information a top priority. You can access our Online Privacy Notice
     and U.S. Consumer Privacy Notice at https://www.bankofamerica.com/security-center/overview/, which are
     incorporated into and made a part of this Agreement by this reference.


     G. Consent to Provide Electronic Communications


     As part of Online Banking enrollment, you consented to the Online Banking Electronic Communications
     Disclosure ("eCommunications Disclosure") which allows us to provide you with account-related communications
     electronically. Pursuant to this consent, we will deliver these communications electronic ally by either posting the
     communication to your online banking secure mailbox or to our website, sending ii to your email address or by
                  Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 121 of 129
https ://web.archive.org/web/202211 20160349/hltps ://www.ba nkofamerica.com/online-banking/service-agreement. go? request_loca le=en_ US   24/25
   3/6/23, 5:58 PM                                                       Bank of America I Online Banking I Service, .       .ement
        other e lectronic means. You are responsible for providing us with a valid e-mail address to accept delivery of
        electronic communications and you must notify us of any changes or updates to your email address. You agree
        that once we email or post the communications within our website, we have delivered the Communications to
        you in a form that you can retain. You have the option to view, save, or print PDF versions of your account
        documents from the Website via desktop, tablet or mobile device.



        Business Services Addendum




        Some accounts and services, and the fees that apply to them, vary from state to state. Please review the information for your state in the Personal Schedule of
        Fees (at www.bankofamerica.com/feesataglance or at your local Banking Center) and in the Online Banking Service Agreement at
        www.ban1<ot;ime1ica.com/Rervice"lgreemenl.




        Home   I Privacy I Securily I Careers I Sile Map I Adverhsing Practices                                             Connect with us
             Browse with a Specialist


       Bank of America, NA Member FDIC. Equal Housing Lender Gt
       © 2022 Bank of America Corporation. All rights reserved.




                  Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 122 of 129
https://web .archive.org/web/2022112016034 9/https ://www. ba nkofamerica. com/online-banking/service-ag reement. go?reques t_locale=en_ US                           25/25
   3/6/23, 5:03 PM                                             Wire Transfer FAQs: What is a Wire Tr, . .er?




                                                          View all deposits FAQs


                                                                                                               Expand all I Collapse all

          What is a wire transfer?                                                                                                A



         A wire transfer is an electronic payment service for transferring funds by wire, for example
         through SWIFT, the Federal Reserve Wire Network or the Clearing House Interbank Payments
         System.



         What is a Remittance transfer?                                                                                           V


         How do I send a domestic or international wire transfer?                                                                 V


         What should I do if I receive an error message that discusses exact fees from other
                                                                                                                                  V
         banks?


         Are there countries where I should only send USO and not the local/foreign currency?                                     V


        Do business wires require exact fees to be known?                                                                         V


        How do I assert an error with my Remittance Transfer?                                                                     V


        How do I cancel a Remittance Transfer?                                                                                   V


        Can someone wire funds to my account at Bank of America?                                                                 V


        Are there fees and limits for domestic and international wire transfers?


       Fees and limits may apply, depending on your account type and the type of wire. You will be
       able to review any fees and limits before completing your wire transfer in Online B                                   Latest
       transfer limits are also available in our Online Banking service agreem ent. For Re                                 EXHIBIT
       Transfers, we're required by law to inform you of the exact fees you will incur for i                         f
                 Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23
https://www.bankofamerica.com/deposits/wire-transfers-faqs/
                                                                                                               Page 123 of 129
                                                                                                                              Lt
   3/6/23, 5:03 PM                                               Wire Transfer FAQs: What is a Wire Tn.   Jr?




          may try again in foreign currency -- this may help us determine the exact fees incurred for this
          transaction and enable us to send the wire request successfully.



          What else do I need to send a wire transfer?                                                          V


          What is a SWIFT Code?                                                                                 V


          Which Bank of America SWIFT Code should I provide?                                                    V


          What is an IBAN number?                                                                               V


          Does Bank of America have an IBAN number?                                                             V


         How should I obtain the IBAN numbers of another bank?                                                  V


         How soon can an international recipient receive the funds from a wire transfer?                        V




                                                  Global transfers made easy
                     Make secure international wire transfers right from your Bank of America account

                                                              Log in to get started




     Information for:

    ZIP code*




    Contact us

            Schedule an appointment

                 Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 124 of 129
https://www.bankofamerica.com/deposits/wire-transfers-faqs/                                                         2/4
    3/6/23, 5:03 PM                                           Wire Transfer FAQs: What is a Wire Tn.   ~r?




        > Bank of America

       > Checkin g


       Checking                                                                                              V


       Savings                                                                                               V


      CDs                                                                                                    V


      IRAs                                                                                                   V


      Managing Your Account                                                                                  V


      Access Accounts                                                                                        V




                 Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 125 of 129
https://www.bankofamerica.com/deposits/wire-transfers-faqs/                                                      3/4
  3/6/23, 5:03 PM                                             Wire Transfer FAQs: What is a Wire Tr,   ~r?




                Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 126 of 129
https://www.bankofamerica.com/deposits/wire-transfers-faqs/                                                  4/4
              EXHIBIT B




Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 127 of 129
STATE OF NORTH CAROLINA
                                                   IN THE GENERAL COURT OF JUSTICE
                                                       SUPERIOR COURT DIVISION
COUNTY OF MECKLENBURG
                                                          FILE NO. 23 CVS 04529
AARON ASEL TINE, on behalf of himself and
all others similarly situated,

                              Plaintiff,
                                                            NOTICE OF FILING
       V.                                                OF NOTICE OF REMOVAL

BANK OF AMERICA, N.A.,

                             Defendant.


       PLEASE TAKE NOTICE THAT on April 25, 2023, Defendant Bank of America, N.A.

filed a Notice of Removal of this action to the United States District Court for the Western

District of North Carolina. A true and correct copy of the Notice of Removal is attached hereto.

       PLEASE TAKE FURTHER NOTICE that the filing of the Notice of Removal in the

United States District Court for the Western District of North Carolina and the filing of this

Notice effect the removal of this action, and pursuant to 28 U.S.C. § 1446(d), the above-

captioned action may proceed no further unless and until the case is remanded.

       Respectfully submitted this 25th day of April, 2023.

                                             McGuire Woods LLP

                                            ~        ?Z.~
                                            Bradley R. Kutrow
                                            N.C. Bar No. 13851
                                            McGUIREWOODS LLP
                                            201 North Tryon Street, Suite 3000
                                            Charlotte, North Carolina 28202
                                            Telephone: 704.343.2049
                                            Facsimile: 704.343.2300
                                            bkutrow@mcguirewoods.com

                                            Counsel/or Defendant
                                            Bank of America, NA.




  Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 128 of 129
                               CERTIFICATE OF SERVICE

This is to certify that the undersigned has this day served the foregoing NOTICE OF FILING
OF NOTICE OF REMOVAL on all parties to this cause by depositing a copy hereof, postage
prepaid, in the United States Mail, addressed to the attorney for each said party as follows:

              David M. Wilkerson
              THE VAN WINKLE LAW FIRM
              11 North Market Street
              Asheville, NC 28801
              Attorneys for Plaintiff

              Sophia Goren Gold
              KALIELGOLD PLLC
              950 Gilman Street, Ste 200
              Berkeley, CA 94710
              Attorneys for Plaintiff

              Jeffrey D. Kalie!
              KALIELGOLD PLLC
              1100 15th Street NW 4th Floor
              Washington, D.C. 20005
              Attorneys for Plaintiff

              Jeff Ostrow
              Jonathan Streisfeld
              Daniel Tropin
              KOPELOWITZ OSTROW FERGUSON WEISELBERG GILBERT
              One W. Las Olas Blvd., Suite 500
              Fort Lauderdale, FL 33301
              Attorneys for Plaintiff

       This the 25th day of April, 2023.

                                              ~~- ~
                                              Bradley R. Kutrow




                                              2

  Case 3:23-cv-00235-MOC-WCM Document 1 Filed 04/25/23 Page 129 of 129
